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Counsel to the Debtor
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x
                                            :                               Chapter 11
In re                                       :
                                            :                               Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                       :
                                            :
                  Debtor.                   :
                                            :
___________________________________________ x

              NOTICE OF FILING OF THE DEBTOR’S FIRST AMENDED PLAN OF
               REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                     PLEASE TAKE NOTICE that, on the date hereof, SVB Financial Group, as

 debtor and debtor-in-possession (the “Debtor”) filed the Debtor’s First Amended Plan of

 Reorganization Under Chapter 11 of the Bankruptcy Code (the “Amended Plan”), attached

 hereto as Exhibit A.2 A blackline of the Amended Plan marked against the Debtor’s Plan of

 Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 826] (the “Plan”) is attached

 hereto as Exhibit B.

                     PLEASE TAKE FURTHER NOTICE that copies of the Amended Plan and all

 documents filed in this chapter 11 case may be obtained from the Bankruptcy Court’s website,



 1      The last four digits of SVB Financial Group’s tax identification number are 2278.
 2      Capitalized terms not otherwise defined herein are to be given the meaning ascribed to them in the Amended
        Plan.
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https://ecf.nysb.uscourts.gov, for a nominal fee, or obtained free of charge by accessing the

website of the Debtor’s claims and noticing agent, https://restructuring.ra.kroll.com/svbfg/.



Dated: May 3, 2024                          /s/ James L. Bromley
       New York, New York                   James L. Bromley
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                                    Exhibit A

                         Amended Plan of Reorganization
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x
                                            :                               Chapter 11
In re                                       :
                                            :                               Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                       :
                                            :
                  Debtor.                   :
                                            :
___________________________________________ x

                   DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION
                      UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

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 Dated: May 3, 2024
        New York, New York




 1
        The last four digits of SVB Financial Group’s tax identification number are 2278.
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1.     INTRODUCTION

               SVB Financial Group, a Delaware corporation, as debtor-in-possession in the
above-captioned Chapter 11 Case (“SVBFG” or the “Debtor”), proposes the following plan of
reorganization (including the Plan Supplement and all other exhibits and schedules hereto and as
may be modified, amended or supplemented in accordance with the terms hereof, the “Plan”)
pursuant to section 1121(a) of the Bankruptcy Code. The Debtor is a proponent of the Plan for
purposes of section 1129 of the Bankruptcy Code. Capitalized terms used and not otherwise
defined shall have the meanings ascribed to such terms in Section 2.
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2.     DEFINITIONS AND RULES OF INTERPRETATION

       2.1    Definitions

              Except as otherwise provided herein, each capitalized term used in the Plan shall
have the meaning set forth below:

              2.1.1    “2025 Senior Notes” means the 3.500% senior notes due 2025,
outstanding under the Senior Notes Indenture.

              2.1.2    “2026 Senior Notes” means the 1.800% senior notes due 2026,
outstanding under the Senior Notes Indenture.

                2.1.3    “2028 Senior Fixed-to-Floating Rate Notes” means the 4.345% senior
fixed-to-floating rate notes due 2028, outstanding under the Senior Notes Indenture, as
supplemented by the Senior Notes Supplemental Indenture.

              2.1.4    “2028 Senior Notes” means the 2.100% senior notes due 2028,
outstanding under the Senior Notes Indenture.

              2.1.5    “2030 Senior Notes” means the 3.125% senior notes due 2030,
outstanding under the Senior Notes Indenture

              2.1.6    “2031 Senior Notes” means the 1.800% senior notes due 2031,
outstanding under the Senior Notes Indenture.

                2.1.7    “2033 Senior Fixed-to-Floating Rate Notes” means the 4.570% senior
fixed-to-floating rate notes due 2033, outstanding under the Senior Notes Indenture, as
supplemented by the Senior Notes Supplemental Indenture.

              2.1.8    “Accredited Investors” has the meaning in Section 7.4 hereof.

               2.1.9    “Ad Hoc Noteholder Group” means that certain ad hoc group of holders,
or investment advisors or managers acting on behalf of holders, of certain Senior Notes
represented by Davis Polk & Wardwell LLP.

              2.1.10 “Ad Hoc Noteholder Group Expenses” means, collectively, all
reasonable and documented fees and expenses of (i) Davis Polk & Wardwell LLP, as counsel to
the Ad Hoc Noteholder Group, and (ii) PJT Partners LP, as investment banker to the Ad Hoc
Noteholder Group.

               2.1.11 “Administrative Expense Claim” means any Claim for costs and
expenses of administration of the Chapter 11 Case of a kind specified under section 503(b) of the
Bankruptcy Code arising on or prior to the Effective Date and entitled to priority pursuant to
sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code; provided that Administrative
Expense Claims shall not include 503(b)(9) Claims.




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               2.1.12 “Administrative Expense Claim Bar Date” means: (a) 4:00 p.m. (Eastern
Time) on the 30th day after the Confirmation Date for Administrative Expense Claims that arose
prior to the Confirmation Date, (b) 4:00 p.m. (Eastern Time) on the 30th day after the Effective
Date for Administrative Expense Claims that arose during the period from the Confirmation Date
through the Effective Date or (c) such other date established by order of the Bankruptcy Court by
which requests for payment in respect of Other Administrative Claims must be filed.

                2.1.13 “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy
Code. With respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such
Person as if the Person were a Debtor.

                2.1.14 “Allowed” means, with respect to any Claim or Interest (or portion
thereof) against the Debtor, that: (i) a Proof of Claim with respect to any such Claim has been
timely filed in the Chapter 11 Case, has not been withdrawn and no objection thereto has been
filed by the applicable deadlines set forth in the Plan, the Bankruptcy Code, the Bankruptcy
Rules, or as determined by the Bankruptcy Court, (ii) that such Claim or Interest (or portion
thereof) has been agreed to, compromised, settled or otherwise resolved pursuant to the authority
of the Debtor or Liquidating Trust, as applicable, under the terms of the Plan, (iii) such Claim or
Interest (or portion thereof) is expressly allowed in the Plan or by Final Order of the Bankruptcy
Court, or (iv) such Interest is registered in the ownership register or otherwise on the Debtor’s
books and records, maintained by, or on behalf of, the Debtor as of the Confirmation Date;
provided, however, that, (x) unless otherwise provided for by the terms of the Plan, the Allowed
amount of Claims or Interests shall be subject to and shall not exceed the limitations under or
maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 thereof, to
the extent applicable, and (y) the Debtor, NewCo and the Liquidating Trust, as applicable, shall
retain all claims and defenses with respect to Allowed Claims that are Reinstated, or otherwise
Unimpaired pursuant to the Plan (including, for the avoidance of doubt, Administrative Expense
Claims not paid prior to the Effective Date). “Allow” and “Allowance” shall have correlative
meanings.

                 2.1.15 “Avoidance Action” means any and all avoidance, recovery,
subordination or other claim, action or remedy that may be brought by or on behalf of the Debtor
or its Estate or other authorized parties-in-interest under the Bankruptcy Code or applicable non-
bankruptcy law, including actions or remedies under sections 362, 502, 542 through and
including 553 and 724(a) of the Bankruptcy Code or under similar local, state, federal or foreign
statutes and common law, including fraudulent transfer laws.

                2.1.16   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§ 101 et seq.

              2.1.17 “Bankruptcy Court” means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Case.

               2.1.18 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
and the general, local and chambers rules of the Bankruptcy Court as applicable to the Chapter
11 Case and as amended from time to time.



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               2.1.19 “Bar Date” means the dates established by the Bankruptcy Court by
which Proofs of Claim must have been filed with respect to such Claims, pursuant to: (a) the
Order Establishing Deadlines for Filing Proofs of Claim and Approving Form and Manner of
Notice Thereof [D.I. 373], entered by the Bankruptcy Court on June 29, 2023; (b) any further
orders of the Bankruptcy Court establishing separate deadlines for filing Proofs of Claim; or
(c) the Plan.

                 2.1.20     “Blocker Corporation” has the meaning set forth in Section 5.3 hereof.

                 2.1.21     “Blue Sky Laws” has the meaning set forth in Section 7.4 hereof.

               2.1.22 “BP Trust I” means Boston Private Capital Trust I, a statutory trust
formed under the Delaware Statutory Trust Act pursuant to the BP Trust I Declaration of Trust
and a Certificate of Trust filed with the Secretary of State of the State of Delaware on October 5,
2004.

               2.1.23       “BP Trust I Claim” means any Claim arising out of or related to the BP
Trust I Indenture.2

                2.1.24 “BP Trust I Declaration of Trust” means that certain Declaration of
Trust, dated as of October 5, 2004, as amended and restated by the Amended and Restated
Declaration of Trust, dated as of October 12, 2004 (as further amended or supplemented from
time to time) relating to BP Trust I.

               2.1.25 “BP Trust I Indenture” means that certain Indenture, dated as of October
12, 2004, between SVBFG and BP Trust I Indenture Trustee, as supplemented by the BP Trust I
Supplemental Indenture, and as may be further amended, supplemented or otherwise modified
from time to time.

               2.1.26 “BP Trust I Indenture Trustee” means Wilmington Trust, National
Association, as successor debenture trustee to U.S. Bank Trust, National Association (Delaware)
(as successor debenture trustee to SunTrust Bank) pursuant to that certain Instrument of
Resignation, Appointment and Acceptance, dated as of May 18, 2023, and any successor trustee
appointed in accordance with the terms of the BP Trust I Indenture.

              2.1.27 “BP Trust I Junior Subordinated Debentures” means the junior
subordinated convertible debentures due 2034, outstanding under the BP Trust I Indenture.

               2.1.28 “BP Trust I Preferred Securities” means those certain 4.875%
Convertible Trust Preferred Securities issued by BP Trust I pursuant to the BP Trust I
Declaration of Trust.




2
    For purposes of this Plan, the BP Trust I Claims shall be deemed to be held by the holders of the BP Trust I
    Preferred Securities in accordance with Section 7.6 of this Plan.


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              2.1.29 “BP Trust I Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of July 1, 2021, by and among SVBFG, BPFH and BP Trust I
Indenture Trustee.

               2.1.30 “BP Trust II” means Boston Private Capital Trust II, a statutory trust
formed under the Delaware Statutory Trust Act pursuant to the BP Trust II Declaration of Trust
and a Certificate of Trust filed with the Secretary of State of the State of Delaware on
September 23, 2005.

              2.1.31 “BP Trust II Capital Securities” means those certain capital securities
issued by BP Trust II pursuant to the BP Trust II Declaration of Trust.

               2.1.32       “BP Trust II Claim” means any Claim arising out of or related to the BP
Trust II Indenture.3

                2.1.33 “BP Trust II Declaration of Trust” means that certain Declaration of
Trust, dated as of September 23, 2005, as amended and restated by the Amended and Restated
Declaration of Trust, dated as of September 27, 2005 (as further amended or supplemented from
time to time) relating to BP Trust II.

              2.1.34 “BP Trust II Indenture” means that certain Indenture, dated as of
September 27, 2005, between SVBFG and BP Trust II Indenture Trustee, as supplemented by the
BP Trust II Supplemental Indenture, and as may be further amended, supplemented or otherwise
modified from time to time.

               2.1.35 “BP Trust II Indenture Trustee” means Wilmington Trust Company, a
Delaware trust company, as debenture trustee of the BP Trust II Indenture, and any successor
trustee appointed in accordance with the terms of the BP Trust II Indenture.

                2.1.36 “BP Trust II Junior Subordinated Debentures” means the fixed-to-
floating rate junior subordinated debt securities due 2035, outstanding under the BP Trust II
Indenture.

              2.1.37 “BP Trust II Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of July 1, 2021, by and among SVBFG, BPFH and BP Trust II
Indenture Trustee.

               2.1.38 “BPFH” means Boston Private Financial Holdings, Inc., which merged
with and into SVBFG pursuant to the terms of an Agreement and Plan of Merger, dated as of
January 4, 2021.

               2.1.39 “Business Day” means any day other than a Saturday, a Sunday, a “legal
holiday” (as defined in Bankruptcy Rule 9006(a)) or any other day on which banking institutions
in New York, New York are required or authorized to close by law or executive order.


3
    For purposes of this Plan, the BP Trust II Claims shall be deemed to be held by the holders of the BP Trust II
    Capital Securities in accordance with Section 7.6 of this Plan.


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               2.1.40    “Cash” or “$” means the legal tender of the United States of America or
equivalents thereof.

                 2.1.41 “Cause of Action” means any action, claim, cause of action, controversy,
proceeding, reimbursement claim, affirmative defense, demand, right, Lien, indemnity, guaranty,
suit, obligation, liability, loss, damage, remedy, judgment, account, defense, offset (including
setoff or recoupment rights), power, privilege, license and franchise of any kind or character
whatsoever, known or unknown, foreseen or unforeseen, Contingent or non-contingent, matured
or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, and assertable directly or derivatively, whether arising before, on or after
the Petition Date, in contract or in tort, in law or in equity or pursuant to any other theory of law.
For the avoidance of doubt, Cause of Action includes: (i) any right of setoff, counterclaim or
recoupment and any claim for breach of contract or for breach of duties imposed by law or in
equity, (ii) the right to object to or otherwise contest Claims or Interests, (iii) any claim pursuant
to section 362 or chapter 5 of the Bankruptcy Code, (iv) any Avoidance Action, (v) any claim or
defense, including fraud, mistake, duress and usury, and any other defenses set forth in section
558 of the Bankruptcy Code, and (vi) any claim under any state or foreign law, including any
fraudulent transfer or similar claim.

               2.1.42    “Certificate” means any instrument evidencing a Claim or an Interest.

               2.1.43 “Chapter 11 Case” means the chapter 11 case pending for SVBFG under
chapter 11 of the Bankruptcy Code in the Bankruptcy Court.

               2.1.44    “Claim” means a “claim” as defined in section 101(5) of the Bankruptcy
Code.

               2.1.45 “Claims Objection Deadline” means the date that is (i) 180 days after the
Effective Date, (ii) such other later date the Bankruptcy Court may establish upon a motion by
the Debtor or the Liquidating Trust or (iii) such other objection deadline as may be specifically
fixed by the Plan, the Confirmation Order, the Bankruptcy Rules or a Final Order.

               2.1.46 “Claims Register” means the official register of Claims maintained by
the Notice and Claims Agent.

              2.1.47 “Class” means a class of Claims or Interests classified by Section 4
hereof pursuant to section 1122(a) of the Bankruptcy Code.

               2.1.48    “Class A Trust Unit” has the meaning set forth in Section 5.6 hereof.

               2.1.49    “Class B Trust Unit” has the meaning set forth in Section 5.6 hereof.

               2.1.50    “Class C Trust Unit” has the meaning set forth in Section 5.6 hereof.

               2.1.51 “Common Equity Interest” means an Equity Interest represented by the
issued and outstanding common stock, $0.001 par value per share, of the Debtor as of the
Petition Date or any interest or right to convert into such an Equity Interest or acquire any Equity
Interest of SVBFG that was in existence immediately prior to or on the Petition Date.

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               2.1.52   “Company Entity” means the Debtor or any Affiliate of the Debtor.

               2.1.53 “Confirmation” means the entry of the Confirmation Order on the docket
of the Chapter 11 Case.

               2.1.54 “Confirmation Date” means the date upon which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Case, within the meaning of
Bankruptcy Rules 5003 and 9021.

               2.1.55 “Confirmation Hearing” means the hearing held by the Bankruptcy
Court pursuant to section 1128(a) of the Bankruptcy Code to consider Confirmation of the Plan,
as such hearing may be, or may have been, continued from time to time.

              2.1.56 “Confirmation Order” means the order of the Bankruptcy Court entered
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

               2.1.57 “Consenting Noteholders” means Holders of Senior Notes that are party
to the Restructuring Support Agreement.

                2.1.58 “Contingent” means, when used in reference to a Claim, any Claim the
liability for which attaches or is dependent upon the occurrence or happening of, or is triggered
by, an event that has not yet occurred as of the date on which such Claim is sought to be
estimated or on which an objection to such Claim is filed, whether or not such event is within the
actual or presumed contemplation of the holder of such Claim and whether or not a relationship
between the holder of such Claim and the Debtor now or hereafter exists or previously existed.

                2.1.59 “Contingent Tax Receivable” means the contingent right to receive all
cash refunds of Taxes actually received by NewCo with respect to Taxes of the Debtor or its
subsidiaries for taxable periods ending on or before December 31, 2022, reduced by (i) any
amounts in respect of tax refunds payable to the FDIC pursuant to the Amended Tax Allocation
Agreement, dated as of January 1, 2016, and (ii) any out-of-pocket expenses incurred by NewCo
after the Effective Date and solely relating to services performed after the Effective Date with
respect to outside legal or other tax advisors that are participating in any proceeding with any
Tax Authorities to resolve any issues relating to Taxes of the Debtor or its subsidiaries for
taxable periods ending on or before December 31, 2022; provided that, to the extent that any
cash refunds of Taxes transferred by NewCo to the Liquidating Trust is subsequently disallowed
or required to be returned to the applicable Tax Authority, the Liquidating Trust shall be liable
for any amounts payable by NewCo to the applicable Tax Authority as a result of such
disallowance or requirement and shall promptly repay, or cause to be repaid, the amount of such
refund, together with any interest, penalties or other additional amounts imposed by such Tax
Authority, to NewCo.

               2.1.60   “Creditor” means any holder of a Claim against the Debtor.

               2.1.61 “Cure Cost” means the amounts, including, where applicable, an amount
of $0.00, required to cure any and all monetary defaults under an Executory Contract or
Unexpired Lease (or such lesser amounts as may be agreed upon by the parties to an Executory


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Contract or Unexpired Lease) that is to be assumed by the Debtor pursuant to section 365 or
1123 of the Bankruptcy Code.

              2.1.62 “Current Directors” means the directors of the board of the Debtor
immediately prior to the Effective Date.

               2.1.63 “D&O Insurance Policies” means any Insurance Policies for directors’,
managers’, officers’ and any other Insured (as defined in such policy) entities’ liability
(including employment practices liability and fiduciary liability) issued to or providing coverage
to the Debtor or any of its predecessors-in-interest at any time, and all agreements, documents, or
instruments relating thereto.

               2.1.64   “Debtor” has the meaning set forth in the Introduction hereto.

               2.1.65   “Debtor Related Parties” means the Related Parties of the Debtor.

               2.1.66   “Debtor Released Parties” means the parties identified on Exhibit [•]
hereto.

             2.1.67     “Definitive Documents” has the meaning set forth in the Restructuring
Support Agreement.

               2.1.68 “Delaware Trustee” means the trustee, or its successor, appointed in
accordance with the Liquidating Trust Agreement to comply with the requirement of
section 3807 of the Delaware Statutory Trust Act.

                2.1.69 “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits, appendices and schedules thereto, as amended, supplemented or otherwise
modified from time to time, as approved by the Bankruptcy Court.

                2.1.70 “Disputed” means, with respect to any Claim or Interest, a Claim or
Interest or any portion thereof that is not Allowed but that has not been disallowed by a Final
Order.

               2.1.71 “Disputed Claims Reserve” means any of the Liquidating Trust Disputed
Claims Reserve, Liquidating Trust Disputed GUC Cash-Out Claims Reserve, Liquidating Trust
Disputed Interests Reserve and the NewCo Disputed Claims Reserve.

                2.1.72 “Distribution” means a distribution of property, including Cash, NewCo
Common Stock and Liquidating Trust Interests, pursuant to the Plan, to take place as provided
for herein, and “Distribute” shall have a correlative meaning.

               2.1.73 “Distribution Agent” means any Person or Entity designated or retained
by the Debtor (prior to the Effective Date) or the Liquidating Trust (after the Effective Date),
without the need for any further order of the Bankruptcy Court, to serve as distribution agent
under the Plan.

               2.1.74   “DTC” means The Depository Trust Company.


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               2.1.75 “Effective Date” means the first Business Day on or after the
Confirmation Date on which the conditions to the effectiveness of the Plan specified in
Section 13.1 hereof have been either satisfied or waived as set forth herein, or such later date as
determined by the Debtor, the Required Ad Hoc Senior Noteholder Parties, and the UCC.

             2.1.76     “Entity” means an “entity” as defined in section 101(15) of the
Bankruptcy Code.

                2.1.77 “Equity Interest” means the interest of any holder of one or more equity
securities of SVBFG (including voting rights, if any, related to such equity securities)
represented by issued and outstanding shares of common or preferred stock or other instrument
evidencing a present ownership interest in SVBFG, whether or not transferable, or any option,
warrant, or right, contractual or otherwise, to acquire any such interest, including unvested
restricted stock.

              2.1.78 “Estate” means the estate created with respect to the Debtor in the
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

               2.1.79   “Exchange Act” means the U.S. Securities Exchange Act of 1934 (as
amended).

               2.1.80 “Exculpated Parties” means (i) the Debtor, (ii) the UCC and its
members, (iii) the Ad Hoc Noteholder Group and its members signatory to the Restructuring
Support Agreement, (iv) the Indenture Trustees and (v) each such Entity’s or Person’s Related
Parties.

                2.1.81 “Executory Contract” means a contract to which the Debtor is a party
and that is subject to assumption or rejection pursuant to section 365 of the Bankruptcy Code.

               2.1.82   “FDIC” means, collectively, the FDIC-C, the FDIC-R1 and the FDIC-
R2.

                2.1.83 “FDIC Claims” means all Claims and Causes of Action against the
FDIC, including against each of the FDIC-R1, the FDIC-R2, and the FDIC-C, whether
individually or in any combination, including, but not limited to (i) claims asserted in the proofs
of claim filed with FDIC-R1 and FDIC-R2, (ii) claims asserted in the complaint filed in that
certain adversary proceeding commenced as case number 23-01137 (MG) before the Bankruptcy
Court and currently pending before the United States District Court for the Southern District of
New York as case number 23 Civ. 7218 (JPC), (iii) claims asserted in the payment demand letter
to the FDIC-C dated June 26, 2023 and now pending as case number 23-cv-6543-BLF,
(iv) claims asserted in the complaint filed by the Debtor in the United States District Court for
the Northern District of California on or about December 19, 2023, and (v) claims asserted in
any subsequent complaint filed by the Debtor naming any of the FDIC-R1, the FDIC-R2, and the
FDIC-C, in each case including claims for interest, penalties, fees and expenses.

              2.1.84    “FDIC-C” means the Federal Deposit Insurance Corporation, in its
corporate capacity.


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               2.1.85 “FDIC-R1” means the Federal Deposit Insurance Corporation, in its
capacity as receiver for Silicon Valley Bank.

               2.1.86 “FDIC-R2” means the Federal Deposit Insurance Corporation, in its
capacity as receiver for Silicon Valley Bridge Bank, N.A.

                2.1.87 “Final Order” means, as applicable, an order or judgment of the
Bankruptcy Court or other court of competent jurisdiction with respect to the relevant subject
matter that has been entered on the docket maintained by the clerk of such court, which has not
been reversed, vacated, stayed, modified or amended, and as to (i) which the time to appeal,
petition for certiorari or move for a new trial, reargument or rehearing has expired, and as to
which no appeal, petition for certiorari or other proceedings for a new trial, reargument or
rehearing is pending or has been timely taken or (ii) if an appeal, writ of certiorari, new trial,
reargument or rehearing has been sought, such order or judgment shall have been affirmed by the
highest court to which such order was appealed, or certiorari shall have been denied, or a new
trial, reargument or rehearing shall have been denied or resulted in no modification of such order
or judgment, or such appeal, petition for certiorari or move for a new trial, reargument or
rehearing shall have otherwise been dismissed with prejudice, and the time to take any further
appeal, petition for certiorari or move for a new trial, reargument or rehearing shall have
expired; provided, however, no order or judgment shall fail to be a “Final Order” solely because
of the possibility that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or
under Rule 60 of the Federal Rules of Civil Procedure or Federal Bankruptcy Rule 9024 has been
or may be filed with respect to such order or judgment.

               2.1.88 “General Unsecured Claim” means any Claim against the Debtor that is
not an Administrative Expense Claim, Priority Tax Claim, Other Priority Claim, Other Secured
Claim, Subordinated Note Claim, Intercompany Claim, Section 510(b) Claim or a Claim for any
Cure Cost, or any other Claim that is subordinated or entitled to priority under Bankruptcy Code
or any order of the Bankruptcy Court. For the avoidance of doubt, General Unsecured Claims do
not include Preferred Equity Interests or Common Equity Interests.

              2.1.89 “Governmental Unit” means a “governmental unit” as defined in
section 101(27) of the Bankruptcy Code.

              2.1.90 “GUC Cash-Out” means, with respect to any Allowed Other General
Unsecured Claim, Cash in an amount equal to 45% of the lesser of (a) the Allowed amount of
such Claim and (b) the GUC Cash-Out Cap.

               2.1.91   “GUC Cash-Out Cap” means $11,000,000.00.

             2.1.92 “GUC Cash-Out Claim” means an Other General Unsecured Claim
whose Holder has elected to receive the GUC Cash-Out with respect to such Claim.

               2.1.93   “Holder” means an Entity holding a Claim or an Interest, as applicable.

              2.1.94 “Impaired” means, with respect to any Class of Claims or Interests, a
Class of Claims or Interests that is impaired within the meaning of section 1124 of the
Bankruptcy Code.

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               2.1.95 “Indenture Trustees” means, collectively, the BP Trust I Indenture
Trustee, the BP Trust II Indenture Trustee and the Senior Notes Indenture Trustee.

              2.1.96 “Indentures” means, collectively, the Subordinated Note Indentures, the
Senior Notes Indenture and the Senior Notes Supplemental Indenture.

               2.1.97 “Insurance Policy” means each insurance policy issued to or providing
coverage to the Debtor or any of its predecessors-in-interest at any time and any agreements,
documents or instruments related thereto, including the D&O Insurance Policies and any other
insurance policy for directors’, managers’ and officers’ liability.

                 2.1.98 “Insurer” means any company or other entity that issued or entered into
an Insurance Policy, any third-party administrator, and any respective predecessors and/or
affiliates thereof.

             2.1.99 “Intercompany Claim” means any Claim held by the Debtor against any
other Company Entity or by a Company Entity against the Debtor.4

             2.1.100 “Intercompany Interest” means any Interest held by the Debtor in a
Company Entity or by a Company Entity in the Debtor.

               2.1.101 “Interest” means any equity security within the meaning of
section 101(16) of the Bankruptcy Code or any other equity or ownership interest, including all
issued, unissued, authorized or outstanding limited liability company membership interests
(including common and preferred) or other equity interests, together with any warrants, options,
convertible securities, liquidating preferred securities or contractual rights to purchase or acquire
any such equity interests at any time and all rights arising with respect thereto.

               2.1.102 “Interim Compensation Order” means the Order Pursuant to Sections
105(a) and 331 of the Bankruptcy Code, Bankruptcy Rule 2016 and Local Rule 2016-1
Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of
Professionals [D.I. 134].

              2.1.103 “Investment Company Act” means the Investment Company Act of
1940, as amended.

                2.1.104 “IRC” means the Internal Revenue Code of 1986, as amended from time
to time.

                2.1.105 “IRS” means the Internal Revenue Service.

                2.1.106 “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy
Code.



4
    For the avoidance of doubt, Intercompany Claims shall not include any Subordinated Note Claims for purposes
    of this Plan.


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                2.1.107 “Liquidating Trust” means a Delaware statutory trust (or other form
agreed by the Debtor, the UCC, and Required Ad Hoc Senior Noteholder Parties) to be formed
prior to the Effective Date in accordance with the provisions of Article 5 hereof.

                2.1.108 “Liquidating Trust Agreement” means that certain agreement,
substantially in the form contained in the Plan Supplement that shall serve as the governing
instrument of the Liquidating Trust.

               2.1.109 “Liquidating Trust Assets” means from and after the Effective Date, all
assets of the Debtor and the Debtor’s direct and indirect subsidiaries except the Retained Debtor
Assets or the NewCo Disputed Claims Reserves. The Liquidating Trust Assets shall include,
without limitation, the following assets of the Debtor and its direct and indirect subsidiaries:

                    i.    all Retained Causes of Action, including the FDIC Claims;

                   ii.    all investment securities, including the Debtor’s direct investment and
                          warrant portfolios and its synthetic equity instrument in Leerink Partners
                          LLC;

                  iii.    100% of equity interests of SVB Investments Holdings, Inc.;5

                  iv.     100% of equity interests in SVB Global Financial, Inc.;6

                   v.     interests in existing SVB Capital entities entitling the interest holder to
                          46% of payments or other distributions from existing funds’ carried and
                          capital interests (excluding distributions from one SVBFG limited partner
                          interest) and 15.5% of all management fees from existing funds;7

                  vi.     the right to receive up to two $5 million payments within ten years based
                          on future fundraising activity of funds that are either successors of the
                          funds subject to the SVB Capital Sale or that use the investment track
                          record of the funds subject to the SVB Capital Sale;

                  vii.    SVB Securities Holdings’ interests in [Transformation funds] and other
                          investments;8



5
    SVB Investments Holdings, Inc. holds certain direct investments.
6
    SVB Global Financial, Inc. holds equity interests in certain foreign subsidiaries of the Debtor that are in the
    process of being wound down under applicable local law. Any remaining value of these subsidiaries following
    wind down and liquidation will be distributed to the Liquidating Trust via SVB Global Financial, Inc.
7
    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.
8
    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.



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                viii.    limited partnership interests in certain existing funds that are not subject to
                         the SVB Capital Sale;9

                  ix.    all cash of the Debtor (other than the cash proceeds of any NewCo
                         Transaction which shall be subject to clause (viii) below) in excess of
                         (a) amounts required for distributions to Holders of Allowed Claims
                         pursuant to the Plan, and payment of fees, expenses, and other amounts
                         required to be paid on the Effective Date pursuant to the Plan and (b) the
                         amount required to fund the businesses to be owned by NewCo, as
                         determined in accordance with a NewCo business plan acceptable to the
                         Required Ad Hoc Senior Noteholder Parties;

                   x.    to the extent applicable, proceeds of any NewCo Transaction; provided
                         that, with the consent of the Required Ad Hoc Senior Noteholder Parties
                         and the Committee, all or a portion of the proceeds of any NewCo
                         Transaction may remain at, or be transferred to, NewCo rather than being
                         transferred to the Liquidating Trust;

                  xi.    Contingent Tax Receivable; and

                 xii.    the Debtor’s rights and entitlements under the Insurance Policies (other
                         than Insurance Policies assumed and/or assigned to NewCo pursuant to
                         Section 9.1 hereof).

                 2.1.110 “Liquidating Trust Beneficiaries” means the holders of Liquidating Trust
Interests.

              2.1.111 “Liquidating Trust Board” means the board of the Liquidating Trust by
whom or under whose direction the business and affairs of the Liquidating Trust shall be
managed in accordance with the Liquidating Trust Agreement.

                2.1.112 “Liquidating Trust Disputed Claims Reserve” means any Liquidating
Trust Assets allocable to, or retained on account of, Disputed Administrative Expense Claims,
Disputed Priority Tax Claims, Disputed Other Priority Claims, Disputed Other Secured Claims
and Disputed General Unsecured Claims (other than Disputed GUC Cash-Out Claims), which
shall be held in one or more separate accounts from other Liquidating Trust Assets.

              2.1.113 “Liquidating Trust Disputed GUC Cash-Out Claims Reserve” means any
Liquidating Trust Assets allocable to, or retained on account of, Disputed GUC Cash-Out
Claims, which shall be held in a separate account from other Liquidating Trust Assets.

                2.1.114 “Liquidating Trust Disputed Interests Reserve” means any Liquidating
Trust Interest allocable to, or retained on account of, Disputed General Unsecured Claims (other
than Disputed GUC Cash-Out Claims), Disputed Subordinated Note Claims and Disputed


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    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.


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Preferred Equity Interests which shall be held in one or more separate accounts from other
Liquidating Trust Interests.

               2.1.115 “Liquidating Trust Interests” means the Class A Trust Units, Class B
Trust Units and Class C Trust Units and any other beneficial interests in the Liquidating Trust
that may be issued pursuant to the Plan or the Liquidating Trust Agreement.

                2.1.116 “Liquidation Preference” means the stated amount per share specified in
the applicable certificate of designation (including, in the case of any series of Preferred Stock
that does not use the words “stated amount,” the specified amount of any preference upon
liquidation, dissolution or winding up, without regard to any unpaid dividends that may also be
included in the liquidation preference with respect to such shares).

               2.1.117 “Local Rules” means the Local Bankruptcy Rules for the Southern
District of New York.

                2.1.118 “NewCo” means, as applicable, (i) SVBFG as reorganized pursuant to
and under the Plan and any successor thereto, by merger, consolidation or otherwise, on or after
the Effective Date or (ii) a newly-formed Delaware corporation (or other business form agreed
by the Debtor, the UCC, and Required Ad Hoc Senior Noteholder Parties) that owns or will own,
directly or indirectly, 100% of the equity interests in SVBFG.

               2.1.119 “NewCo Board” means the board of directors of NewCo, whose
members as of the Effective Date shall be appointed by the Required Ad Hoc Senior Noteholder
Parties in a manner reasonably acceptable to the UCC, and thereafter shall be appointed and
removed in accordance with NewCo Organizational Documents.

               2.1.120 “NewCo Common Stock” means the common stock, shares, membership
units or equivalent interest of NewCo.

                2.1.121 “NewCo Disputed Claims Reserve” means any NewCo Common Stock
allocable to, or retained on account of, Disputed General Unsecured Claims (other than Disputed
GUC Cash-Out Claims), which shall be held in one or more separate accounts from other assets
of NewCo. On or after the Effective Date, any NewCo Disputed Claims Reserve shall be
deemed held by the Liquidating Trust and, for the avoidance of doubt, shall not be part of the
Liquidating Trust Assets or Retained Debtor Assets.

               2.1.122 “NewCo Distribution” has the meaning in Section 7.5.2 hereof.

               2.1.123 “NewCo Organizational Documents” means the organizational and
governance documents for NewCo, including, as applicable, the certificates or articles of
incorporation, certificates of formation, certificates of organization, certificates of limited
partnership, certificates of conversion, limited liability company agreements, operating
agreements, limited partnership agreements, stockholder or shareholder agreements, bylaws, and
indemnification agreements (or equivalent governing documents of any of the foregoing).

               2.1.124 “NewCo Transaction” has the meaning in Section 7.3 hereof.


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              2.1.125 “Non-Qualified Holder” means a Holder who provides a certification
that such Holder is not a “qualified purchaser” as such term is defined in section 2(a)(51) of the
Investment Company Act and the rules thereunder or is not an Accredited Investor.

               2.1.126 “Notice and Claims Agent” means the Debtor’s notice and claims agent,
Kroll Restructuring Administration LLC.

                2.1.127 “Other Administrative Claim” means any Administrative Expense Claim
that is not a Professional Fee Claim, Ad Hoc Noteholder Group Expense, Senior Note Trustee
Expense, Subordinated Note Trustee Expense, or Claim for U.S. Trustee Fees.

               2.1.128 “Other General Unsecured Claim” means any General Unsecured Claim
against the Debtor that is not a Senior Note Claim.

                2.1.129 “Other Priority Claim” means a Claim against the Debtor entitled to
priority in right of payment pursuant to section 507(a) of the Bankruptcy Code, other than an
Administrative Expense Claim or a Priority Tax Claim.

               2.1.130 “Other Secured Claim” means any Secured Claim or portion thereof
against the Debtor, other than a Secured Tax Claim.

             2.1.131 “Person” means a “person” as defined in section 101(41) of the
Bankruptcy Code.

               2.1.132 “Petition Date” means March 17, 2023.

               2.1.133 “Plan” has the meaning set forth in the Introduction hereto.

               2.1.134 “Plan Sponsor Transaction” means a transaction whereby a third party
provides financing and acquires all or a portion of NewCo equity.

               2.1.135 “Plan Supplement” means one or more compilations of documents and
forms of documents, instruments, schedules and exhibits to the Plan, as each such document,
agreement, instrument, schedule and exhibit and form thereof may be altered, restated, modified
or replaced from time to time, including subsequent to the filing of any such documents. Each
such document, agreement, instrument, schedule or exhibit, or form thereof, is referred to herein
as a “Plan Supplement.” The Plan Supplement may include the following (including drafts or
forms, as applicable), or the material terms of the following, as applicable: (i) the NewCo
Organizational Documents, (ii) the Liquidating Trust Agreement, (iii) the Schedule of Assumed
Executory Contracts and Unexpired Leases, (iv) the Restructuring Transactions Memorandum,
(v) the Shared Services Agreement (if any), and (vi) the Schedule of Retained Causes of Action.

               2.1.136 “Post Effective Date UCC Matters” has the meaning in Section 16.7
hereof.

               2.1.137 “Preferred Equity Interest” means an Equity Interest represented by an
issued and outstanding share of preferred stock of SVBFG prior to or on the Petition Date,



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including those certain (i) Series A Preferred Stock, (ii) Series B Preferred Stock, (iii) Series C
Preferred Stock, (iv) Series D Preferred Stock and (v) Series E Preferred Stock.

               2.1.138 “Preferred Stock” means, collectively, Series A Preferred Stock, Series B
Preferred Stock, Series C Preferred Stock, Series D Preferred Stock and Series E Preferred
Stock.

             2.1.139 “Priority Tax Claim” means a Claim (whether secured or unsecured) of a
Governmental Unit against the Debtor entitled to priority pursuant to section 507(a)(8) of the
Bankruptcy Code.

               2.1.140 “Pro Rata” means, as applicable and unless otherwise stated, with respect
to an Allowed or estimated Claim or Interest, the percentage represented by a fraction (i) the
numerator of which shall be an amount equal to such Allowed or estimated Claim or Interest and
(ii) the denominator of which shall be an amount equal to the aggregate amount of Allowed and
estimated Claims or Interests in the same Class as such Claim or Interest, except in cases where
Pro Rata is used in reference to multiple Classes, in which case Pro Rata means the portion that
such Holder’s Claim or Interest in a particular class bears to the aggregate amount of all Allowed
and estimated Claims or Interests in such multiple Classes.

               2.1.141 “Professional” means a Person or Entity: (i) employed in the Chapter 11
Case pursuant to a Bankruptcy Court order in accordance with sections 327 or 1103 of the
Bankruptcy Code and to be compensated for services rendered prior to the Effective Date,
pursuant to section 327, 328, 329, 330 or 331 of the Bankruptcy Code, or (ii) for which
compensation and reimbursement has been awarded by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

               2.1.142 “Professional Fee Claim” means any Claim of a Professional seeking an
award by the Bankruptcy Court of compensation for services rendered or reimbursement of
expenses incurred through and including the Effective Date under sections 330, 331, 503(b)(2),
503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code.

               2.1.143 “Professional Fee Escrow Account” means an account to be funded by
the Debtor on or prior to the Effective Date and maintained by the Liquidating Trust in an
amount equal to the Professional Fee Reserve Amount.

                2.1.144 “Professional Fee Reserve Amount” means the estimate, as determined
in accordance with Section 3.2.3 hereof, of the aggregate amount of unpaid Professional Claims
for all Professionals through the Effective Date.

               2.1.145 “Proof of Claim” means a proof of claim against a Debtor filed by a
holder of a Claim against the Debtor.

               2.1.146 “Qualified Holder” means a Holder who provides a certification that
such Holder is a “qualified purchaser” as such term is defined in section 2(a)(51) of the
Investment Company Act and the rules thereunder and is an Accredited Investor.



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               2.1.147 “Qualified Holder Certification Request” has the meaning in
Section 7.5.2 hereof.

               2.1.148 “Regulation D” has the meaning in Section 7.4 hereof.

               2.1.149 “Reinstated” means, with respect to any Claim or Interest, that such
Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the
Bankruptcy Code, and “Reinstatement” shall have a correlative meaning.

                 2.1.150 “Related Parties” means with respect to a Person or Entity, and in each
 case solely in its capacity as such, each such Person or Entity’s predecessors, successors,
 assigns, subsidiaries, affiliates, managed accounts or funds, current and former officers, board
 members, directors, principals, agents, independent contractors, members, partners (general or
 limited), managers, employees, subcontractors, advisory board members, financial advisors,
 attorneys and legal representatives, accountants, investment bankers, consultants, fund
 advisors, trusts, trustees, beneficiaries, investment committee members, affiliated investment
 funds or investment vehicles, participants, management companies, direct or indirect owners
 and/or equityholders, investment or fund advisors, representatives, and other professionals and
 advisors and any such Person or Entity’s respective heirs, executors, estates and nominees.

                2.1.151 “Released Parties” means (i) the Debtor, (ii) NewCo, (iii) the Liquidating
Trust, (iv) the UCC and its members, (v) the Ad Hoc Noteholder Group, (vi) the Consenting
Noteholders, (vii) the Indenture Trustees, (viii) each such Entity’s or Person’s Related Parties;
provided that no Person or Entity shall be a Released Party if it files with the Bankruptcy Court
an objection to the Plan (including the releases) that is not consensually resolved before
Confirmation or supports any such objection or objector; provided further that, no current or
former director, officer or other Related Parties of the Debtor is a Released Party in respect of
any prepetition conduct, transactions, or events, unless such Person is listed on Exhibit [•]
hereof.

                2.1.152 “Releasing Parties” means (i) the Released Parties, (ii) all holders of
Claims or Interests that vote to accept the Plan, (iii) all holders of Claims or Interests that are
deemed to accept the Plan and who do not affirmatively opt out of the releases provided by the
Plan by checking the box on the applicable notice of non-voting status indicating that they opt
not to grant the releases provided in the Plan, (iv) all holders of Claims or Interests that abstain
from voting on the Plan and who do not affirmatively opt out of the releases provided by the Plan
by checking the box on the applicable ballot indicating that they opt not to grant the releases
provided in the Plan, (v) all holders of Claims or Interests that vote to reject the Plan but who do
not affirmatively opt out of the releases provided by the Plan by checking the box on the
applicable ballot indicating that they opt not to grant the releases provided in the Plan, (vi) all
holders of Claims or Interests that are deemed to reject the Plan but who affirmatively opt in to
the releases provided by the Plan by checking the box on the applicable notice of non-voting
status indicating that they opt in to grant the releases provided in the Plan, and (vii) each Related
Party of each Person or Entity in clause (i) through (vi) for which such Person or Entity is legally
entitled to bind.



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             2.1.153 “Required Ad Hoc Senior Noteholder Parties” means at any time,
Consenting Noteholders that are members of the Ad Hoc Noteholder Group holding greater than
50% in amount of Senior Notes held by all Consenting Noteholders that are members of the Ad
Hoc Noteholder Group at such time.

                2.1.154 “Restructuring Support Agreement” means that certain Restructuring
Support Agreement, dated as of January 9, 2024, by and among the Debtor and the Supporting
Parties (as defined therein) party thereto, as amended, supplemented or otherwise modified from
time to time, including all exhibits and annexes thereto.

               2.1.155 “Restructuring Transactions” has the meaning set forth in Section 7.9
hereof.

               2.1.156 “Restructuring Transactions Memorandum” shall mean a memorandum
included in the Plan Supplement describing the Restructuring Transactions.

               2.1.157 “Retained Causes of Action” means all of the Debtor’s claims or Causes
of Action, other than those settled, released or exculpated under this Plan; provided, that,
notwithstanding anything herein to the contrary, NewCo or the Liquidating Trust shall retain the
Debtor’s right to commence and pursue (a) the FDIC Claims, (b) Claims against any Debtor
Related Party to the extent not released under the Plan and (c) any Claims or Causes of Action
the Debtor may have against First Citizens Bank & Trust Company.

            2.1.158 “Retained Debtor Assets” means all of the Debtor’s assets to be retained
by NewCo and its subsidiaries after the Effective Date that are not Liquidating Trust Assets or
NewCo Disputed Claims Reserves.

               2.1.159 “Schedule of Assumed Executory Contracts and Unexpired Leases”
means the schedule of certain Executory Contracts and Unexpired Leases to be assumed or
assumed and assigned by the Debtor pursuant to the Plan, as the same may be amended,
modified, or supplemented from time to time by the Debtor.

              2.1.160 “Schedule of Retained Causes of Action” means the schedule of certain
Causes of Action of the Debtor that are not released, waived, or transferred pursuant to the Plan,
as the same may be amended, modified, or supplemented from time to time.

               2.1.161 “SEC” means the United States Securities and Exchange Commission.

               2.1.162 “Section 510(b) Claim” means a Claim subject to subordination under
section 510(b) of the Bankruptcy Code.

                2.1.163 “Secured Claim” means a Claim that is (i) secured by a Lien on property
in which an Estate has an interest or that is subject to setoff under section 553 of the Bankruptcy
Code, to the extent of the value of the Claim Holder’s interest in the Estate’s interest in such
property or to the extent of the amount subject to setoff, as applicable, as determined pursuant to
section 506(a) of the Bankruptcy Code, or (ii) Allowed pursuant to the Plan as a Secured Claim.



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                2.1.164 “Secured Tax Claim” means any Secured Claim against the Debtor that,
absent its secured status, would be entitled to priority in right of payment under section 507(a)(8)
of the Bankruptcy Code (determined irrespective of time limitations), including any related
Secured Claim for penalties.

              2.1.165 “Securities Act” means the Securities Act of 1933, as now in effect or
hereafter amended, and the rules and regulations of the U.S. Securities and Exchange
Commission promulgated thereunder.

               2.1.166 “security” means a security as defined in section 2(a)(1) of the Securities
Act.

              2.1.167 “Senior Note Claim” means any Claim arising out of or related to the
Senior Notes Indenture.

                2.1.168 “Senior Note Trustee Expenses” means the reasonable and documented
compensation, fees, expenses, disbursements, and claims for indemnity, subrogation, and
contribution incurred or owed to the Senior Notes Indenture Trustee and its professionals,
whether prior to or after the Petition Date and whether prior to or after the Effective Date, and
reasonable fees and expenses incurred in connection with distributions made pursuant to the Plan
or the cancellation and discharge of the Senior Notes Indenture and/or the Senior Notes
Supplemental Indenture, in each case to the extent payable or reimbursable under the Senior
Notes Indenture and/or the Senior Notes Supplemental Indenture, as applicable, including the
reasonable and documented fees and expenses of Davis Polk & Wardwell LLP and Seward &
Kissel LLP, as counsel to the Senior Notes Indenture Trustee and PJT Partners LP, as investment
banker to the Senior Notes Indenture Trustee.

               2.1.169 “Senior Notes” means the 2025 Senior Notes, 2026 Senior Notes, 2028
Senior Notes, 2030 Senior Notes, 2031 Senior Notes, 2028 Senior Fixed-to-Floating Rate Notes,
and the 2033 Senior Fixed-to-Floating Rate Notes.

              2.1.170 “Senior Notes Indenture” means that certain Indenture, dated as of
September 10, 2010, between SVBFG and the Senior Notes Indenture Trustee, pursuant to which
the Senior Notes were issued, as may be amended, supplemented or otherwise modified from
time to time.

                2.1.171 “Senior Notes Indenture Trustee” means U.S. Bank Trust Company,
National Association (as successor-in-interest to U.S. Bank National Association), as indenture
trustee of the Senior Notes Indenture, and any successor trustee appointed in accordance with the
terms of the Senior Notes Indenture.

                2.1.172 “Senior Notes Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of April 28, 2022, between SVBFG and the Senior Notes
Indenture Trustee, supplementing and amending the terms of the Senior Notes Indenture with
respect to the 2028 Senior Fixed-to-Floating Rate Notes and the 2033 Senior Fixed-to-Floating
Rate Notes.



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                2.1.173 “Series A Preferred Stock” means the 5.250% fixed-rate series A non-
cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series A
Certificate of Designation dated December 6, 2019.

                2.1.174 “Series B Preferred Stock” means the 4.100% Fixed-to-Reset series B
non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series B
Certificate of Designation dated February 2, 2021.

                2.1.175 “Series C Preferred Stock” means the 4.000% Fixed-to-Reset series C
non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series C
Certificate of Designation dated May 13, 2021.

                2.1.176 “Series D Preferred Stock” means the 4.250% Fixed-to-Reset series D
non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series D
Certificate of Designation dated October 28, 2021.

                2.1.177 “Series E Preferred Stock” means the 4.7000% Fixed-to-Reset series D
non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series E
Certificate of Designation dated October 28, 2021.

               2.1.178 “Shared Services Agreement” means a shared services agreement or
similar arrangement or understanding which governs the provision of operating services and
general and administrative services, including but not limited to legal, accounting and treasury
between NewCo and the Liquidating Trust.

               2.1.179 “Solicitation Procedures Order” means the [•] [D.I. [•]].

                2.1.180 “Specified Governmental Unit” means a “governmental unit” as defined
in section 101(27) of the Bankruptcy Code but excluding for sake of clarity the FDIC, including
in its corporate capacity and in its capacities as receiver for either Silicon Valley Bank of Santa
Clara, California or Silicon Valley Bridge Bank, N.A.

              2.1.181 “Stock Register” means the ownership register of SVBFG Common
Stock maintained by, or behalf of, the Debtor.

               2.1.182 “Subordinated Note Claims” means the BP Trust I Claims and the BP
Trust II Claims.

              2.1.183 “Subordinated Note Indenture Trustees” means BP Trust I Indenture
Trustee and BP Trust II Indenture Trustee.

              2.1.184 “Subordinated Note Indentures” means BP Trust I Indenture, BP Trust I
Supplemental Indenture, BP Trust II Indenture and BP Trust II Supplemental Indenture.

                2.1.185 “Subordinated Note Trustee Expenses” means the reasonable and
documented compensation, fees, expenses, disbursements, and claims for indemnity,
subrogation, and contribution incurred or owed to the Subordinated Note Indenture Trustees and
their professionals, whether prior to or after the Petition Date and whether prior to or after the

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Effective Date, and reasonable fees and expenses incurred in connection with distributions made
pursuant to the Plan or the cancellation and discharge of the Subordinated Note Indentures, in
each case to the extent payable or reimbursable under the Subordinated Note Indentures,
including the reasonable and documented fees and expenses of Pryor Cashman LLP, as counsel
to the Subordinated Note Indenture Trustees.

              2.1.186 “Subordinated Notes” means the BP Trust I Preferred Securities and the
BP Trust II Capital Securities.

               2.1.187 “SVB Capital Sale” means the sale of the SVB Capital business, subject
to the terms and conditions provided in the Interest Purchase Agreement, dated as of May 2,
2024, by and between the Debtor and Pinegrove Sierra HoldCo LLC.

               2.1.188 “SVBFG” has the meaning set forth in the Introduction hereto.

               2.1.189 “Tax Authority” means a federal, state, local or foreign government, or
agency, instrumentality, or employee thereof, court, or other body (if any) charged with the
administration of any law relating to Taxes.

               2.1.190 “Tax Return” means a return, declaration, form, election letter, report,
statement, estimate, information return, or other information filed or required to be filed with
respect to any Taxes, including any schedule or attachment thereto or amendment thereof.

                 2.1.191 “Taxes” means all (i) federal, state, local, or foreign taxes, including all
net income, net worth or gross receipts, capital, value added, franchise, profits, employment,
estimated, excise, severance, stamp, occupation, premium, windfall profits, environmental,
custom duties, property, sales, use, license, transfer, registration, payroll, withholding, social
security, unemployment, disability, alternative or add-on minimum or other taxes, and
(ii) interest, penalties, fines, additions to tax or additional amounts imposed by any Tax
Authority or paid in connection with any item described in clause (i) hereof.

               2.1.192 “Treasury Regulations” means the United States Department of Treasury
regulations promulgated under the IRC.

               2.1.193 “U.S. Trustee” means William K. Harrington, the United States Trustee
for Region 2, U.S. Department of Justice, Office of the U.S. Trustee.

                2.1.194 “U.S. Trustee Fees” mean fees arising under 28 U.S.C. § 1930(a)(6) and,
to the extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

              2.1.195 “UCC” means the official committee of unsecured creditors of the
Debtor appointed in the Chapter 11 Case pursuant to section 1102 of the Bankruptcy Code, as
may be reconstituted from time to time.

                2.1.196 “Unclaimed Distribution” means any distribution under the Plan on
account of an Allowed Claim or Interest to a Holder that has not: (i) accepted a particular
distribution or, in the case of a distribution made by check, negotiated such check, (ii) given
written notice to the Distribution Agent of an intent to accept a particular distribution,

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(iii) responded in writing to the request of the Distribution Agent for information necessary to
facilitate a particular distribution, or (iv) taken any other action necessary to facilitate such
distribution (including, with respect to any NewCo Distribution, certification that it is a Qualified
Holder or a Non-Qualified Holder).

                2.1.197 “Unexpired Lease” means a lease to which the Debtor is a party and that
is subject to assumption or rejection under section 365 of the Bankruptcy Code.

              2.1.198 “Unimpaired” means, with respect to a Class of Claims or Interests, a
Class of Claims or Interests that is not impaired within the meaning of such term in section 1124
of the Bankruptcy Code.

              2.1.199 “United States of America,” “United States” or “U.S.” means the United
States of America and its federal agencies.

               2.1.200 “Voting Record Date” means the record date for voting on the Plan,
which shall be [May 14, 2024].

       2.2     Rules of Interpretation

                 For the purposes of this Plan: (i) in the appropriate context, each term, whether
stated in the singular or the plural, shall include both the singular and the plural, and pronouns
stated in the masculine, feminine or neuter gender shall include the masculine, feminine and the
neuter gender, (ii) any reference herein to the word “including” or any word of similar import
shall be read to mean “including without limitation,” (iii) unless otherwise specified, all
references herein to “Sections” are references to Sections hereof or hereto, (iv) unless otherwise
specified, the words “herein,” “hereof” and “hereto” refer to the Plan in its entirety rather than a
particular portion of the Plan, (v) captions and headings to Sections are inserted for the
convenience of reference only and are not intended to be a part of or to affect the interpretation
of the Plan, (vi) unless otherwise specified herein, the rules of construction set forth in section
102 of the Bankruptcy Code shall apply, (vii) unless otherwise specified, all references herein to
exhibits are references to exhibits in the Plan Supplement, (viii) all references to docket numbers
of documents filed in the Chapter 11 Case are references to the docket numbers under the
Bankruptcy Court’s Case Management/Electronic Case Files system, (ix) all references to
statutes, regulations, orders, rules of courts and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Case, unless otherwise stated, (x) unless otherwise
specified, any reference herein to a contract, agreement, lease, plan, policy, document or
instrument being in a particular form or on particular terms and conditions means that the same
shall be substantially in that form or substantially on those terms and conditions, (xi) unless
otherwise specified, any reference herein to a contract, agreement, lease, plan, policy, document
or instrument or schedule or exhibit thereto, whether or not filed, shall mean the same as
amended, restated, modified or supplemented from time to time in accordance with the terms
hereof or thereof, (xii) any effectuating provisions may be interpreted by the Debtor, NewCo or
the Liquidating Trust, as applicable, with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties (not to be unreasonably withheld, conditioned or delayed and to the
extent provided in the Restructuring Support Agreement), in a manner consistent with the overall
purpose and intent of this Plan or the Confirmation Order, all without further notice to or action,


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Order, or approval of the Bankruptcy Court or any other Entity, (xiii) any reference to an Entity
as a Holder of a Claim or Interest includes that Entity’s successors and permitted assigns,
(xiv) references to “shareholders,” “directors” and/or “officers” shall also include “members”
and/or “managers,” as applicable, as such terms are defined under the applicable limited liability
company laws, (xv) except as otherwise expressly provided in this Plan, where this Plan
contemplates that the Debtor, NewCo or the Liquidating Trust, as applicable, shall take any
action, incur any obligation, issue any security or adopt, assume, execute or deliver any contract,
agreement, lease, plan, policy, document or instrument on or prior to the Effective Date, the
same shall be duly and validly authorized by the Plan and effective against and binding upon the
Debtor, NewCo or the Liquidating Trust, as applicable, on and after the Effective Date without
further notice to, order of or other approval by the Bankruptcy Court, action under applicable
law, regulation, order or rule, or the vote, consent, authorization or approval of the board of
directors of the Debtor or any other Entity, (xvi) except as otherwise provided in the Plan,
anything required to be done by the Debtor, NewCo or the Liquidating Trust, as applicable, on
the Effective Date may be done on the Effective Date or as soon as reasonably practicable
thereafter and (xvii) all references herein to the NewCo Transaction shall be deemed to be
followed by “if any” whether or not stated.

       2.3     Governing Law

                Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated herein
(including in the Plan Supplement), the laws of the State of New York, without giving effect to
the principles of conflicts of laws, shall govern the construction and implementation of the Plan
and any agreement, document or instrument executed or entered into in connection with the Plan;
provided, however, that corporate or limited liability company governance matters relating to the
Debtor, NewCo, and the Liquidating Trust, as applicable, shall be governed by the laws of the
state of incorporation or formation (as applicable).

       2.4     Computation of Time

               In computing any period of time prescribed or allowed by the Plan, unless
otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. If any
payment, distribution, act or deadline under the Plan is required to be made or performed or
occurs on a day that is not a Business Day, then the making of such payment or distribution, the
performance of such act or the occurrence of such deadline shall be deemed to be on the next
succeeding Business Day, but shall be deemed to have been completed or to have occurred as of
the required date.

       2.5     References to Monetary Figures

              All references in the Plan to monetary figures shall refer to currency of the United
States of America unless otherwise expressly provided.

       2.6     Consent Rights

                Notwithstanding anything herein to the contrary, (i) any and all consent and
consultation rights of all parties to the Restructuring Support Agreement under such agreement

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with respect to the Plan, all exhibits to the Plan, the Plan Supplement, the proposed form of
Confirmation Order, and any other Definitive Documents, including any amendments,
restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, as more fully set forth
in the Restructuring Support Agreement, are incorporated herein by this reference and shall be
fully enforceable as if stated in full herein, and (ii) any action or inaction that may be taken by
the Debtor or any of its subsidiaries shall be subject to the covenants of the Debtor set forth in
the Restructuring Support Agreement. Failure to reference herein any right, privilege or
obligation provided for by the Restructuring Support Agreement shall not impair any such right,
privilege or obligation.




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3.     OTHER ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, PRIORITY TAX
       CLAIMS AND STATUTORY FEES

       3.1     Other Administrative Claims

               3.1.1   Treatment of Other Administrative Claims

                Subject to Section 11.4 hereof, except to the extent that the applicable Holder of
an Allowed Other Administrative Claim agrees to less favorable treatment with the Debtor (with
the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, each Holder of an Allowed Other Administrative Claim shall receive, on account of such
Allowed Other Administrative Claim to the extent any portion of such Allowed Other
Administrative Claim has not been paid in full during the course of the Chapter 11 Case,
payment in full in Cash (i) on or as soon as reasonably practicable after the later of the Effective
Date and the date such Claim is Allowed, (ii) if such Allowed Other Administrative Claim is for
goods and services provided to the Debtor in the ordinary course of business, in accordance with
the terms and conditions of the applicable transaction documentation or course of business
dealings with the Debtor, (iii) as otherwise may be agreed upon by such Holder and the Debtor
(with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust or (iv) as otherwise ordered by the Bankruptcy Court.

               3.1.2   Filing Other Administrative Claims

                Absent order of the Bankruptcy Court to the contrary, all requests for payment of
Other Administrative Claims that accrued on or before the Effective Date must be filed with the
Notice and Claims Agent or the Bankruptcy Court and served on counsel for the Debtor by the
Administrative Expense Claim Bar Date. Any Holder of an Other Administrative Claim who is
required to, but does not, file and serve a request for payment of such Other Administrative
Claim pursuant to the procedures specified in the Confirmation Order on or prior to the
Administrative Expense Claim Bar Date shall be forever barred, estopped and enjoined from
asserting such Administrative Expense Claim against the Debtor, the Liquidating Trust or
NewCo or its respective property, and such general Other Administrative Claim shall be deemed
discharged as of the Effective Date.

                Following the Effective Date, the Liquidating Trust shall have exclusive authority
to settle Other Administrative Claims without further Bankruptcy Court approval.

                Unless the Debtor or the Liquidating Trust or any other Entity object to a timely
filed and properly served Other Administrative Claim by the 90th calendar day after the Effective
Date, subject to further extensions and/or exceptions as may be ordered by the Bankruptcy Court
upon motion on notice to all parties filing a notice of appearance and request for service pursuant
to Bankruptcy Rule 2002 in the Chapter 11 Case, such Other Administrative Claim shall be
deemed Allowed in the amount requested. If the Debtor or the Liquidating Trust or any other
Entity object to an Other Administrative Claim, the parties may confer to try to reach a
settlement and, failing that, the Bankruptcy Court shall determine whether such Other


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Administrative Claim should be Allowed and, if so, in what amount. Notwithstanding the
foregoing, requests for payment of Other Administrative Claim need not be filed for Other
Administrative Claims that (i) are undisputed Claims for unpaid invoices for goods or services
provided to the Debtor in the ordinary course of business, (ii) previously have been Allowed by
Final Order of the Bankruptcy Court, (iii) are for Cure Costs or (iv) the Debtor (with the consent
of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be unreasonably
withheld, conditioned or delayed) or, after the Effective Date, the Liquidating Trust, have
otherwise agreed in writing to not require such a filing.

       3.2     Professional Fee Claims

               3.2.1   Final Fee Applications

               All final requests for payment of Professional Fee Claims shall be filed and
served no later than 60 days after the Effective Date, in accordance with the procedures
established under the Interim Compensation Order. In accordance with the procedures
established under the Interim Compensation Order, the Bankruptcy Court shall determine the
Allowed amounts of such Professional Fee Claims.

                Except to the extent that the applicable Holder of an Allowed Professional Fee
Claim agrees to less favorable treatment with the Debtor (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed) or, after the Effective Date, the Liquidating Trust, each Holder of a Professional Fee
Claim that has been approved by the Bankruptcy Court shall be paid in full in Cash.

               3.2.2   Professional Fee Escrow Account

                On or prior to the Effective Date, the Debtor shall fund the Professional Fee
Escrow Account with Cash equal to the aggregate Professional Fee Reserve Amount for all
Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
Professionals. Such funds in the Professional Fee Escrow Account shall not constitute property
of the Debtor’s Estate, except as otherwise expressly set forth in the last sentence of this
paragraph. The amount of Professional Fee Claims owing to the Professionals on and after the
Effective Date shall be paid in Cash to such Professionals from funds held in the Professional
Fee Escrow Account, without interest or other earnings therefrom, as soon as reasonably
practicable after such Claims are Allowed by a Bankruptcy Court order; provided that the
Debtor’s obligation with respect to Professional Fee Claims will not be limited nor be deemed to
be limited in any way to the balance of funds held in the Professional Fee Escrow Account.
When all Allowed Professional Fee Claims have been paid in full, amounts remaining in the
Professional Fee Escrow Account, if any, shall promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

               3.2.3   Professional Fee Reserve Amount

               To receive payment for unbilled fees and expenses incurred through and including
the Effective Date, the Professionals shall estimate their accrued Professional Fee Claims prior to
and as of the Confirmation Date, along with an estimate of fees and expenses to be incurred

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through and including the Effective Date, and shall deliver such good-faith estimates to the
Debtor by no later than seven days before the Effective Date; provided, however, that such
estimates shall not be considered an admission or limitation with respect to the fees and expenses
of such Professional. If a Professional does not provide such estimate, the Debtor may estimate
the unbilled fees and expenses of such Professional. The total amount so estimated shall
comprise the Professional Fee Reserve Amount. To the extent the Professional Fee Reserve
Amount is not sufficient to pay all Allowed Professional Fee Claims in full, the remaining
aggregate amount of the Allowed Professional Fee Claims shall be paid by the Liquidating Trust.

               3.2.4   Post-Effective Date Fees and Expenses

                Except as otherwise specifically provided in the Plan, from and after the Effective
Date, NewCo and the Liquidating Trust, as applicable, may, in the ordinary course of business
and without any further notice to or action, order or approval of the Bankruptcy Court, pay in
Cash the legal, professional or other fees and expenses related to the implementation and
consummation of the Plan incurred by NewCo, the Liquidating Trust or any Professional
following the Effective Date. Upon the Effective Date, any requirement that Professionals
comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and NewCo and the
Liquidating Trust may employ and pay any Professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order or approval of the Bankruptcy Court.

       3.3     Treatment of Priority Tax Claims

                Subject to Section 11.4 hereof, except to the extent that the applicable Holder of
an Allowed Priority Tax Claim has been paid by the Debtor before the Effective Date, or such
Holder agrees to less favorable treatment, each Holder of an Allowed Priority Tax Claim shall
receive, on account of such Allowed Priority Tax Claim, at the option of the Debtor (with the
consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be unreasonably
withheld, conditioned or delayed) or, after the Effective Date, the Liquidating Trust, (i) payment
in full in Cash made (a) on or as soon as reasonably practicable after the Effective Date or (b) on
the date such payment is due in the ordinary course of business, (ii) regular installment payments
in accordance with section 1129(a)(9)(C) of the Bankruptcy Code or (iii) such other amounts and
in such other manner as may be determined by the Bankruptcy Court to provide the Holder of
such Allowed Priority Tax Claim deferred Cash payments having a value, as of the Effective
Date, equal to such Allowed Priority Tax Claim.

               The Liquidating Trust shall have the right, in its sole discretion, to pay any
Allowed Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim
(together with accrued but unpaid interest) in full at any time after the Effective Date without
premium or penalty.




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       3.4     Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses and
               Subordinated Note Trustee Expenses

                Any outstanding and unpaid Ad Hoc Noteholder Group Expenses, Senior Note
Trustee Expenses and Subordinated Note Trustee Expenses incurred, or estimated to be incurred,
up to and including the Effective Date, shall be paid in full in Cash prior to the Effective Date,
without the requirement to file a fee application with the Bankruptcy Court or comply with any
guidelines of the U.S. Trustee and without any requirement for review or approval by the
Bankruptcy Court or any Entity.

               From and after the Confirmation Date, any outstanding and unpaid Ad Hoc
Noteholder Group Expenses, Senior Note Trustee Expenses and Subordinated Note Trustee
Expenses shall be paid in full in Cash as soon as reasonably practicable, but in no event later
than seven (7) Business Days after submission of an invoice to the Debtor, without the
requirement to file a fee application with the Bankruptcy Court or comply with any guidelines of
the U.S. Trustee and without any requirement for review or approval by the Bankruptcy Court or
any Entity.

                All Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses and
Subordinated Note Trustee Expenses to be paid on or after the Confirmation Date shall be
estimated, as necessary, prior to or as of the Confirmation Date and such estimate shall be
delivered to the Debtor; provided that such estimate shall not be considered an admission or
limitation with respect to such Ad Hoc Noteholder Group Expenses, Senior Note Trustee
Expenses and Subordinated Note Trustee Expenses. In addition, the Liquidating Trust is
authorized to continue to pay the Ad Hoc Noteholder Group Expenses, Senior Note Trustee
Expenses and Subordinated Note Trustee Expenses, as necessary, after the Effective Date when
due and payable in the ordinary course solely to the extent related to implementation,
consummation and defense of the Plan and the transactions contemplated thereby, whether
incurred before, on or after the Effective Date, without any requirement for review or approval
by the Bankruptcy Court or any Entity.

               For the avoidance of doubt, the payment of the Ad Hoc Noteholder Group
Expenses, Senior Note Trustee Expenses and Subordinated Note Trustee Expenses is a material
term of the Restructuring Support Agreement which is embodied in and is part of this Plan, and the
Debtor’s payment of such expenses is authorized by and pursuant to Sections 363(b), 364(b),
503(b), 1123(b)(6) and 1129(a)(4) of the Bankruptcy Code and Bankruptcy Rule 9019.

       3.5     Statutory Fees Payable Pursuant to 28 U.S.C. § 1930

                 All fees due and payable pursuant to section 1930 of Title 28 of the U.S. Code
prior to the Effective Date shall be paid by the Debtor on the Effective Date. The Debtor shall
file all quarterly reports due prior to the Effective Date when they become due, in a form
reasonably acceptable to the U.S. Trustee.




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4.          CLASSIFICATION AND TREATMENT OF OTHER CLAIMS AND INTERESTS

                Pursuant to sections 1122 and 1123 of the Bankruptcy Code, all Claims and
Interests, except for Claims addressed in Section 3 hereof, are classified for all purposes as set
forth in this Section 4. A Claim or Interest shall be deemed classified in a particular Class only
to the extent that the Claim or Interest qualifies within the description of that Class, and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or Interest
qualifies within the description of such different Class. A Claim or Interest is in a particular
Class only to the extent that such Claim or Interest is Allowed in that Class and has not been paid
or otherwise satisfied prior to the Effective Date. For any Claim or Interest where a Proof of
Claim has been filed, upon payment or satisfaction of such Claim or Interest and notice of such
payment or satisfaction to the Holder of such Claim or Interest, such Claim or Interest may be
adjusted or expunged on the Claims Register without a claims objection having to be filed and
without any further notice to or action, order or approval of the Bankruptcy Court.

                Except as otherwise specifically provided for in the Plan, the Confirmation Order
or other order of the Bankruptcy Court, or required by applicable non-bankruptcy law, in no
event shall any Holder of an Allowed Claim be entitled to receive (x) payments that in the
aggregate exceed the Allowed amount of such Holder’s Claim or (y) distributions that in the
aggregate exceed the amount permitted by Section 11.4 hereof.

            4.1       Summary of Classes and Treatment of Claims Against and Interests in the Debtor

                The following table designates the Classes of Claims against and Interests in the
Debtor, as applicable, and specifies which of those Classes are (i) Impaired or Unimpaired by the
Plan and (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the
Bankruptcy Code or presumed to accept or deemed to reject the Plan.10 All of the potential
Classes for the Debtor are set forth herein.

 Class            Designation                                     Status                 Voting Rights
   1              Other Secured Claims                            Unimpaired             Not Entitled to Vote
                                                                                         (Presumed to Accept)
      2           Other Priority Claims                           Unimpaired             Not Entitled to Vote
                                                                                         (Presumed to Accept)
     3(a)         Senior Note Claims                              Impaired               Entitled to Vote
     3(b)         Other General Unsecured Claims                  Impaired               Entitled to Vote
      4           Subordinated Note Claims                        Impaired               Entitled to Vote
      5           Preferred Equity Interests                      Impaired               Entitled to Vote
      6           Common Equity Interests                         Impaired               Not Entitled to Vote
                                                                                         (Deemed to Reject)
      7           Section 510(b) Claims                           Impaired               Not Entitled to Vote
                                                                                         (Deemed to Reject)




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     The information in the table is provided in summary form, and is qualified in its entirety by Section 4.2 hereof.


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 Class         Designation                                  Status              Voting Rights
   8           Intercompany Claims and Intercompany         Impaired or         Not Entitled to Vote
               Interests                                    Unimpaired          (Presumed to Accept or
                                                                                Deemed to Reject)

         4.2      Treatment of Claims and Interests

                  4.2.1      Class 1 – Other Secured Claims

                           i.       Classification: Class 1 consists of all Other Secured Claims.

                          ii.       Treatment: Except to the extent that a Holder of an Allowed Other
                                    Secured Claim agrees to less favorable treatment, in full and final
                                    satisfaction, compromise, settlement, release, and discharge of and
                                    in exchange for its Allowed Other Secured Claim, each Holder of
                                    an Allowed Other Secured Claim shall receive, at the Debtor’s
                                    option (with the consent of the UCC and the Required Ad Hoc
                                    Senior Noteholder Parties, not to be unreasonably withheld,
                                    conditioned or delayed): (a) payment in full in Cash; (b) delivery
                                    of the collateral securing its Allowed Other Secured Claim and
                                    payment of any interest required under section 506(b) of the
                                    Bankruptcy Code; (c) Reinstatement of its Allowed Other Secured
                                    Claim; or (d) such other treatment rendering its Allowed Other
                                    Secured Claim Unimpaired in accordance with section 1124 of the
                                    Bankruptcy Code.

                      iii.          Voting: Claims in Class 1 are Unimpaired. Each Holder of an
                                    Other Secured Claim is conclusively presumed to have accepted
                                    the Plan pursuant to section 1126(f) of the Bankruptcy Code. No
                                    Holder of Other Secured Claims is entitled to vote to accept or
                                    reject the Plan.

                  4.2.2      Class 2 – Other Priority Claims

                           i.       Classification: Class 2 consists of all Other Priority Claims.

                          ii.       Treatment: Except to the extent that a Holder of an Allowed Other
                                    Priority Claim agrees to a less favorable treatment, in full and final
                                    satisfaction, settlement, release, and discharge of and in exchange
                                    for its Allowed Other Priority Claim, each Holder of an Allowed
                                    Other Priority Claim shall receive treatment in a manner consistent
                                    with section 1129(a)(9) of the Bankruptcy Code.

                      iii.          Voting: Claims in Class 2 are Unimpaired. Each Holder of an
                                    Other Priority Claim is conclusively presumed to have accepted
                                    the Plan pursuant to section 1126(f) of the Bankruptcy Code. No



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                                Holder of an Other Priority Claim is entitled to vote to accept or
                                reject the Plan.

              4.2.3      Class 3(a) – Senior Note Claims

                       i.       Classification: Class 3(a) consists of all Senior Note Claims.

                      ii.       Allowance: Senior Note Claims shall be Allowed in the aggregate
                                outstanding principal amount of $[3,300,000,000.00], plus accrued
                                and unpaid interest to and including the Petition Date at the non-
                                default contract rate.

                  iii.          Treatment: Except to the extent that a Holder of an Allowed
                                Senior Note Claim agrees to a less favorable treatment (with the
                                consent of the UCC and the Required Ad Hoc Senior Noteholder
                                Parties, not to be unreasonably withheld, conditioned or delayed),
                                in full and final satisfaction, settlement, release and discharge of
                                and in exchange for its Allowed Senior Note Claim, each Holder of
                                an Allowed Senior Note Claim shall receive (a)(i) if and solely to
                                the extent such Holder is a Qualified Holder, its Pro Rata share
                                (together with all Holders receiving Distributions in NewCo
                                Common Stock) of the NewCo Common Stock subject to dilution
                                by any NewCo Transaction or (ii) if and solely to the extent such
                                Holder is a Non-Qualified Holder, Cash in an amount equal to the
                                value of the NewCo Common Stock it would be entitled to receive
                                if it were a Qualified Holder, (b) its Pro Rata share (together with
                                all Holders receiving Distributions of the Class A Trust Units) of
                                the Class A Trust Units and (c) payment by the Debtor in Cash of
                                the Senior Note Trustee Expenses, to the extent not otherwise paid
                                by the Debtor under the Plan.

                  iv.           Voting: Claims in Class 3(a) are Impaired. Each Holder of an
                                Allowed Senior Note Claim is entitled to vote to accept or reject
                                the Plan.

              4.2.4      Class 3(b) – Other General Unsecured Claims

                       i.       Classification: Class 3(b) consists of all Other General Unsecured
                                Claims.

                      ii.       Treatment: Except to the extent that a Holder of an Allowed Other
                                General Unsecured Claim agrees to a less favorable treatment
                                (with the consent of the UCC and the Required Ad Hoc Senior
                                Noteholder Parties, not to be unreasonably withheld, conditioned
                                or delayed), in full and final satisfaction, settlement, release and
                                discharge of and in exchange for its Allowed Other General
                                Unsecured Claim, each Holder of an Allowed Other General
                                Unsecured Claim shall receive:

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                                        (a) (i)(A) if and solely to the extent such Holder is a
                                        Qualified Holder, its Pro Rata share (together with all
                                        Holders receiving Distributions in NewCo Common Stock)
                                        of the NewCo Common Stock subject to dilution by any
                                        NewCo Transaction or (B) if and solely to the extent such
                                        Holder is a Non-Qualified Holder, Cash in an amount equal
                                        to the value of the NewCo Common Stock it would be
                                        entitled to receive if it were a Qualified Holder, and (ii) its
                                        Pro Rata share (together with all Holders receiving
                                        Distributions of the Class A Trust Units) of the Class A
                                        Trust Units; or

                                        (b) if such Holder elects on the applicable ballot, the GUC
                                        Cash-Out with respect to such Claim.

                  iii.          Voting: Claims in Class 3(b) are Impaired. Each Holder of an
                                Allowed Other General Unsecured Claim is entitled to vote to
                                accept or reject the Plan.

              4.2.5      Class 4 – Subordinated Note Claims

                       i.       Classification: Class 4 consists of all Subordinated Note Claims.

                      ii.       Allowance: Subordinated Note Claims shall be Allowed in the
                                aggregate outstanding principal amount of $[104,492,871.02], plus
                                accrued and unpaid interest to and including the Petition Date at
                                the non-default contract rate.

                  iii.          Treatment: Except to the extent that a Holder of an Allowed
                                Subordinated Note Claim agrees to a less favorable treatment, in
                                full and final satisfaction, settlement, release and discharge of and
                                in exchange for its Allowed Subordinated Note Claim, each Holder
                                of an Allowed Subordinated Note Claim shall receive its Pro Rata
                                share of (a) the Class B Trust Units in an aggregate amount equal
                                to such Holder’s Allowed Subordinated Note Claim and
                                (b) payment by the Debtor in Cash of the Subordinated Note
                                Trustee Expenses, to the extent not otherwise paid by the Debtor
                                under the Plan.

                  iv.           Voting: Claims in Class 4 are Impaired. Each Holder of an
                                Allowed Subordinated Note Claim is entitled to vote to accept or
                                reject the Plan.

              4.2.6      Class 5 – Preferred Equity Interests

                       i.       Classification: Class 5 consists of all Preferred Equity Interests.



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                      ii.       Allowance: Preferred Equity Interests shall be Allowed in an
                                amount equal to the Liquidation Preference per share, together
                                with an amount equal to all dividends (if any) that have been
                                declared but not paid prior to the date of distributions (but without
                                regard to any undeclared dividends).

                  iii.          Treatment: Except to the extent that a Holder of an Allowed
                                Preferred Equity Interest agrees to a less favorable treatment, in
                                full and final satisfaction, settlement, release and discharge of and
                                in exchange for its Allowed Preferred Equity Interest, each Holder
                                of an Allowed Preferred Equity Interest shall receive its Pro Rata
                                share of the Class C Trust Units.

                  iv.           Voting: Claims in Class 5 are Impaired. Each Holder of an
                                Allowed Preferred Equity Interest is entitled to vote to accept or
                                reject the Plan.

              4.2.7      Class 6 – Common Equity Interests

                       i.       Classification: Class 6 consists of all Common Equity Interests.

                      ii.       Treatment: No Holder of a Common Equity Interest shall receive
                                any Distributions on account of its Common Equity Interest. On
                                and after the Effective Date, all Common Equity Interests shall be
                                canceled, released, discharged, and extinguished and will be of no
                                further force or effect, and Holders of such Interests shall not
                                receive or retain any distribution, property, or other value on
                                account of such Interests.

                  iii.          Voting: Interests in Class 6 are Impaired. Each Holder of a
                                Common Equity Interest is conclusively deemed to have rejected
                                the Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                                Holder of a Common Equity Interest is entitled to vote to accept or
                                reject the Plan.

              4.2.8      Class 7 – Section 510(b) Claims

                       i.       Classification: Class 7 consists of all Section 510(b) Claims.

                      ii.       Treatment: No Holder of a Section 510(b) Claim shall receive any
                                Distributions on account of its Section 510(b) Claim. On and after
                                the Effective Date, all Section 510(b) Claims shall be canceled,
                                released, discharged, and extinguished and will be of no further
                                force or effect, and Holders of Section 510(b) Claims shall not
                                receive or retain any distribution, property, or other value on
                                account of such Claims.



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                  iii.          Voting: Claims in Class 7 are Impaired. Each Holder of a Section
                                510(b) Claim is conclusively deemed to have rejected the Plan
                                pursuant to section 1126(g) of the Bankruptcy Code. No Holder of
                                a Section 510(b) Claim is entitled to vote to accept or reject the
                                Plan.

              4.2.9      Class 8 – Intercompany Claims and Intercompany Interests

                       i.       Classification: Class 8 consists of all Intercompany Claims and
                                Intercompany Interests.

                      ii.       Treatment: On and after the Effective Date, each Intercompany
                                Claim and each Intercompany Interest shall be (a) canceled,
                                released, and discharged, (b) Reinstated, (c) converted to equity, or
                                (d) otherwise set off, settled, or distributed, in each case at the
                                option of the Debtor with the consent of the UCC and the Required
                                Ad Hoc Senior Noteholder Parties, not to be unreasonably
                                withheld, conditioned or delayed.

                  iii.          Voting: Claims and Interests in Class 8 are Impaired or
                                Unimpaired. Each Holder of an Intercompany Claim or an
                                Intercompany Interest is conclusively deemed to have accepted or
                                rejected the Plan pursuant to section 1126(f) or 1126(g) of the
                                Bankruptcy Code. No Holder of an Intercompany Claim or an
                                Intercompany Interest is entitled to vote to accept or reject the
                                Plan.




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5.     THE LIQUIDATING TRUST

       5.1     The Liquidating Trust Agreement

                On or before the Effective Date, the Liquidating Trust will be established
pursuant to the Liquidating Trust Agreement. The Liquidating Trust Agreement may provide
powers, duties, and authorities in addition to those explicitly stated herein, but only to the extent
that such powers, duties and authorities do not affect the status of the Liquidating Trust as a
“liquidating trust” for United States federal income tax purposes. Notwithstanding anything in
the Liquidating Trust Agreement to the contrary, the Liquidating Trust will be structured and
operate in a manner that does not require registration of the Liquidating Trust under the
Investment Company Act.

       5.2     Purpose of the Liquidating Trust

                The Liquidating Trust shall be established for the sole purpose of liquidating and
distributing the Liquidating Trust Assets, in accordance with Treasury Regulation section
301.7701-4(d), with no objective to continue or engage in the conduct of a trade or business,
except to the extent reasonably necessary to, and consistent with, the liquidating purpose of the
Liquidating Trust. The Liquidating Trust shall be deemed a successor-in-interest of the Debtor
to the maximum extent necessary for the Liquidating Trust to execute its purpose, and shall not
otherwise be deemed a successor-in-interest to the Debtor for any purpose other than as
specifically set forth in the Plan or in the Liquidating Trust Agreement.

       5.3     Liquidating Trust Assets

                On the Effective Date, the Liquidating Trust Assets shall be deemed irrevocably
transferred to the Liquidating Trust or entities to be formed by the Liquidating Trust, in each
case in accordance with the Restructuring Transactions Memorandum and without any further
action of NewCo, the Debtor or its subsidiaries or any of their respective managers, employees,
officers, directors, members, partners, shareholders, agents, advisors, or representatives. The
Liquidating Trust Assets shall vest in the Liquidating Trust, free and clear of all Liens, Claims,
charges, rights, or other encumbrances subject to and in accordance with the Plan and the
Liquidating Trust Agreement. For purposes of section 553 of the Bankruptcy Code, the transfer
of the Liquidating Trust Assets to the Liquidating Trust shall not affect the mutuality of
obligations that otherwise may have existed prior to the effectuation of such transfer. Such
transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar Tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the
Liquidating Trust Assets to the Liquidating Trust, the Debtor and its predecessors, successors
and assigns, and each other Entity released pursuant to Section 12.9 herein shall be discharged
and released from all liability with respect to the delivery of such distributions. Upon the
transfer of the Liquidating Trust Assets and pursuant to the Liquidating Trust Agreement, the
Debtor will have no reversionary or further interest in or with respect to the Liquidating Trust
Assets.

                After the Effective Date, the Liquidating Trust may, in its reasonable discretion,
contribute all or a portion of the Liquidating Trust Assets to an entity (i) wholly owned by the


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Liquidating Trust and (ii) treated as corporations for U.S. federal income tax purposes (each such
entity, a “Blocker Corporation”); provided that, the Liquidating Trust shall evaluate any such
transfer based on the relative tax costs and other tax consequences to the Liquidating Trust
Beneficiaries of contributing such assets as compared to if such assets were not contributed to a
Blocker Corporation.

               To the extent that any cash refunds of Taxes transferred by NewCo to the
Liquidating Trust is subsequently disallowed or required to be returned to the applicable Tax
Authority, the Liquidating Trust shall be liable for any amounts payable by NewCo to the
applicable Tax Authority as a result of such disallowance or requirement and shall promptly
repay, or cause to be repaid, the amount of such refund, together with any interest, penalties or
other additional amounts imposed by such Tax Authority, to NewCo.

       5.4     Administration of the Liquidating Trust

                The business and affairs of the Liquidating Trust shall be managed by or under
the direction of the Liquidating Trust Board. On the Effective Date, the Liquidating Trust Board
shall be appointed by the Required Ad Hoc Senior Noteholder Parties in a manner reasonably
acceptable to the UCC. Following the Effective Date, the appointment and removal of the
members of the Liquidating Trust Board shall be governed by the Liquidating Trust Agreement.

                 The Liquidating Trust shall have all the rights, powers and duties necessary to
carry out its responsibilities under this Plan and the Confirmation Order. For the avoidance of
doubt, these powers shall include, to the extent applicable, the power to assert, enforce, release,
or waive any privilege or any defense (including as to any privilege that the Debtor held prior to
the Effective Date). The Liquidating Trust shall be the exclusive representative of the Debtor’s
estate for the purposes of 31 U.S.C. § 3713(b) and section 1123(b)(3)(B) of the Bankruptcy Code
and receiver, trustee or assignee of all or substantially all the property or business pursuant to 26
U.S.C. § 6012(b)(3).

                 In furtherance of and consistent with the purpose of the Liquidating Trust and the
Plan, and subject to the terms of the Confirmation Order, the Plan and the Liquidating Trust
Agreement, the Liquidating Trust shall, among other things, have the following rights and
powers: (i) to hold, manage, convert to Cash, and distribute the Liquidating Trust Assets to
holders of Liquidating Trust Interests, including (x) prosecuting and resolving the claims and
Retained Causes of Action belonging to the Liquidating Trust and (y) reducing, from time to
time, the amount of Liquidating Trust Assets held in the Disputed Claims Reserves and returning
such amounts to the Liquidating Trust, provided, for the avoidance of doubt, that any investment
powers of the Liquidating Trust, other than those reasonably necessary to maintain the value of
the assets and to further the liquidating purpose of the trust, must be limited to powers to invest
in demand and time deposits, such as short-term certificates of deposit, in banks or other savings
institutions, or other temporary, liquid investments, such as Treasury bills, (ii) to sell, transfer,
lease, encumber, or otherwise dispose of the Liquidating Trust Assets, (iii) to investigate,
prosecute, settle and/or abandon rights, causes of action, or litigation of the Liquidating Trust,
including Avoidance Actions, (iv) to disburse funds in the Professional Fee Reserve, the
Liquidating Trust Disputed Claims Reserve, and the Liquidating Trust Disputed GUC Cash-Out
Claims Reserve in accordance with the Liquidating Trust Agreement, which shall be consistent

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with the Plan, (v) to distribute Liquidating Trust Interest from the Liquidating Trust Disputed
Interests Reserve in accordance with the Liquidating Trust Agreement, which shall be consistent
with the Plan, (vi) to distribute NewCo Common Stock from the NewCo Disputed Claims
Reserve in accordance with the Shared Services Agreement and the Liquidating Trust
Agreement, as applicable, which shall be consistent with the Plan, (vii) to file all Tax Returns
and tax and regulatory forms, returns, reports, and other documents required with respect to the
Liquidating Trust and any Disputed Claims Reserve, (viii) to object to Claims, and manage,
control, prosecute, and/or settle on behalf of the Liquidating Trust, objections to Claims on
account of which the Distribution Agent will be responsible (if Allowed) for making
distributions under the Plan, (ix) to take all actions necessary and create any document necessary
to implement the Plan, (x) to act as a signatory to the Debtor for all purposes, including those
associated with the novation of contracts or other obligations arising out of the sales of the
Debtor’s assets, and (xi) to take all necessary actions and file all appropriate motions to obtain an
order closing the Chapter 11 Case. Under no circumstance may any person on the Liquidating
Trust Board serve on the board of directors of any Affiliate of the Liquidating Trust.

       5.5     Substitution in Pending Legal Actions

                On the Effective Date, the Liquidating Trust shall be deemed to be substituted as
the party to any pending litigation of a Retained Cause of Action in which the Debtor is a party
and shall be authorized, but not required, to file notices or other pleadings in such actions to
effectuate its substitution for the Debtor. Such substitution shall not result in holders of Claims,
including litigation Claims, against the Debtor receiving greater rights in or against the
Liquidating Trust than they are otherwise entitled to under the Plan and Liquidating Trust
Agreement on account of such Claims.

       5.6     Distribution of Liquidating Trust Assets

                  i.   From time to time (but no less frequently than annually), the Liquidating
                       Trust shall distribute to the Liquidating Trust Beneficiaries on account of
                       their Liquidating Trust Interests in accordance with this Section 5.6 all
                       unrestricted Cash on hand; provided, that in no event shall the Liquidating
                       Trust be required to distribute amounts reasonably necessary to (A) meet
                       contingent liabilities and to maintain the value of the Liquidating Trust
                       Assets during liquidation, (B) pay reasonable incurred or anticipated
                       expenses (including, but not limited to, any Taxes imposed on or payable
                       by the Liquidating Trust or in respect of the Liquidating Trust Assets), or
                       (C) satisfy other liabilities incurred or anticipated by the Liquidating Trust
                       in accordance with the Plan or the Liquidating Trust Agreement.

                 ii.   The Liquidating Trust shall issue class A trust units (the “Class A Trust
                       Units”), class B trust units (the “Class B Trust Units”) and class C trust
                       units (the “Class C Trust Units”) to holders of Claims and Interests in
                       accordance with Sections 4.2 and 11.8.

                iii.   The Class A Trust Units shall be issued to Holders of Allowed General
                       Unsecured Claims (other than Holders of Allowed General Unsecured


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                           Claims that elect to receive the GUC Cash-Out) with an initial distribution
                           preference of $[•],11 which shall accrete at an annual rate of 12%. The
                           Class B Trust Units and the Class C Trust Units shall receive no
                           distributions until the distribution preference (including, for the avoidance
                           of doubt, any accretion thereto) of the Class A Trust Units has been
                           satisfied in full.

                   iv.     The Class B Trust Units shall be issued to Holders of Allowed
                           Subordinated Note Claims with an initial distribution preference to be
                           calculated at the face amount of the Allowed Subordinated Note Claims,
                           which Class B Trust Units shall accrete at an annual rate of 12%.

                    v.     The Class C Trust Units shall be issued to Holders of Allowed Preferred
                           Equity Interests and shall receive no distributions until the distribution
                           preference (including, for the avoidance of doubt, any accretion thereto) of
                           the Class B Trust Units has been satisfied in full.

                   vi.     After satisfaction of the Class A and Class B Units in full, the Class C
                           Trust Units shall be entitled to 100% of Liquidating Trust distributions.

         5.7      Costs and Expenses of the Liquidating Trust

                The individuals serving as or comprising the Liquidating Trust Board shall be
entitled to reasonable compensation in an amount consistent with that of similar functionaries in
similar roles and paid out of the Liquidating Trust Assets. The fees and expenses incurred by the
Liquidating Trust Board on or after the Effective Date and any reasonable compensation and
expense reimbursement claims (including attorney fees and expenses) made by the Liquidating
Trust Board in connection with such Liquidating Trust Board’s duties shall be paid without any
further notice to, or action, order, or approval of, the Bankruptcy Court in Cash from the
Liquidating Trust Assets. Fees and expenses incurred in connection with the prosecution and
settlement of any Claims shall be considered costs and expenses of the Liquidating Trust.

                The Debtor, NewCo, the Delaware Trustee and the Liquidating Trust Board, as
applicable, shall not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court. In the event that the Delaware
Trustee or the Liquidating Trust Board is so ordered after the Effective Date, all costs and
expenses of procuring any such bond or surety shall be paid for with Cash from the Liquidating
Trust Assets.



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     [NTD: To be calculated at the face amount (including accrued and unpaid interest on the Senior Notes as of the
     Petition Date) of all Allowed General Unsecured Claims minus amount of the Allowed General Unsecured
     Claims satisfied by the GUC Cash-Out and minus the value of NewCo Common Stock distributable to Classes
     3(a) and 3(b) under the Plan (taking into the effect of any NewCo Transactions); provided that the
     determination of such value shall be acceptable to the Debtor, the UCC, and the Required Ad Hoc Senior
     Noteholder Parties and shall take into account any NewCo Transactions to be consummated on or prior to the
     Effective Date.]


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       5.8     Retention of Professionals/Employees by the Liquidating Trust Board

               The Liquidating Trust Board may appoint officers or other representative agents
of the Liquidating Trust, including a Liquidating Trust manager and a secretary, to serve as
agents to the Liquidating Trust and carry out the purpose of the Liquidating Trust. The
Liquidating Trust Board shall have the right to hire employees and retain the services of
attorneys, accountants, and other professionals, subject to any limitations imposed by the
Liquidating Trust Board, that are necessary to assist the Liquidating Trust Board in the
performance of their duties without Bankruptcy Court approval. Without limiting the foregoing,
the Liquidating Trust Board may retain any professional that represented parties in interest in the
Chapter 11 Case.

       5.9     Liquidating Trust Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Claims Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan, in the same proportions and amounts as provided for in the Plan,
in the Liquidating Trust Disputed Claims Reserve in trust for the benefit of the Holders of
Disputed Administrative Expense Claims, Disputed Priority Tax Claims, Disputed Other Priority
Claims, Disputed Other Secured Claims and Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust shall use reasonable effort to allocate sufficient property for
the Liquidating Trust Disputed Claims Reserves. The Liquidating Trust shall distribute such
amounts (net of any expenses, including any Taxes relating thereto or otherwise payable by the
Liquidating Trust Disputed Claims Reserve), as provided herein, as such Claims are resolved by
a Final Order or agreed to by settlement, and such amounts will be distributable on account of
such Claims as such amounts would have been distributable had such Claims been Allowed
Claims as of the Effective Date. Amounts remaining in the Liquidating Trust Disputed Claims
Reserve, if any, after the resolution of all applicable Disputed Claims and the satisfaction of all
applicable Allowed Disputed Claims shall promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

       5.10    Liquidating Trust Disputed GUC Cash-Out Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall establish the
Liquidating Trust Disputed GUC Cash-Out Claims Reserve. On or after the Effective Date, the
Liquidating Trust shall place Cash in the Liquidating Trust Disputed GUC Cash-Out Claims
Reserve in trust for the benefit of the Holders of Disputed GUC Cash-Out Claims ultimately
determined to be Allowed after the Effective Date, in an amount, as reasonably determined by
the Liquidating Trust (and with the consent of the UCC and the Required Ad Hoc Senior
Noteholder Parties), sufficient to satisfy the GUC Cash-Out for such GUC Cash-Out Claims to
the extent such Claims are Allowed after the Effective Date. The Liquidating Trust shall
distribute such amounts (net of any expenses, including any Taxes relating thereto or otherwise
payable by the Liquidating Trust Disputed GUC Cash-Out Claims Reserve), as provided herein,
as such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will

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be distributable on account of such Claims as such amounts would have been distributable had
such Claims been Allowed Claims as of the Effective Date; provided that, to the extent the Cash
held in such Liquidating Trust Disputed GUC Cash-Out Claims Reserve is insufficient to fund
the GUC Cash-Out for any GUC Cash-Out Claim when Allowed, such GUC Cash-Out Claim
shall receive its Distribution in accordance with Section 4.2.4(ii)(a) hereof as though it had not
elected the GUC Cash-Out; provided further that Cash remaining in the Liquidating Trust
Disputed GUC Cash-Out Claims Reserve, if any, after the resolution of all applicable Disputed
GUC Cash-Out Claims and the satisfaction of all applicable Allowed Disputed GUC Cash-Out
Claims shall promptly be transferred to the Liquidating Trust, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity.

       5.11    Liquidating Trust Disputed Interests Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Interests Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan (other than NewCo Common Stock), in the same proportions and
amounts as provided for in the Plan, in the Liquidating Trust Disputed Interests Reserve in trust
for the benefit of the Holders of Disputed General Unsecured Claims (other than Disputed GUC
Cash-Out Claims), Disputed Subordinated Note Claims and Disputed Preferred Equity Interests
ultimately determined to be Allowed after the Effective Date; provided that the Liquidating Trust
shall use reasonable effort to allocate sufficient property for the Liquidating Trust Disputed
Interests Reserves. The Liquidating Trust shall distribute such amounts (net of any expenses,
including any Taxes relating thereto or otherwise payable by the Liquidating Trust Disputed
Interests Reserve), as provided herein, as such Claims or Interests are resolved by a Final Order
or agreed to by settlement, and such amounts will be distributable on account of such Claims or
Interests as such amounts would have been distributable had such Claims or Interests been
Allowed Claims or Interests as of the Effective Date. Amounts remaining in the Liquidating
Trust Disputed Interests Reserve, if any, after the resolution of all applicable Disputed Claims or
Interests and the satisfaction of all applicable Allowed Disputed Claims and Interests, if any,
shall promptly be transferred to the Liquidating Trust, without any further notice to, action,
order, or approval of the Bankruptcy Court or by any other Entity.

       5.12    NewCo Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more NewCo Disputed Claims Reserves, and such NewCo Disputed
Claims Reserves shall be deemed transferred to the Liquidating Trust or entities to be formed by
the Liquidating Trust, in each case in accordance with the Restructuring Transactions
Memorandum and without any further action of NewCo, the Debtor or its subsidiaries or any of
their respective managers, employees, officers, directors, members, partners, shareholders,
agents, advisors, or representatives. After the Effective Date, the Liquidating Trust may, in its
sole discretion, hold any NewCo Common Stock to be distributed pursuant to the Plan, in the
same proportions and amounts as provided for in the Plan, in the NewCo Disputed Claims
Reserve in trust for the benefit of the Holders of Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust shall use reasonable effort to allocate sufficient property for

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the NewCo Disputed Claims Reserves. The Liquidating Trust shall distribute such amounts (net
of any expenses, including any Taxes relating thereto or otherwise payable by the NewCo
Disputed Claims Reserve), as provided herein, as such Claims are resolved by a Final Order or
agreed to by settlement, and such amounts will be distributable on account of such Claims as
such amounts would have been distributable had such Claims been Allowed Claims or Interest as
of the Effective Date. Amounts remaining in the NewCo Disputed Claims Reserve, if any, after
the resolution of all applicable Disputed Claims and the satisfaction of all applicable Allowed
Disputed Claims, if any, shall promptly be transferred to NewCo, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity.

       5.13    Federal Income Tax Treatment of the Liquidating Trust

               5.13.1 Liquidating Trust Assets Treated as Owned by Creditors

                 Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not
contested by the Liquidating Trust Board), for all United States federal income tax purposes, all
parties (including the Debtor, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) shall treat the transfer of the Liquidating Trust Assets to the Liquidating Trust as
(i) a transfer of the Liquidating Trust Assets (subject to any obligations relating to those assets)
directly to the Liquidating Trust Beneficiaries (other than to the extent Liquidating Trust Assets
are allocable to Disputed Claims or Interests, which shall be treated as transferred to the
applicable Disputed Claims Reserve), followed by (ii) the transfer by such beneficiaries to the
Liquidating Trust of the Liquidating Trust Assets (other than to the extent Liquidating Trust
Assets are allocable to any Disputed Claims Reserve) in exchange for Liquidating Trust
Interests. Accordingly, the Liquidating Trust Beneficiaries shall be treated for United States
federal income tax purposes as the grantors and owners of their respective share of the
Liquidating Trust Assets (other than such Liquidating Trust Assets as are allocable to any
Disputed Claims Reserve, discussed below). The foregoing treatment shall also apply, to the
extent permitted by applicable law, for state and local income tax purposes.

               5.13.2 Tax Reporting

                 i.    The Liquidating Trust Board shall file Tax Returns for the Liquidating
                       Trust treating the Liquidating Trust as a grantor trust pursuant to Treasury
                       Regulation section 1.671-4(a) (excluding any Disputed Claims Reserve,
                       which shall be reported in accordance with Section 5.13.2.iv below) and in
                       accordance with this Section 5.13. The Liquidating Trust Board also will
                       annually send to each holder of a Liquidating Trust Interest a separate
                       statement regarding the receipts and expenditures of the Liquidating Trust
                       as relevant for U.S. federal income tax purposes and will instruct all such
                       holders to use such information in preparing their U.S. federal income Tax
                       Returns or to forward the appropriate information to such holder’s
                       underlying beneficial holders with instructions to utilize such information
                       in preparing their U.S. federal income Tax Returns. The Liquidating Trust
                       Board shall also file (or cause to be filed) any other statement, return or



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                     disclosure relating to the Liquidating Trust or any Disputed Claims
                     Reserve that is required by any Governmental Unit.

              ii.    As soon as reasonably practicable after Liquidating Trust Assets are
                     transferred to the Liquidating Trust, the Liquidating Trust Board shall
                     make a good faith valuation of Liquidating Trust Assets, and shall make
                     all such values available from time to time, to the extent relevant, and such
                     values shall be used consistently by all parties to the Liquidating Trust
                     (including the Debtor, the Liquidating Trust Board and Liquidating Trust
                     Beneficiaries) for all United States federal income tax purposes.

              iii.   Allocations of Liquidating Trust taxable income among the Liquidating
                     Trust Beneficiaries (other than to the extent such taxable income is
                     allocable to any Disputed Claims Reserve) shall be determined by
                     reference to the manner in which an amount of cash representing such
                     taxable income would be distributed (were such cash permitted to be
                     distributed at such time) if, immediately prior to such deemed distribution,
                     the Liquidating Trust had distributed all its assets (valued at their tax book
                     value, other than assets allocable to any Disputed Claims Reserve) to the
                     holders of the Liquidating Trust Interests, adjusted for prior taxable
                     income and loss and taking into account all prior and concurrent
                     distributions from the Liquidating Trust. Similarly, taxable loss of the
                     Liquidating Trust shall be allocated by reference to the manner in which
                     an economic loss would be borne immediately after a hypothetical
                     liquidating distribution of the remaining Liquidating Trust Assets (other
                     than the assets allocable to any Disputed Claims Reserve). The tax book
                     value of the Liquidating Trust Assets for purpose of this paragraph shall
                     equal their fair market value on the Effective Date, adjusted in accordance
                     with tax accounting principles prescribed by the IRC, the applicable
                     Treasury Regulations, and other applicable administrative and judicial
                     authorities and pronouncements.

              iv.    Subject to definitive guidance from the IRS or a court of competent
                     jurisdiction to the contrary (including the receipt by the Liquidating Trust
                     Board of a private letter ruling if the Liquidating Trust Board so requests
                     one, or the receipt of an adverse determination by the IRS upon audit if
                     not contested by the Liquidating Trust Board), the Liquidating Trust
                     Board shall (A) timely elect to treat any Disputed Claims Reserve as a
                     “disputed ownership fund” governed by Treasury Regulation section
                     1.468B-9, and (B) to the extent permitted by applicable law, report
                     consistently with the foregoing for state and local income tax purposes.
                     All parties (including the Liquidating Trust Board, the Debtor, and the
                     Liquidating Trust Beneficiaries) shall report for United States federal,
                     state and local income tax purposes consistently with the foregoing.

               v.    The Liquidating Trust Board shall be responsible for payment, out of the
                     Liquidating Trust Assets, of any Taxes imposed on the trust or its assets,

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                      including any Disputed Claims Reserve; provided that, any Disputed
                      Claims Reserve shall bear all Taxes allocable to such Disputed Claims
                      Reserve. In the event, and to the extent, any Cash retained on account of
                      Disputed Claims or Interests in any Disputed Claims Reserve is
                      insufficient to pay the portion of any such Taxes attributable to the taxable
                      income arising from the assets allocable to, or retained on account of,
                      Disputed Claims or Interests (including any income that may arise upon
                      the distribution of the assets of any Disputed Claims Reserve), such Taxes
                      may be (i) reimbursed from any subsequent Cash amounts retained on
                      account of such Disputed Claims or Interests, (ii) paid with the proceeds
                      from a sale of the assets of the applicable Disputed Claims Reserve or
                      (iii) to the extent such Disputed Claims or Interests have subsequently
                      been resolved, deducted from any amounts otherwise distributable by the
                      Liquidating Trust Board as a result of the resolution of such Disputed
                      Claims or Interests.

                vi.   The Liquidating Trust Board may request an expedited determination of
                      Taxes of the Liquidating Trust, any Disputed Claims Reserve, or the
                      Debtor under section 505(b) of the Bankruptcy Code for all Tax Returns
                      filed for, or on behalf of, the Liquidating Trust for all taxable periods
                      through the dissolution of the Liquidating Trust.

               5.13.3 Tax Withholdings by Liquidating Trust Board

                The Liquidating Trust Board may withhold and pay to the appropriate Tax
Authority all amounts required to be withheld pursuant to the IRC or any provision of any
foreign, state or local tax law with respect to any payment or distribution to the holders of
Liquidating Trust Interests. All such amounts withheld and paid to the appropriate Tax
Authority (or placed in escrow pending resolution of the need to withhold) shall be treated as
amounts distributed to such holders of Liquidating Trust Interests for all purposes of the
Liquidating Trust Agreement; provided that any amount placed in escrow pending resolution of
the need to withhold that is deemed to exceed the amount required to be withheld shall be
distributed to the applicable holders of Liquidating Trust Interests as soon as reasonably
practicable following the determination of the withholding requirement. The Liquidating Trust
Board shall be authorized to collect such tax information from the holders of Liquidating Trust
Interests (including social security numbers or other tax identification numbers) as in its sole
discretion the Liquidating Trust Board deems necessary to effectuate the Plan, the Confirmation
Order, and the Liquidating Trust Agreement. In order to receive distributions under the Plan, all
holders of Liquidating Trust Interests (including holders of Allowed Senior Note Claims,
Allowed Other General Unsecured Claims, Allowed Subordinated Note Claims and Allowed
Preferred Equity Interests, who, in each case, deliver a release in accordance with the provisions
of Section 12.9 hereof) shall be required to identify themselves to the Liquidating Trust Board
and provide tax information and the specifics of their holdings, to the extent the Liquidating
Trust Board deems appropriate in the manner and in accordance with the procedures from time
to time established by the Liquidating Trust Board for these purposes. This identification
requirement generally applies to all holders, including those who hold their securities in street
name. The Liquidating Trust Board may refuse to make a distribution to any holder of a

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Liquidating Trust Interest that fails to furnish such information in a timely fashion, and until such
information is delivered, and may treat such holder’s Liquidating Trust Interests as disputed;
provided, however, that, if such information is not furnished to the Liquidating Trust Board
within six (6) months of the original request to furnish such information, no further distributions
shall be made to the holder of such Liquidating Trust Interest; and, provided, further, that, upon
the delivery of such information by a holder of a Liquidating Trust Interest, the Liquidating Trust
Board shall make such distribution to which the holder of the Liquidating Trust Interest is
entitled, without additional interest occasioned by such holder’s delay in providing tax
information; and, provided, further, that if the Liquidating Trust Board fails to withhold in
respect of amounts received or distributable with respect to any such holder and the Liquidating
Trust Board is later held liable for the amount of such withholding, such holder shall reimburse
the Liquidating Trust Board for such liability (to the extent such amounts were actually
distributed to such holder).

               5.13.4 Dissolution

                 The Liquidating Trust Board and the Liquidating Trust shall be discharged or
dissolved, as the case may be, upon the earlier to occur of (i) all of the Liquidating Trust Assets
have been distributed pursuant to the Plan and the Liquidating Trust Agreement, (ii) the
Liquidating Trust Board determines that the administration of any remaining Liquidating Trust
Assets is not likely to yield sufficient additional Liquidating Trust proceeds to justify further
pursuit and (iii) all distributions required to be made by the Liquidating Trust Board under the
Plan and the Liquidating Trust Agreement have been made; provided, however, in no event shall
the Liquidating Trust be dissolved later than five (5) years from the Effective Date unless the
Bankruptcy Court, upon motion within the six-month period prior to the fifth (5th) anniversary
(or within the six-month period prior to the end of an extension period), determines that a fixed
period extension (not to exceed three (3) years, together with any prior extensions, without a
favorable private letter ruling from the IRS or an opinion of counsel satisfactory to the
Liquidating Trust Board that any further extension would not adversely affect the status of the
trust as a liquidating trust for United States federal income tax purposes) is necessary to facilitate
or complete the recovery and liquidation of the Liquidating Trust Assets. If at any time the
Liquidating Trust Board determines, in reliance upon such professionals as the Liquidating Trust
Board may retain, that the expense of administering the Liquidating Trust (and any Disputed
Claims Reserve) so as to make a final distribution to its beneficiaries is likely to exceed the value
of the assets remaining in the Liquidating Trust, the Liquidating Trust Board may apply to the
Bankruptcy Court for authority to (a) reserve any amount necessary to dissolve the Liquidating
Trust (and any Disputed Claims Reserve), (b) donate any balance to a charitable organization
(A) described in section 501(c)(3) of the IRC, (B) exempt from United States federal income tax
under section 501(a) of the IRC, (C) not a “private foundation”, as defined in section 509(a) of
the IRC, and (D) that is unrelated to the Debtor, NewCo, the Liquidating Trust and any insider of
the foregoing and (c) dissolve the Liquidating Trust (and any Disputed Claims Reserve).

       5.14    Indemnification of Liquidating Trust Board

               The Liquidating Trust Agreement shall provide for the indemnification of the
Liquidating Trust Board, the individual(s) comprising the Liquidating Trust Board, the Delaware
Trustee and certain other individuals as may be set forth therein. Any indemnification claim of

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the Liquidating Trust Board (and the other parties entitled to indemnification under this
subsection) shall be satisfied solely from the Liquidating Trust Assets. The Liquidating Trust
may obtain, at the expense of the Liquidating Trust and with funds from the Liquidating Trust
Assets, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Liquidating Trust Board or any employees of the Liquidating
Trust.

       5.15    Exculpation Relating to the Liquidating Trust

               No Holder of a Claim or Interest or any other party in interest will have, or
otherwise pursue, any claim or Cause of Action against the Liquidating Trust Board, the
Liquidating Trust, or the consultants or professionals thereof (for each of the foregoing, solely in
the performance of their duties) for making payments and distributions in accordance with the
Plan and the Liquidating Trust Agreement or for fulfilling any functions incidental to
implementing the provisions of the Plan or the Liquidating Trust Agreement, except for any acts
or omissions that are the result of fraud, gross negligence or willful misconduct.

       5.16    Abandonment of Liquidating Trust Assets

              Subject to the Liquidating Trust Agreement, after the Effective Date, the
Liquidating Trust Board may abandon any Liquidating Trust Assets which the Liquidating Trust
Board determines in its reasonable discretion to be of de minimis value or burdensome to the
Liquidating Trust.




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6.     ACCEPTANCE OR REJECTION OF THE PLAN

       6.1     Voting of Claims or Interests

                Each Holder of a Claim or Interest in an Impaired Class that is entitled to vote on
the Plan as of the Voting Record Date pursuant to Section 4 hereof shall be entitled to vote to
accept or reject the Plan.

       6.2     Acceptance by Impaired Classes

                Pursuant to sections 1126(c) and (d) of the Bankruptcy Code, and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (i) an Impaired Class of Claims
shall have accepted the Plan if the Holders of at least two-thirds in dollar amount and more than
one-half in number of the Claims of such Class entitled to vote that actually vote on the Plan
have voted to accept the Plan and (ii) an Impaired Class of Interests shall have accepted the Plan
if the Holders of at least two-thirds in dollar amount of such Class entitled to vote that actually
vote on the Plan have voted to accept the Plan.

                Other Secured Claims (Class 1) and Other Priority Claims (Class 2) are
Unimpaired and presumed to accept the Plan, and the votes of Holders of Claims in such Classes
will not be solicited. Senior Note Claims (Class 3(a)), Other General Unsecured Claims (Class
3(b)), Subordinated Note Claims (Class 4) and Preferred Equity Interests (Class 5) are Impaired,
and the votes of Holders of Claims or Interests, as applicable, in such Classes will be solicited.
Common Equity Interests (Class 6) and Section 510(b) Claims (Class 7) are Impaired and
deemed to reject the Plan, and the votes of Holders of Claims or Interests in such Classes will not
be solicited. Intercompany Claims and Intercompany Interests (Class 8) are either Impaired and
presumed to accept the Plan or Unimpaired and deemed to reject the Plan, and the votes of
Holders of Claims or Interests in such Classes will not be solicited.

                 If Holders of Claims or Interests in a particular Impaired Class of Claims or
Interests were given the opportunity to vote to accept or reject the Plan, but no Holders of Claims
or Interests in such Impaired Class voted to accept or reject the Plan, then such Class shall be
deemed to have accepted the Plan.

       6.3     Elimination of Vacant Classes

               Any Class of Claims or Interests that does not have a Holder of an Allowed Claim
or Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court solely
for voting purposes as of the date of the Confirmation Hearing shall be deemed eliminated from
the Plan solely for purposes of (i) voting to accept or reject the Plan and (ii) determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
Bankruptcy Code.

       6.4     Special Provisions Regarding Unimpaired Claims

               Except as otherwise specifically provided in the Plan, nothing herein shall be
deemed to affect, diminish, or impair the Debtor’s, the Liquidating Trust’s or NewCo’s rights
and defenses, both legal and equitable, with respect to any Reinstated Claim or Unimpaired

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Claim, including legal and equitable defenses to setoffs or recoupment against Reinstated Claims
or Unimpaired Claims; and, except as otherwise specifically provided in the Plan, nothing herein
shall be deemed to be a waiver or relinquishment of any claim, Cause of Action, right of setoff,
or other legal or equitable defense which the Debtor now has or had immediately prior to the
Petition Date, against or with respect to any Claim that is Unimpaired by the Plan. Except as
otherwise specifically provided in the Plan, the Liquidating Trust shall have, retain, reserve, and
be entitled to assert all such claims, Causes of Action, rights of setoff, and other legal or
equitable defenses which the Debtor now has or had immediately prior to the Petition Date as if
the Chapter 11 Case had not been commenced, and all of the Liquidating Trust’s legal and
equitable rights with respect to any Reinstated Claim or Claim that is Unimpaired by this Plan
may be asserted after the Confirmation Date and the Effective Date to the same extent as if the
Chapter 11 Case had not been commenced. Unless Allowed, Claims that are Unimpaired shall
remain as Disputed Claims under this Plan.

       6.5     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

               If there is one or more rejecting Class of Claims or Interests, the Debtor shall seek
Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any such
rejecting Class or Classes. Subject to Sections 14 and 16.4 hereof, the Debtor reserves the right
to amend the Plan to the extent that Confirmation pursuant to section 1129(b) of the Bankruptcy
Code requires modification, including by modifying the treatment applicable to a Class of
Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.




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7.     IMPLEMENTATION OF THE PLAN

       7.1     Operations Between the Confirmation Date and Effective Date

                During the period from the Confirmation Date through and until the Effective
Date the Debtor may continue to operate its businesses as debtor-in-possession in the ordinary
course in a manner consistent with past practice in all material respects, and as otherwise
necessary to consummate the Plan, subject to the terms and conditions of the Restructuring
Support Agreement and all applicable orders of the Bankruptcy Court and the consent rights set
forth in the Restructuring Support Agreement, this Plan and any other Definitive Documents.

       7.2     Sources of Cash for Plan Distributions

               Cash payments or cash distributions to be made hereunder on the Effective Date
shall be funded from the existing Cash of the Debtor and the Cash proceeds of a NewCo
Transaction, as applicable.

       7.3     NewCo Transaction

                If at any time prior to the Effective Date, the Debtor determines in good faith and
consistent with its fiduciary duties (and with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties) that a sale, private placement or rights offering of some or all of the
assets or equity of NewCo to one or more third parties, including through a Plan Sponsor
Transaction, pursuant to sections 1129 and 363 of the Bankruptcy Code (any such transaction, a
“NewCo Transaction”), will maximize the value of NewCo and is in the best interests of the
Estate, such NewCo Transaction shall be consummated pursuant to the Plan subject to approval
by the Bankruptcy Court pursuant to the Confirmation Order or another order of the Bankruptcy
Court; provided that the Debtor may only enter into a NewCo Transaction that results in the
Debtor receiving proceeds from such NewCo Transaction with a value no less than the value
attributed by the Plan to the NewCo equity or assets that are subject to such NewCo Transaction.

               Following Confirmation, without further order or approval of the Bankruptcy
Court and subject to any applicable consent rights set forth in the Restructuring Support
Agreement, the Debtor may in good faith make modifications to the Plan to maximize the value
of all or some of the assets or equity of NewCo in connection with a NewCo Transaction (if
any); provided that such modifications do not materially and adversely affect the treatment of
Holders of Claims or Interests and are otherwise permitted under section 1127(b) of the
Bankruptcy Code.

       7.4     Exemption from Registration

               The Debtor believes that, subject to certain exceptions described below, various
provisions of the Securities Act, the Bankruptcy Code and applicable state securities laws (“Blue
Sky Laws”) exempt from federal and state securities registration requirements (i) the offering,
issuance, exchange, distribution or sale of securities pursuant to the Definitive Documents and
(ii) subsequent transfers of such securities.



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                The Liquidating Trust Interests to be distributed to the Liquidating Trust
Beneficiaries pursuant to this Plan shall be transferrable as set forth in the Liquidating Trust
Agreement. The Liquidating Trust Interests shall not be listed on any national exchange and
shall have the consent and voting rights provided in the Liquidating Trust Agreement. The
Liquidating Trust and the Liquidating Trust Board shall not take any steps to facilitate the
development of a trading market in the Liquidating Trust Interests.

               Section 1145

              Except with respect to any Person that is an underwriter as defined in
section 1145(b) of the Bankruptcy Code, the issuance of the Liquidating Trust Interests to
Liquidating Trust Beneficiaries under the Plan (to the extent the Liquidating Trust Interests are
considered “securities” under applicable law) and the issuance of NewCo Common Stock to
Holders of Allowed General Unsecured Claims under the Plan shall be exempt from registration
under Section 5 of the Securities Act (and any applicable Blue Sky Laws) under
section 1145(a)(1) of the Bankruptcy Code.

                 Section 1145(a)(1) of the Bankruptcy Code exempts the issuance, offer, sale, and
distribution of securities under a plan of reorganization from registration under section 5 of the
Securities Act and state or local securities laws if the following three principal requirements are
satisfied: (a) the securities must be offered and sold under a plan of reorganization and must be
securities of the debtor, of an affiliate participating in a joint plan with the debtor, or of a
successor to the debtor under the plan; (b) the recipients of the securities must hold prepetition or
administrative expense claims against the debtor or interests in the debtor; and (c) the securities
must be issued entirely in exchange for the recipient’s claim against or interest in the debtor, or
principally in exchange for such claim or interest and partly for cash or property.

                 The issuance and distribution of the NewCo Common Stock (and, to the extent
deemed securities under applicable law, the Liquidating Trust Interests) satisfies the
requirements of section 1145 of the Bankruptcy Code and, therefore, such issuance and
distribution are exempt from registration under the Securities Act and any state or local law
requiring registration. To the extent any “offer or sale” of NewCo Common Stock may be
deemed to have occurred, such offer or sale is made under the Plan and in exchange for Claims
against the Debtor, or principally in exchange for such Claims and partly for cash or property,
within the meaning of section 1145(a)(1) of the Bankruptcy Code. The availability of the
exemptions under section 1145 of the Bankruptcy Code or any other applicable securities laws
shall not be a condition to occurrence of the Effective Date of the Plan. To the extent
section 1145 of the Bankruptcy Code is applicable, the securities to be issued under the Plan
(a) are not “restricted securities” as defined in Rule 144(a)(3) under the Securities Act, and (b) in
general are freely tradable and transferable by any initial recipient thereof that (i) is not an
“affiliate” of the Debtor as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been
such an “affiliate” within 90 days of such transfer, and (iii) is not an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code relating to the definition of
an underwriter in section 2(a)(11) of the Securities Act. In addition, securities governed by
section 1145 of the Bankruptcy Code generally may be able to be resold without registration
under applicable Blue Sky Laws pursuant to various exemptions provided by the respective Blue
Sky Laws of the various states; however, the availability of such exemptions cannot be known

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unless individual states’ Blue Sky Laws are examined, and recipients of securities are advised to
consult with their own legal advisors as to the availability of any such exemption from
registration in any given instance. Notwithstanding the foregoing, any securities or instruments
issued under the Plan in reliance on section 1145(a) of the Bankruptcy Code remain subject to:
(x) compliance with any rules and regulations of the SEC, if any, applicable at the time of any
future transfer of such securities or instruments; (y) the restrictions, if any, in the applicable
NewCo Organizational Documents and the Liquidating Trust Agreement, as applicable, on the
transferability of such securities and instruments and (z) any other applicable regulatory
approval.

               [Section 4(a)(2)

                To the extent securities are issued pursuant to the Plan or the other Definitive
Documents in reliance on section 4(a)(2) of the Securities Act (“Section 4(a)(2)”), the offering,
issuance, exchange, or distribution of such securities pursuant to the Plan or the other Definitive
Documents shall be conducted in a manner that is exempt from, among other things, the
registration requirements of section 5 of the Securities Act. Section 4(a)(2) exempts from
section 5’s registration requirements transactions not involving a public offering, and Regulation
D under the Securities Act (“Regulation D”) provides a safe harbor under Section 4(a)(2) for
transactions that meet certain requirements, including that the investors participating therein
qualify as “accredited investors” within the meaning of Rule 501 under Regulation D
(“Accredited Investors”). Such offering, issuance, exchange or distribution shall be structured to
be available only to Holders who certify that they are Accredited Investors and who submit
documentation allowing verification of their status as Accredited Investors. Any such securities
shall be “restricted securities” as defined in Rule 144(a)(3) under the Securities Act and shall
only be transferable if registered under the Securities Act or if transferred pursuant to an
exemption from the registration requirements of the Securities Act and other applicable securities
laws.]

               DTC

                Should NewCo elect on or after the Effective Date to reflect any ownership of the
NewCo Common Stock through the facilities of DTC, NewCo need not provide any further
evidence other than the Plan or the Confirmation Order with respect to the treatment of transfers,
exercise, removal of restrictions, or conversion of NewCo Common Stock under applicable U.S.
federal, state or local securities laws.

              DTC shall be required to accept and conclusively rely upon the Plan and
Confirmation Order in lieu of a legal opinion regarding whether the NewCo Common Stock is
exempt from registration and/or eligible for DTC book-entry delivery, settlement and depository
services.

               Notwithstanding anything to the contrary in the Plan, no Entity (including, for the
avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the NewCo Common
Stock is exempt from registration and/or eligible for DTC book-entry delivery, settlement and
depository services.


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       7.5     NewCo Common Stock

                On the Effective Date, NewCo shall issue 100% of the NewCo Common Stock to
Holders of Allowed General Unsecured Claims and the NewCo Disputed Claims Reserve,
subject to dilution by any NewCo Transaction.

                All of the NewCo Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable. Each distribution and issuance of
NewCo Common Stock under the Plan shall be governed by the terms and conditions set forth in
the Plan applicable to such distribution or issuance and by the terms and conditions of the
NewCo Organizational Documents and other instruments evidencing or relating to such
distribution or issuance, as applicable, which terms and conditions shall bind each Entity
receiving such distribution or issuance. For the avoidance of doubt, the acceptance of NewCo
Common Stock by any Holder of any Claim or Interest shall be deemed as such Holder’s
agreement to the NewCo Organizational Documents, as may be amended or modified from time
to time following the Effective Date in accordance with their terms.

                To the extent practicable, as determined in good faith by the Debtor and the
Required Ad Hoc Senior Noteholder Parties, NewCo shall: (a) emerge from this Chapter 11 Case
as a non-publicly reporting company on the Effective Date and not be subject to SEC reporting
requirements under Sections 12 or 15 of the Exchange Act, or otherwise; (b) not be voluntarily
subjected to any reporting requirements promulgated by the SEC; except, in each case, as
otherwise may be required pursuant to the applicable organizational documents or applicable
law; (c) not be required to list the NewCo Common Stock on a U.S. stock exchange; (d) timely
file or otherwise provide all required filings and documentation to allow for the termination
and/or suspension of registration with respect to SEC reporting requirements under the Exchange
Act prior to the Effective Date; and (e) to the extent requested by the Required Ad Hoc Senior
Noteholder Parties, make good faith efforts to ensure DTC eligibility of securities issued by
NewCo in connection with the Plan (other than any securities required by the terms of any
agreement to be held on the books of an agent and not in DTC).

               7.5.1   NewCo Common Stock Cash-Out

                 Certain Holders of Senior Note Claims and Other General Unsecured Claims that
are Non-Qualified Holders shall be entitled to receive, in lieu of NewCo Common Stock, Cash
Distributions in an amount equal to the value of the NewCo Common Stock such Holders would
be entitled to if such Holder were a Qualified Holder; provided that any such Non-Qualified
Holder must provide a certification of its status as a Non-Qualified Holder in order to receive any
such Distribution.

               7.5.2   NewCo Common Stock Cash-Out Certification

               Prior to the Distribution to any Holder of a Senior Note Claim or Other General
Unsecured Claim of, as applicable, (a) NewCo Common Stock or (b) Cash (not including any
Cash Distribution in connection with the GUC Cash-Out) in an amount equal to the value of the
NewCo Common Stock it would be entitled to if it were a Qualified Holder (such Distributions
described in the preceding clause (a) or (b), as applicable, a “NewCo Distribution”), such Holder

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shall be required to deliver to the Distribution Agent, [within 60 days] following the Distribution
Agent’s request (or such longer period as the Distribution Agent may determine in its reasonable
discretion (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not
to be unreasonably withheld, conditioned or delayed)), a certification that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder (such request, the “Qualified Holder
Certification Request”). If a Holder entitled to receive a NewCo Distribution fails to provide
such certification [within 60 days] of receiving the Qualified Holder Certification Request, such
Holder’s NewCo Distribution shall be deemed to be an Unclaimed Distribution and such
Holder’s Claim may be canceled, discharged and forever barred in accordance with Section 10.5
hereof, notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
property laws to the contrary.

               To the extent that, during the six (6) month period following the designation of
any NewCo Distribution as an Unclaimed Distribution, the Holder entitled to receive such
NewCo Distribution provides a certification to the Distribution Agent that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder, such Holder may thereafter receive its
distribution pursuant to the terms of the Plan.

         7.6      Deemed Holders of Subordinated Note Claims

                 The BP Trust I Declaration of Trust provides that BP Trust I will automatically
terminate upon the bankruptcy of SVBFG, as successor by merger to BPFH.12 Upon such
termination of BP Trust I, the terms of the BP Trust I Preferred Securities require the
administrative trustee of the trust to distribute to holders of the BP Trust I Preferred Securities
the BP Trust I Junior Subordinated Debentures having a principal amount equal to the liquidation
amount per security plus accumulated and unpaid distributions thereon to the date of payment,
after satisfaction of liabilities to creditors of BP Trust I as provided by applicable law.13 For
purposes of this Plan, holders of the BP Trust I Preferred Securities shall be deemed to hold the
BP Trust I Junior Subordinated Debentures and thus such holders shall be deemed to hold the BP
Trust I Claims.

                 The BP Trust II Declaration of Trust provides that BP Trust II will dissolve upon
the bankruptcy of SVBFG, as successor by merger to BPFH.14 Upon such dissolution of BP
Trust II, the terms of the BP Trust II Capital Securities require the institutional trustee of the trust
to distribute to holders of the BP Trust II Capital Securities the BP Trust II Junior Subordinated
Debentures on a pro rata basis, after satisfaction of liabilities to creditors of BP Trust II as
provided by applicable law.15 For purposes of this Plan, holders of the BP Trust II Capital
Securities shall be deemed to hold the BP Trust II Junior Subordinated Debentures and thus such
holders shall be deemed to hold the BP Trust II Claims.



12
     See Section 8.1(a)(i) of the BP Trust I Declaration of Trust.
13
     See Annex I, Section 3 of the BP Trust I Declaration of Trust.
14
     See Section 7.1(a)(ii) of the BP Trust II Declaration of Trust.
15
     See Annex I, Section 3 of the BP Trust II Declaration of Trust.


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       7.7     Organizational Existence

                 Except as otherwise provided in the Plan and the Restructuring Transactions
Memorandum, the Debtor shall, as a subsidiary of NewCo or as NewCo, as applicable, continue
to exist after the Effective Date as a separate legal Entity, with all the powers of a corporation or
other form of organization, as applicable, under the laws of its jurisdiction of organization and
without prejudice to any right to alter or terminate such existence (whether by merger or
otherwise) under the law of the applicable state or other jurisdiction.

       7.8     Cancellation of Existing Interests, Existing Indebtedness and Related Agreements

                On the Effective Date, except as otherwise specifically provided for in this Plan,
all rights of any Holder of Interests in the Debtor, including options or warrants to purchase
Interests, or obligating the Debtor to issue, transfer or sell Interests of the Debtor, shall be
canceled.

                Upon the indefeasible payment in full in Cash of all Allowed Other Secured
Claims, or promptly thereafter, Holders of such Allowed Claims shall deliver to the Debtor or,
after the Effective Date, the Liquidating Trust, any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Claim that may
reasonably be required in order to terminate any related financing statements, mortgages,
mechanic’s liens, or lis pendens, and take any and all other steps reasonably requested by the
Debtor or, after the Effective Date, the Liquidating Trust, that are necessary to cancel and/or
extinguish any Liens or security interests securing such Holder’s Claim; provided, however, that
the Debtor or the Liquidating Trust, as applicable, shall be solely responsible for all costs and
expenses associated with any of the foregoing actions or requests.

                 On the Effective Date, except as otherwise provided in the Plan, the obligations of
the Debtor under the respective Indentures, and any certificate, share, bond, purchase right,
option, warrant, or other instrument or document, directly or indirectly, evidencing or creating
any indebtedness or obligation of the Debtor giving rise to any Claim or Interest shall be
canceled, without any need for a Holder to take further action with respect thereto, and the
Debtor and the Liquidating Trust shall not have any continuing obligations thereunder; provided,
that notwithstanding Confirmation or the occurrence of the Effective Date, any such agreement
that governs the rights of the Holder of an Allowed Claim or Interest shall continue in effect
solely for (i) purposes of enabling such Holder to receive distributions under the Plan on account
of such Allowed Claim or Interest as provided herein; and (ii) permit the Indenture Trustees to
make or assist in making, as applicable, distributions pursuant to the Plan and deduct therefrom
such reasonable compensation, fees and expenses (a) due to the Indenture Trustees, or
(b) incurred by the Indenture Trustees in making such distributions. Except as provided in the
Plan, on the Effective Date, the Indenture Trustees and their respective agents, successors and
assigns shall be automatically and fully discharged of their duties and obligations associated with
the respective Indentures. The commitments and obligations of the Holders of the Senior Note
Claims and Subordinated Note Claims to extend any further or future credit or financial
accommodations to the Debtor, its subsidiaries or assigns under the Indentures, respectively,
shall fully terminate and be of no further force or effect on the Effective Date.



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       7.9     Additional Implementing Transactions

                 On or prior to the Effective Date, the Debtor and the Liquidating Trust shall, in
accordance with the Restructuring Support Agreement and subject to any applicable consent
rights thereunder, enter into any transaction and shall take any actions as may be necessary or
appropriate to effect the transactions described herein, including, as applicable, the issuance of
all securities, notes, instruments, certificates and other documents required to be issued pursuant
to the Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements,
continuances, restructurings, conversions, dispositions, dissolutions, entity formations, transfers,
liquidations, spinoffs, intercompany sales, purchases, or other corporate transactions, including
any restructuring transaction contemplated by the Restructuring Support Agreement, including
any NewCo Transaction (collectively, the “Restructuring Transactions”).

                The Confirmation Order shall, and shall be deemed to, pursuant to sections 105,
363, 1123 and 1141 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, contemplated by, or necessary to
effectuate this Plan, including any NewCo Transaction.

       7.10    Section 1146 Exemption from Certain Transfer Taxes and Recording Fees

                Pursuant to, and to the fullest extent permitted by, section 1146(a) of the
Bankruptcy Code, any transfers from the Debtor to NewCo, the Liquidating Trust or to any other
Entity, pursuant to, in contemplation of, or in connection with the Plan (including any transfer
pursuant to: (i) the issuance, distribution, transfer, or exchange of any debt, equity security, or
other interest in the Debtor, the Liquidating Trust, NewCo or Affiliates of NewCo, including,
without limitation, the NewCo Common Stock and the Liquidating Trust Interests; (ii) the
creation, modification, consolidation, assumption, termination, refinancing and/or recording of
any mortgage, deed of trust or other security interest, or the securing of additional indebtedness
by such or other means; (iii) the making, assignment or recording of any lease or sublease; or (iv)
the making, delivery or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments or
other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan) shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate
transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
or governmental assessment, and the appropriate state or local government officials or agents
shall, and shall be directed to, forgo the collection of any such tax, recordation fee or government
assessment and to accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax, recordation fee or government assessment. The
Bankruptcy Court shall retain specific jurisdiction with respect to these matters.

       7.11    Effectuating Documents and Further Transactions

               The Debtor or, after the Effective Date, the Liquidating Trust and NewCo, as
applicable, may take all actions to execute, deliver, file or record such contracts, instruments,
releases and other agreements or documents, and take such actions as may be necessary or


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appropriate to effectuate and implement the provisions of the Plan. The secretary and any
assistant secretary of each Debtor, NewCo or the Liquidating Trust shall be authorized to certify
or attest to any of the foregoing actions.

                Prior to, on or after the Effective Date (as appropriate), all matters provided for
pursuant to the Plan that would otherwise require approval of the shareholders, directors or
members of the Debtor shall be deemed to have been so approved and shall be in effect prior to,
on or after the Effective Date (as appropriate), pursuant to applicable law, and without any
requirement of further action by the shareholders, directors, managers or partners of the Debtor,
or the need for any approvals, authorizations, actions or consents.

               On the Effective Date, the Liquidating Trust Agreement, any other organizational
document of the Liquidating Trust and the NewCo Organizational Documents shall become
effective and deemed binding without further action from any Person or Entity (other than the
relevant consents required by under the Restructuring Support Agreement) and shall be binding
and enforceable upon each of the parties thereto.

       7.12    Abandonment of SVB Stock

                Unless otherwise agreed in writing by the UCC and the Ad Hoc Group of Senior
Noteholders, at least one day prior to the Effective Date, the Debtor shall abandon all of its
equity interests in, including all of the common stock of, Silicon Valley Bank (and all entities
and arrangements that are treated as a single entity with successor(s) to Silicon Valley Bank for
U.S. federal income tax purposes) and take a corresponding worthless stock deduction.

       7.13    Preservation of Retained Causes of Action

                Except as provided in the Plan, the Confirmation Order, or in any contract,
instrument, release or other agreement entered into or delivered in connection with the Plan, in
accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trust or NewCo, as
applicable, will retain and may enforce any Retained Causes of Action that the Estate may hold
against any Entity. The Liquidating Trust or NewCo, as applicable, may pursue any such
Retained Causes of Action in accordance with the Plan and the Liquidating Trust Agreement, as
applicable. The Debtor’s inclusion or failure to include or describe with sufficient specificity
any Retained Causes of Action herein or in the Plan Supplement shall not be deemed an
admission, denial or waiver of any Retained Causes of Action that the Debtor or the Estate may
hold. The Debtor intends to preserve all Retained Causes of Action. No preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
waiver, estoppel (judicial, equitable or otherwise) or laches will apply to the Retained Causes of
Action upon or after entry of the Confirmation Order on the Effective Date of the Plan based on
the Plan or the Confirmation Order, including any argument of waiver on account of the failure
to include or describe with sufficient specificity any Retained Causes of Action herein or in the
Plan Supplement.




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8.     PROVISIONS REGARDING GOVERNANCE OF NEWCO

       8.1     Organizational Action

                On and after the Effective Date, the adoption, filing, approval, and ratification, as
necessary, of all corporate, or related actions contemplated hereby for NewCo shall be deemed
authorized and approved in all respects. Without limiting the foregoing, such actions may
include: (i) the adoption of the NewCo Organizational Documents, (ii) the nomination, election,
or appointment, as the case may be, of officers, directors and managers for NewCo, (iii) the
issuance of the securities contemplated by the Plan or other Definitive Documents and (iv) the
Restructuring Transactions to be effectuated pursuant to the Plan and the Restructuring Support
Agreement.

               Upon the occurrence of the Effective Date, all matters provided for herein
involving the organizational structure of the Debtor or NewCo, or any corporate action required
by the Debtor or NewCo in connection with the Plan, shall be deemed to have occurred in
accordance with the Restructuring Transactions Memorandum and shall be in effect, without any
requirement of further action by the security holders or directors of the Debtor or NewCo or by
any other stakeholder or any other corporate action.

                On and after the Effective Date, the appropriate officers of NewCo and members
of the board of directors of NewCo are authorized and directed to issue, execute, deliver, file,
and record any and all agreements, documents, securities, deeds, bills of sale, conveyances,
releases, and instruments contemplated by the Plan in the name of and on behalf of NewCo and
to take such actions as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of the Plan.

       8.2     NewCo Organizational Documents

                On the Effective Date, the NewCo Organizational Documents shall be adopted
automatically by NewCo and its subsidiaries. On or promptly after the Effective Date, NewCo
and its subsidiaries may file their respective NewCo Organizational Documents and other
applicable agreements with the applicable Secretaries of State or other applicable authorities in
their respective states, provinces, or countries of incorporation or formation in accordance with
the corporate laws of the respective states, provinces, or countries of incorporation or formation.

                 After the Effective Date, NewCo and each of its subsidiaries may amend and
restate its limited liability company agreement, certificate of incorporation, limited partnership
agreement, and other formation and constituent documents as permitted by the laws of its
respective jurisdiction of formation and the terms of the NewCo Organizational Documents, as
applicable.

       8.3     Shared Services Agreement

               Upon the Effective Date, NewCo and the Liquidating Trust may enter into a
Shared Services Agreement. The terms of the Shared Services Agreement (if any) shall be
acceptable to each of the Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC.


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Confirmation of the Plan shall be deemed (a) approval of the Shared Services Agreement (if
any), and (b) authorization for NewCo and the Liquidating Trust to enter into and perform under
the Shared Services Agreement (if any).

       8.4     Directors and Officers of NewCo

               On the Effective Date, the management, control and operation of NewCo shall
become the general responsibility of the board of directors of NewCo or other governing body as
provided in the NewCo Organizational Documents.

                On the Effective Date, the term of the Current Directors and other governing
bodies of the Debtor shall be deemed to have resigned, such Current Directors shall cease to hold
office or have any authority from or after such time, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any Person or Entity, and such Current Directors
shall be replaced by the NewCo Board (or, if the reorganized Debtor is not governed by a board,
shall be governed and managed as set forth in its applicable NewCo Organizational Documents).

              The classification and composition of the NewCo Board shall be consistent with
applicable non-bankruptcy law and the terms of the NewCo Organizational Documents. In the
Plan Supplement, to the extent known, the Debtor will disclose, pursuant to section 1129(a)(5) of
the Bankruptcy Code, the identity and affiliations of the Persons proposed to serve on the
NewCo Board. The NewCo Board members shall serve from and after the Effective Date in
accordance with applicable non-bankruptcy law and the terms of the NewCo Organizational
Documents.

                 Notwithstanding anything to the contrary contained in the Plan, confirmation of
the Plan shall not discharge, impair or otherwise modify any advancement, indemnity or other
obligations arising under the D&O Insurance Policies. In addition, after the Effective Date, none
of the Debtor, the Liquidating Trust or NewCo shall terminate all or any portion of the coverage
under the D&O Insurance Policies with respect to conduct occurring prior to the Effective Date,
and, subject to and in accordance in all respects with the terms of the D&O Liability Insurance
Policies, all directors and officers of the Debtor who served in such capacity at any time prior to
the Effective Date shall be entitled from the insurers to the full benefits of any such D&O
Liability Insurance Policy, if any, including any prepaid extended reporting period, regardless of
whether such directors and officers remain in such positions after the Effective Date.

               As of the Effective Date, NewCo shall be authorized to procure and maintain
directors’ and officers’ liability insurance policies for the benefit of its directors, officers,
members, trustees and managers in the ordinary course of business.




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9.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       9.1     Assumption and Rejection of Executory Contracts and Unexpired Leases

                Except as otherwise provided herein, all Executory Contracts and Unexpired
Leases will be deemed automatically rejected as of the Effective Date in accordance with
sections 365 and 1123 of the Bankruptcy Code, other than (a) Executory Contracts or Unexpired
Leases that, as of the Effective Date, are the subject of a pending motion to assume, or for which
a notice of assumption has been filed pursuant to the assumption and assignment procedures
approved by the Bankruptcy Court, (b) any Executory Contract or Unexpired Leases listed in the
Schedule of Assumed Executory Contracts and Unexpired Leases, or (c) have been previously
assumed, assumed and assigned or rejected by the Debtor.

               Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumptions, assumption and assignment, or rejections, as applicable, of such
Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to sections
365(a) and 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

                  Executory Contracts and Unexpired Leases assumed pursuant to the Plan or by
Bankruptcy Court order shall revest in and be fully enforceable by NewCo or the Liquidating
Trust in accordance with their terms, except as such terms may have been modified by the
Debtor and the applicable counterparty, or by order of the Bankruptcy Court. To the maximum
extent permitted by Law, the transactions contemplated by this Plan shall not constitute a
“change of control” or “assignment” (or terms with similar effect) under any Executory Contract
or Unexpired Lease assumed or assumed and assigned pursuant to this Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such
Executory Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any
obligations, rights or liabilities of the Debtor, the Liquidating Trust or NewCo, as applicable,
under such Executory Contract or Unexpired Lease, or (c) result in the creation or imposition of
a Lien upon any property or asset of the Debtor, the Liquidating Trust or NewCo, as applicable,
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance
notice required under such Executory Contract or Unexpired Lease in connection with
assumption or assumption and assignment thereof shall be deemed satisfied by Confirmation.
Any provision of any Executory Contract or Unexpired Lease assumed or assumed and assigned
pursuant to this Plan that requires (i) the consent or approval of one or more lessors or other
parties, or (ii) the payment of any fees or obligations, in order for the Debtor to pledge, grant,
sell, assign, or otherwise transfer any such Executory Contract or Unexpired Lease, or the
proceeds thereof, or other collateral related thereto, shall be deemed to be inconsistent with the
applicable provisions of the Bankruptcy Code. Any such provisions of any such Executory
Contracts or Unexpired Leases shall have no force and effect with respect to the pledge, grant,
sale, assignment, or other transfer thereof, or the proceeds thereof, or other collateral related
thereto, in accordance with the terms of this Plan.

               In connection with the transfer and vesting of any Debtor’s investments assets in
the Liquidating Trust or NewCo, any related investment agreements, including shareholder and
lockup agreements, shall be deemed assumed and assigned to the applicable transferee and


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deemed listed as an Executory Contract on the Schedule of Assumed Executory Contracts and
Unexpired Leases.

               The Debtor or the Liquidating Trust, as applicable, reserves the right to alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases, including to add or remove any Executory Contracts and Unexpired Leases, at any time
up to and including forty-five (45) days after the Effective Date upon notice to the affected
counterparty.

       9.2     Objections to and Cure of Defaults for Assumed Executory Contracts and
               Unexpired Leases

                 To the extent a monetary default exists under an Executory Contract or Unexpired
Lease proposed to be assumed or assumed and assigned pursuant to the Plan, such monetary
default shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of
the applicable Cure Cost by the Debtor, NewCo or the Liquidating Trust, as applicable, on the
Effective Date or promptly thereafter, in the ordinary course of business, or on such other terms
as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

               Objections to the assumption of any Executory Contract or Unexpired Lease or
any applicable Cure Cost shall be made in accordance with the Solicitation Procedures Order.

                Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan
or otherwise shall result in the full release and satisfaction of any Claims held by the non-Debtor
Entity party thereto against, or defaults, including bankruptcy-related defaults, by, the Debtor
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of the assumption; provided, however, that the counterparty to such Executory
Contract or Unexpired Lease may seek additional amount(s) on account of any defaults
occurring between the filing of the notice of assumption and the occurrence of the Effective Date
of the Plan.

                Any Proofs of Claim filed with respect to an Executory Contract or Unexpired
Lease that has been assumed shall be deemed disallowed and expunged, without further notice to
or action, order, or approval of the Bankruptcy Court.

       9.3     Modifications, Amendments, Supplements, Restatements or Other Agreements

                Unless otherwise provided in the Plan, each Executory Contract or Unexpired
Lease that is assumed, assumed and assigned, or rejected shall include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, including easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal and any other interests, unless any of the
foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

              Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
Chapter 11 Case shall not be deemed to alter the prepetition nature of the Executory Contract or

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Unexpired Lease, or the validity, priority or amount of any Claims or Interests that may arise in
connection therewith.

       9.4     Reservation of Rights

                Nothing contained in the Plan, nor the Debtor’s delivery of a notice of proposed
assumption of a contract or lease to the applicable contract and lease counterparties, shall
constitute an admission by the Debtor that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Debtor, NewCo or the Liquidating Trust would have
any liability thereunder.

               Notwithstanding any non-bankruptcy law to the contrary, the Debtor, NewCo or
the Liquidating Trust expressly reserves and does not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased, or services previously received, by the Debtor from
counterparties to rejected Executory Contracts or Unexpired Leases.




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10.    PROVISIONS GOVERNING DISTRIBUTIONS

       10.1    Distribution Agents

                 The Debtor, in its reasonable discretion (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or, after the Effective Date, the Liquidating Trust (and, with respect to the distribution
of NewCo Common Stock, NewCo), in their respective sole discretion, shall have the authority,
to enter into agreements with one or more Distribution Agents to facilitate the distributions
required hereunder. To the extent the Debtor or the Liquidating Trust, as applicable, determines
to utilize a Distribution Agent to facilitate any distributions, such Distribution Agent would first
be required to: (i) affirm its obligation to facilitate the prompt distribution of any documents,
(ii) affirm its obligation to facilitate the prompt distribution of any recoveries or distributions
required under the Plan and (iii) waive any right or ability to set off, deduct from or assert any
Lien or other encumbrance against the distributions required under the Plan to be distributed by
such Distribution Agent.

                Notwithstanding any provision in the Plan to the contrary, distributions to the
Holders of Senior Note Claims and Subordinated Note Claims shall be made to or at the
direction of the respective Indenture Trustees, which shall act as Distribution Agent (or direct the
Distribution Agent) for distributions to the Holders of Senior Note Claims and Subordinated
Note Claims, respectively, in accordance with the Plan and the applicable Indentures.

                The Debtor or the Liquidating Trust, as applicable, may pay to the Distribution
Agents all of their reasonable and documented fees and expenses without the need for any
approvals, authorizations, actions or consents of the Bankruptcy Court or otherwise. At the
request of counsel to the Debtor or the Liquidating Trust, as applicable, Distribution Agents shall
submit detailed invoices to counsel to the Debtor or the Liquidating Trust for all fees and
expenses for which the Distribution Agents seek reimbursement, and the Debtor or the
Liquidating Trust, as applicable, shall pay those amounts that it, in its sole discretion, deems
reasonable, and shall object in writing to those fees and expenses, if any, that the Debtor or the
Liquidating Trust, as applicable, deem to be unreasonable. In the event that the Debtor or the
Liquidating Trust, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Distribution Agent’s invoice, the Debtor or the Liquidating Trust, as applicable,
and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the
amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtor or the Liquidating Trust, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have
such dispute heard by the Bankruptcy Court.

               10.1.1 Powers of the Distribution Agent

                 The Distribution Agent shall be empowered to: (i) effect all actions and execute
all agreements, instruments and other documents necessary to perform its duties under the Plan,
(ii) make all distributions contemplated hereby, (iii) employ professionals to represent it with
respect to its responsibilities and (iv) exercise such other powers as may be vested in the



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Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Distribution Agent to be necessary and proper to implement the provisions hereof.

       10.2    Timing and Delivery of Distributions

               10.2.1 Timing

               Except as otherwise expressly provided herein, distributions to be made under the
Plan shall be made on (i) the later of (a) the Effective Date or (b) the date that a Claim or Interest
becomes an Allowed Claim or Interest, or (ii) such other date that is determined by the Debtor
(with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, in accordance with the Plan. The Liquidating Trust may commence distributions to
beneficiaries of the Estate at any time after the Effective Date, subject to the terms of the Plan,
the Liquidating Trust Agreement and the Confirmation Order.

               10.2.2 De Minimis Distributions

                Notwithstanding any other provision of the Plan, none of the Debtor, the
Liquidating Trust or any Distribution Agent shall have any obligation to make any distributions
under the Plan with a value of less than $50, unless a written request therefor is received by the
Distribution Agent from the relevant recipient within 120 days after the later of (i) the Effective
Date and (ii) the date such Claim or Interest becomes an Allowed Claim or Interest. Such
undistributed amounts shall revert to the Debtor or the Liquidating Trust, as applicable. Upon
such reversion, the relevant Allowed Claim or Interest of less than $50 (and any Claim or
Interest on account of such de minimis distributions) shall be automatically deemed satisfied,
discharged, and forever barred, notwithstanding any federal or state escheat laws to the contrary.
For the avoidance of doubt, this Section 10.2.2 shall not apply to Distributions to any Holder of
an Allowed General Unsecured Claim who timely elects to receive the GUC Cash-Out.

               10.2.3 Record Date and Delivery of Distributions

                 Distributions shall only be made to the record holders of Allowed Claims and
Interests as of the Confirmation Date (the “Distribution Record Date”). On the Confirmation
Date, the Claims Register and Stock Register shall be closed and the Distribution Agent shall be
authorized and entitled to recognize only those Holders of Claims and Interests listed on the
Claims Register and Stock Register as of the close of business on the Confirmation Date.
Notwithstanding the foregoing, if a Claim or Interest is transferred twenty (20) or fewer days
before the Confirmation Date, the Distribution Agent, at the direction of the Debtor or, after the
Effective Date, the Liquidating Trust, shall make distributions to the transferee (rather than the
transferor) only to the extent practical, and, in any event, only if the relevant transfer form
contains an unconditional and explicit certification and waiver of any objection to the transfer by
the transferor. The Distribution Record Date shall not apply to publicly held securities deposited
with DTC and, in connection with any Distribution under the Plan to be effected through the
facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise), the
Debtor, NewCo or the Liquidating Trust, as applicable, shall be entitled to recognize and deal for



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all purposes under the Plan with Holders of Claims and Interests in each Class to the extent
consistent with the customary practices of DTC used in connection with such distributions.

                 If any dispute arises as to the identity of a Holder of an Allowed Claim or Interest
that is entitled to receive a distribution pursuant to the Plan, the Distribution Agent may, in lieu
of making such distribution to such Entity, make the distribution into an escrow account until the
disposition thereof is determined by Final Order or by written agreement among the interested
parties to such dispute. Distributions made after the Confirmation Date to Holders of Disputed
Claims or Interests that are not Allowed Claims or Interests as of the Confirmation Date, but
which later become Allowed Claims or Interests, shall be deemed to have been made on the
Confirmation Date.

                Except as otherwise provided herein, the Distribution Agent, at the direction of
the Debtor or the Liquidating Trust, as applicable, shall make all Distributions required under the
Plan to Holders of Allowed Claims or Interests. Except as otherwise provided herein, and
notwithstanding any authority to the contrary, Distributions to Holders of Allowed Claims or
Interests shall be made to Holders of record as of the Confirmation Date by the Distribution
Agent, as appropriate: (i) to the signatory set forth on any Proof of Claim filed by such Holder
or other representative identified therein (or at the last known address of such Holder if no Proof
of Claim is filed or if the Debtor, the Liquidating Trust or the Distribution Agent have been
notified in writing of a change of address) or (ii) at the address set forth in any written notice of
change of address delivered to the Notice and Claims Agent. The Distribution Agent and the
Notice and Claims Agent shall not incur any liability whatsoever on account of the delivery of
any Distributions under the Plan.

       10.3    Manner of Payment Under Plan

               10.3.1 Cash Payments

                At the Distribution Agent’s option, any Cash payment may be made by check,
wire transfer or any other customary payment method.

               10.3.2 Notes Distribution

                As applicable, the Indenture Trustees may transfer or direct the transfer of such
Distributions directly through the facilities of DTC (whether by means of book-entry exchange,
free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
Plan with the respective Holders of such Claims to the extent consistent with the customary
practices of DTC.

                For the avoidance of doubt, DTC shall be considered a single Holder with respect
to Distributions made on account of the Senior Note Claims and Subordinated Note Claims. The
Indenture Trustees shall have no duties, responsibilities, or liability relating to any form of
Distribution that is not DTC eligible, provided that the Indenture Trustees shall use commercially
reasonable efforts to cooperate with the Debtor, the Liquidating Trust, or NewCo, as applicable,
to the extent that a Distribution is not DTC eligible.



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                 Notwithstanding anything to the contrary herein, such Distributions shall be
subject in all respect to any rights of the Indenture Trustees to assert a charging lien against such
Distributions. All Distributions to be made to Holders of Senior Note Claims and Subordinated
Note Claims through DTC shall be made eligible for Distributions through the facilities of DTC
and, for the avoidance of doubt, under no circumstances will the Indenture Trustees be
responsible for making or required to make any Distribution under the Plan to Holders of Senior
Note Claims and Subordinated Note Claims if such Distribution is not eligible to be distributed
through the facilities of DTC.

              Upon the final distribution on account of the Senior Note Claims or Subordinated
Note Claims, (i) the Senior Notes or Subordinated Notes, as applicable, shall thereafter be
deemed to be worthless, and (ii) at the request of the respective Indenture Trustee, DTC shall
take down the relevant position relating to the Senior Notes or Subordinated Notes, as applicable,
without any requirement of indemnification or security on the part of the Debtor, the Liquidating
Trust, NewCo, or the Indenture Trustees.

               10.3.3 Allocation of Plan Distributions Between Principal and Interest

                To the extent that any Claim entitled to a distribution under the Plan is based upon
any obligation or instrument that is treated for U.S. federal income tax purposes as indebtedness
of the Debtor and accrued but unpaid interest thereon, such distribution shall be allocated first to
the principal amount of the Claim (as determined for federal income tax purposes) and then, to
the extent the consideration exceeds the principal amount of the Claim, to accrued but unpaid
interest.

               10.3.4 Compliance Matters

                In connection with the Plan, to the extent applicable, the Debtor, NewCo, the
Liquidating Trust and the Distribution Agent shall comply with all Tax withholding and
reporting requirements imposed on them by any federal, state, local or foreign Tax law, and all
distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Debtor, NewCo, the Liquidating
Trust and the Distribution Agent shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including withholding in kind,
liquidating a portion of the distributions to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. For purposes of the Plan, any withheld amount (or property) paid to
the applicable Tax Authority shall be treated as if paid to the applicable claimant. The
Liquidating Trust reserves the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal
awards, liens and encumbrances. Distributions in full or partial satisfaction of Allowed Claims
shall be allocated first to trust fund-type taxes, then to other taxes, and then to the principal
amount of Allowed Claims, with any excess allocated to unpaid interest that has accrued on such
Claims. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity
that receives a Distribution pursuant to the Plan shall have responsibility for any Taxes imposed
by any Governmental Unit, including income, withholding, and other Taxes, on account of such

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Distribution. Any party issuing any instrument or making any Distribution pursuant to the Plan
has the right, but not the obligation, not to make a Distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any such Tax
obligations and, if any party issuing any instrument or making any distribution under the Plan
fails to withhold with respect to any such holder’s distribution, and is later held liable for the
amount of such withholding, the holder shall reimburse such party. The Distribution Agent may
require, as a condition to the receipt of a distribution, that the holder complete the appropriate
Form W-8 or Form W-9, as applicable to each holder. If the holder fails to comply with such a
request within one hundred and eighty (180) days after the request is made, the amount of such
Distribution shall irrevocably revert to the Debtor or the Liquidating Trust and any Claim in
respect of such Distribution shall be discharged and forever barred from assertion against the
Debtor, the Liquidating Trust or its respective property.

               10.3.5 Foreign Currency Exchange Rate

                Except as otherwise provided herein or in an order of the Bankruptcy Court, or as
agreed to by any Holder and either the Debtor (with the consent of the UCC and the Required Ad
Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or delayed) or, after
the Effective Date, the Liquidating Trust, any Claim or Interest asserted in a currency other than
U.S. dollars shall be automatically deemed converted, as of the Effective Date, to the equivalent
U.S. dollar value using the exchange rate on the first Business Day prior to the Petition Date, as
quoted at 4:00 p.m. (New York time), at the mid-range spot rate of exchange for the applicable
foreign currency as published in The Wall Street Journal, National Edition, on the first Business
Day after the Petition Date; provided that instead of such automatic conversion, the Debtor may
instead elect, subject to the consent of the UCC and the Required Ad Hoc Senior Noteholder
Parties (not to be unreasonably withheld, conditioned or delayed) to make payments on account
of any such Claim or Interest pursuant to the Plan in the applicable foreign currency.

               10.3.6 Fractional Payments and Distributions

               Whenever the Plan would otherwise call for, with respect to a particular Entity,
payment of a fraction of a dollar, the actual payment shall reflect a rounding of such fraction to
the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
Cash to be distributed under the Plan remain undistributed as a result of the aforementioned
rounding, such Cash shall be treated as an Unclaimed Distribution.

               10.3.7 Fractional Shares or Units

                No fractional shares of NewCo Common Stock or fractional units of Liquidating
Trust Interest shall be distributed under the Plan. When any distribution pursuant to the Plan on
account of an Allowed Claim or Interest would otherwise result in the issuance or delivery of a
number of shares of NewCo Common Stock or a number of units of Liquidating Trust Interest
that is not a whole number, the actual distribution of shares of NewCo Common Stock or units of
Liquidating Trust Interest shall be rounded to the next lower whole number with no further
payment or other distribution therefor (i.e., no consideration will be provided in lieu of fractional
shares of NewCo Common Stock or fractional units of Liquidating Trust Interests that are
rounded down). The total number of shares of NewCo Common Stock or units of Liquidating


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Trust Interest to be distributed to holders of Allowed Claims and Interests shall be adjusted
downward as necessary to account for the rounding provided in this Section 10.3.7. For
distribution purposes, including rounding, DTC will be treated as a single Holder.

       10.4    Undeliverable Distributions

                If any distribution is returned as undeliverable, (i) the Debtor or the Liquidating
Trust, as applicable, may, but shall not be required to, make reasonable efforts to determine the
address for such Holder and (ii) no further distribution to such Holder shall be made unless and
until the Liquidating Trust or the Distribution Agent is notified in writing of the then-current
address of such Holder, at which time such distribution shall be made to such Holder not less
than 30 days thereafter. Undeliverable distributions shall remain in the possession of the
Liquidating Trust or the Distribution Agent until such time as such distribution becomes
deliverable or such distribution reverts to the Liquidating Trust, or is canceled pursuant to
Section 10.5 herein, and shall not be supplemented with any interest, dividends or other accruals
of any kind.

       10.5    Reversion

                Any distribution under the Plan that is an Unclaimed Distribution for a period of
six months thereafter, shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code, and such Unclaimed Distribution shall revest in the Liquidating Trust;
provided, however, that any Unclaimed Distributions consisting of NewCo Common Stock shall,
after such six month period, promptly be transferred to NewCo, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity. Upon such revesting
or such transfer, the Claim or Interest of any Holder or its successors and assigns with respect to
such property shall be canceled, discharged and forever barred, notwithstanding any applicable
federal or state escheat, abandoned, or unclaimed property laws to the contrary. The provisions
of the Plan regarding undeliverable distributions and Unclaimed Distributions shall apply with
equal force to distributions that are issued by the Liquidating Trust, NewCo or the Distribution
Agent made pursuant to any indenture or Certificate, notwithstanding any provision in such
indenture or Certificate to the contrary and notwithstanding any otherwise applicable federal or
state escheat, abandoned or unclaimed property law.

       10.6    Claims or Interests Paid by Third Parties

                No distributions under the Plan shall be made on account of an Allowed Claim
that is payable under one of the Debtor’s Insurance Policies until the Holder of such Allowed
Claim has exhausted all remedies with respect to such Insurance Policy.

               Except as otherwise provided in the Plan, payments to Holders of Claims covered
by an Insurance Policy and otherwise payable under the Plan shall be made from the proceeds of
such Insurance Policy in accordance with the provisions of any such applicable Insurance Policy.
Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtor or any Entity may hold against any other Entity, including Insurers, nor shall anything
contained herein constitute or be deemed a waiver by such insurers of any rights or defenses,
including coverage defenses, held by Insurers.


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                To the extent a Creditor receives a payment on account of a Claim from a party
that is not the Debtor, the Liquidating Trust, NewCo or a Distribution Agent on account of such
Claim, the Debtor or the Liquidating Trust, as applicable, shall be authorized to reduce, for the
purposes of Distribution, the Allowed amount of such Claim by the amount of the third-party
payment, and such Claim shall be disallowed or deemed satisfied, as applicable, to the extent of
such third-party payment without an objection having to be filed, but subject to the filing of a
notice with the Bankruptcy Court and service of such notice on any affected Creditor. Any
Creditor that receives full or partial payment on account of such Claim from an Entity that is not
the Debtor, the Liquidating Trust, NewCo or a Distribution Agent shall provide notice of the date
and amount of such payment to the Debtor or, after the Effective Date, the Liquidating Trust and
NewCo within five (5) Business Days of receipt of such payment. Such Creditor shall repay
and/or return to the Debtor or, after the Effective Date, the Liquidating Trust or NewCo any
Distribution received on account of the portion of its Claim that was satisfied by such third-party
payment within thirty (30) days.

       10.7    Setoffs

                Except as otherwise provided herein, a Final Order of the Bankruptcy Court, or as
agreed to by the Holder and the Liquidating Trust or NewCo, each as applicable, pursuant to the
Bankruptcy Code (including section 553 thereof), applicable non-bankruptcy law, or such terms
as may be agreed to by the Holder and the Liquidating Trust or NewCo, as applicable, the
Liquidating Trust or NewCo, as applicable, may, without any further notice to, or action, order or
approval of the Bankruptcy Court, set off against any Allowed Claim or Interest and the
distributions to be made on account of such Allowed Claim or Interest (before any distribution is
made on account of such Allowed Claim or Interest), any claim, right and Cause of Action of
any nature that the Liquidating Trust or NewCo, as applicable, may hold against the Holder of
such Allowed Claim or Interest, to the extent such claim, right or Cause of Action against such
Holder has not been otherwise compromised or settled on or prior to the Effective Date (whether
pursuant to the Plan or otherwise); provided that neither the failure to effect such a setoff nor the
allowance of any Claim or Interest pursuant to the Plan shall constitute a waiver or release by the
Debtor, the Liquidating Trust or NewCo, as applicable, of any such Claims or Interests, rights
and Causes of Action that the Debtor or the Liquidating Trust may possess against or in such
Holder. In no event will any Person or Entity be entitled to set off any Claim or Interest against
any Claim or Interest, right, or Cause of Action of the Debtor, the Liquidating Trust or NewCo,
as applicable, in any judicial or administrative proceeding, unless such Person or Entity has filed
a Proof of Claim in this Chapter 11 Case preserving such setoff and a Final Order of the
Bankruptcy Court has been entered, authorizing and approving such setoff.

       10.8    No Postpetition Interest on Claims

                Unless otherwise specifically provided for in the Plan or the Confirmation Order,
required by applicable law, or agreed to by the Debtor or, after the Effective Date, the
Liquidating Trust or NewCo, as applicable, no Holder of a Claim or Interest against the Debtor
shall be entitled to interest accruing on or after the Petition Date with respect to such Claim or
Interest, notwithstanding any dispute or other delay with respect to any distribution. For the
avoidance of doubt, the foregoing does not apply to any interest accretion on the Liquidating
Trust Interests provided under the Plan.

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       10.9    No Payment Over the Full Amount; Single Satisfaction

                In no event shall a Holder of a Claim or Interest receive more than the full
payment of such Claim or Interest. To the extent any Holder has received payment in full with
respect to a Claim or Interest, such Claim or Interest shall be expunged without an objection to
such Claim or Interest having been filed and without any further notice to or action, order or
approval of the Bankruptcy Court.




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11.    CLAIMS ADMINISTRATION PROCEDURES

       11.1    Allowance of Claims

                 After the Effective Date, the Liquidating Trust shall have any and all rights and
 defenses that the Debtor had with respect to any Claim immediately before the Effective Date,
 except with respect to any Claim deemed Allowed or satisfied, settled, released and discharged
 under this Plan. All settled Claims approved prior to the Effective Date pursuant to a Final
 Order of the Bankruptcy Court pursuant to Bankruptcy Rule 9019 or otherwise shall be binding
 on all parties.

               Any Claim that has been listed in the Schedules as disputed, contingent or
 unliquidated, and for which no Proof of Claim has been timely filed by the applicable Claims
 Bar Date, is not considered Allowed and shall be expunged without further action and without
 any further notice to or action, order or approval of the Bankruptcy Court.

       11.2    Administration Responsibilities

                  Except as otherwise specifically provided in the Plan, the Debtor in consultation
with the Required Ad Hoc Senior Noteholder Parties and the UCC, before the Effective Date,
and Liquidating Trust, after the Effective Date, subject to the Liquidating Trust Agreement, shall
have the sole authority to (i) file, withdraw or litigate to judgment objections to Claims or
Interests, (ii) settle or compromise any Disputed Claim or Interest without any further notice to
or action, order or approval of the Bankruptcy Court, and (iii) administer and adjust, or cause to
be administered and adjusted, the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order or approval of the Bankruptcy Court.
Nothing in this Section 11.2 shall limit the ability under the Bankruptcy Code of any party-in-
interest to object to any Claim or Interest unless otherwise ordered by the Bankruptcy Court.

              Objections to Claims and Interests must be filed and served by no later than the
Claims Objection Deadline. For the avoidance of doubt, the Claims Objection Deadline may be
extended on multiple occasions.

       11.3    Estimation of Claims

                Before the Effective Date, the Debtor (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or after the Effective Date, the Liquidating Trust, may, within its reasonable discretion,
at any time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or
unliquidated pursuant to section 502(c) of the Bankruptcy Code, regardless of whether any party
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to
estimate any such Claim, including during the litigation of any objection to any Claim or during
the appeal relating to such objection.

             Notwithstanding any provision otherwise in the Plan, a Claim that has been
expunged from the Claims Register, but that either is subject to appeal or has not been the


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subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any Claim,
that estimated amount shall constitute a maximum limitation on such Claim for all purposes
under the Plan (including for purposes of distributions) and may be used as evidence in any
supplemental proceedings, and the Debtor, NewCo or the Liquidating Trust, as applicable, may
elect to pursue any supplemental proceedings to object to any ultimate distribution on such
Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of
a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise
be entitled to seek reconsideration of such estimation unless such Holder has filed a motion
requesting the right to seek such reconsideration on or before seven (7) days after the date on
which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and
resolution procedures are cumulative and not exclusive of one another. Claims may be estimated
and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by
the Bankruptcy Court or under the Plan.

       11.4 Expungement and Disallowance of Paid, Satisfied, Amended, Duplicated, or
Superseded Claims or Interests

               Any Claim or Interest that has been paid, satisfied, amended, duplicated or
superseded may be adjusted or expunged on the Claims Register by the Liquidating Trust on or
after 14 calendar days after the date on which notice of such adjustment or expungement has
been filed with the Bankruptcy Court, without an objection to such Claim or Interest having to be
filed, and without any further action, order or approval of the Bankruptcy Court.

       11.5    Amendments to Proofs of Claim

               On or after the Effective Date, a Proof of Claim may not be amended (other than
solely to update or correct the name or address of the Holder of such Claim) without the prior
authorization of the Bankruptcy Court or the Liquidating Trust, and any such amended Proof of
Claim filed without such prior authorization shall be deemed disallowed in full and expunged
without any further notice to or action, order or approval of the Bankruptcy Court. Nothing in
the paragraph shall remove any claimant’s ability to seek leave from the Bankruptcy Court to
amend a Claim or Proof of Claim.

       11.6    Pending Objections

                To the extent the Debtor has filed objections to Claims that remain pending as of
the Effective Date, the Liquidating Trust shall be substituted as the objecting party without
further action of the parties or order of the Bankruptcy Court.

       11.7    No Distributions Pending Allowance

               Subject to an objection to the amount, validity, priority, or classification of a
Claim or Interest or a portion thereof is filed or is intended to be filed as set forth herein or a
Claim or Interest otherwise remains a Disputed Claim or Interest, except as otherwise provided
in a Final Order of the Bankruptcy Court, no payment or distribution provided under the Plan
shall be made on account of such Claim or Interest or portion thereof, as applicable, unless and
until such Disputed Claim or Interest becomes an Allowed Claim or Interest.

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       11.8    Distributions After Allowance

                To the extent that a Disputed Claim or Interest ultimately becomes a finally
Allowed Claim or Interest, distributions (if any) shall be made to the Holder of such Allowed
Claim or Interest in accordance with the applicable provisions of the Plan, including Section 11.3
hereof. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court Allowing any Disputed Claim or Disputed Interest becomes a Final Order, the
Liquidating Trust, Distribution Agent or NewCo, as applicable, shall provide to the Holder of
such Claim or Interest the Distribution (if any) to which such Holder is entitled under the Plan as
of the Effective Date, less any previous Distribution (if any) that was made on account of the
undisputed portion of such Claim or Interest, without any interest, dividends, or accruals to be
paid on account of such Claim or Interest unless required under applicable bankruptcy law or as
otherwise provided in this Plan.

       11.9    Disallowance of Claims and Interests

                Except as provided herein or otherwise agreed, any and all Proofs of Claim
filed after the applicable Claims Bar Date shall be deemed disallowed and expunged as of
the Effective Date without any further notice to or action, order, or approval of the
Bankruptcy Court, and Holders of such Claims may not receive any Distributions on
account of such Claims, unless such late filed Claim has been deemed timely filed by a
Final Order at or before the Confirmation Hearing.




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12.    EFFECT OF CONFIRMATION

       12.1    Vesting of Assets

                Except as otherwise provided in the Plan or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or in the Confirmation Order, upon the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all property of the
Debtor shall vest in NewCo or its subsidiaries or the Liquidating Trust (or entities to be formed
by the Liquidating Trust), as applicable, in accordance with this Plan and the Restructuring
Transactions Memorandum, free and clear of all Claims, Liens, encumbrances, charges and
Interests. All Liens, Claims, encumbrances, charges and Interests shall be deemed fully released
and discharged as of the Effective Date, except as otherwise provided in the Plan or the
Confirmation Order. Except as otherwise provided in the Plan or the Confirmation Order, as of
the Effective Date, each of NewCo and the Liquidating Trust may, as applicable, operate its
businesses and may use, acquire, and dispose of property and the Liquidating Trust may settle
and compromise Claims and Interests, in each case without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code, the Bankruptcy Rules,
and the Local Rules and in all respects as if there were no pending cases under any chapter or
provision of the Bankruptcy Code with respect to the Debtor.

                The transfer of information to the Liquidating Trust shall not result in the
destruction or waiver of any applicable work product, attorney-client, or other applicable
privilege (the “Privileges”). Further, with respect to any Privileges: (i) Privileges are transferred
to the Liquidating Trust to the extent necessary to enable the Liquidating Trust Board to perform
its duties to administer the Liquidating Trust and for no other reason, (ii) such Privileges shall be
preserved and not waived (except as the Liquidating Trust Board may affirmatively elect to
waive such Privileges), and (iii) no information subject to a Privilege shall be publicly disclosed
by the Liquidating Trust or communicated to any Person not entitled to receive such information
or in a manner that would diminish the protected status of any such information, except
following a waiver of such Privilege pursuant to (ii) above or pursuant to the specific terms of
the Plan and the Confirmation Order and the Liquidating Trust Agreement.

       12.2    Compromise and Settlement of Claims and Controversies

                Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, and in consideration for the distributions, releases and other benefits provided
pursuant to the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good-
faith compromise of all Claims, Interests, Causes of Action and controversies relating to the
contractual, legal and subordination rights that a Holder of an Allowed Claim or Interest may
have against the Debtor, or any distribution to be made on account of such an Allowed Claim or
Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the compromise or settlement of all such Claims, Interests or controversies and the
Bankruptcy Court’s finding that such compromise or settlement is in the best interests of the
Debtor and its Estate and is fair, equitable and reasonable. In accordance with the provisions of
the Plan, pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice or action, order or approval of the Bankruptcy Court, after


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the Effective Date, the Liquidating Trust may compromise and settle Claims against it and
Causes of Action against other entities.

       12.3    Subordinated Claims

                 The allowance, classification and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account, conform to, and
satisfy the relative priority and rights of the Claims and Interests in each Class in connection with
any contractual, legal and equitable subordination rights relating thereto; provided, however, that
the Debtor and the Liquidating Trust reserve the right to reclassify or modify the treatment of
any Allowed Claim or Interest in accordance with any contractual, legal, or equitable
subordination relating thereto, unless otherwise provided in a settlement agreement concerning
such Allowed Claim or Interest. For the avoidance of doubt, the Distributions to the Holders of
Subordinated Note Claims under the Plan are in settlement and compromise of any contractual,
legal and equitable subordination rights relating to such Subordinated Note Claims, and all
claims to turnover, release or payment of such Distributions are expressly waived hereby.

       12.4    Release of Liens

                Except as otherwise provided in the Plan, or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or the Confirmation Order, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and,
in the case of a Secured Claim, indefeasible payment and satisfaction in full in cash of the
portion of the Secured Claim that is Allowed as of the Effective Date in accordance with the
Plan, all mortgages, deeds of trust, Liens, pledges or other security interests against any property
of the Estate shall be fully released, settled, discharged and compromised, and all rights, titles
and interests of any holder of such mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estate shall revert to the Debtor and its successors and
assigns, in each case, without any further approval of the Bankruptcy Court and without any
action or filing being required to be made by the Debtor. The Debtor, or after the Effective Date,
the Liquidating Trust shall be authorized to file any necessary or desirable documents to
evidence such release in the name of the party secured by such pre-Effective Date mortgages,
deeds of trust, Liens, pledges or other security interests. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency, records office, or
department shall constitute good and sufficient evidence of, but shall not be required to effect,
the termination of such Liens.

       12.5    Discharge

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in this Plan or the Restructuring Transactions Memorandum, the
Confirmation Order or in any contract, instrument, or other agreement or document created
pursuant to this Plan or the Confirmation Order, the distributions, rights, and treatments that are
provided in this Plan or the Confirmation Order shall be in complete satisfaction, discharge, and
release, effective as of the Effective Date, of Claims against, Interests in, and Causes of Action
against the Debtor, NewCo and the Liquidating Trust of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or


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unknown, against Liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtor or any of its assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to this Plan and the Confirmation Order on account of such
Claims or Interests, including demands, Liabilities and Causes of Action that arose before the
Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in
sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case, whether or not (1) a
Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of
the bankruptcy Code, (2) a Claim or Interest based upon such debt, right, or Interest is Allowed
pursuant to section 502 of the Bankruptcy Code, or (3) the Holder of such a Claim or Interest has
accepted this Plan. Any default or “event of default” by the Debtor or Affiliates with respect to
any Claim or Interest that existed immediately before or on account of the filing of the
chapter 11 cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims against,
Causes of Action against, and Interests in the Debtor, NewCo or the Liquidating Trust, subject to
the occurrence of the Effective Date.

       12.6    Term of Injunction or Stays

               Unless otherwise provided herein, any injunction or stay arising under or entered
during the Chapter 11 Case under section 105 or 362 of the Bankruptcy Code or otherwise that is
in existence on the Confirmation Date (excluding any injunctions or stays contained in this Plan
or the Confirmation Order) shall remain in full force and effect until the later of the Effective
Date and the date indicated in the order providing for such injunction or stay. All injunctions or
stays contained in this Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.

       12.7    Release by the Debtor

               For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case and the implementation of the transactions contemplated by the Plan,
on and after the Effective Date, each of the Released Parties including the Debtor Released
Parties but excluding each other Related Party of the Debtor shall be conclusively,
absolutely, unconditionally, irrevocably, fully, finally, forever, and permanently released
and discharged by the Debtor, NewCo, the Liquidating Trust and the Debtor’s Estate,
including any successor and assign to the Debtor, NewCo, the Liquidating Trust or any
estate representative, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other Entities who may purport to assert any
Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from all claims, obligations, rights, suits, damages, causes of action,
remedies and liabilities whatsoever, including any derivative claims, in each case asserted
or assertable on behalf of the Debtor, NewCo or the Liquidating Trust, and their respective
successors, assigns, and representatives, or that any Entity or party claiming under or
through the Debtor or its Estate, whether known or unknown, foreseen or unforeseen,
liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in law, at
equity or otherwise, whether for indemnification, tort, contract, violations of federal or

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state securities laws or otherwise, including those that any of the Debtor, NewCo, the
Liquidating Trust or the Debtor’s Estate would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the holder of any Claim or
Interest or any other Entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the
businesses of the Debtor, the Chapter 11 Case, the purchase, sale or rescission of the
purchase or sale of any security of the Debtor, NewCo or the Liquidating Trust, the release
or discharge of any mortgage, lien or security interest, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during the Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the Restructuring Support Agreement (and each prior
version thereof), the Plan, any plan supplement, any disclosure statement or, in each case,
related agreements, instruments or other documents, any action or omission with respect to
intercompany claims and intercompany settlements, any action or omission as an officer,
director, agent, representative, fiduciary, controlling Person, member, manager, affiliate or
responsible party, or upon any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date of the Plan, other than claims
or liabilities arising out of or relating to any act or omission of such Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act. Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any obligations arising on or after the Effective Date of any party or Entity
under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

                Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the Debtor Releases in Section 12.7, which
includes by reference each of the related provisions and definitions contained in this Plan
and, further, shall constitute the Bankruptcy Court’s finding that the Debtor Release in
Section 12.7 is: (a) given in exchange for good and valuable consideration provided by the
applicable Released Parties, including the applicable Released Parties’ contributions to
facilitating the Restructuring Transactions and implementing the Plan; (b) a good-faith
settlement and compromise of the Claims released by the Debtor Release; (c) in the best
interests of the Debtor and all Holders of Claims and Interests; (d) fair, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; (f) a bar to
the assertion by the Debtor, NewCo, the Liquidating Trust, or the Debtor’s estate of any
claim or Cause of Action of any kind whatsoever released pursuant to the Debtor Release;
(g) essential to the Confirmation of the Plan; and (h) a prudent exercise of the Debtor’s
business judgment.

               Notwithstanding the foregoing, nothing contained in this Section 12.7 shall be
deemed to release any Retained Causes of Action, including any Claims and Causes of
Action against any Debtor Related Parties other than those Debtor Related Parties
identified on Exhibit [•] hereof.


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       12.8   Exculpation

               Upon entry of the Confirmation Order, each of the Exculpated Parties will
be deemed to have acted in “good faith” within the meaning of section 1125(e) of the
Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy
Code and in a manner consistent with the Disclosure Statement, the Plan, the Bankruptcy
Code, the Bankruptcy Rules, and all other applicable rules, laws, and regulations in
connection with all of their respective activities relating to support and consummation of
the Plan, including the negotiation, execution, delivery, and performance of the
Restructuring Support Agreement and are entitled to the protections of section 1125(e) of
the Bankruptcy Code and all other applicable protections and rights provided in the Plan.
Without limiting the generality of the foregoing, upon entry of the Confirmation Order, the
Debtor and its directors, officers, employees, attorneys, investment bankers, financial
advisors, restructuring advisors and other professional advisors, representatives and
agents will be deemed to have solicited acceptances of this Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, including
section 1125(e) of the Bankruptcy Code and any applicable non-bankruptcy law, rule or
regulation governing the adequacy of disclosure in connection with the solicitation.

                As of the Effective Date, to the fullest extent permissible under any
applicable laws and without affecting, expanding or limiting the releases contained in this
Article 12, and except as otherwise provided herein, the Exculpated Parties shall neither
have nor incur any liability arising on or after the Petition Date to any Entity for any act or
omission in connection with, relating to or arising out of (i) this Chapter 11 Case; (ii) the
formulation, negotiation, preparation, dissemination, implementation, administration,
confirmation and/or consummation of the Restructuring Support Agreement (and each
prior version thereof), any disclosure statement, the Plan, any plan supplement, and any
related contract, instrument, release or other agreement or document created or entered
into in connection therewith (including the solicitation of votes for the Plan or other actions
taken in furtherance of confirmation or consummation of the Plan, including the issuance
of any securities under or in connection with the Plan) or in connection with any other
obligations arising under the Plan or the obligations assumed hereunder; or (iii) the
settlement of Claims or renegotiation of Executory Contracts or Unexpired Leases, other
than liability resulting from any act or omission that is determined by final order in a court
of competent jurisdiction to have constituted gross negligence, willful misconduct, fraud or
a criminal act. In all respects, such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan;
provided, however, that nothing in the Plan or Confirmation Order shall relieve the
Exculpated Parties from their obligations under postpetition transactions, agreements or
instruments that have not been expressly canceled by the Plan.

               Notwithstanding the foregoing, nothing contained in this Section 12.8 shall be
deemed to exculpate any party from liability with respect to any Retained Causes of Action
or other Claims or Causes of Action related to actions or inactions occurring prior to the
Petition Date, including any Claims and Causes of Action against any Debtor Related
Parties other than those Debtor Related Parties identified on Exhibit [•] hereof.


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       12.9   Voluntary Release by Holders of Claims and Interests

                For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case, the implementation of the reorganization contemplated by the Plan,
the release of mortgages, liens and security interests on property of the Estate, and
distributions made pursuant to the Plan, on and after the Effective Date, to the fullest
extent permitted by applicable law, the Releasing Parties (regardless of whether a
Releasing Party is a Released Party), in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may
purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for,
or because of the foregoing Entities, shall be deemed to conclusively, absolutely,
unconditionally, irrevocably and forever release, waive and discharge the Released Parties
of any and all claims, obligations, rights, suits, damages, causes of action, remedies and
liabilities whatsoever, including any derivative claims asserted or assertable on behalf of
the Debtor, NewCo or the Liquidating Trust and any of its or their successors, assigns, and
representatives, whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, contingent or fixed, existing or hereafter arising, in law, at equity or
otherwise, whether for indemnification, tort, contract, violations of federal or state
securities laws or otherwise, including, those that any of the Debtor, NewCo, the
Liquidating Trust or the Estate would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
any other Person, based on or relating to, or in any manner arising from, in whole or in
part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the businesses of
the Debtor, this Chapter 11 Case, the purchase, sale or rescission of the purchase or sale of
any security of the Debtor, NewCo or the Liquidating Trust, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during this Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the Restructuring Support Agreement (and each prior
version thereof), the Plan, any plan supplement, any disclosure statement or, in each case,
related agreements, instruments or other documents, any action or omission with respect to
intercompany claims or intercompany settlements, any action or omission as an officer,
director, agent, representative, fiduciary, controlling Person, member, manager, affiliate or
responsible party, or upon any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date of the Plan, other than claims
or liabilities arising out of or relating to any act or omission of a Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act.

               Notwithstanding anything to the contrary in the foregoing, the releases set
forth above do not constitute a release by the Debtor of any of its Related Parties other
than the Debtor Released Parties nor shall they release any obligations arising on or after
the Effective Date of any party or Entity under this Plan, any Restructuring Transaction,
or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement this Plan as set forth in this Plan.

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                 Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the releases set forth in this Section 12.9,
which includes by reference each of the related provisions and definitions contained in this
Plan, and, further, shall constitute the Bankruptcy Court’s finding that the releases set
forth in this Section 12.9 is: (a) consensual; (b) essential to the Confirmation of this Plan;
(c) given in exchange for the good and valuable consideration provided by the Released
Parties, including the Released Parties’ contributions to facilitating the Restructuring
Transactions and implementing this Plan; (d) a good faith settlement and compromise of
the Claims released pursuant to this Section 12.9; (e) in the best interests of the Debtor and
its Estate; (f) fair, equitable, and reasonable; (g) given and made after due notice and
opportunity for hearing; and (h) a bar to any of the Releasing Parties asserting any Claim
or Cause of Action of any kind whatsoever released pursuant to this Section 12.9.

               For the avoidance of doubt, notwithstanding anything to the contrary in this
Section 12.9, the releases set forth above shall not release the rights of Holders of Allowed
Claims to receive the treatment of their Claims as provided in the Plan and otherwise to
enforce the terms of the Plan, all of which rights are fully preserved.

       12.10 Injunction

                Except as otherwise specifically provided in the Plan or the Confirmation
Order, all Persons or Entities who have held, hold or may hold (i) Claims or Interests that
arose prior to the Effective Date, (ii) Causes of Action that have been released pursuant to
Sections 12.7 and 12.9 hereof or are subject to exculpation pursuant to Section 12.8 hereof
(but only to the extent of the exculpation provided in Section 12.8 of the Plan), or
(iii) Claims, Interests or Causes of Action that are otherwise discharged, satisfied, stayed,
or terminated pursuant to the terms of the Plan and all other parties-in-interest seeking to
enforce such Claims, Interests or Causes of Action are permanently enjoined, from and
after the Effective Date, from (a) commencing or continuing in any manner any action or
other proceeding of any kind with respect to any such Claim (including a Section 510(b)
Claim) against or such Interest in the Debtor, NewCo or the Liquidating Trust, or property
of the Debtor, NewCo or the Liquidating Trust, other than to enforce any right to a
distribution pursuant to the Plan, (b) the enforcement, attachment, collection or recovery
by any manner or means of any judgment, award, decree or order against the Debtor,
NewCo or the Liquidating Trust or property of the Debtor, NewCo or the Liquidating
Trust with respect to any such Claim or Interest, other than to enforce any right to a
distribution pursuant to the Plan, (c) creating, perfecting or enforcing any Lien or
encumbrance of any kind against the Debtor, NewCo or the Liquidating Trust, or against
the property or interests in property of the Debtor, NewCo or the Liquidating Trust with
respect to any such Claim or Interest, other than to enforce any right to a distribution
pursuant to the Plan, or (d) asserting any right of setoff (except for setoffs validly exercised
prepetition) or subrogation of any kind against any obligation due from the Debtor, NewCo
or the Liquidating Trust, or against the property or interests in property of the Debtor,
NewCo or the Liquidating Trust, with respect to any such Claim or Interest. Such
injunction shall extend to any successors or assignees of the Debtor, NewCo or the
Liquidating Trust and their respective properties and interests in properties.


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        With respect to claims or Causes of Action that have not been released, discharged,
or are not subject to exculpation, no Person or Entity may commence or pursue a claim or
Cause of Action of any kind against the Debtor, NewCo, the Liquidating Trust, any
Exculpated Party, or any Released Party that relates to any act or omission occurring from
the Petition Date to the Effective Date in connection with, relating to, or arising out of, in
whole or in part, the Chapter 11 Case (including the filing and administration thereof), the
Debtor, the governance, management, transactions, ownership, or operation of the Debtor,
the purchase, sale, exchange, issuance, termination, repayment, extension, amendment, or
rescission of any debt instrument or security of the Debtor, NewCo, or the Liquidating
Trust, the subject matter of, or the transactions or events giving rise to any Claim or
Interest that is treated in this Plan, the business or contractual or other arrangements or
other interactions between any Releasing Party and any Released Party or Exculpated
Party, the restructuring of any Claim or Interest before or during the Chapter 11 Case,
any other in- or out-of-court restructuring efforts of the Debtor; any intercompany
transactions, any Restructuring Transaction, the Restructuring Support Agreement, the
formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
Agreement and the Definitive Documents, or any other contract, instrument, release, or
other agreement or document created or entered into in connection with the Disclosure
Statement, this Plan, or any of the other Definitive Documents, the pursuit of
Confirmation, the administration and implementation of this Plan, including the issuance
of securities pursuant to this Plan, or the distribution of property under this Plan or any
other related agreement (including, for the avoidance of doubt, providing any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or
other agreement contemplated by this Plan or the reliance by any Exculpated Party on this
Plan or the Confirmation Order in lieu of such legal opinion), without the Bankruptcy
Court (a) first determining, after notice and a hearing, that such Claim or Cause of Action
represents a colorable Claim and (b) specifically authorizing such Person or Entity to bring
such Claim or Cause of Action. To the extent the Bankruptcy Court would have
jurisdiction over such colorable Claim or Cause of Action, the Bankruptcy Court shall
have sole and exclusive jurisdiction to adjudicate such underlying Claim or Cause of
Action should it permit such Claim or Cause of Action to proceed.

       12.11 Scope of Releases

               Each Person providing releases under the Plan, including the Debtor,
NewCo, the Liquidating Trust, the Debtor’s Estate and the Releasing Parties, shall be
deemed to have granted the releases set forth in the Plan notwithstanding that such Person
may hereafter discover facts in addition to, or different from, those which it now knows or
believes to be true, and without regard to the subsequent discovery or existence of such
different or additional facts, and such Person expressly waives any and all rights that it
may have under any statute or common law principle which would limit the effect of such
releases to those claims or causes of action actually known or suspected to exist at the time
of execution of such release.

               For the avoidance of doubt, nothing herein, including the releases, waivers,
and exculpations provided in Sections 12.7–12.9, shall constitute a release, waiver,
discharge, or limitation of any kind of (i) any Retained Causes of Action, including any

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Claims or Causes of Action against Debtor Related Parties other than those Debtor Related
Parties identified on Exhibit [•] hereto or (ii) any rights, liabilities, or obligations arising
under the Plan or any other agreement, document or instrument executed in connection
with the Plan.

               Notwithstanding any language to the contrary contained in the Disclosure
Statement, Plan or Confirmation Order, no provision shall (i) preclude the SEC from
enforcing its police or regulatory powers or (ii) enjoin, limit, impair or delay the SEC from
commencing or continuing any claims, causes of action, proceeding or investigations
against any non-Debtor (other than NewCo or the Liquidating Trust) in any forum;
provided that the foregoing sentence shall not (x) limit the scope of discharge granted to the
Debtor, NewCo or the Liquidating Trust under sections 524 and 1141 of the Bankruptcy
Code or (y) diminish the scope of any exculpation to which any party is entitled under
section 1125(e) of the Bankruptcy Code.

              As to any Specified Governmental Unit, nothing in the Plan or the
Confirmation Order shall limit or expand the scope of discharge, release or injunction to
which the Debtor, NewCo or the Liquidating Trust are entitled to under the Bankruptcy
Code, if any. The discharge, release, and injunction provisions contained in the Plan and
the Confirmation Order are not intended and shall not be construed to bar any Specified
Governmental Unit from, subsequent to the entry of the Confirmation Order, pursuing any
police or regulatory action (except to the extent the applicable Bar Date bars the Specified
Governmental Unit from pursuing prepetition Claims).

                Notwithstanding anything contained in the Plan or the Confirmation Order
to the contrary, nothing in the Plan or the Confirmation Order shall discharge, release,
impair or otherwise preclude: (1) any liability to any Specified Governmental Unit that is
not a “claim” within the meaning of section 101(5) of the Bankruptcy Code; (2) any Claim
of any Specified Governmental Unit arising on or after the Effective Date; (3) any valid
right of setoff or recoupment of any Specified Governmental Unit against the Debtor; or
(4) any liability of the Debtor, NewCo or the Liquidating Trust under police or regulatory
statutes or regulations to any Specified Governmental Unit as the owner, lessor, lessee or
operator of property that such Person or Entity owns, operates or leases after the
Confirmation Date. Nor shall anything in the Confirmation Order or the Plan: (i) enjoin
or otherwise bar any Specified Governmental Unit from asserting or enforcing, outside the
Bankruptcy Court, any liability described in the preceding sentence; or (ii) divest any
court, commission, or tribunal of jurisdiction to determine whether any liabilities asserted
by any Specified Governmental Unit are discharged or otherwise barred by the
Confirmation Order, the Plan or the Bankruptcy Code.

              Moreover, nothing in the Confirmation Order or the Plan shall release or
exculpate any non-Debtor, including any Released Parties and/or Exculpated Parties but
excluding the Debtor, NewCo or the Liquidating Trust, from any liability to any Specified
Governmental Unit, including but not limited to any liabilities arising under the IRC, the
environmental laws, or the criminal laws, nor shall anything in the Confirmation Order or
the Plan enjoin any Specified Governmental Unit from bringing any claim, suit, action or
other proceeding against any non-Debtor (other than NewCo or the Liquidating Trust) for

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any liability whatsoever; provided that the foregoing sentence shall not (x) limit the scope of
discharge granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and
1141 of the Bankruptcy Code or (y) diminish the scope of any exculpation to which any
party is entitled under section 1125(e) of the Bankruptcy Code.

               Nothing contained in the Plan or the Confirmation Order shall be deemed to
determine the tax liability of any Person or Entity, including but not limited to the Debtor,
NewCo or the Liquidating Trust, nor shall the Plan or the Confirmation Order be deemed
to have determined the federal tax treatment of any item, distribution or entity, including
the federal tax consequences of this Plan, nor shall any language in the Plan or the
Confirmation Order be deemed to expressly expand or diminish the jurisdiction of the
Bankruptcy Court to make determinations as to federal tax liability and federal tax
treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

       12.12 Preservation of Causes of Action

                Except as expressly provided in this Article 12 hereof or the Confirmation Order,
nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights or Causes of Action that the Debtor, NewCo or the Liquidating
Trust may have or that the Debtor, NewCo or the Liquidating Trust, as applicable, may choose to
assert on behalf of the Estate under any provision of the Bankruptcy Code or any applicable non-
bankruptcy law, including (i) any and all Causes of Action or Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or claim for
setoff that seeks affirmative relief against the Debtor, NewCo or the Liquidating Trust, and in
each case, its officers, directors or representatives or (ii) the turnover of any property of the
Estate to the Debtor, NewCo or the Liquidating Trust.

                No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement or the Disclosure Statement to any Cause of Action against them as any indication
that the Debtor, NewCo or the Liquidating Trust, as applicable, will not pursue any and all
available Causes of Action against them. The Debtor, NewCo or the Liquidating Trust expressly
reserves all rights to prosecute any and all Causes of Action against any Entity, except as
otherwise expressly provided herein.

               Except as set forth in this Article 12 hereof or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights or Causes of Action that the Debtor had immediately prior to the
Petition Date or the Effective Date against or regarding any Claim or Interest left Unimpaired by
the Plan. The Liquidating Trust shall have, retain, reserve, and be entitled to assert all such
rights and Causes of Action, including any actions specifically enumerated in the Schedule of
Retained Causes of Action, as fully as if the Chapter 11 Case had not been commenced, and all
of the Liquidating Trust’s legal and equitable rights respecting any Claim or Interest left
Unimpaired by the Plan may be asserted after the Confirmation Date to the same extent as if the
Chapter 11 Case had not been commenced.

               Except as set forth in this Article 12 hereof or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order shall be deemed to release any post-Effective


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Date obligations of any party under the Plan, or any document, instrument or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

                Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan, including pursuant to Article 12 hereof
or a Final Order, the Liquidating Trust expressly reserves all Causes of Action for later
adjudication and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise),
or laches shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or occurrence of the Effective Date.




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13.    CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN

       13.1   Conditions to Effectiveness

               The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied on or prior to the Effective Date or waived in accordance with
Section 13.2 hereof:

                     i.      The Restructuring Support Agreement shall not have been
                             terminated, and shall remain in full force and effect, and no event
                             or occurrence shall have occurred that, with the passage of time or
                             the giving of notice, would give rise to the right of the Required Ad
                             Hoc Senior Noteholder Parties or the UCC to terminate the
                             Restructuring Support Agreement;

                    ii.      All Definitive Documents for the Restructuring Transactions
                             contemplated by the Restructuring Support Agreement to be
                             executed and delivered on or before the Effective Date shall have
                             been executed and delivered and remain in full force and effect;

                   iii.      The Bankruptcy Court shall have entered the Confirmation Order
                             which shall be a Final Order;

                   iv.       The Debtor shall have filed the final version of the Plan, including
                             all of the schedules, documents, and exhibits contained therein, and
                             the Plan Supplement in a manner consistent in all material respects
                             with the Restructuring Support Agreement and the Plan;

                    v.       The Debtor shall have obtained all applicable authorizations,
                             consents, regulatory approvals, rulings, or documents that are
                             necessary to implement and effectuate the Plan (and all applicable
                             waiting periods have expired);

                   vi.       The Debtor shall have implemented the Restructuring Transactions
                             and all other transactions contemplated in the Restructuring
                             Support Agreement (subject to, and in accordance with, the
                             consent rights set forth therein) and the Plan to be implemented on
                             or before the Effective Date;

                   vii.      No governmental entity or federal or state court of competent
                             jurisdiction has enacted, issued, promulgated, enforced or entered
                             any law or order (whether temporary, preliminary or permanent),
                             in any case which is in effect and which prevents or prohibits
                             consummation of the Plan, and no governmental entity has
                             instituted any action or proceeding (which remains pending at what
                             would otherwise be the Effective Date) seeking to enjoin, restrain



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                              or otherwise prohibit consummation of the transactions
                              contemplated by the Plan;

                   viii.      All Ad Hoc Noteholder Group Expenses, Senior Note Trustee
                              Expenses and Subordinated Note Trustee Expenses have been paid
                              in full in Cash as provided in the Restructuring Support
                              Agreement;

                    ix.       All professional fees and expenses of retained professionals
                              required to be approved by the Bankruptcy Court shall have been
                              paid in full or amounts sufficient to pay such fees and expenses in
                              full after the Effective Date shall have been placed in a
                              professional fee escrow account as set forth in, and in accordance
                              with, the Plan; and

                     x.       All Claims asserted by the IRS or any other Tax Authority shall
                              have been resolved in a manner acceptable to the Required Ad Hoc
                              Senior Noteholder Parties and the UCC or estimated by the
                              Bankruptcy Court for the purpose of Plan distributions at an
                              amount acceptable to the Required Ad Hoc Senior Noteholder
                              Parties and the UCC.

       13.2    Waiver of Conditions to Confirmation or Effectiveness

                 Except as set forth below, the Debtor, with the prior written consent (e-mail being
sufficient) of the Required Ad Hoc Senior Noteholder Parties and the UCC, may waive any of
the conditions set forth in Section 13.1 hereof at any time, without any notice to any other
parties-in-interest or the Bankruptcy Court and without any formal action other than proceeding
to confirm and/or consummate the Plan. The failure of the Debtor to exercise any of the
foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.




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14.    MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

       14.1    Plan Modifications

                Subject to certain restrictions and requirements set forth in section 1127(a) of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
the Plan, subject to any applicable consent rights set forth in the Restructuring Support
Agreement, the Debtor may alter, amend or modify the Plan, including the Plan Supplement,
without additional disclosure pursuant to section 1125 of the Bankruptcy Code prior to the
Confirmation Date. After the Confirmation Date and before substantial consummation of the
Plan, the Debtor may institute proceedings in the Bankruptcy Court pursuant to section 1127(b)
of the Bankruptcy Code to remedy any defect or omission or reconcile any inconsistencies in the
Plan, including the Plan Supplement, the Disclosure Statement, or the Confirmation Order,
relating to such matters as may be necessary to carry out the purposes and effects of the Plan.

                After the Confirmation Date, but before the Effective Date, subject to any
applicable consent rights set forth in the Restructuring Support Agreement and except as set forth
in Section 7.3, the Debtor may make appropriate technical adjustments and modifications to the
Plan, including the Plan Supplement, without further order or approval of the Bankruptcy Court;
provided, that such adjustments and modifications do not materially and adversely affect the
treatment of Holders of Claims or Interests and are otherwise permitted under section 1127(b) of
the Bankruptcy Code.

       14.2    Effect of Confirmation on Modification

                Entry of a Confirmation Order shall mean that all modifications and amendments
to the Plan since the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code, and do not require additional disclosure or resolicitation under Bankruptcy
Rule 3019.

       14.3    Revocation or Withdrawal of the Plan and Effects of Non-Occurrence of
               Confirmation or Effective Date

                 Subject to the Restructuring Support Agreement, the Debtor reserves the right to
revoke, withdraw, or delay consideration of the Plan before the Confirmation Date. If the Debtor
revokes or withdraws the Plan or if the Confirmation Date or the Effective Date does not occur,
then, absent further order of the Bankruptcy Court, (i) the Plan shall be null and void in all
respects, (ii) any settlement or compromise not previously approved by Final Order of the
Bankruptcy Court embodied in the Plan (including the fixing or limiting to an amount certain
any Claim or Interest or Class of Claims or Interests), assumption, assumption and assignment,
or rejection of executory contracts or leases effected by the Plan, and any document or agreement
executed pursuant hereto shall be deemed null and void, and (iii) nothing contained in the Plan
shall (A) constitute a waiver or release of any Claims by or against, or any Interests in, the
Debtor or any other Person or Entity, (B) prejudice in any manner the rights of the Debtor or any
other Person or Entity or (C) constitute an admission of any sort by the Debtor or any other
Person or Entity.



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              If the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
over any request to extend the deadline for assuming or rejecting Executory Contracts or
Unexpired Leases.




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15.    RETENTION OF JURISDICTION BY THE BANKRUPTCY COURT

                 Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, the Bankruptcy Court shall retain its existing jurisdiction over all matters arising
in or out of, or related to, the Chapter 11 Case or the Plan pursuant to sections 105(a) and 1142
of the Bankruptcy Code, including jurisdiction to:

                      i.       Allow, disallow, determine, liquidate, classify, estimate, or
                               establish the priority, secured or unsecured status, or amount of
                               any Claim or Interest, including the resolution of any request for
                               payment of any Administrative Expense Claim and the resolution
                               of any and all objections to the secured or unsecured status,
                               priority, amount, or allowance of Claims or Interests;

                     ii.       Decide and resolve all matters related to the granting and denying,
                               in whole or in part, any applications for allowance of
                               compensation or reimbursement of expenses to Professionals
                               authorized pursuant to the Bankruptcy Code or the Plan;

                    iii.       Resolve any matters related to: (i) the assumption, assumption and
                               assignment, or rejection of any Executory Contract or Unexpired
                               Lease and, if necessary, liquidate, any Claims arising therefrom,
                               including any disputes regarding cure obligations in accordance
                               with the Plan, (ii) any potential contractual obligation under any
                               Executory Contract or Unexpired Lease that is assumed, (iii) any
                               dispute regarding whether a contract or lease is, or was, executory
                               or expired, or (iv) any dispute regarding the Plan or any
                               Restructuring Transactions trigger any cross-default or change-of-
                               control provision in any contract or agreement.

                    iv.        Ensure that distributions to Holders of Allowed Claims or Interests
                               are accomplished pursuant to the Plan and adjudicate any and all
                               disputes from, or relating to, distributions under the Plan or the
                               Confirmation;

                     v.        Adjudicate, decide or resolve any motions, adversary proceedings,
                               contested or litigated matters, and any other matters and Causes of
                               Action, and grant or deny any applications, involving the Debtor
                               that may be pending before the Bankruptcy Court on the Effective
                               Date;

                    vi.        Adjudicate, decide, or resolve any and all matters related to Causes
                               of Action that may arise from or in connection with the
                               Consummation, interpretation, or enforcement of the Plan or any
                               Entity’s obligations incurred in connection with the Plan;




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                vii.     Adjudicate, decide or resolve any and all matters related to
                         section 1141 of the Bankruptcy Code;

               viii.     Enter and implement such orders as may be necessary or
                         appropriate to execute, implement, or consummate the provisions
                         of the Plan and all contracts, instruments, releases, indentures, and
                         other agreements or documents created in connection with the
                         Plan, Plan Supplement, or Disclosure Statement;

                 ix.     Enter and enforce any order for the sale of property pursuant to
                         sections 363, 1123, or 1146(a) of the Bankruptcy Code;

                 x.      Adjudicate, decide, or resolve any and all disputes as to the
                         ownership of any Claim or Interest;

                 xi.     Issue injunctions, enter and implement other orders, or take such
                         other actions as may be necessary or appropriate to restrain
                         interference by any Person or Entity with enforcement of the Plan;

                xii.     Resolve any cases, controversies, suits, disputes, or Causes of
                         Action with respect to the existence, nature, and scope of the
                         releases, injunctions, and other provisions contained in the Plan,
                         and enter such orders as may be necessary or appropriate to
                         implement and enforce such releases, injunctions, and other
                         provisions;

               xiii.     Enter and implement such orders as are necessary or appropriate if
                         the Confirmation Order is for any reason modified, stayed,
                         reversed, revoked, or vacated;

               xiv.      Determine any other matters that may arise in connection with or
                         relate to the Plan, the Plan Supplement, the Disclosure Statement,
                         the Confirmation Order or any contract, instrument, release,
                         indenture, or other agreement or document created in connection
                         with the Plan, the Plan Supplement, or the Disclosure Statement;

                xv.      Enter an order or final decree concluding or closing the Chapter 11
                         Case;

               xvi.      Consider any modifications of the Plan, to cure any defect or
                         omission or to reconcile any inconsistency in any Bankruptcy
                         Court order, including the Confirmation Order;

               xvii.     Hear and determine disputes, cases, controversies, or Causes of
                         Action arising in connection with the interpretation,
                         implementation, or enforcement of the Plan, Confirmation Order,
                         or any other agreement, document or instrument executed in
                         connection with the Plan;

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                 xviii.       Hear and determine all disputes involving the existence, nature or
                              scope of the Debtor’s discharge;

                  xix.        Hear and determine matters concerning state, local or federal
                              Taxes in accordance with sections 346, 505, or 1146 of the
                              Bankruptcy Code;

                   xx.        Enforce all orders previously entered by the Bankruptcy Court; and

                  xxi.        Hear and determine matters concerning exemptions from state and
                              federal registration requirements in accordance with section 1145
                              of the Bankruptcy Code and section 4(a)(2) of, and Regulation D
                              under, the Securities Act;

                  xxii.       Adjudicate all other matters over which the Bankruptcy Court has
                              jurisdiction;

                 xxiii.       Adjudicate, decide or resolve any motions, adversary proceedings,
                              contested or litigated matters, and any other matters relating to the
                              Retained Causes of Action;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes
concerning documents contained in the Plan Supplement or any other Definitive Documents, in
each case, that have a jurisdictional, forum selection or dispute resolution clause that refers
disputes to a different court, or allows Entities to bring disputes to a different court, and any
disputes concerning documents contained in the Plan Supplement or any other Definitive
Document that contain such clauses shall be governed in accordance with the provisions of such
documents.

Nothing herein limits the jurisdiction of the Bankruptcy Court to interpret and enforce the Plan
and all contracts, instruments, releases, indentures, and other agreements or documents created in
connection with the Plan, the Plan Supplement, the Disclosure Statement, without regard to
whether the controversy with respect to which such interpretation or enforcement relates may be
pending in any state or other federal court of competent jurisdiction.




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16.    MISCELLANEOUS

       16.1    Expedited Tax Determination

                The Debtor or NewCo may request an expedited determination of Taxes under
section 505 of the Bankruptcy Code for all returns filed for or on behalf of the Debtor or NewCo,
as applicable, for all taxable periods ending on or before the Effective Date.

       16.2    Plan Supplement

                Draft forms of certain documents, agreements, instruments, schedules, and
exhibits specified in the Plan shall, where expressly so provided for in the Plan, be contained in
the Plan Supplement and filed from time to time.

       16.3    Additional Documents

                The Debtor, NewCo, the Liquidating Trust, all Holders of Claims or Interests
receiving distributions hereunder, and all other parties-in-interest may and shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as
may be necessary or advisable to effectuate the provisions and intent of the Plan.

       16.4    Exhibits; Schedules; Plan Supplement

               All exhibits and schedules to the Plan, including the Plan Supplement, are
incorporated into and are a part of the Plan as if set forth in full herein.

       16.5    Nonseverability

                  If, prior to Confirmation, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter such term or provision to make it valid or enforceable consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term shall
then be applicable as altered; provided that such alteration shall be consistent with Restructuring
Support Agreement. Notwithstanding any such holding or alteration, the remainder of the terms
and provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding or alteration. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of the Plan, as it may have
been altered in accordance with the foregoing, is: (i) valid and enforceable pursuant to its terms,
(ii) integral to the Plan and may be deleted or modified subject to the consent rights set forth in
the Restructuring Support Agreement, and (iii) nonseverable and mutually dependent.

       16.6    Governing Law

                Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated herein or
therein, the laws of the State of New York, without giving effect to the principles of conflicts of
laws, shall govern the construction and implementation of the Plan and any agreement, document
or instrument executed or entered into in connection with the Plan (except as otherwise set forth

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in those agreements, in which case the governing law of such agreement shall control); provided
that corporate or other governance matters relating to the Debtor, NewCo or the Liquidating
Trust, as applicable, not incorporated or formed (as applicable) in the State of New York shall be
governed by the laws of the jurisdiction of incorporation or formation (as applicable) of the
Debtor, NewCo or the Liquidating Trust.

       16.7    Dissolution of the UCC

               After the Effective Date, the UCC’s functions shall be restricted to and shall not
be heard on any issue except (i) applications filed pursuant to sections 330 and 331 of the
Bankruptcy Code and (ii) any appeal, motion for reconsideration or similar litigation related to
the Confirmation Order (the “Post Effective Date UCC Matters”). Upon the resolution of the
Post Effective Date UCC Matters, the UCC shall dissolve, and the members thereof shall be
released and discharged from all rights and duties arising from, or related to, the Chapter 11
Case. The Liquidating Trust shall be responsible for paying the reasonable fees and expenses
incurred by the members of or advisors to the UCC after the Effective Date in connection with
the Post Effective Date UCC Matters without any further notice or application to, action, order,
or approval of the Bankruptcy Court.

       16.8    Binding Effect

                Notwithstanding Bankruptcy Rule 3020(e), 6004(h), or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall be
immediately effective and enforceable and deemed binding upon the Debtor, NewCo, the
Liquidating Trust, the Estate, any and all Holders of Claims and Interests (irrespective of
whether Holders of such Claims or Interests are deemed to have accepted the Plan), all Entities
that are parties to or are subject to the settlements, compromises, releases, discharges and
injunctions described in the Plan, each Entity acquiring property under the Plan and any and all
non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtor.

       16.9    Notices

               To be effective, any notice, request or demand to or upon, as applicable, the
Debtor, the Ad Hoc Noteholder Group, the UCC and the U.S. Trustee must be in writing (email
being sufficient) and, unless otherwise expressly provided herein, shall be deemed to have been
duly given or made when actually received and confirmed by the relevant party as follows:

               If to the Debtor:

               SVB Financial Group
               2770 Sand Hill Road
               Menlo Park, CA 94025
               Attention:    William C. Kosturos




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              with a copy to:

              Sullivan & Cromwell, LLP
              125 Broad Street
              New York, New York 10004
              Attention:    James L. Bromley (bromleyj@sullcrom.com)
                            Andrew G. Dietderich (dietdericha@sullcrom.com)
                            Christian P. Jensen (jensenc@sullcrom.com)
              Telephone:    (212) 558-4000
              Facsimile:    (212) 558-3588

              If to the Ad Hoc Noteholder Group:

              Davis Polk & Wardwell LLP
              450 Lexington Avenue
              New York, New York 10017
              Attention:    Marshall S. Huebner
                            Elliot Moskowitz
                            Angela M. Libby
                            David Schiff
                            Aryeh Ethan Falk
              Telephone:    (212) 450-4000
              Facsimile:    (212) 701-5800

              If to the UCC:

              Akin Gump Strauss Hauer & Feld LLP
              One Bryant Park
              New York, New York 10036
              Attention:   Ira S. Dizengoff (idizengoff@akingump.com)
                           Brad M. Kahn (bkahn@akingump.com)
              Telephone:   (212) 872-1000
              Facsimile:   (212) 872-1002

              Akin Gump Strauss Hauer & Feld LLP
              2001 K Street NW
              Washington, DC 20006
              Attention:    James R. Savin (jsavin@akingump.com)
              Telephone:    (202) 887-4000
              Facsimile:    (202) 887-4288




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               If to the U.S. Trustee:

               Office of the United States Trustee
               Alexander Hamilton U.S. Custom House
               One Bowling Green, Room 534
               New York, New York 10004
               Attention:     Andrea B. Schwartz
                              Annie Wells
               Telephone:     (212) 510-0500
               Facsimile:     (212) 668-2361

       16.10 Reservation of Rights

                Except as expressly set forth herein, the Plan shall have no force or effect unless
the Bankruptcy Court shall enter the Confirmation Order. Before the Effective Date, none of the
filing of the Plan, any statement or provision contained herein or the taking of any action by the
Debtor related to the Plan shall be or shall be deemed to be an admission or waiver of any rights
of the Debtor of any kind, including as to the holders of Claims or Interests or as to any treatment
or classification of any contract or lease.

       16.11 No Stay of Confirmation Order

               The Confirmation Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(h) or 7062.

       16.12 Deemed Acts

                Subject to and conditioned on the occurrence of the Effective Date, whenever an
act or event is expressed under this Plan to have been deemed done or to have occurred, it shall
be deemed to have been done or to have occurred without any further act by any party by virtue
of this Plan and the Confirmation Order.

       16.13 Waiver or Estoppel

               Each Holder of a Claim or an Interest shall be deemed to have waived any right to
assert any argument, including the right to argue that its Claim or Interest should be Allowed in a
certain amount, be Allowed in a certain priority, be secured, or not be subordinated by virtue of
an agreement made with the Debtor or its counsel, or any other Entity, if such agreement was not
disclosed in the Plan, the Disclosure Statement or papers filed with the Bankruptcy Court prior to
the Confirmation Date.

       16.14 Successors and Assigns

                The rights, benefits, and obligations of any Entity named or referred to in the Plan
or the Confirmation Order shall be binding on, and shall inure to the benefit of any heir,
executor, administrator, successor or assign, affiliate, officer, director, manager, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.


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       16.15 Entire Agreement

                Except as otherwise provided in the Plan or the Confirmation Order, and without
limiting the effectiveness of the Restructuring Support Agreement, the Plan and Confirmation
Order supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

       16.16 Conflicts

               In the event of any inconsistency between the Plan and the Disclosure Statement,
the terms of the Plan shall control. In the event of any inconsistency between the Plan and the
Plan Supplement, the terms of the relevant document in the Plan Supplement shall control
(unless otherwise stated in the Plan Supplement document or the Confirmation Order). In the
event of any inconsistency between the Confirmation Order and the Plan or any other document,
the Confirmation Order shall control.

       16.17 Post-Effective Date Service

                After the Effective Date, the Debtor is authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have filed renewed
requests for service.




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New York, New York
May 3, 2024

Respectfully Submitted,


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Counsel to the Debtor




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                                    Exhibit B

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x
                                            :                               Chapter 11
In re                                       :
                                            :                               Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                       :
                                            :
                  Debtor.                   :
                                            :
___________________________________________ x

                   DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION
                      UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

 James L. Bromley
 Andrew G. Dietderich
 Christian P. Jensen

 SULLIVAN & CROMWELL LLP
 125 Broad Street
 New York, NY 10004-2498
 Telephone: (212) 558-4000
 Facsimile: (212) 558-3588

 Counsel to the Debtor

 Dated: January 26May 3, 2024
        New York, New York




 1
        The last four digits of SVB Financial Group’s tax identification number are 2278.
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1.     INTRODUCTION

               SVB Financial Group, a Delaware corporation, as debtor-in-possession in the
above-captioned Chapter 11 Case (“SVBFG” or the “Debtor”), proposes the following plan of
reorganization (including the Plan Supplement and all other exhibits and schedules hereto and as
may be modified, amended or supplemented in accordance with the terms hereof, the “Plan”)
pursuant to section 1121(a) of the Bankruptcy Code. The Debtor is a proponent of the Plan for
purposes of section 1129 of the Bankruptcy Code. Capitalized terms used and not otherwise
defined shall have the meanings ascribed to such terms in Section 2.
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2.     DEFINITIONS AND RULES OF INTERPRETATION

       2.1    Definitions

              Except as otherwise provided herein, each capitalized term used in the Plan shall
have the meaning set forth below:

              2.1.1    “2025 Senior Notes” means the 3.500% senior notes due 2025,
outstanding under the Senior Notes Indenture.

              2.1.2    “2026 Senior Notes” means the 1.800% senior notes due 2026,
outstanding under the Senior Notes Indenture.

                2.1.3    “2028 Senior Fixed-to-Floating Rate Notes” means the 4.345% senior
fixed-to-floating rate notes due 2028, outstanding under the Senior Notes Indenture, as
supplemented by the Senior Notes Supplemental Indenture.

              2.1.4    “2028 Senior Notes” means the 2.100% senior notes due 2028,
outstanding under the Senior Notes Indenture.

              2.1.5    “2030 Senior Notes” means the 3.125% senior notes due 2030,
outstanding under the Senior Notes Indenture

              2.1.6    “2031 Senior Notes” means the 1.800% senior notes due 2031,
outstanding under the Senior Notes Indenture.

                2.1.7    “2033 Senior Fixed-to-Floating Rate Notes” means the 4.570% senior
fixed-to-floating rate notes due 2033, outstanding under the Senior Notes Indenture, as
supplemented by the Senior Notes Supplemental Indenture.

              2.1.8    “Accredited Investors” has the meaning in Section 7.4 of the Planhereof.

               2.1.9    “Ad Hoc Noteholder Group” means that certain ad hoc group of holders,
or investment advisors or managers acting on behalf of holders, of certain Senior Notes
represented by Davis Polk & Wardwell LLP.

              2.1.10 “Ad Hoc Noteholder Group Expenses” means, collectively, all
reasonable and documented fees and expenses of (i) Davis Polk & Wardwell LLP, as counsel to
the Ad Hoc Noteholder Group, and (ii) PJT Partners LP, as investment banker to the Ad Hoc
Noteholder Group.

               2.1.11 “Administrative Expense Claim” means any Claim for costs and
expenses of administration of the Chapter 11 Case of a kind specified under section 503(b) of the
Bankruptcy Code arising on or prior to the Effective Date and entitled to priority pursuant to
sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code; provided that Administrative
Expense Claims shall not include 503(b)(9) Claims.




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               2.1.12 “Administrative Expense Claim Bar Date” means: (a) 4:00 p.m. (Eastern
Time) on the 30th day after the Confirmation Date for Administrative Expense Claims that arose
prior to the Confirmation Date, (b) 4:00 p.m. (Eastern Time) on the 30th day after the Effective
Date for Administrative Expense Claims that arose during the period from the Confirmation
Date through the Effective Date or (c) such other date established by order of the Bankruptcy
Court by which requests for payment in respect of Other Administrative Claims must be filed.

                2.1.13 “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy
Code. With respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such
Person as if the Person were a Debtor.

                2.1.14 “Allowed” means, with respect to any Claim or Interest (or portion
thereof) against the Debtor, that: (i) a Proof of Claim with respect to any such Claim has been
timely filed in the Chapter 11 Case, has not been withdrawn and no objection thereto has been
filed by the applicable deadlines set forth in the Plan, the Bankruptcy Code, the Bankruptcy
Rules, or as determined by the Bankruptcy Court, (ii) that such Claim or Interest (or portion
thereof) has been agreed to, compromised, settled or otherwise resolved pursuant to the authority
of the Debtor or Liquidating Trust, as applicable, under the terms of the Plan, (iii) such Claim or
Interest (or portion thereof) is expressly allowed in the Plan or by Final Order of the Bankruptcy
Court, or (iv) such Interest is registered in the ownership register or otherwise on the Debtor’s
books and records, maintained by, or on behalf of, the Debtor as of the Confirmation Date;
provided, however, that, (x) unless otherwise provided for by the terms of the Plan, the Allowed
amount of Claims or Interests shall be subject to and shall not exceed the limitations under or
maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 thereof, to
the extent applicable, and (y) the Debtor, NewCo and the Liquidating Trust, as applicable, shall
retain all claims and defenses with respect to Allowed Claims that are Reinstated, or otherwise
Unimpaired pursuant to the Plan (including, for the avoidance of doubt, Administrative Expense
Claims not paid prior to the Effective Date). “Allow” and “Allowance” shall have correlative
meanings.

                 2.1.15 “Avoidance Action” means any and all avoidance, recovery,
subordination or other claim, action or remedy that may be brought by or on behalf of the Debtor
or its Estate or other authorized parties-in-interest under the Bankruptcy Code or applicable
non-bankruptcy law, including actions or remedies under sections 362, 502, 542 through and
including 553 and 724(a) of the Bankruptcy Code or under similar local, state, federal or foreign
statutes and common law, including fraudulent transfer laws.

                2.1.16   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§ 101 et seq.

               2.1.17 “Bankruptcy Court” means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Case.

               2.1.18 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
and the general, local and chambers rules of the Bankruptcy Court as applicable to the Chapter
11 Case and as amended from time to time.



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               2.1.19 “Bar Date” means the dates established by the Bankruptcy Court by
which Proofs of Claim must have been filed with respect to such Claims, pursuant to: (a) the
Order Establishing Deadlines for Filing Proofs of Claim and Approving Form and Manner of
Notice Thereof [D.I. 373], entered by the Bankruptcy Court on June 29, 2023; (b) any further
orders of the Bankruptcy Court establishing separate deadlines for filing Proofs of Claim; or
(c) the Plan.

                 2.1.20     “Blocker Corporation” has the meaning set forth in Section 5.3 of the
Planhereof.

                 2.1.21     “Blue Sky Laws” has the meaning set forth in Section 7.4 of the
Planhereof.

               2.1.22 “BP Trust I” means Boston Private Capital Trust I, a statutory trust
formed under the Delaware Statutory Trust Act pursuant to the BP Trust I Declaration of Trust
and a Certificate of Trust filed with the Secretary of State of the State of Delaware on October 5,
2004.

               2.1.23       “BP Trust I Claim” means any Claim arising out of or related to the BP
Trust I Indenture.2

                2.1.24 “BP Trust I Declaration of Trust” means that certain Declaration of
Trust, dated as of October 5, 2004, as amended and restated by the Amended and Restated
Declaration of Trust, dated as of October 12, 2004 (as further amended or supplemented from
time to time) relating to BP Trust I.

               2.1.25 “BP Trust I Indenture” means that certain Indenture, dated as of October
12, 2004, between SVBFG and BP Trust I Indenture Trustee, as supplemented by the BP Trust I
Supplemental Indenture, and as may be further amended, supplemented or otherwise modified
from time to time.

               2.1.26 “BP Trust I Indenture Trustee” means Wilmington Trust, National
Association, as successor debenture trustee to U.S. Bank Trust, National Association (Delaware)
(as successor debenture trustee to SunTrust Bank) pursuant to that certain Instrument of
Resignation, Appointment and Acceptance, dated as of May 18, 2023, and any successor trustee
appointed in accordance with the terms of the BP Trust I Indenture.

              2.1.27 “BP Trust I Junior Subordinated Debentures” means the junior
subordinated convertible debentures due 2034, outstanding under the BP Trust I Indenture.

               2.1.28 “BP Trust I Preferred Securities” means those certain 4.875%
Convertible Trust Preferred Securities issued by BP Trust I pursuant to the BP Trust I
Declaration of Trust.



2
    For purposes of this Plan, the BP Trust I Claims shall be deemed to be held by the holders of the BP Trust I
    Preferred Securities in accordance with Section 7.77.6 of this Plan.


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              2.1.29 “BP Trust I Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of July 1, 2021, by and among SVBFG, BPFH and BP Trust I
Indenture Trustee.

               2.1.30 “BP Trust II” means Boston Private Capital Trust II, a statutory trust
formed under the Delaware Statutory Trust Act pursuant to the BP Trust II Declaration of Trust
and a Certificate of Trust filed with the Secretary of State of the State of Delaware on
September 23, 2005.

              2.1.31 “BP Trust II Capital Securities” means those certain capital securities
issued by BP Trust II pursuant to the BP Trust II Declaration of Trust.

               2.1.32       “BP Trust II Claim” means any Claim arising out of or related to the BP
Trust II Indenture.3

                2.1.33 “BP Trust II Declaration of Trust” means that certain Declaration of
Trust, dated as of September 23, 2005, as amended and restated by the Amended and Restated
Declaration of Trust, dated as of September 27, 2005 (as further amended or supplemented from
time to time) relating to BP Trust II.

              2.1.34 “BP Trust II Indenture” means that certain Indenture, dated as of
September 27, 2005, between SVBFG and BP Trust II Indenture Trustee, as supplemented by the
BP Trust II Supplemental Indenture, and as may be further amended, supplemented or otherwise
modified from time to time.

               2.1.35 “BP Trust II Indenture Trustee” means Wilmington Trust Company, a
Delaware trust company, as debenture trustee of the BP Trust II Indenture, and any successor
trustee appointed in accordance with the terms of the BP Trust II Indenture.

                2.1.36 “BP Trust II Junior Subordinated Debentures” means the
fixed-to-floating rate junior subordinated debt securities due 2035, outstanding under the BP
Trust II Indenture.

              2.1.37 “BP Trust II Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of July 1, 2021, by and among SVBFG, BPFH and BP Trust II
Indenture Trustee.

               2.1.38 “BPFH” means Boston Private Financial Holdings, Inc., which merged
with and into SVBFG pursuant to the terms of an Agreement and Plan of Merger, dated as of
January 4, 2021.




3
    For purposes of this Plan, the BP Trust II Claims shall be deemed to be held by the holders of the BP Trust II
    Capital Securities in accordance with Section 7.77.6 of this Plan.


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               2.1.39 “Business Day” means any day other than a Saturday, a Sunday, a “legal
holiday” (as defined in Bankruptcy Rule 9006(a)) or any other day on which banking institutions
in New York, New York are required or authorized to close by law or executive order.

               2.1.40    “Cash” or “$” means the legal tender of the United States of America or
equivalents thereof.

                 2.1.41 “Cause of Action” means any action, claim, cause of action, controversy,
proceeding, reimbursement claim, affirmative defense, demand, right, Lien, indemnity, guaranty,
suit, obligation, liability, loss, damage, remedy, judgment, account, defense, offset (including
setoff or recoupment rights), power, privilege, license and franchise of any kind or character
whatsoever, known or unknown, foreseen or unforeseen, Contingent or non-contingent, matured
or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, and assertable directly or derivatively, whether arising before, on or after
the Petition Date, in contract or in tort, in law or in equity or pursuant to any other theory of law.
For the avoidance of doubt, Cause of Action includes: (i) any right of setoff, counterclaim or
recoupment and any claim for breach of contract or for breach of duties imposed by law or in
equity, (ii) the right to object to or otherwise contest Claims or Interests, (iii) any claim pursuant
to section 362 or chapter 5 of the Bankruptcy Code, (iv) any Avoidance Action, (v) any claim or
defense, including fraud, mistake, duress and usury, and any other defenses set forth in section
558 of the Bankruptcy Code, and (vi) any claim under any state or foreign law, including any
fraudulent transfer or similar claim.

               2.1.42    “Certificate” means any instrument evidencing a Claim or an Interest.

               2.1.43 “Chapter 11 Case” means the chapter 11 case pending for SVBFG under
chapter 11 of the Bankruptcy Code in the Bankruptcy Court.

               2.1.44    “Claim” means a “claim” as defined in section 101(5) of the Bankruptcy
Code.

               2.1.45 “Claims Objection Deadline” means the date that is (i) 180 days after the
Effective Date, (ii) such other later date the Bankruptcy Court may establish upon a motion by
the Debtor or the Liquidating Trust or (iii) such other objection deadline as may be specifically
fixed by the Plan, the Confirmation Order, the Bankruptcy Rules or a Final Order.

               2.1.46 “Claims Register” means the official register of Claims maintained by
the Notice and Claims Agent.

               2.1.47 “Class” means a class of Claims or Interests classified by Section 4 of
the Planhereof pursuant to section 1122(a) of the Bankruptcy Code.

               2.1.48    “Class A Trust Unit” has the meaning set forth in Section 5.6 of the
Planhereof.

               2.1.49    “Class B Trust Unit” has the meaning set forth in Section 5.6 of the
Planhereof.


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               2.1.50   “Class C Trust Unit” has the meaning set forth in Section 5.6 of the
Planhereof.

               2.1.51 “Common Equity Interest” means an Equity Interest represented by the
issued and outstanding common stock, $0.001 par value per share, of the Debtor as of the
Petition Date or any interest or right to convert into such an Equity Interest or acquire any Equity
Interest of SVBFG that was in existence immediately prior to or on the Petition Date.

               2.1.52   “Company Entity” means the Debtor or any Affiliate of the Debtor.

               2.1.53 “Confirmation” means the entry of the Confirmation Order on the docket
of the Chapter 11 Case.

               2.1.54 “Confirmation Date” means the date upon which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Case, within the meaning of
Bankruptcy Rules 5003 and 9021.

               2.1.55 “Confirmation Hearing” means the hearing held by the Bankruptcy Court
pursuant to section 1128(a) of the Bankruptcy Code to consider Confirmation of the Plan, as
such hearing may be, or may have been, continued from time to time.

              2.1.56 “Confirmation Order” means the order of the Bankruptcy Court entered
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

               2.1.57 “Consenting Noteholders” means Holders of Senior Notes that are party
to the Restructuring Support Agreement.

                2.1.58 “Contingent” means, when used in reference to a Claim, any Claim the
liability for which attaches or is dependent upon the occurrence or happening of, or is triggered
by, an event that has not yet occurred as of the date on which such Claim is sought to be
estimated or on which an objection to such Claim is filed, whether or not such event is within the
actual or presumed contemplation of the holder of such Claim and whether or not a relationship
between the holder of such Claim and the Debtor now or hereafter exists or previously existed.

                2.1.59 “Contingent Tax Receivable” means the contingent right to receive all
cash refunds of Taxes actually received by NewCo with respect to Taxes of the Debtor or its
subsidiaries for taxable periods ending on or before December 31, 2022, reduced by (i) any
amounts in respect of tax refunds payable to the FDIC pursuant to the Amended Tax Allocation
Agreement, dated as of January 1, 2016, and (ii) any out-of-pocket expenses incurred by NewCo
after the Effective Date and solely relating to services performed after the Effective Date with
respect to outside legal or other tax advisors that are participating in any proceeding with any
Tax Authorities to resolve any issues relating to Taxes of the Debtor or its subsidiaries for
taxable periods ending on or before December 31, 2022; provided that, to the extent that any
cash refunds of Taxes transferred by NewCo to the Liquidating Trust is subsequently disallowed
or required to be returned to the applicable Tax Authority, the Liquidating Trust shall be liable
for any amounts payable by NewCo to the applicable Tax Authority as a result of such
disallowance or requirement and shall promptly repay, or cause to be repaid, the amount of such


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refund, together with any interest, penalties or other additional amounts imposed by such Tax
Authority, to NewCo.

               2.1.60    2.1.59 “Creditor” means any holder of a Claim against the Debtor.

              2.1.61 2.1.60 “Cure Cost” means the amounts, including, where applicable, an
amount of $0.00, required to cure any and all monetary defaults under an Executory Contract or
Unexpired Lease (or such lesser amounts as may be agreed upon by the parties to an Executory
Contract or Unexpired Lease) that is to be assumed by the Debtor pursuant to section 365 or
1123 of the Bankruptcy Code.

              2.1.62 2.1.61 “Current Directors” means the directors of the board of the Debtor
immediately prior to the Effective Date.

                2.1.63 2.1.62 “D&O Insurance Policies” means any Insurance Policies for
directors’, managers’, officers’ and any other Insured (as defined in such policy) entities’ liability
(including employment practices liability and fiduciary liability) maintained on behalf of the
Debtor or NewCo prior to the Effective Dateissued to or providing coverage to the Debtor or any
of its predecessors-in-interest at any time, and all agreements, documents, or instruments relating
thereto.

               2.1.64    2.1.63 “Debtor” has the meaning set forth in the Introduction hereto.

               2.1.65    2.1.64 “Debtor Related Parties” means the Related Parties of the Debtor.

                2.1.66   2.1.65 “Debtor Released Parties” means the parties identified on
Exhibit [•] hereto.

               2.1.67 2.1.66 “Definitive Documents” has the meaning set forth in the
Restructuring Support Agreement.

               2.1.68 2.1.67 “Delaware Trustee” means the trustee, or its successor, appointed
in accordance with the Liquidating Trust Agreement to comply with the requirement of
section 3807 of the Delaware Statutory Trust Act.

               2.1.69 2.1.68 “Disclosure Statement” means the disclosure statement for the
Plan, including all exhibits, appendices and schedules thereto, as amended, supplemented or
otherwise modified from time to time, as approved by the Bankruptcy Court.

                2.1.70 2.1.69 “Disputed” means, with respect to any Claim or Interest, a Claim
or Interest or any portion thereof that is not Allowed but that has not been disallowed by a Final
Order.

              2.1.71 2.1.70 “Disputed Claims Reserve” means any of the Liquidating Trust
Disputed Claims Reserve, Liquidating Trust Disputed GUC Cash-Out Claims Reserve,
Liquidating Trust Disputed Interests Reserve and the NewCo Disputed Claims Reserve.




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               2.1.72 2.1.71 “Distribution” means a distribution of property, including Cash,
NewCo Common Stock and Liquidating Trust Interests, pursuant to the Plan, to take place as
provided for herein, and “Distribute” shall have a correlative meaning.

               2.1.73 2.1.72 “Distribution Agent” means any Person or Entity designated or
retained by the Debtor (prior to the Effective Date) or the Liquidating Trust (after the Effective
Date), without the need for any further order of the Bankruptcy Court, to serve as distribution
agent under the Plan.

                2.1.74   2.1.73 “DTC” means The Depository Trust Company.

                2.1.75 2.1.74 “Effective Date” means the first Business Day on or after the
Confirmation Date on which the conditions to the effectiveness of the Plan specified in
Section 13.1 of the Planhereof have been either satisfied or waived as set forth herein, or such
later date as determined by the Debtor, the Required Ad Hoc Senior Noteholder Parties, and the
UCC.

             2.1.76      2.1.75 “Entity” means an “entity” as defined in section 101(15) of the
Bankruptcy Code.

                2.1.77 2.1.76 “Equity Interest” means the interest of any holder of one or more
equity securities of SVBFG (including voting rights, if any, related to such equity securities)
represented by issued and outstanding shares of common or preferred stock or other instrument
evidencing a present ownership interest in SVBFG, whether or not transferable, or any option,
warrant, or right, contractual or otherwise, to acquire any such interest, including unvested
restricted stock.

              2.1.78 2.1.77 “Estate” means the estate created with respect to the Debtor in the
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

                2.1.79   2.1.78 “Exchange Act” means the U.S. Securities Exchange Act of 1934
(as amended).

               2.1.80 2.1.79 “Exculpated Parties” means (i) the Debtor, (ii) the UCC and its
members, (iii) the Ad Hoc Noteholder Group and its members signatory to the Restructuring
Support Agreement, (iv) the Indenture Trustees and (v) each such Entity’s or Person’s Related
Parties.

                2.1.81 2.1.80 “Executory Contract” means a contract to which the Debtor is a
party and that is subject to assumption or rejection pursuant to section 365 of the Bankruptcy
Code.

                2.1.82   2.1.81 “FDIC” means, collectively, the FDIC-C, the FDIC-R1 and the
FDIC-R2.

              2.1.82 “FDIC-C” means the Federal Deposit Insurance Corporation, in its
corporate capacity.


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                2.1.83 “FDIC Claims” means all Claims and Causes of Action against the
FDIC, including against each of the FDIC-R1, the FDIC-R2, and the FDIC-C, whether
individually or in any combination, including, but not limited to (i) claims asserted in the proofs
of claim filed with FDIC-R1 and FDIC-R2, (ii) claims asserted in the complaint filed in that
certain adversary proceeding commenced as case number 23-01137 (MG) before the Bankruptcy
Court and currently pending before the United States District Court for the Southern District of
New York as case number 23 Civ. 7218 (JPC), (iii) claims asserted in the payment demand letter
to the FDIC-C dated June 26, 2023 and now pending as case number 23-cv-6543-BLF,
(iv) claims asserted in the complaint filed by the Debtor in the United States District Court for
the Northern District of California on or about December 19, 2023, and (v) claims asserted in
any subsequent complaint filed by the Debtor naming any of the FDIC-R1, the FDIC-R2, and the
FDIC-C, in each case including claims for interest, penalties, fees and expenses.

              2.1.84    “FDIC-C” means the Federal Deposit Insurance Corporation, in its
corporate capacity.

                 2.1.85 2.1.84 “FDIC-R1” means the Federal Deposit Insurance Corporation, in
its capacity as receiver for Silicon Valley Bank.

                 2.1.86 2.1.85 “FDIC-R2” means the Federal Deposit Insurance Corporation, in
its capacity as receiver for Silicon Valley Bridge Bank, N.A.

                2.1.87 2.1.86 “Final Order” means, as applicable, an order or judgment of the
Bankruptcy Court or other court of competent jurisdiction with respect to the relevant subject
matter that has been entered on the docket maintained by the clerk of such court, which has not
been reversed, vacated, stayed, modified or amended, and as to (i) which the time to appeal,
petition for certiorari or move for a new trial, reargument or rehearing has expired, and as to
which no appeal, petition for certiorari or other proceedings for a new trial, reargument or
rehearing is pending or has been timely taken or (ii) if an appeal, writ of certiorari, new trial,
reargument or rehearing has been sought, such order or judgment shall have been affirmed by the
highest court to which such order was appealed, or certiorari shall have been denied, or a new
trial, reargument or rehearing shall have been denied or resulted in no modification of such order
or judgment, or such appeal, petition for certiorari or move for a new trial, reargument or
rehearing shall have otherwise been dismissed with prejudice, and the time to take any further
appeal, petition for certiorari or move for a new trial, reargument or rehearing shall have
expired; provided, however, no order or judgment shall fail to be a “Final Order” solely because
of the possibility that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or
under Rule 60 of the Federal Rules of Civil Procedure or Federal Bankruptcy Rule 9024 has been
or may be filed with respect to such order or judgment.

                2.1.88 2.1.87 “General Unsecured Claim” means any Claim against the Debtor
that is not an Administrative Expense Claim, Priority Tax Claim, Other Priority Claim, Other
Secured Claim, Subordinated Note Claim, Intercompany Claim, Section 510(b) Claim or a Claim
for any Cure Cost, or any other Claim that is subordinated or entitled to priority under
Bankruptcy Code or any order of the Bankruptcy Court. For the avoidance of doubt, General
Unsecured Claims do not include Preferred Equity Interests or Common Equity Interests.



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              2.1.89 2.1.88 “Governmental Unit” means a “governmental unit” as defined in
section 101(27) of the Bankruptcy Code.

              2.1.90 “GUC Cash-Out” means, with respect to any Allowed Other General
Unsecured Claim, Cash in an amount equal to 45% of the lesser of (a) the Allowed amount of
such Claim and (b) the GUC Cash-Out Cap.

             2.1.91 2.1.89 “GUC Cash-Out Cap” has the meaning set forth in Section 4.2.3
hereofmeans $11,000,000.00.

             2.1.92 “GUC Cash-Out Claim” means an Other General Unsecured Claim
whose Holder has elected to receive the GUC Cash-Out with respect to such Claim.

                 2.1.93    2.1.90 “Holder” means an Entity holding a Claim or an Interest, as
applicable.

                2.1.94 2.1.91 “Impaired” means, with respect to any Class of Claims or
Interests, a Class of Claims or Interests that is impaired within the meaning of section 1124 of
the Bankruptcy Code.

               2.1.95 2.1.92 “Indenture Trustees” means, collectively, the BP Trust I Indenture
Trustee, the BP Trust II Indenture Trustee and the Senior Notes Indenture Trustee.

               2.1.96 2.1.93 “Indentures” means, collectively, the Subordinated Note
Indentures, the Senior Notes Indenture and the Senior Notes Supplemental Indenture.

                2.1.97 2.1.94 “Insurance Policy” and, collectively, the “Insurance Policies”
means each of the insurance policiespolicy issued to or for the benefit ofproviding coverage to
the Debtor or any of its predecessors-in-interest at any time and any agreements, documents or
instruments related thereto, including the D&O Insurance Policies and any other insurance policy
for directors’, managers’ and officers’ liability.

                2.1.98 2.1.95 “Insurer” means any company or other entity that issued or
entered into an Insurance Policy, any third-party administrator, and any respective predecessors
and/or affiliates thereof.

               2.1.99 2.1.96 “Intercompany Claim” means any Claim held by the Debtor
against any other Company Entity or by a Company Entity against the Debtor.4

            2.1.100 2.1.97 “Intercompany Interest” means any Interest held by the Debtor in
a Company Entity or by a Company Entity in the Debtor.

              2.1.101 2.1.98 “Interest” means any equity security within the meaning of
section 101(16) of the Bankruptcy Code or any other equity or ownership interest, including all


4
    For the avoidance of doubt, Intercompany Claims shall not include any Subordinated Note Claims for purposes
    of this Plan.


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issued, unissued, authorized or outstanding limited liability company membership interests
(including common and preferred) or other equity interests, together with any warrants, options,
convertible securities, liquidating preferred securities or contractual rights to purchase or acquire
any such equity interests at any time and all rights arising with respect thereto.

               2.1.102 2.1.99 “Interim Compensation Order” means the Order Pursuant to
Sections 105(a) and 331 of the Bankruptcy Code, Bankruptcy Rule 2016 and Local Rule 2016-1
Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of
Professionals [D.I. 134].

              2.1.103 “Investment Company Act” means the Investment Company Act of
1940, as amended.

               2.1.104 2.1.100 “IRC” means the Internal Revenue Code of 1986, as amended
from time to time.

               2.1.105 2.1.101 “IRS” means the Internal Revenue Service.

             2.1.106 2.1.102 “Lien” means a “lien” as defined in section 101(37) of the
Bankruptcy Code.

                2.1.103 “Liquidation Preference” means the stated amount per share specified in
the applicable certificate of designation (including, in the case of any series of Preferred Stock
that does not use the words “stated amount,” the specified amount of any preference upon
liquidation, dissolution or winding up, without regard to any unpaid dividends that may also be
included in the liquidation preference with respect to such shares).

               2.1.107 2.1.104 “Liquidating Trust” means a Delaware statutory trust (or other
form agreed by the Debtor, the UCC, and Required Ad Hoc Senior Noteholder Parties) to be
formed prior to the Effective Date in accordance with the provisions of Article 5 hereof.

                2.1.108 2.1.105 “Liquidating Trust Agreement” means that certain agreement,
substantially in the form contained in the Plan Supplement that shall serve as the governing
instrument of the Liquidating Trust.

                2.1.109 2.1.106 “Liquidating Trust Assets” means from and after the Effective
Date, all assets of the Debtor and the Debtor’s direct and indirect subsidiaries except the
Retained Debtor Assets or the NewCo Disputed Claims Reserves. The Liquidating Trust Assets
shall include, without limitation, the following assets of the Debtor and its direct and indirect
subsidiaries:

                  i.   [all Retained Causes of Action, including the FDIC Claims];

                 ii.   all investment securities, including the Debtor’s direct investment and
                       warrant portfolios and its synthetic equity instrument in Leerink Partners
                       LLC;




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                      iii. the limited partner interests held by the Debtor or any of its subsidiaries in
                            investment funds that are part of the SVB Capital business and identified
                            on Exhibit [•] hereof (the “Transferred LP Interests”);

                  iii.    100% of equity interests of SVB Investments Holdings, Inc.;5

                  iv.     100% of equity interests in SVB Global Financial, Inc.;6

                   v.     interests in existing SVB Capital entities entitling the interest holder to
                          46% of payments or other distributions from existing funds’ carried and
                          capital interests (excluding distributions from one SVBFG limited partner
                          interest) and 15.5% of all management fees from existing funds;7

                  vi.     the right to receive up to two $5 million payments within ten years based
                          on future fundraising activity of funds that are either successors of the
                          funds subject to the SVB Capital Sale or that use the investment track
                          record of the funds subject to the SVB Capital Sale;

                  vii.    SVB Securities Holdings’ interests in [Transformation funds] and other
                          investments;8

                 viii.    limited partnership interests in certain existing funds that are not subject to
                          the SVB Capital Sale;9

                  ix.     iv. all cash of the Debtor (prior to receipt ofother than the cash proceeds of
                          aany NewCo Transaction which shall be subject to clause (viii) below) in
                          excess of (a) amounts required for distributions to Holders of Allowed
                          Claims (including any GUC Cash-Out) pursuant to the Plan, and payment
                          of fees, expenses, and other amounts required to be paid on the Effective
                          Date pursuant to the Plan and (b) the amount required to fund the
                          businesses to be owned by NewCo, as determined in accordance with a
                          NewCo business plan acceptable to the Required Ad Hoc Senior
                          Noteholder Parties; and




5
    SVB Investments Holdings, Inc. holds certain direct investments.
6
    SVB Global Financial, Inc. holds equity interests in certain foreign subsidiaries of the Debtor that are in the
    process of being wound down under applicable local law. Any remaining value of these subsidiaries following
    wind down and liquidation will be distributed to the Liquidating Trust via SVB Global Financial, Inc.
7
    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.
8
    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.
9
    Subject to the agreement of the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties, the Plan
    may provide for such assets to be Retained Debtor Assets.


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                 x.   v. if, upon the election of the Required Ad Hoc Senior Noteholder Parties
                      and the Debtor (and in form and substance reasonably acceptable to the
                      UCC), the Debtor consummates a NewCo Transaction, theto the extent
                      applicable, proceeds of suchany NewCo Transaction; provided that, with
                      the consent of the Required Ad Hoc Senior Noteholder Parties, and the
                      Committee, all or a portion of the proceeds of any rights offeringNewCo
                      Transaction may remain at, or be transferred to, NewCo rather than being
                      transferred to the Liquidating Trust.;

                xi.   Contingent Tax Receivable; and

               xii.   the Debtor’s rights and entitlements under the Insurance Policies (other
                      than Insurance Policies assumed and/or assigned to NewCo pursuant to
                      Section 9.1 hereof).

              2.1.110 2.1.107 “Liquidating Trust Beneficiaries” means the holders of
Liquidating Trust Interests.

              2.1.111 2.1.108 “Liquidating Trust Board” means the board of the Liquidating
Trust by whom or under whose direction the business and affairs of the Liquidating Trust shall
be managed in accordance with the Liquidating Trust Agreement.

              2.1.112 2.1.109 “Liquidating Trust Disputed Claims Reserve” means any
Liquidating Trust Assets allocable to, or retained on account of, Disputed Administrative
Expense Claims, Disputed Priority Tax Claims, Disputed Other Priority Claims and, Disputed
Other Secured Claims and Disputed General Unsecured Claims (other than Disputed GUC
Cash-Out Claims), which shall be held in one or more separate accounts from other Liquidating
Trust Assets.

                2.1.113 2.1.110 “Liquidating Trust Interests” means the Class A Trust Units,
Class B Trust Units and Class C Trust Units [and any other beneficial interests in theDisputed
GUC Cash-Out Claims Reserve” means any Liquidating Trust that may be issued pursuant to the
Plan or theAssets allocable to, or retained on account of, Disputed GUC Cash-Out Claims, which
shall be held in a separate account from other Liquidating Trust Agreement]Assets.

               2.1.114 2.1.111 “Liquidating Trust Disputed Interests Reserve” means any
Liquidating Trust Interest allocable to, or retained on account of, Disputed General Unsecured
Claims, (other than Disputed GUC Cash-Out Claims), Disputed Subordinated Note Claims and
Disputed Preferred Equity Interests which shall be held in one or more separate accounts from
other Liquidating Trust Interests.

               2.1.115 “Liquidating Trust Interests” means the Class A Trust Units, Class B
Trust Units and Class C Trust Units and any other beneficial interests in the Liquidating Trust
that may be issued pursuant to the Plan or the Liquidating Trust Agreement.

               2.1.116 “Liquidation Preference” means the stated amount per share specified in
the applicable certificate of designation (including, in the case of any series of Preferred Stock
that does not use the words “stated amount,” the specified amount of any preference upon

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liquidation, dissolution or winding up, without regard to any unpaid dividends that may also be
included in the liquidation preference with respect to such shares).

               2.1.117 2.1.112 “Local Rules” means the Local Bankruptcy Rules for the
Southern District of New York.

                2.1.118 2.1.113 “NewCo” means, as applicable, (i) SVBFG as reorganized
pursuant to and under the Plan and any successor thereto, by merger, consolidation or otherwise,
on or after the Effective Date or (ii) a newly-formed Delaware corporation (or other business
form agreed by the Debtor, the UCC, and Required Ad Hoc Senior Noteholder Parties) that owns
or will own, directly or indirectly, 100% of the equity interests in SVBFG.

               2.1.119 2.1.114 “NewCo Board” means the board of directors of NewCo, whose
members as of the Effective Date shall be appointed by the Required Ad Hoc Senior Noteholder
Parties in a manner reasonably acceptable to the UCC, and thereafter shall be appointed and
removed in accordance with NewCo Organizational Documents.

             2.1.120 2.1.115 “NewCo Common Stock” means the common stock, shares,
membership units or equivalent interest of NewCo.

               2.1.116 “NewCo Debt” has the meaning in Section 7.5 of the Plan.

               2.1.117 “NewCo Debt Documents” means the documents governing the NewCo
Debt.

                2.1.121 2.1.118 “NewCo Disputed Claims Reserve” means any NewCo
Common Stock allocable to, or retained on account of, Disputed General Unsecured Claims
(other than Disputed GUC Cash-Out Claims), which shall be held in one or more separate
accounts from other assets of NewCo. On or after the Effective Date, any NewCo Disputed
Claims Reserve shall be deemed held by the Liquidating Trust and, for the avoidance of doubt,
shall not be part of the Liquidating Trust Assets or Retained Debtor Assets.

               2.1.122 “NewCo Distribution” has the meaning in Section 7.5.2 hereof.

               2.1.123 2.1.119 “NewCo Organizational Documents” means the organizational
and governance documents for NewCo, including, as applicable, the certificates or articles of
incorporation, certificates of formation, certificates of organization, certificates of limited
partnership, certificates of conversion, limited liability company agreements, operating
agreements, limited partnership agreements, stockholder or shareholder agreements, bylaws, and
indemnification agreements (or equivalent governing documents of any of the foregoing).

               2.1.124 2.1.120 “NewCo Transaction” has the meaning in Section 7.3 of the
Planhereof.

              2.1.125 “Non-Qualified Holder” means a Holder who provides a certification
that such Holder is not a “qualified purchaser” as such term is defined in section 2(a)(51) of the
Investment Company Act and the rules thereunder or is not an Accredited Investor.


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               2.1.126 2.1.121 “Notice and Claims Agent” means the Debtor’s notice and
claims agent, Kroll Restructuring Administration LLC.

              2.1.127 2.1.122 “Other Administrative Claim” means any Administrative
Expense Claim that is not a Professional Fee Claim, Ad Hoc Noteholder Group Expense, Senior
Note Trustee Expense, Subordinated Note Trustee Expense, or Claim for U.S. Trustee Fees.

             2.1.128 2.1.123 “Other General Unsecured Claim” means any General
Unsecured Claim against the Debtor that is not a Senior Note Claim.

                2.1.129 2.1.124 “Other Priority Claim” means a Claim against the Debtor
entitled to priority in right of payment pursuant to section 507(a) of the Bankruptcy Code, other
than an Administrative Expense Claim or a Priority Tax Claim.

               2.1.130 2.1.125 “Other Secured Claim” means any Secured Claim or portion
thereof against the Debtor, other than a Secured Tax Claim.

             2.1.131 2.1.126 “Person” means a “person” as defined in section 101(41) of the
Bankruptcy Code.

               2.1.132 2.1.127 “Petition Date” means March 17, 2023.

               2.1.133 2.1.128 “Plan” has the meaning set forth in the Introduction hereto.

               2.1.134 “Plan Sponsor Transaction” means a transaction whereby a third party
provides financing and acquires all or a portion of NewCo equity.

                2.1.135 2.1.129 “Plan Supplement” means one or more compilations of
documents and forms of documents, instruments, schedules and exhibits to the Plan, as each
such document, agreement, instrument, schedule and exhibit and form thereof may be altered,
restated, modified or replaced from time to time, including subsequent to the filing of any such
documents. Each such document, agreement, instrument, schedule or exhibit, or form thereof, is
referred to herein as a “Plan Supplement.” The Plan Supplement may include the following
(including drafts or forms, as applicable), or the material terms of the following, as applicable:
(i) the NewCo Organizational Documents, (ii) the Liquidating Trust Agreement, (iii) the NewCo
Debt Documents, (iv) the Schedule of Assumed Executory Contracts and Unexpired Leases,
(viv) the Restructuring Transactions Memorandum, (viv) the Shared Services Agreement (if
any), and (viivi) the Schedule of Retained Causes of Action.

               2.1.136 2.1.130 “Post Effective Date UCC Matters” has the meaning in
Section 16.7 of the Planhereof.

               2.1.137 2.1.131 “Preferred Equity Interest” means an Equity Interest represented
by an issued and outstanding share of preferred stock of SVBFG prior to or on the Petition Date,
including those certain (i) Series A Preferred Stock, (ii) Series B Preferred Stock, (iii) Series C
Preferred Stock, (iv) Series D Preferred Stock and (v) Series E Preferred Stock.




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               2.1.138 2.1.132 “Preferred Stock” means, collectively, Series A Preferred Stock,
Series B Preferred Stock, Series C Preferred Stock, Series D Preferred Stock and Series E
Preferred Stock.

               2.1.139 2.1.133 “Priority Tax Claim” means a Claim (whether secured or
unsecured) of a Governmental Unit against the Debtor entitled to priority pursuant to
section 507(a)(8) of the Bankruptcy Code.

                 2.1.140 2.1.134 “Pro Rata” means, as applicable and unless otherwise stated,
with respect to an Allowed or estimated Claim or Interest, the percentage represented by a
fraction (i) the numerator of which shall be an amount equal to such Allowed or estimated Claim
or Interest and (ii) the denominator of which shall be an amount equal to the aggregate amount of
Allowed and estimated Claims or Interests in the same Class as such Claim or Interest, except in
cases where Pro Rata is used in reference to multiple Classes, in which case Pro Rata means the
portion that such Holder’s Claim or Interest in a particular class bears to the aggregate amount of
all Allowed and estimated Claims or Interests in such multiple Classes.

               2.1.141 2.1.135 “Professional” means a Person or Entity: (i) employed in the
Chapter 11 Case pursuant to a Bankruptcy Court order in accordance with sections 327 or 1103
of the Bankruptcy Code and to be compensated for services rendered prior to the Effective Date,
pursuant to section 327, 328, 329, 330 or 331 of the Bankruptcy Code, or (ii) for which
compensation and reimbursement has been awarded by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

               2.1.142 2.1.136 “Professional Fee Claim” means any Claim of a Professional
seeking an award by the Bankruptcy Court of compensation for services rendered or
reimbursement of expenses incurred through and including the Effective Date under
sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code.

              2.1.143 2.1.137 “Professional Fee Escrow Account” means an account to be
funded by the Debtor on or prior to the Effective Date and maintained by the Liquidating Trust in
an amount equal to the Professional Fee Reserve Amount.

               2.1.144 2.1.138 “Professional Fee Reserve Amount” means the estimate, as
determined in accordance with Section 3.2.3 of the Planhereof, of the aggregate amount of
unpaid Professional Claims for all Professionals through the Effective Date.

               2.1.145 2.1.139 “Proof of Claim” means a proof of claim against a Debtor filed
by a holder of a Claim against the Debtor.

               2.1.146 “Qualified Holder” means a Holder who provides a certification that
such Holder is a “qualified purchaser” as such term is defined in section 2(a)(51) of the
Investment Company Act and the rules thereunder and is an Accredited Investor.

               2.1.147 “Qualified Holder Certification Request” has the meaning in
Section 7.5.2 hereof.



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               2.1.148 2.1.140 “Regulation D” has the meaning in Section 7.4 of the
Planhereof.

              2.1.149 2.1.141 “Reinstated” means, with respect to any Claim or Interest, that
such Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the
Bankruptcy Code, and “Reinstatement” shall have a correlative meaning.

                 2.1.150 2.1.142 “Related Parties” means with respect to a Person or Entity, and
 in each case solely in its capacity as such, each such Person or Entity’s predecessors,
 successors, assigns, subsidiaries, affiliates, managed accounts or funds, current and former
 officers, board members, directors, principals, agents, independent contractors, members,
 partners (general or limited), managers, employees, subcontractors, advisory board members,
 financial advisors, attorneys and legal representatives, accountants, investment bankers,
 consultants, fund advisors, trusts, trustees, beneficiaries, investment committee members,
 affiliated investment funds or investment vehicles, participants, management companies, direct
 or indirect owners and/or equityholders, investment or fund advisors, representatives, and other
 professionals and advisors and any such Person or Entity’s respective heirs, executors, estates
 and nominees.

                2.1.151 2.1.143 “Released Parties” means (i) the Debtor, (ii) NewCo, (iii) the
Liquidating Trust, (iv) the UCC and its members, (v) the Ad Hoc Noteholder Group, (vi) the
Consenting Noteholders, (vii) the Indenture Trustees, (viii) each such Entity’s or Person’s
Related Parties; provided that no Person or Entity shall be a Released Party if it files with the
Bankruptcy Court an objection to the Plan (including the releases) that is not consensually
resolved before Confirmation or supports any such objection or objector; provided further that,
no current or former director, officer or other Related Parties of the Debtor is a Released Party in
respect of any prepetition conduct, transactions, or events, unless such Person is listed on Exhibit
[•] hereof.

                2.1.152 2.1.144 “Releasing Parties” means (i) the Released Parties, (ii) all
holders of Claims or Interests that vote to accept the Plan, (iii) all holders of Claims or Interests
that are deemed to accept the Plan and who do not affirmatively opt out of the releases provided
by the Plan by checking the box on the applicable notice of non-voting status indicating that they
opt not to grant the releases provided in the Plan, (iv) all holders of Claims or Interests that
abstain from voting on the Plan and who do not affirmatively opt out of the releases provided by
the Plan by checking the box on the applicable ballot indicating that they opt not to grant the
releases provided in the Plan, (v) all holders of Claims or Interests that vote to reject the Plan but
who do not affirmatively opt out of the releases provided by the Plan by checking the box on the
applicable ballot indicating that they opt not to grant the releases provided in the Plan, (vi) all
holders of Claims or Interests that are deemed to reject the Plan but who affirmatively opt in to
the releases provided by the Plan by checking the box on the applicable notice of non-voting
status indicating that they opt in to grant the releases provided in the Plan, and (vii) each Related
Party of each Person or Entity in clause (i) through (vi) for which such Person or Entity is legally
entitled to bind.

              2.1.153 2.1.145 “Required Ad Hoc Senior Noteholder Parties” means at any
time, Consenting Noteholders that are members of the Ad Hoc Noteholder Group holding greater


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than 50% in amount of Senior Notes held by all Consenting Noteholders that are members of the
Ad Hoc Noteholder Group at such time.

               2.1.154 2.1.146 “Restructuring Support Agreement” means that certain
Restructuring Support Agreement, dated as of January 9, 2024, by and among the Debtor and the
Supporting Parties (as defined therein) party thereto, as amended, supplemented or otherwise
modified from time to time, including all exhibits and annexes thereto.

               2.1.155 2.1.147 “Restructuring Transactions” has the meaning set forth in
Section 7.10 of the Plan7.9 hereof.

            2.1.156 2.1.148 “Restructuring Transactions Memorandum” shall mean a
memorandum included in the Plan Supplement describing the Restructuring Transactions.

               2.1.157 2.1.149 “Retained Causes of Action” means all of the Debtor’s claims or
Causes of Action, other than those settled, released or exculpated under this Plan; provided, that,
notwithstanding anything herein to the contrary, NewCo or the Liquidating Trust shall retain the
Debtor’s right to commence and pursue (a) the FDIC Claims, (b) Claims against any Debtor
Related Party to the extent not released under the Plan and (c) any Claims or Causes of Action
the Debtor may have against First Citizens Bank & Trust Company.

              2.1.158 2.1.150 “Retained Debtor Assets” means all of the Debtor’s assets to be
retained by NewCo and its subsidiaries after the Effective Date that are not Liquidating Trust
Assets or NewCo Disputed Claims Reserves.

               2.1.159 2.1.151 “Schedule of Assumed Executory Contracts and Unexpired
Leases” means the schedule of certain Executory Contracts and Unexpired Leases to be assumed
or assumed and assigned by the Debtor pursuant to the Plan, as the same may be amended,
modified, or supplemented from time to time by the Debtor.

                2.1.160 2.1.152 “Schedule of Retained Causes of Action” means the schedule of
certain Causes of Action of the Debtor that are not released, waived, or transferred pursuant to
the Plan, as the same may be amended, modified, or supplemented from time to time.

               2.1.161 2.1.153 “SEC” means the United States Securities and Exchange
Commission.

               2.1.162 2.1.154 “Section 510(b) Claim” means a Claim subject to subordination
under section 510(b) of the Bankruptcy Code.

               2.1.163 2.1.155 “Secured Claim” means a Claim that is (i) secured by a Lien on
property in which an Estate has an interest or that is subject to setoff under section 553 of the
Bankruptcy Code, to the extent of the value of the Claim Holder’s interest in the Estate’s interest
in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code, or (ii) Allowed pursuant to the Plan as a
Secured Claim.



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               2.1.164 2.1.156 “Secured Tax Claim” means any Secured Claim against the
Debtor that, absent its secured status, would be entitled to priority in right of payment under
section 507(a)(8) of the Bankruptcy Code (determined irrespective of time limitations), including
any related Secured Claim for penalties.

                2.1.165 2.1.157 “Securities Act” means the Securities Act of 1933, as now in
effect or hereafter amended, and the rules and regulations of the U.S. Securities and Exchange
Commission promulgated thereunder.

                  2.1.166 2.1.158 “security” means a security as defined in section 2(a)(1) of the
Securities Act.

               2.1.167 2.1.159 “Senior Note Claim” means any Claim arising out of or related
to the Senior Notes Indenture.

                2.1.168 “Senior Note Trustee Expenses” means the reasonable and documented
compensation, fees, expenses, disbursements, and claims for indemnity, subrogation, and
contribution incurred or owed to the Senior Notes Indenture Trustee and its professionals,
whether prior to or after the Petition Date and whether prior to or after the Effective Date, and
reasonable fees and expenses incurred in connection with distributions made pursuant to the Plan
or the cancellation and discharge of the Senior Notes Indenture and/or the Senior Notes
Supplemental Indenture, in each case to the extent payable or reimbursable under the Senior
Notes Indenture and/or the Senior Notes Supplemental Indenture, as applicable, including the
reasonable and documented fees and expenses of Davis Polk & Wardwell LLP and Seward &
Kissel LLP, as counsel to the Senior Notes Indenture Trustee and PJT Partners LP, as investment
banker to the Senior Notes Indenture Trustee.

              2.1.169 2.1.160 “Senior Notes” means the 2025 Senior Notes, 2026 Senior
Notes, 2028 Senior Notes, 2030 Senior Notes, 2031 Senior Notes, 2028 Senior Fixed-to-Floating
Rate Notes, and the 2033 Senior Fixed-to-Floating Rate Notes.

               2.1.170 2.1.161 “Senior Notes Indenture” means that certain Indenture, dated as
of September 10, 2010, between SVBFG and the Senior Notes Indenture Trustee, pursuant to
which the Senior Notes were issued, as may be amended, supplemented or otherwise modified
from time to time.

               2.1.171 2.1.162 “Senior Notes Indenture Trustee” means U.S. Bank Trust
Company, National Association (as successor-in-interest to U.S. Bank National Association), as
indenture trustee of the Senior Notes Indenture, and any successor trustee appointed in
accordance with the terms of the Senior Notes Indenture.

                2.1.172 2.1.163 “Senior Notes Supplemental Indenture” means that certain First
Supplemental Indenture, dated as of April 28, 2022, between SVBFG and the Senior Notes
Indenture Trustee, supplementing and amending the terms of the Senior Notes Indenture with
respect to the 2028 Senior Fixed-to-Floating Rate Notes and the 2033 Senior Fixed-to-Floating
Rate Notes.



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                2.1.164 “Senior Note Trustee Expenses” means the reasonable and documented
compensation, fees, expenses, disbursements, and claims for indemnity, subrogation, and
contribution incurred or owed to the Senior Notes Indenture Trustee and its professionals,
whether prior to or after the Petition Date and whether prior to or after the Effective Date, and
reasonable fees and expenses incurred in connection with distributions made pursuant to the Plan
or the cancellation and discharge of the Senior Notes Indenture and/or the Senior Notes
Supplemental Indenture, in each case to the extent payable or reimbursable under the Senior
Notes Indenture and/or the Senior Notes Supplemental Indenture, as applicable, including the
reasonable and documented fees and expenses of Davis Polk & Wardwell LLP and Seward &
Kissel LLP, as counsel to the Senior Notes Indenture Trustee and PJT Partners LP, as investment
banker to the Senior Notes Indenture Trustee.

                2.1.173 2.1.165 “Series A Preferred Stock” means the 5.250% fixed-rate series A
non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the Series A
Certificate of Designation dated December 6, 2019.

               2.1.174 2.1.166 “Series B Preferred Stock” means the 4.100% Fixed-to-Reset
series B non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the
Series B Certificate of Designation dated February 2, 2021.

               2.1.175 2.1.167 “Series C Preferred Stock” means the 4.000% Fixed-to-Reset
series C non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the
Series C Certificate of Designation dated May 13, 2021.

               2.1.176 2.1.168 “Series D Preferred Stock” means the 4.250% Fixed-to-Reset
series D non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the
Series D Certificate of Designation dated October 28, 2021.

               2.1.177 2.1.169 “Series E Preferred Stock” means the 4.7000% Fixed-to-Reset
series D non-cumulative perpetual preferred stock of SVBFG having the terms set forth in the
Series E Certificate of Designation dated October 28, 2021.

               2.1.178 2.1.170 “Shared Services Agreement” means a shared services
agreement or similar arrangement or understanding which governs the provision of operating
services and general and administrative services, including but not limited to legal, accounting
and treasury between NewCo and the Liquidating Trust.

               2.1.179 2.1.171 “Solicitation Procedures Order” means the [•] [D.I. [•]].

                2.1.180 “Specified Governmental Unit” means a “governmental unit” as defined
in section 101(27) of the Bankruptcy Code but excluding for sake of clarity the FDIC, including
in its corporate capacity and in its capacities as receiver for either Silicon Valley Bank of Santa
Clara, California or Silicon Valley Bridge Bank, N.A.

           2.1.181 2.1.172 “Stock Register” means the ownership register of SVBFG
Common Stock maintained by, or behalf of, the Debtor.



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               2.1.182 2.1.173 “Subordinated Note Claims” means the BP Trust I Claims and
the BP Trust II Claims.

              2.1.183 2.1.174 “Subordinated Note Indenture Trustees” means BP Trust I
Indenture Trustee and BP Trust II Indenture Trustee.

              2.1.184 2.1.175 “Subordinated Note Indentures” means BP Trust I Indenture, BP
Trust I Supplemental Indenture, BP Trust II Indenture and BP Trust II Supplemental Indenture.

                2.1.185 2.1.176 “Subordinated Note Trustee Expenses” means the reasonable
and documented compensation, fees, expenses, disbursements, and claims for indemnity,
subrogation, and contribution incurred or owed to the Subordinated Note Indenture Trustees and
their professionals, whether prior to or after the Petition Date and whether prior to or after the
Effective Date, and reasonable fees and expenses incurred in connection with distributions made
pursuant to the Plan or the cancellation and discharge of the Subordinated Note Indentures, in
each case to the extent payable or reimbursable under the Subordinated Note Indentures,
including the reasonable and documented fees and expenses of Pryor Cashman LLP, as counsel
to the Subordinated Note Indenture Trustees.

              2.1.186 2.1.177 “Subordinated Notes” means the BP Trust I Preferred Securities
and the BP Trust II Capital Securities.

               2.1.187 “SVB Capital Sale” means the sale of the SVB Capital business, subject
to the terms and conditions provided in the Interest Purchase Agreement, dated as of May 2,
2024, by and between the Debtor and Pinegrove Sierra HoldCo LLC.

               2.1.188 2.1.178 “SVBFG” has the meaning set forth in the Introduction hereto.

               2.1.179 “SVB Capital” means the personnel and funds that comprise the Debtor’s
venture capital and credit investment business.

               2.1.189 2.1.180 “Tax Authority” means a federal, state, local or foreign
government, or agency, instrumentality, or employee thereof, court, or other body (if any)
charged with the administration of any law relating to Taxes.

               2.1.190 2.1.181 “Tax Return” means a return, declaration, form, election letter,
report, statement, estimate, information return, or other information filed or required to be filed
with respect to any Taxes, including any schedule or attachment thereto or amendment thereof.

                 2.1.191 2.1.182 “Taxes” means all (i) federal, state, local, or foreign taxes,
including all net income, net worth or gross receipts, capital, value added, franchise, profits,
employment, estimated, excise, severance, stamp, occupation, premium, windfall profits,
environmental, custom duties, property, sales, use, license, transfer, registration, payroll,
withholding, social security, unemployment, disability, alternative or add-on minimum or other
taxes, and (ii) interest, penalties, fines, additions to tax or additional amounts imposed by any
Tax Authority or paid in connection with any item described in clause (i) hereof.



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               2.1.183 “Transferred LP Interests” has the meaning in Section 2.1.106 of the Plan.

              2.1.192 2.1.184 “Treasury Regulations” means the United States Department of
Treasury regulations promulgated under the IRC.

              2.1.193 2.1.185 “U.S. Trustee” means William K. Harrington, the United States
Trustee for Region 2, U.S. Department of Justice, Office of the U.S. Trustee.

               2.1.194 2.1.186 “U.S. Trustee Fees” mean fees arising under 28 U.S.C.
§ 1930(a)(6) and, to the extent applicable, accrued interest thereon arising under 31 U.S.C.
§ 3717.

              2.1.195 2.1.187 “UCC” means the official committee of unsecured creditors of
the Debtor appointed in the Chapter 11 Case pursuant to section 1102 of the Bankruptcy Code,
as may be reconstituted from time to time.

                 2.1.196 2.1.188 “Unclaimed Distribution” means any distribution under the Plan
on account of an Allowed Claim or Interest to a Holder that has not: (i) accepted a particular
distribution or, in the case of a distribution made by check, negotiated such check, (ii) given
written notice to the Distribution Agent of an intent to accept a particular distribution,
(iii) responded in writing to the request of the Distribution Agent for information necessary to
facilitate a particular distribution, or (iv) taken any other action necessary to facilitate such
distribution (including, with respect to any NewCo Distribution, certification that it is a Qualified
Holder or a Non-Qualified Holder).

                2.1.197 2.1.189 “Unexpired Lease” means a lease to which the Debtor is a party
and that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

                2.1.198 2.1.190 “Unimpaired” means, with respect to a Class of Claims or
Interests, a Class of Claims or Interests that is not impaired within the meaning of such term in
section 1124 of the Bankruptcy Code.

               2.1.199 2.1.191 “United States of America,” “United States” or “U.S.” means the
United States of America and its federal agencies.

              2.1.200 2.1.192 “Voting Record Date” means the record date for voting on the
Plan, which shall be [•May 14, 2024].

       2.2     Rules of Interpretation

                 For the purposes of this Plan: (i) in the appropriate context, each term, whether
stated in the singular or the plural, shall include both the singular and the plural, and pronouns
stated in the masculine, feminine or neuter gender shall include the masculine, feminine and the
neuter gender, (ii) any reference herein to the word “including” or any word of similar import
shall be read to mean “including without limitation,” (iii) unless otherwise specified, all
references herein to “Sections” are references to Sections hereof or hereto, (iv) unless otherwise
specified, the words “herein,” “hereof” and “hereto” refer to the Plan in its entirety rather than a
particular portion of the Plan, (v) captions and headings to Sections are inserted for the

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convenience of reference only and are not intended to be a part of or to affect the interpretation
of the Plan, (vi) unless otherwise specified herein, the rules of construction set forth in section
102 of the Bankruptcy Code shall apply, (vii) unless otherwise specified, all references herein to
exhibits are references to exhibits in the Plan Supplement, (viii) all references to docket numbers
of documents filed in the Chapter 11 Case are references to the docket numbers under the
Bankruptcy Court’s Case Management/Electronic Case Files system, (ix) all references to
statutes, regulations, orders, rules of courts and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Case, unless otherwise stated, (x) unless otherwise
specified, any reference herein to a contract, agreement, lease, plan, policy, document or
instrument being in a particular form or on particular terms and conditions means that the same
shall be substantially in that form or substantially on those terms and conditions, (xi) unless
otherwise specified, any reference herein to a contract, agreement, lease, plan, policy, document
or instrument or schedule or exhibit thereto, whether or not filed, shall mean the same as
amended, restated, modified or supplemented from time to time in accordance with the terms
hereof or thereof, (xii) any effectuating provisions may be interpreted by the Debtor, NewCo or
the Liquidating Trust, as applicable, with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties (not to be unreasonably withheld, conditioned or delayed and to the
extent provided in the Restructuring Support Agreement), in a manner consistent with the overall
purpose and intent of this Plan or the Confirmation Order, all without further notice to or action,
Order, or approval of the Bankruptcy Court or any other Entity, (xiii) any reference to an Entity
as a Holder of a Claim or Interest includes that Entity’s successors and permitted assigns,
(xiv) references to “shareholders,” “directors” and/or “officers” shall also include “members”
and/or “managers,” as applicable, as such terms are defined under the applicable limited liability
company laws, (xv) except as otherwise expressly provided in this Plan, where this Plan
contemplates that the Debtor, NewCo or the Liquidating Trust, as applicable, shall take any
action, incur any obligation, issue any security or adopt, assume, execute or deliver any contract,
agreement, lease, plan, policy, document or instrument on or prior to the Effective Date, the
same shall be duly and validly authorized by the Plan and effective against and binding upon the
Debtor, NewCo or the Liquidating Trust, as applicable, on and after the Effective Date without
further notice to, order of or other approval by the Bankruptcy Court, action under applicable
law, regulation, order or rule, or the vote, consent, authorization or approval of the board of
directors of the Debtor or any other Entity, (xvi) except as otherwise provided in the Plan,
anything required to be done by the Debtor, NewCo or the Liquidating Trust, as applicable, on
the Effective Date may be done on the Effective Date or as soon as reasonably practicable
thereafter and (xvii) all references herein to the NewCo Transaction shall be deemed to be
followed by “if any” whether or not stated.

       2.3     Governing Law

                Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated herein (including
in the Plan Supplement), the laws of the State of New York, without giving effect to the
principles of conflicts of laws, shall govern the construction and implementation of the Plan and
any agreement, document or instrument executed or entered into in connection with the Plan;
provided, however, that corporate or limited liability company governance matters relating to the



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Debtor, NewCo, and the Liquidating Trust, as applicable, shall be governed by the laws of the
state of incorporation or formation (as applicable).

       2.4     Computation of Time

               In computing any period of time prescribed or allowed by the Plan, unless
otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. If any
payment, distribution, act or deadline under the Plan is required to be made or performed or
occurs on a day that is not a Business Day, then the making of such payment or distribution, the
performance of such act or the occurrence of such deadline shall be deemed to be on the next
succeeding Business Day, but shall be deemed to have been completed or to have occurred as of
the required date.

       2.5     References to Monetary Figures

              All references in the Plan to monetary figures shall refer to currency of the United
States of America unless otherwise expressly provided.

       2.6     Consent Rights

                Notwithstanding anything herein to the contrary, (i) any and all consent and
consultation rights of all parties to the Restructuring Support Agreement under such agreement
with respect to the Plan, all exhibits to the Plan, the Plan Supplement, the proposed form of
Confirmation Order, and any other Definitive Documents, including any amendments,
restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, as more fully set forth
in the Restructuring Support Agreement, are incorporated herein by this reference and shall be
fully enforceable as if stated in full herein, and (ii) any action or inaction that may be taken by
the Debtor or any of its subsidiaries shall be subject to the covenants of the Debtor set forth in
the Restructuring Support Agreement. Failure to reference herein any right, privilege or
obligation provided for by the Restructuring Support Agreement shall not impair any such right,
privilege or obligation.




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3.     OTHER ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, PRIORITY TAX CLAIMS
       AND STATUTORY FEES

       3.1     Other Administrative Claims

               3.1.1   Treatment of Other Administrative Claims

                Subject to Section 11.4 hereof, except to the extent that the applicable Holder of
an Allowed Other Administrative Claim agrees to less favorable treatment with the Debtor (with
the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, each Holder of an Allowed Other Administrative Claim shall receive, on account of such
Allowed Other Administrative Claim to the extent any portion of such Allowed Other
Administrative Claim has not been paid in full during the course of the Chapter 11 Case,
payment in full in Cash (i) on or as soon as reasonably practicable after the later of the Effective
Date and the date such Claim is Allowed, (ii) if such Allowed Other Administrative Claim is for
goods and services provided to the Debtor in the ordinary course of business, in accordance with
the terms and conditions of the applicable transaction documentation or course of business
dealings with the Debtor, (iii) as otherwise may be agreed upon by such Holder and the Debtor
(with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating Trust
or (iv) as otherwise ordered by the Bankruptcy Court.

               3.1.2   Filing Other Administrative Claims

                Absent order of the Bankruptcy Court to the contrary, all requests for payment of
Other Administrative Claims that accrued on or before the Effective Date must be filed with the
Notice and Claims Agent or the Bankruptcy Court and served on counsel for the Debtor by the
Administrative Expense Claim Bar Date. Any Holder of an Other Administrative Claim who is
required to, but does not, file and serve a request for payment of such Other Administrative
Claim pursuant to the procedures specified in the Confirmation Order on or prior to the
Administrative Expense Claim Bar Date shall be forever barred, estopped and enjoined from
asserting such Administrative Expense Claim against the Debtor, the Liquidating Trust or
NewCo or its respective property, and such general Other Administrative Claim shall be deemed
discharged as of the Effective Date.

                Following the Effective Date, the Liquidating Trust shall have exclusive authority
to settle Other Administrative Claims without further Bankruptcy Court approval.

                Unless the Debtor or the Liquidating Trust or any other Entity object to a timely
filed and properly served Other Administrative Claim by the 90th calendar day after the Effective
Date, subject to further extensions and/or exceptions as may be ordered by the Bankruptcy Court
upon motion on notice to all parties filing a notice of appearance and request for service pursuant
to Bankruptcy Rule 2002 in the Chapter 11 Case, such Other Administrative Claim shall be
deemed Allowed in the amount requested. If the Debtor or the Liquidating Trust or any other
Entity object to an Other Administrative Claim, the parties may confer to try to reach a
settlement and, failing that, the Bankruptcy Court shall determine whether such Other


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Administrative Claim should be Allowed and, if so, in what amount. Notwithstanding the
foregoing, requests for payment of Other Administrative Claim need not be filed for Other
Administrative Claims that (i) are undisputed Claims for unpaid invoices for goods or services
provided to the Debtor in the ordinary course of business, (ii) previously have been Allowed by
Final Order of the Bankruptcy Court, (iii) are for Cure Costs or (iv) the Debtor (with the consent
of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be unreasonably
withheld, conditioned or delayed) or, after the Effective Date, the Liquidating Trust, have
otherwise agreed in writing to not require such a filing.

       3.2     Professional Fee Claims

               3.2.1   Final Fee Applications

                All final requests for payment of Professional Fee Claims shall be filed and
served no later than 60 days after the Effective Date, in accordance with the procedures
established under the Interim Compensation Order. In accordance with the procedures
established under the Interim Compensation Order, the Bankruptcy Court shall determine the
Allowed amounts of such Professional Fee Claims.

                Except to the extent that the applicable Holder of an Allowed Professional Fee
Claim agrees to less favorable treatment with the Debtor (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed) or, after the Effective Date, the Liquidating Trust, each Holder of a Professional Fee
Claim that has been approved by the Bankruptcy Court shall be paid in full in Cash.

               3.2.2   Professional Fee Escrow Account

                On or prior to the Effective Date, the Debtor shall fund the Professional Fee
Escrow Account with Cash equal to the aggregate Professional Fee Reserve Amount for all
Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
Professionals. Such funds in the Professional Fee Escrow Account shall not constitute property
of the Debtor’s Estate, except as otherwise expressly set forth in the last sentence of this
paragraph. The amount of Professional Fee Claims owing to the Professionals on and after the
Effective Date shall be paid in Cash to such Professionals from funds held in the Professional
Fee Escrow Account, without interest or other earnings therefrom, as soon as reasonably
practicable after such Claims are Allowed by a Bankruptcy Court order; provided that the
Debtor’s obligation with respect to Professional Fee Claims will not be limited nor be deemed to
be limited in any way to the balance of funds held in the Professional Fee Escrow Account.
When all Allowed Professional Fee Claims have been paid in full, amounts remaining in the
Professional Fee Escrow Account, if any, shall promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

               3.2.3   Professional Fee Reserve Amount

               To receive payment for unbilled fees and expenses incurred through and including
the Effective Date, the Professionals shall estimate their accrued Professional Fee Claims prior to
and as of the Confirmation Date, along with an estimate of fees and expenses to be incurred

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through and including the Effective Date, and shall deliver such good-faith estimates to the
Debtor by no later than seven days before the Effective Date; provided, however, that such
estimates shall not be considered an admission or limitation with respect to the fees and expenses
of such Professional. If a Professional does not provide such estimate, the Debtor may estimate
the unbilled fees and expenses of such Professional. The total amount so estimated shall
comprise the Professional Fee Reserve Amount. To the extent the Professional Fee Reserve
Amount is not sufficient to pay all Allowed Professional Fee Claims in full, the remaining
aggregate amount of the Allowed Professional Fee Claims shall be paid by the Liquidating Trust.

               3.2.4   Post-Effective Date Fees and Expenses

                Except as otherwise specifically provided in the Plan, from and after the Effective
Date, NewCo and the Liquidating Trust, as applicable, may, in the ordinary course of business
and without any further notice to or action, order or approval of the Bankruptcy Court, pay in
Cash the legal, professional or other fees and expenses related to the implementation and
consummation of the Plan incurred by NewCo, the Liquidating Trust or any Professional
following the Effective Date. Upon the Effective Date, any requirement that Professionals
comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and NewCo and the
Liquidating Trust may employ and pay any Professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order or approval of the Bankruptcy Court.

       3.3     Treatment of Priority Tax Claims

                Subject to Section 11.4 hereof, except to the extent that the applicable Holder of
an Allowed Priority Tax Claim has been paid by the Debtor before the Effective Date, or such
Holder agrees to less favorable treatment, each Holder of an Allowed Priority Tax Claim shall
receive, on account of such Allowed Priority Tax Claim, at the option of the Debtor (with the
consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be unreasonably
withheld, conditioned or delayed) or, after the Effective Date, the Liquidating Trust, (i) payment
in full in Cash made (a) on or as soon as reasonably practicable after the Effective Date or (b) on
the date such payment is due in the ordinary course of business, (ii) regular installment payments
in accordance with section 1129(a)(9)(C) of the Bankruptcy Code or (iii) such other amounts and
in such other manner as may be determined by the Bankruptcy Court to provide the Holder of
such Allowed Priority Tax Claim deferred Cash payments having a value, as of the Effective
Date, equal to such Allowed Priority Tax Claim.

               The Liquidating Trust shall have the right, in its sole discretion, to pay any
Allowed Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim
(together with accrued but unpaid interest) in full at any time after the Effective Date without
premium or penalty.




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       3.4     Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses and
               Subordinated Note Trustee Expenses

                Any outstanding and unpaid Ad Hoc Noteholder Group Expenses, Senior Note
Trustee Expenses and Subordinated Note Trustee Expenses incurred, or estimated to be incurred,
up to and including the Effective Date, shall be paid in full in Cash onprior to the Effective Date,
without the requirement to file a fee application with the Bankruptcy Court or comply with any
guidelines of the U.S. Trustee and without any requirement for review or approval by the
Bankruptcy Court or any Entity.

               From and after the Confirmation Date, any outstanding and unpaid Ad Hoc
Noteholder Group Expenses, Senior Note Trustee Expenses and Subordinated Note Trustee
Expenses shall be paid in full in Cash as soon as reasonably practicable, but in no event later
than seven (7) Business Days after submission of an invoice to the Debtor, without the
requirement to file a fee application with the Bankruptcy Court or comply with any guidelines of
the U.S. Trustee and without any requirement for review or approval by the Bankruptcy Court or
any Entity.

                 All Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses and
Subordinated Note Trustee Expenses to be paid on or after the EffectiveConfirmation Date shall
be estimated, as necessary, prior to andor as of the EffectiveConfirmation Date and such estimate
shall be delivered to the Debtor; provided that such estimate shall not be considered an
admission or limitation with respect to such Ad Hoc Noteholder Group Expenses, Senior Note
Trustee Expenses and Subordinated Note Trustee Expenses. In addition, the Liquidating Trust is
authorized to continue to pay the Ad Hoc Noteholder Group Expenses, Senior Note Trustee
Expenses and Subordinated Note Trustee Expenses, as necessary, after the Effective Date when
due and payable in the ordinary course solely to the extent related to implementation,
consummation and defense of the Plan and the transactions contemplated thereby, whether
incurred before, on or after the Effective Date, without any requirement for review or approval
by the Bankruptcy Court or any Entity.

               For the avoidance of doubt, the payment of the Ad Hoc Noteholder Group
Expenses, Senior Note Trustee Expenses and Subordinated Note Trustee Expenses is a material
term of the Restructuring Support Agreement which is embodied in and is part of this Plan, and the
Debtor’s payment of such expenses is authorized by and pursuant to Sections 363(b), 364(b),
503(b), 1123(b)(6) and 1129(a)(4) of the Bankruptcy Code and Bankruptcy Rule 9019.

       3.5     Statutory Fees Payable Pursuant to 28 U.S.C. § 1930

                 All fees due and payable pursuant to section 1930 of Title 28 of the U.S. Code
prior to the Effective Date shall be paid by the Debtor on the Effective Date. The Debtor shall
file all quarterly reports due prior to the Effective Date when they become due, in a form
reasonably acceptable to the U.S. Trustee.




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4.           CLASSIFICATION AND TREATMENT OF OTHER CLAIMS AND INTERESTS

                 Pursuant to sections 1122 and 1123 of the Bankruptcy Code, all Claims and
Interests, except for Claims addressed in Section 3 of the Planhereof, are classified for all
purposes as set forth in this Section 4. A Claim or Interest shall be deemed classified in a
particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class, and shall be deemed classified in a different Class to the extent that any remainder of
such Claim or Interest qualifies within the description of such different Class. A Claim or
Interest is in a particular Class only to the extent that such Claim or Interest is Allowed in that
Class and has not been paid or otherwise satisfied prior to the Effective Date. For any Claim or
Interest where a Proof of Claim has been filed, upon payment or satisfaction of such Claim or
Interest and notice of such payment or satisfaction to the Holder of such Claim or Interest, such
Claim or Interest may be adjusted or expunged on the Claims Register without a claims objection
having to be filed and without any further notice to or action, order or approval of the
Bankruptcy Court.

                Except as otherwise specifically provided for in the Plan, the Confirmation Order
or other order of the Bankruptcy Court, or required by applicable non-bankruptcy law, in no
event shall any Holder of an Allowed Claim be entitled to receive (x) payments that in the
aggregate exceed the Allowed amount of such Holder’s Claim or (y) distributions that in the
aggregate exceed the amount permitted by Section 11.4 hereof.

             4.1       Summary of Classes and Treatment of Claims Against and Interests in the Debtor

                The following table designates the Classes of Claims against and Interests in the
Debtor, as applicable, and specifies which of those Classes are (i) Impaired or Unimpaired by the
Plan and (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the
Bankruptcy Code or presumed to accept or deemed to reject the Plan.510 All of the potential
Classes for the Debtor are set forth herein.

 Class             Designation                                     Status                 Voting Rights
   1               Other Secured Claims                            Unimpaired             Not Entitled to Vote
                                                                                          (Presumed to Accept)
       2           Other Priority Claims                           Unimpaired             Not Entitled to Vote
                                                                                          (Presumed to Accept)
      3(a)         Senior Note Claims                              Impaired               Entitled to Vote
      3(b)         Senior Note Claims and Other General            Impaired               Entitled to Vote
                   Unsecured Claims
       4           Subordinated Note Claims                        Impaired               Entitled to Vote
       5           Preferred Equity Interests                      Impaired               Entitled to Vote
       6           Common Equity Interests                         Impaired               Not Entitled to Vote
                                                                                          (Deemed to Reject)



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      The information in the table is provided in summary form, and is qualified in its entirety by Section 4.2 of the
      Planhereof.


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 Class         Designation                                 Status              Voting Rights
   7           Section 510(b) Claims                       Impaired            Not Entitled to Vote
                                                                               (Deemed to Reject)
   8           Intercompany Claims and Intercompany        Impaired or         Not Entitled to Vote
               Interests                                   Unimpaired          (Presumed to Accept or
                                                                               Deemed to Reject)

         4.2      Treatment of Claims and Interests

                  4.2.1     Class 1 – Other Secured Claims

                           i.      Classification: Class 1 consists of all Other Secured Claims.

                          ii.      Treatment: Except to the extent that a Holder of an Allowed Other
                                   Secured Claim agrees to less favorable treatment, in full and final
                                   satisfaction, compromise, settlement, release, and discharge of and
                                   in exchange for its Allowed Other Secured Claim, each Holder of
                                   an Allowed Other Secured Claim shall receive, at the Debtor’s
                                   option (with the consent of the UCC and the Required Ad Hoc
                                   Senior Noteholder Parties, not to be unreasonably withheld,
                                   conditioned or delayed): (a) payment in full in Cash; (b) delivery
                                   of the collateral securing its Allowed Other Secured Claim and
                                   payment of any interest required under section 506(b) of the
                                   Bankruptcy Code; (c) Reinstatement of its Allowed Other Secured
                                   Claim; or (d) such other treatment rendering its Allowed Other
                                   Secured Claim Unimpaired in accordance with section 1124 of the
                                   Bankruptcy Code.

                       iii.        Voting: Claims in Class 1 are Unimpaired. Each Holder of an
                                   Other Secured Claim is conclusively presumed to have accepted
                                   the Plan pursuant to section 1126(f) of the Bankruptcy Code. No
                                   Holder of Other Secured Claims is entitled to vote to accept or
                                   reject the Plan.

                  4.2.2     Class 2 – Other Priority Claims

                           i.      Classification: Class 2 consists of all Other Priority Claims.

                          ii.      Treatment: Except to the extent that a Holder of an Allowed Other
                                   Priority Claim agrees to a less favorable treatment, in full and final
                                   satisfaction, settlement, release, and discharge of and in exchange
                                   for its Allowed Other Priority Claim, each Holder of an Allowed
                                   Other Priority Claim shall receive treatment in a manner consistent
                                   with section 1129(a)(9) of the Bankruptcy Code.

                       iii.        Voting: Claims in Class 2 are Unimpaired. Each Holder of an
                                   Other Priority Claim is conclusively presumed to have accepted


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                                  the Plan pursuant to section 1126(f) of the Bankruptcy Code. No
                                  Holder of an Other Priority Claim is entitled to vote to accept or
                                  reject the Plan.

                4.2.3     Class 3(a) – Senior Note Claims and Other General Unsecured Claims

                         i.       Classification: Class 3(a) consists of all General Unsecured
                                  Claims, including Senior Note Claims and Other General
                                  Unsecured Claims.

                        ii.       Allowance: Senior Note Claims shall be Allowed in the aggregate
                                  outstanding principal amount of $[3,300,000,000.00], plus accrued
                                  and unpaid interest to and including the Petition Date at the
                                  non-default contract rate.

                      iii.        Treatment: Except to the extent that a Holder of an Allowed
                                  General UnsecuredSenior Note Claim agrees to a less favorable
                                  treatment option (with the consent of the UCC and the Required
                                  Ad Hoc Senior Noteholder Parties, not to be unreasonably
                                  withheld, conditioned or delayed), in full and final satisfaction,
                                  settlement, release and discharge of and in exchange for its
                                  Allowed General UnsecuredSenior Note Claim, each Holder of an
                                  Allowed General UnsecuredSenior Note Claim shall receive
                                  (a)(i) if and solely to the extent such Holder is a Qualified Holder,
                                  its Pro Rata share of (a) 100%together with all Holders receiving
                                  Distributions in NewCo Common Stock) of the NewCo Common
                                  Stock subject to dilution by any NewCo Transaction, (b) 100% or
                                  (ii) if and solely to the extent such Holder is a Non-Qualified
                                  Holder, Cash in an amount equal to the value of the NewCo
                                  Common Stock it would be entitled to receive if it were a
                                  Qualified Holder, (b) its Pro Rata share (together with all Holders
                                  receiving Distributions of the Class A Trust Units) of the Class A
                                  Trust Units and (c) payment by the Debtor in Cash sufficient to
                                  satisfyof the Senior Note Trustee Expenses, to the extent not
                                  otherwise paid by the Debtor; [provided, that in lieu of the
                                  foregoing, Holders of Allowed General Unsecured Claims shall
                                  have the ability to elect to receive Cash in lieu of the foregoing
                                  distributions in an amount and on terms to be agreed to by the
                                  Debtor, the UCC and the Required Ad Hoc Senior Noteholder
                                  Parties (the “GUC Cash-Out”).]6 under the Plan.




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    The Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties intend for the terms and amount of
    the GUC Cash-Out to be agreed and disclosed prior to the hearing on approval of the Disclosure Statement.


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                  iv.          Voting: Claims in Class 3(a) are Impaired. Each Holder of an
                               Allowed Senior Note Claim is entitled to vote to accept or reject
                               the Plan.

              4.2.4     Class 3(b) – Other General Unsecured Claims

                       i.      Classification: Class 3(b) consists of all Other General Unsecured
                               Claims.

                      ii.      Treatment: Except to the extent that a Holder of an Allowed Other
                               General Unsecured Claim agrees to a less favorable treatment
                               (with the consent of the UCC and the Required Ad Hoc Senior
                               Noteholder Parties, not to be unreasonably withheld, conditioned
                               or delayed), in full and final satisfaction, settlement, release and
                               discharge of and in exchange for its Allowed Other General
                               Unsecured Claim, each Holder of an Allowed Other General
                               Unsecured Claim shall receive:

                                      (a) (i)(A) if and solely to the extent such Holder is a
                                      Qualified Holder, its Pro Rata share (together with all
                                      Holders receiving Distributions in NewCo Common Stock)
                                      of the NewCo Common Stock subject to dilution by any
                                      NewCo Transaction or (B) if and solely to the extent such
                                      Holder is a Non-Qualified Holder, Cash in an amount equal
                                      to the value of the NewCo Common Stock it would be
                                      entitled to receive if it were a Qualified Holder, and (ii) its
                                      Pro Rata share (together with all Holders receiving
                                      Distributions of the Class A Trust Units) of the Class A
                                      Trust Units; or

                                      (b) if such Holder elects on the applicable ballot, the GUC
                                      Cash-Out with respect to such Claim.

                  iii.         iv. Voting: Claims in Class 3(b) are Impaired. Each Holder of an
                               Allowed Other General Unsecured Claim is entitled to vote to
                               accept or reject the Plan.

              4.2.5     4.2.4 Class 4 – Subordinated Note Claims

                       i.      Classification: Class 4 consists of all Subordinated Note Claims.

                      ii.      Allowance: Subordinated Note Claims shall be Allowed in the
                               aggregate outstanding principal amount of $[104,492,871.02], plus
                               accrued and unpaid interest to and including the Petition Date at
                               the non-default contract rate.

                  iii.         Treatment: Except to the extent that a Holder of an Allowed
                               Subordinated Note Claim agrees to a less favorable treatment, in

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                               full and final satisfaction, settlement, release and discharge of and
                               in exchange for its Allowed Subordinated Note Claim, each Holder
                               of an Allowed Subordinated Note Claim shall receive its Pro Rata
                               share of (a) 100% of the Class B Trust Units in an aggregate
                               amount equal to such Holder’s Allowed Subordinated Note Claim
                               and (b) payment by the Debtor in Cash sufficient to satisfyof the
                               Subordinated Note Trustee Expenses, to the extent not otherwise
                               paid by the Debtor under the Plan.

                  iv.          Voting: Claims in Class 4 are Impaired. Each Holder of an
                               Allowed Subordinated Note Claim is entitled to vote to accept or
                               reject the Plan.

              4.2.6     4.2.5 Class 5 – Preferred Equity Interests

                       i.      Classification: Class 5 consists of all Preferred Equity Interests.

                      ii.      Allowance: Preferred Equity Interests shall be Allowed in an
                               amount equal to the Liquidation Preference per share, together
                               with an amount equal to all dividends (if any) that have been
                               declared but not paid prior to the date of distributions (but without
                               regard to any undeclared dividends).

                  iii.         Treatment: Except to the extent that a Holder of an Allowed
                               Preferred Equity Interest agrees to a less favorable treatment, in
                               full and final satisfaction, settlement, release and discharge of and
                               in exchange for its Allowed Preferred Equity Interest, each Holder
                               of an Allowed Preferred Equity Interest shall receive its Pro Rata
                               share of 100% of the Class C Trust Units.

                  iv.          Voting: Claims in Class 5 are Impaired. Each Holder of an
                               Allowed Preferred Equity Interest is entitled to vote to accept or
                               reject the Plan.

              4.2.7     4.2.6 Class 6 – Common Equity Interests

                       i.      Classification: Class 6 consists of all Common Equity Interests.

                      ii.      Treatment: No Holder of a Common Equity Interest shall receive
                               any Distributions on account of its Common Equity Interest. On
                               and after the Effective Date, all Common Equity Interests shall be
                               canceled, released, discharged, and extinguished and will be of no
                               further force or effect, and Holders of such Interests shall not
                               receive or retain any distribution, property, or other value on
                               account of such Interests.

                  iii.         Voting: Interests in Class 6 are Impaired. Each Holder of a
                               Common Equity Interest is conclusively deemed to have rejected

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                               the Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                               Holder of a Common Equity Interest is entitled to vote to accept or
                               reject the Plan.

              4.2.8     4.2.7 Class 7 – Section 510(b) Claims

                       i.      Classification: Class 7 consists of all Section 510(b) Claims.

                      ii.      Treatment: No Holder of a Section 510(b) Claim shall receive any
                               Distributions on account of its Section 510(b) Claim. On and after
                               the Effective Date, all Section 510(b) Claims shall be canceled,
                               released, discharged, and extinguished and will be of no further
                               force or effect, and Holders of Section 510(b) Claims shall not
                               receive or retain any distribution, property, or other value on
                               account of such Claims.

                  iii.         Voting: Claims in Class 7 are Impaired. Each Holder of a Section
                               510(b) Claim is conclusively deemed to have rejected the Plan
                               pursuant to section 1126(g) of the Bankruptcy Code. No Holder of
                               a Section 510(b) Claim is entitled to vote to accept or reject the
                               Plan.

              4.2.9     4.2.8 Class 8 – Intercompany Claims and Intercompany Interests

                       i.      Classification: Class 8 consists of all Intercompany Claims and
                               Intercompany Interests.

                      ii.      Treatment: On and after the Effective Date, each Intercompany
                               Claim and each Intercompany Interest shall be (a) canceled,
                               released, and discharged, (b) Reinstated, (c) converted to equity, or
                               (d) otherwise set off, settled, or distributed, in each case at the
                               option of the Debtor with the consent of the UCC and the Required
                               Ad Hoc Senior Noteholder Parties, not to be unreasonably
                               withheld, conditioned or delayed.

                  iii.         Voting: Claims and Interests in Class 8 are Impaired or
                               Unimpaired. Each Holder of an Intercompany Claim or an
                               Intercompany Interest is conclusively deemed to have accepted or
                               rejected the Plan pursuant to section 1126(f) or 1126(g) of the
                               Bankruptcy Code. No Holder of an Intercompany Claim or an
                               Intercompany Interest is entitled to vote to accept or reject the
                               Plan.




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5.     THE LIQUIDATING TRUST

       5.1     The Liquidating Trust Agreement

                On or before the Effective Date, the Liquidating Trust will be established
pursuant to the Liquidating Trust Agreement. The Liquidating Trust Agreement may provide
powers, duties, and authorities in addition to those explicitly stated herein, but only to the extent
that such powers, duties and authorities do not affect the status of the Liquidating Trust as a
“liquidating trust” for United States federal income tax purposes. Notwithstanding anything in
the Liquidating Trust Agreement to the contrary, the Liquidating Trust will be structured and
operate in a manner that does not require registration of the Liquidating Trust under the
Investment Company Act of 1940.

       5.2     Purpose of the Liquidating Trust

                The Liquidating Trust shall be established for the sole purpose of liquidating and
distributing the Liquidating Trust Assets, in accordance with Treasury Regulation section
301.7701-4(d), with no objective to continue or engage in the conduct of a trade or business,
except to the extent reasonably necessary to, and consistent with, the liquidating purpose of the
Liquidating Trust. The Liquidating Trust shall be deemed a successor-in-interest of the Debtor
to the maximum extent necessary for the Liquidating Trust to execute its purpose, and shall not
otherwise be deemed a successor-in-interest to the Debtor for any purpose other than as
specifically set forth in the Plan or in the Liquidating Trust Agreement.

       5.3     Liquidating Trust Assets

                On the Effective Date, the Liquidating Trust Assets shall be deemed irrevocably
transferred to the Liquidating Trust or entities to be formed by the Liquidating Trust, in each case
in accordance with the Restructuring Transactions Memorandum and without any further action
of NewCo, the Debtor or its subsidiaries or any of their respective managers, employees,
officers, directors, members, partners, shareholders, agents, advisors, or representatives. The
Liquidating Trust Assets shall vest in the Liquidating Trust, free and clear of all Liens, Claims,
charges, rights, or other encumbrances subject to and in accordance with the Plan and the
Liquidating Trust Agreement. For purposes of section 553 of the Bankruptcy Code, the transfer
of the Liquidating Trust Assets to the Liquidating Trust shall not affect the mutuality of
obligations that otherwise may have existed prior to the effectuation of such transfer. Such
transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar Tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the
Liquidating Trust Assets to the Liquidating Trust, the Debtor and its predecessors, successors
and assigns, and each other Entity released pursuant to Section 12.9 herein shall be discharged
and released from all liability with respect to the delivery of such distributions. Upon the
transfer of the Liquidating Trust Assets and pursuant to the Liquidating Trust Agreement, the
Debtor will have no reversionary or further interest in or with respect to the Liquidating Trust
Assets.

                After the Effective Date, the Liquidating Trust may, in its reasonable discretion,
contribute all or a portion of the Liquidating Trust Assets to an entity (i) wholly owned by the


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Liquidating Trust and (ii) treated as corporations for U.S. federal income tax purposes (each such
entity, a “Blocker Corporation”); provided that, the Liquidating Trust shall evaluate any such
transfer based on the relative tax costs and other tax consequences to the Liquidating Trust
Beneficiaries of contributing such assets as compared to if such assets were not contributed to a
Blocker Corporation.

               To the extent that any cash refunds of Taxes transferred by NewCo to the
Liquidating Trust is subsequently disallowed or required to be returned to the applicable Tax
Authority, the Liquidating Trust shall be liable for any amounts payable by NewCo to the
applicable Tax Authority as a result of such disallowance or requirement and shall promptly
repay, or cause to be repaid, the amount of such refund, together with any interest, penalties or
other additional amounts imposed by such Tax Authority, to NewCo.

       5.4     Administration of the Liquidating Trust

                The business and affairs of the Liquidating Trust shall be managed by or under
the direction of the Liquidating Trust Board. On the Effective Date, the Liquidating Trust Board
shall be appointed by the Required Ad Hoc Senior Noteholder Parties in a manner reasonably
acceptable to the UCC. Following the Effective Date, the appointment and removal of the
members of the Liquidating Trust Board shall be governed by the Liquidating Trust Agreement.

                 The Liquidating Trust shall have all the rights, powers and duties necessary to
carry out its responsibilities under this Plan and the Confirmation Order. For the avoidance of
doubt, these powers shall include, to the extent applicable, the power to assert, enforce, release,
or waive any privilege or any defense (including as to any privilege that the Debtor held prior to
the Effective Date). The Liquidating Trust shall be the exclusive representative of the Debtor’s
estate for the purposes of 31 U.S.C. § 3713(b) and section 1123(b)(3)(B) of the Bankruptcy Code
and receiver, trustee or assignee of all or substantially all the property or business pursuant to 26
U.S.C. § 6012(b)(3).

                 In furtherance of and consistent with the purpose of the Liquidating Trust and the
Plan, and subject to the terms of the Confirmation Order, the Plan and the Liquidating Trust
Agreement, the Liquidating Trust shall, among other things, have the following rights and
powers: (i) to hold, manage, convert to Cash, and distribute the Liquidating Trust Assets to
holders of Liquidating Trust Interests, including (x) prosecuting and resolving the claims and
Retained Causes of Action belonging to the Liquidating Trust and (y) reducing, from time to
time, the amount of Liquidating Trust Assets held in the Disputed Claims Reserves and returning
such amounts to the Liquidating Trust, provided, for the avoidance of doubt, that any investment
powers of the Liquidating Trust, other than those reasonably necessary to maintain the value of
the assets and to further the liquidating purpose of the trust, must be limited to powers to invest
in demand and time deposits, such as short-term certificates of deposit, in banks or other savings
institutions, or other temporary, liquid investments, such as Treasury bills, (ii) to sell, transfer,
lease, encumber, or otherwise dispose of the Liquidating Trust Assets, (iii) to investigate,
prosecute, settle and/or abandon rights, causes of action, or litigation of the Liquidating Trust,
including Avoidance Actions, (iv) to disburse funds in the Professional Fee Reserve, the
Liquidating Trust Disputed Claims Reserve, and the Liquidating Trust Disputed GUC Cash-Out
Claims Reserve in accordance with the Liquidating Trust Agreement, which shall be consistent


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with the Plan, (v) to distribute Liquidating Trust Interest from the Liquidating Trust Disputed
Interests Reserve in accordance with the Liquidating Trust Agreement, which shall be consistent
with the Plan, (vi) to distribute NewCo Common Stock from the NewCo Disputed Claims
Reserve in accordance with the Shared Services Agreement and the Liquidating Trust
Agreement, as applicable, which shall be consistent with the Plan, (vii) to file all Tax Returns
and tax and regulatory forms, returns, reports, and other documents required with respect to the
Liquidating Trust and any Disputed Claims Reserve, (viii) to object to Claims, and manage,
control, prosecute, and/or settle on behalf of the Liquidating Trust, objections to Claims on
account of which the Distribution Agent will be responsible (if Allowed) for making
distributions under the Plan, (ix) to take all actions necessary and create any document necessary
to implement the Plan, [(x) to act as a signatory to the Debtor for all purposes, including those
associated with the novation of contracts or other obligations arising out of the sales of the
Debtor’s assets, and (xi) to take all necessary actions and file all appropriate motions to obtain an
order closing the Chapter 11 Case.] Under no circumstance may any person on the Liquidating
Trust Board serve on the board of directors of any Affiliate of the Liquidating Trust.

       5.5     Substitution in Pending Legal Actions

                [On the Effective Date, the Liquidating Trust shall be deemed to be substituted as
the party to any pending litigation of a Retained Cause of Action in which the Debtor is a party
and shall be authorized, but not required, to file notices or other pleadings in such actions to
effectuate its substitution for the Debtor. Such substitution shall not result in holders of Claims,
including litigation Claims, against the Debtor receiving greater rights in or against the
Liquidating Trust than they are otherwise entitled to under the Plan and Liquidating Trust
Agreement on account of such Claims.]

       5.6     Distribution of Liquidating Trust Assets

                  i.   From time to time (but no less frequently than annually), the Liquidating
                       Trust shall distribute to the Liquidating Trust Beneficiaries on account of
                       their Liquidating Trust Interests in accordance with this Section 5.6 all
                       unrestricted Cash on hand; provided, that in no event shall the Liquidating
                       Trust be required to distribute amounts reasonably necessary to (A) meet
                       contingent liabilities and to maintain the value of the Liquidating Trust
                       Assets during liquidation, (B) pay reasonable incurred or anticipated
                       expenses (including, but not limited to, any Taxes imposed on or payable
                       by the Liquidating Trust or in respect of the Liquidating Trust Assets), or
                       (C) satisfy other liabilities incurred or anticipated by the Liquidating Trust
                       in accordance with the Plan or the Liquidating Trust Agreement.

                 ii.   The Liquidating Trust shall issue class A trust units (the “Class A Trust
                       Units”), class B trust units (the “Class B Trust Units”) and class C trust
                       units (the “Class C Trust Units”) to holders of Claims and Interests in
                       accordance with Sections 4.2 and 11.8.

                iii.   The Class A Trust Units shall be issued to Holders of Allowed General
                       Unsecured Claims (other than Holders of Allowed General Unsecured


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                            Claims that elect to participate inreceive the GUC Cash-Out) with an
                            initial distribution preference of $[•],711 which shall accrete at an annual
                            rate of 12%. The Class B Trust Units and the Class C Trust Units shall
                            receive no distributions until the distribution preference (including, for the
                            avoidance of doubt, any accretion thereto) of the Class A Trust Units has
                            been satisfied in full.

                    iv.     The Class B Trust Units shall be issued to Holders of Allowed
                            Subordinated Note Claims with an initial distribution preference to be
                            calculated at the face amount of the Allowed Subordinated Note Claims,
                            which Class B Trust Units shall accrete at an annual rate of 12%.

                     v.     The Class C Trust Units shall be issued to Holders of Allowed Preferred
                            Equity Interests and shall receive no distributions until the distribution
                            preference (including, for the avoidance of doubt, any accretion thereto) of
                            the Class B Trust Units has been satisfied in full.

                    vi.     After satisfaction of the Class A and Class B Units in full, the Class C
                            Trust Units shall be entitled to 100% of Liquidating Trust distributions.

          5.7      Costs and Expenses of the Liquidating Trust

                The individuals serving as or comprising the Liquidating Trust Board shall be
entitled to reasonable compensation in an amount consistent with that of similar functionaries in
similar roles and paid out of the Liquidating Trust Assets. The fees and expenses incurred by the
Liquidating Trust Board on or after the Effective Date and any reasonable compensation and
expense reimbursement claims (including attorney fees and expenses) made by the Liquidating
Trust Board in connection with such Liquidating Trust Board’s duties shall be paid without any
further notice to, or action, order, or approval of, the Bankruptcy Court in Cash from the
Liquidating Trust Assets. Fees and expenses incurred in connection with the prosecution and
settlement of any Claims shall be considered costs and expenses of the Liquidating Trust.

                The Debtor, NewCo, the Delaware Trustee and the Liquidating Trust Board, as
applicable, shall not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court. In the event that the Delaware
Trustee or the Liquidating Trust Board is so ordered after the Effective Date, all costs and
expenses of procuring any such bond or surety shall be paid for with Cash from the Liquidating
Trust Assets.



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      [NTD: To be calculated at the face amount (including accrued and unpaid interest on the Senior Notes as of the
      Petition Date) of theall Allowed General Unsecured Claims receiving Class A Trust Units,minus amount of the
      Allowed General Unsecured Claims satisfied by the GUC Cash-Out and minus the value of NewCo Common
      Stock distributed to Holders of Allowed General Unsecured Claimsdistributable to Classes 3(a) and 3(b) under
      the Plan (taking into the effect of any NewCo Transactions); provided that the determination of such value shall
      be acceptable to the Debtor, the UCC, and the Required Ad Hoc Senior Noteholder Parties and shall take into
      account any NewCo Transaction(s)Transactions to be consummated on or prior to the Effective Date.]


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       5.8     Retention of Professionals/Employees by the Liquidating Trust Board

               The Liquidating Trust Board may appoint officers or other representative agents
of the Liquidating Trust, including a Liquidating Trust manager and a secretary, to serve as
agents to the Liquidating Trust and carry out the purpose of the Liquidating Trust. The
Liquidating Trust Board shall have the right to hire employees and retain the services of
attorneys, accountants, and other professionals, subject to any limitations imposed by the
Liquidating Trust Board, that are necessary to assist the Liquidating Trust Board in the
performance of their duties without Bankruptcy Court approval. Without limiting the foregoing,
the Liquidating Trust Board may retain any professional that represented parties in interest in the
Chapter 11 Case.

       5.9     Liquidating Trust Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Claims Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan, in the same proportions and amounts as provided for in the Plan,
in the Liquidating Trust Disputed Claims Reserve in trust for the benefit of the Holders of
Disputed Administrative Expense Claims, Disputed Priority Tax Claims, Disputed Other Priority
Claims and, Disputed Other Secured Claims and Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust shall use reasonable effort to allocate sufficient property for
the Liquidating Trust Disputed Claims Reserves. The Liquidating Trust shall distribute such
amounts (net of any expenses, including any taxesTaxes relating thereto or otherwise payable by
the Liquidating Trust Disputed Claims Reserve), as provided herein, as such Claims are resolved
by a Final Order or agreed to by settlement, and such amounts will be distributable on account of
such Claims as such amounts would have been distributable had such Claims been Allowed
Claims as of the Effective Date. Amounts remaining in the Liquidating Trust Disputed Claims
Reserve, if any, after the resolution of all applicable Disputed Claims and the satisfaction of all
applicable Allowed Disputed Claims shall promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

       5.10    Liquidating Trust Disputed GUC Cash-Out Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall establish the
Liquidating Trust Disputed GUC Cash-Out Claims Reserve. On or after the Effective Date, the
Liquidating Trust shall place Cash in the Liquidating Trust Disputed GUC Cash-Out Claims
Reserve in trust for the benefit of the Holders of Disputed GUC Cash-Out Claims ultimately
determined to be Allowed after the Effective Date, in an amount, as reasonably determined by
the Liquidating Trust (and with the consent of the UCC and the Required Ad Hoc Senior
Noteholder Parties), sufficient to satisfy the GUC Cash-Out for such GUC Cash-Out Claims to
the extent such Claims are Allowed after the Effective Date. The Liquidating Trust shall
distribute such amounts (net of any expenses, including any Taxes relating thereto or otherwise
payable by the Liquidating Trust Disputed GUC Cash-Out Claims Reserve), as provided herein,
as such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will


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be distributable on account of such Claims as such amounts would have been distributable had
such Claims been Allowed Claims as of the Effective Date; provided that, to the extent the Cash
held in such Liquidating Trust Disputed GUC Cash-Out Claims Reserve is insufficient to fund
the GUC Cash-Out for any GUC Cash-Out Claim when Allowed, such GUC Cash-Out Claim
shall receive its Distribution in accordance with Section 4.2.4(ii)(a) hereof as though it had not
elected the GUC Cash-Out; provided further that Cash remaining in the Liquidating Trust
Disputed GUC Cash-Out Claims Reserve, if any, after the resolution of all applicable Disputed
GUC Cash-Out Claims and the satisfaction of all applicable Allowed Disputed GUC Cash-Out
Claims shall promptly be transferred to the Liquidating Trust, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity.

       5.11    5.10 Liquidating Trust Disputed Interests Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Interests Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan (other than NewCo Common Stock), in the same proportions and
amounts as provided for in the Plan, in the Liquidating Trust Disputed Interests Reserve in trust
for the benefit of the Holders of Disputed General Unsecured Claims (other than Disputed GUC
Cash-Out Claims), Disputed Subordinated Note Claims and Disputed Preferred Equity Interests
ultimately determined to be Allowed after the Effective Date; provided that the Liquidating Trust
shall use reasonable effort to allocate sufficient property for the Liquidating Trust Disputed
Interests Reserves. The Liquidating Trust shall distribute such amounts (net of any expenses,
including any taxesTaxes relating thereto or otherwise payable by the Liquidating Trust Disputed
Interests Reserve), as provided herein, as such Claims or Interests are resolved by a Final Order
or agreed to by settlement, and such amounts will be distributable on account of such Claims or
Interests as such amounts would have been distributable had such Claims or Interests been
Allowed Claims or Interests as of the Effective Date. Amounts remaining in the Liquidating
Trust Disputed Interests Reserve, if any, after the resolution of all applicable Disputed Claims or
Interests and the satisfaction of all applicable Allowed Disputed Claims and Interests, if any,
shall promptly be transferred to the Liquidating Trust, without any further notice to, action,
order, or approval of the Bankruptcy Court or by any other Entity.

       5.12    5.11 NewCo Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust shall be authorized, but not
directed, to establish one or more NewCo Disputed Claims Reserves, and such NewCo Disputed
Claims Reserves shall be deemed transferred to the Liquidating Trust or entities to be formed by
the Liquidating Trust, in each case in accordance with the Restructuring Transactions
Memorandum and without any further action of NewCo, the Debtor or its subsidiaries or any of
their respective managers, employees, officers, directors, members, partners, shareholders,
agents, advisors, or representatives. After the Effective Date, the Liquidating Trust may, in its
sole discretion, hold any NewCo Common Stock to be distributed pursuant to the Plan, in the
same proportions and amounts as provided for in the Plan, in the NewCo Disputed Claims
Reserve in trust for the benefit of the Holders of Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust shall use reasonable effort to allocate sufficient property for

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the NewCo Disputed Claims Reserves. The Liquidating Trust shall distribute such amounts (net
of any expenses, including any taxesTaxes relating thereto or otherwise payable by the NewCo
Disputed Claims Reserve), as provided herein, as such Claims are resolved by a Final Order or
agreed to by settlement, and such amounts will be distributable on account of such Claims as
such amounts would have been distributable had such Claims been Allowed Claims or Interest as
of the Effective Date. Amounts remaining in the NewCo Disputed Claims Reserve, if any, after
the resolution of all applicable Disputed Claims and the satisfaction of all applicable Allowed
Disputed Claims, if any, shall promptly be transferred to NewCo, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity.

       5.13    5.12 Federal Income Tax Treatment of the Liquidating Trust

               5.13.1 5.12.1 Liquidating Trust Assets Treated as Owned by Creditors

                 Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not
contested by suchthe Liquidating Trust Board), for all United States federal income tax purposes,
all parties (including the Debtor, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) shall treat the transfer of the Liquidating Trust Assets to the Liquidating Trust as
(i) a transfer of the Liquidating Trust Assets (subject to any obligations relating to those assets)
directly to the Liquidating Trust Beneficiaries (other than to the extent Liquidating Trust Assets
are allocable to Disputed Claims or Interests, which shall be treated as transferred to the
applicable Disputed Claims Reserve), followed by (ii) the transfer by such beneficiaries to the
Liquidating Trust of the Liquidating Trust Assets (other than to the extent Liquidating Trust
Assets are allocable to any Disputed Claims Reserve) in exchange for Liquidating Trust
Interests. Accordingly, the Liquidating Trust Beneficiaries shall be treated for United States
federal income tax purposes as the grantors and owners of their respective share of the
Liquidating Trust Assets (other than such Liquidating Trust Assets as are allocable to any
Disputed Claims Reserve, discussed below). The foregoing treatment shall also apply, to the
extent permitted by applicable law, for state and local income tax purposes.

               5.13.2 5.12.2 Tax Reporting

                 i.    The Liquidating Trust Board shall file Tax Returns for the Liquidating
                       Trust treating the Liquidating Trust as a grantor trust pursuant to Treasury
                       Regulation section 1.671-4(a) (excluding any Disputed Claims Reserve,
                       which shall be reported in accordance with Section 5.12.25.13.2.iv below)
                       and in accordance with this Section 5.125.13. The Liquidating Trust
                       Board also will annually send to each holder of a Liquidating Trust
                       Interest a separate statement regarding the receipts and expenditures of the
                       Liquidating Trust as relevant for U.S. federal income tax purposes and
                       will instruct all such holders to use such information in preparing their
                       U.S. federal income tax returnsTax Returns or to forward the appropriate
                       information to such holder’s underlying beneficial holders with
                       instructions to utilize such information in preparing their U.S. federal
                       income tax returnsTax Returns. The Liquidating Trust Board shall also
                       file (or cause to be filed) any other statement, return or disclosure relating


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                     to the Liquidating Trust or any Disputed Claims Reserve that is required
                     by any Governmental Unit.

               ii.   As soon as reasonably practicable after Liquidating Trust Assets are
                     transferred to the Liquidating Trust, the Liquidating Trust Board shall
                     make a good faith valuation of Liquidating Trust Assets, and shall make
                     all such values available from time to time, to the extent relevant, and
                     such values shall be used consistently by all parties to the Liquidating
                     Trust (including the Debtor, the Liquidating Trust Board and Liquidating
                     Trust Beneficiaries) for all United States federal income tax purposes.

              iii.   Allocations of Liquidating Trust taxable income among the Liquidating
                     Trust Beneficiaries (other than to the extent such taxable income is
                     allocable to any Disputed Claims Reserve) shall be determined by
                     reference to the manner in which an amount of cash representing such
                     taxable income would be distributed (were such cash permitted to be
                     distributed at such time) if, immediately prior to such deemed distribution,
                     the Liquidating Trust had distributed all its assets (valued at their tax book
                     value, other than assets allocable to any Disputed Claims Reserve) to the
                     holders of the Liquidating Trust Interests, adjusted for prior taxable
                     income and loss and taking into account all prior and concurrent
                     distributions from the Liquidating Trust. Similarly, taxable loss of the
                     Liquidating Trust shall be allocated by reference to the manner in which
                     an economic loss would be borne immediately after a hypothetical
                     liquidating distribution of the remaining Liquidating Trust Assets (other
                     than the assets allocable to any Disputed Claims Reserve). The tax book
                     value of the Liquidating Trust Assets for purpose of this paragraph shall
                     equal their fair market value on the Effective Date, adjusted in accordance
                     with tax accounting principles prescribed by the IRC, the applicable
                     Treasury Regulations, and other applicable administrative and judicial
                     authorities and pronouncements.

              iv.    Subject to definitive guidance from the IRS or a court of competent
                     jurisdiction to the contrary (including the receipt by the Liquidating Trust
                     Board of a private letter ruling if the Liquidating Trust Board so requests
                     one, or the receipt of an adverse determination by the IRS upon audit if not
                     contested by the Liquidating Trust Board), the Liquidating Trust Board
                     shall (A) timely elect to treat any Disputed Claims Reserve as a “disputed
                     ownership fund” governed by Treasury Regulation section 1.468B-9, and
                     (B) to the extent permitted by applicable law, report consistently with the
                     foregoing for state and local income tax purposes. All parties (including
                     the Liquidating Trust Board, the Debtor, and the Liquidating Trust
                     Beneficiaries) shall report for United States federal, state and local income
                     tax purposes consistently with the foregoing.

               v.    The Liquidating Trust Board shall be responsible for payment, out of the
                     Liquidating Trust Assets, of any Taxes imposed on the trust or its assets,

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                      including any Disputed Claims Reserve; provided that, any Disputed
                      Claims Reserve shall bear all Taxes allocable to such Disputed Claims
                      Reserve. In the event, and to the extent, any Cash retained on account of
                      Disputed Claims or Interests in any Disputed Claims Reserve is
                      insufficient to pay the portion of any such Taxes attributable to the taxable
                      income arising from the assets allocable to, or retained on account of,
                      Disputed Claims or Interests (including any income that may arise upon
                      the distribution of the assets of any Disputed Claims Reserve), such Taxes
                      may be (i) reimbursed from any subsequent Cash amounts retained on
                      account of such Disputed Claims or Interests, (ii) paid with the proceeds
                      from a sale of the assets of the applicable Disputed Claims Reserve or
                      (iii) to the extent such Disputed Claims or Interests have subsequently
                      been resolved, deducted from any amounts otherwise distributable by the
                      Liquidating Trust Board as a result of the resolution of such Disputed
                      Claims or Interests.

                vi.   The Liquidating Trust Board may request an expedited determination of
                      Taxes of the Liquidating Trust, any Disputed Claims Reserve, or the
                      Debtor under section 505(b) of the Bankruptcy Code for all Tax Returns
                      filed for, or on behalf of, the Liquidating Trust for all taxable periods
                      through the dissolution of the Liquidating Trust.

               5.13.3 5.12.3 Tax Withholdings by Liquidating Trust Board

                 The Liquidating Trust Board may withhold and pay to the appropriate Tax
Authority all amounts required to be withheld pursuant to the IRC or any provision of any
foreign, state or local tax law with respect to any payment or distribution to the holders of
Liquidating Trust Interests. All such amounts withheld and paid to the appropriate Tax
Authority (or placed in escrow pending resolution of the need to withhold) shall be treated as
amounts distributed to such holders of Liquidating Trust Interests for all purposes of the
Liquidating Trust Agreement; provided that any amount placed in escrow pending resolution of
the need to withhold that is deemed to exceed the amount required to be withheld shall be
distributed to the applicable holders of Liquidating Trust Interests as soon as reasonably
practicable following the determination of the withholding requirement. The Liquidating Trust
Board shall be authorized to collect such tax information from the holders of Liquidating Trust
Interests (including social security numbers or other tax identification numbers) as in its sole
discretion the Liquidating Trust Board deems necessary to effectuate the Plan, the Confirmation
Order, and the Liquidating Trust Agreement. In order to receive distributions under the Plan, all
holders of Liquidating Trust Interests (including holders of Allowed Senior Note Claims,
Allowed Other General Unsecured Claims, Allowed Subordinated Note Claims and Allowed
Preferred Equity Interests, who, in each case, deliver a release in accordance with the provisions
of Section 12.9 of the Planhereof) shall be required to identify themselves to the Liquidating
Trust Board and provide tax information and the specifics of their holdings, to the extent the
Liquidating Trust Board deems appropriate in the manner and in accordance with the procedures
from time to time established by the Liquidating Trust Board for these purposes. This
identification requirement generally applies to all holders, including those who hold their
securities in street name. The Liquidating Trust Board may refuse to make a distribution to any

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holder of a Liquidating Trust Interest that fails to furnish such information in a timely fashion,
and until such information is delivered, and may treat such holder’s Liquidating Trust Interests
as disputed; provided, however, that, if such information is not furnished to the Liquidating Trust
Board within six (6) months of the original request to furnish such information, no further
distributions shall be made to the holder of such Liquidating Trust Interest; and, provided,
further, that, upon the delivery of such information by a holder of a Liquidating Trust Interest,
the Liquidating Trust Board shall make such distribution to which the holder of the Liquidating
Trust Interest is entitled, without additional interest occasioned by such holder’s delay in
providing tax information; and, provided, further, that if the Liquidating Trust Board fails to
withhold in respect of amounts received or distributable with respect to any such holder and the
Liquidating Trust Board is later held liable for the amount of such withholding, such holder shall
reimburse the Liquidating Trust Board for such liability (to the extent such amounts were
actually distributed to such holder).

               5.13.4 5.12.4 Dissolution

                 The Liquidating Trust Board and the Liquidating Trust shall be discharged or
dissolved, as the case may be, upon the earlier to occur of (i) all of the Liquidating Trust Assets
have been distributed pursuant to the Plan and the Liquidating Trust Agreement, (ii) the
Liquidating Trust Board determines that the administration of any remaining Liquidating Trust
Assets is not likely to yield sufficient additional Liquidating Trust proceeds to justify further
pursuit, and (iii) all objections to Disputed Claims and Interests have been resolved and (iv) all
distributions required to be made by the Liquidating Trust Board under the Plan and the
Liquidating Trust Agreement have been made; provided, however, in no event shall the
Liquidating Trust be dissolved later than five (5) years from the Effective Date unless the
Bankruptcy Court, upon motion within the six-month period prior to the fifth (5th) anniversary
(or within the six-month period prior to the end of an extension period), determines that a fixed
period extension (not to exceed three (3) years, together with any prior extensions, without a
favorable private letter ruling from the IRS or an opinion of counsel satisfactory to the
Liquidating Trust Board that any further extension would not adversely affect the status of the
trust as a liquidating trust for United States federal income tax purposes) is necessary to facilitate
or complete the recovery and liquidation of the Liquidating Trust Assets. If at any time the
Liquidating Trust Board determines, in reliance upon such professionals as the Liquidating Trust
Board may retain, that the expense of administering the Liquidating Trust (and any Disputed
Claims Reserve) so as to make a final distribution to its beneficiaries is likely to exceed the value
of the assets remaining in the Liquidating Trust, the Liquidating Trust Board may apply to the
Bankruptcy Court for authority to (a) reserve any amount necessary to dissolve the Liquidating
Trust (and any Disputed Claims Reserve), (b) donate any balance to a charitable organization
(A) described in section 501(c)(3) of the IRC, (B) exempt from United States federal income tax
under section 501(a) of the IRC, (C) not a “private foundation”, as defined in section 509(a) of
the IRC, and (D) that is unrelated to the Debtor, NewCo, the Liquidating Trust and any insider of
the foregoing and (c) dissolve the Liquidating Trust (and any Disputed Claims Reserve).

       5.14    5.13 Indemnification of Liquidating Trust Board

              The Liquidating Trust Agreement shall provide for the indemnification of the
Liquidating Trust Board, the individual(s) comprising the Liquidating Trust Board, the Delaware

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Trustee and certain other individuals as may be set forth therein. Any indemnification claim of
the Liquidating Trust Board (and the other parties entitled to indemnification under this
subsection) shall be satisfied solely from the Liquidating Trust Assets. The Liquidating Trust
may obtain, at the expense of the Liquidating Trust and with funds from the Liquidating Trust
Assets, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Liquidating Trust Board or any employees of the Liquidating
Trust.

       5.15    5.14 Exculpation Relating to the Liquidating Trust

               No Holder of a Claim or Interest or any other party in interest will have, or
otherwise pursue, any claim or Cause of Action against the Liquidating Trust Board, the
Liquidating Trust, or the consultants or professionals thereof (for each of the foregoing, solely in
the performance of their duties) for making payments and distributions in accordance with the
Plan and the Liquidating Trust Agreement or for fulfilling any functions incidental to
implementing the provisions of the Plan or the Liquidating Trust Agreement, except for any acts
or omissions that are the result of fraud, gross negligence or willful misconduct.

       5.16    5.15 Abandonment of Liquidating Trust Assets

              Subject to the Liquidating Trust Agreement, after the Effective Date, the
Liquidating Trust Board may abandon any Liquidating Trust Assets which the Liquidating Trust
Board determines in its reasonable discretion to be of de minimis value or burdensome to the
Liquidating Trust.




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6.     ACCEPTANCE OR REJECTION OF THE PLAN

       6.1     Voting of Claims or Interests

                Each Holder of a Claim or Interest in an Impaired Class that is entitled to vote on
the Plan as of the Voting Record Date pursuant to Section 3 of the Plan4 hereof shall be entitled
to vote to accept or reject the Plan.

       6.2     Acceptance by Impaired Classes

                Pursuant to sections 1126(c) and (d) of the Bankruptcy Code, and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (i) an Impaired Class of Claims
shall have accepted the Plan if the Holders of at least two-thirds in dollar amount and more than
one-half in number of the Claims of such Class entitled to vote that actually vote on the Plan
have voted to accept the Plan and (ii) an Impaired Class of Interests shall have accepted the Plan
if the Holders of at least two-thirds in dollar amount of such Class entitled to vote that actually
vote on the Plan have voted to accept the Plan.

                Other Secured Claims (Class 1) and Other Priority Claims (Class 2) are
Unimpaired and presumed to accept the Plan, and the votes of Holders of Claims in such Classes
will not be solicited. Senior Note Claims and(Class 3(a)), Other General Unsecured Claims
(Class 3(b)), Subordinated Note Claims (Class 4) and Preferred Equity Interests (Class 5) are
Impaired, and the votes of Holders of Claims or Interests, as applicable, in such Classes will be
solicited. Common Equity Interests (Class 6) and Section 510(b) Claims (Class 7) are Impaired
and deemed to reject the Plan, and the votes of Holders of Claims or Interests in such Classes
will not be solicited. Intercompany Claims and Intercompany Interests (Class 8) are either
Impaired and presumed to accept the Plan or Unimpaired and deemed to reject the Plan, and the
votes of Holders of Claims or Interests in such Classes will not be solicited.

                 If Holders of Claims or Interests in a particular Impaired Class of Claims or
Interests were given the opportunity to vote to accept or reject the Plan, but no Holders of Claims
or Interests in such Impaired Class voted to accept or reject the Plan, then such Class shall be
deemed to have accepted the Plan.

       6.3     Elimination of Vacant Classes

                Any Class of Claims or Interests that does not have a Holder of an Allowed Claim
or Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court solely
for voting purposes as of the date of the Confirmation Hearing shall be deemed eliminated from
the Plan solely for purposes of (i) voting to accept or reject the Plan and (ii) determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
Bankruptcy Code.

       6.4     Special Provisions Regarding Unimpaired Claims

               Except as otherwise specifically provided in the Plan, nothing herein shall be
deemed to affect, diminish, or impair the Debtor’s, the Liquidating Trust’s or NewCo’s rights
and defenses, both legal and equitable, with respect to any Reinstated Claim or Unimpaired

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Claim, including legal and equitable defenses to setoffs or recoupment against Reinstated Claims
or Unimpaired Claims; and, except as otherwise specifically provided in the Plan, nothing herein
shall be deemed to be a waiver or relinquishment of any claim, Cause of Action, right of setoff,
or other legal or equitable defense which the Debtor now has or had immediately prior to the
Petition Date, against or with respect to any Claim that is Unimpaired by the Plan. Except as
otherwise specifically provided in the Plan, the Liquidating Trust shall have, retain, reserve, and
be entitled to assert all such claims, Causes of Action, rights of setoff, and other legal or
equitable defenses which the Debtor now has or had immediately prior to the Petition Date as if
the Chapter 11 Case had not been commenced, and all of the Liquidating Trust’s legal and
equitable rights with respect to any Reinstated Claim or Claim that is Unimpaired by this Plan
may be asserted after the Confirmation Date and the Effective Date to the same extent as if the
Chapter 11 Case had not been commenced. Unless Allowed, Claims that are Unimpaired shall
remain as Disputed Claims under this Plan.

       6.5     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

                If there is one or more rejecting Class of Claims or Interests, the Debtor shall seek
Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any such
rejecting Class or Classes. Subject to Sections 14 and 16.4 of the Planhereof, the Debtor
reserves the right to amend the Plan to the extent that Confirmation pursuant to section 1129(b)
of the Bankruptcy Code requires modification, including by modifying the treatment applicable
to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the
extent permitted by the Bankruptcy Code and the Bankruptcy Rules.




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7.     IMPLEMENTATION OF THE PLAN

       7.1     Operations Between the Confirmation Date and Effective Date

                During the period from the Confirmation Date through and until the Effective
Date the Debtor may continue to operate its businesses as debtor-in-possession in the ordinary
course in a manner consistent with past practice in all material respects, and as otherwise
necessary to consummate the Plan, subject to the terms and conditions of the Restructuring
Support Agreement and all applicable orders of the Bankruptcy Court and the consent rights set
forth in the Restructuring Support Agreement, this Plan and any other Definitive Documents.

       7.2     Sources of Cash for Plan Distributions

                Cash payments or cash distributions to be made hereunder on the Effective Date
shall be funded from the existing Cash of the Debtor and the Cash proceeds of a NewCo
Transaction, if anyas applicable.

       7.3     NewCo Transaction

                If at any time prior to the Effective Date, the Debtor determines in good faith and
consistent with its fiduciary duties (and with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties) that a sale, private placement or rights offering of some or all of the
assets or equity of NewCo to one or more third parties, including through a Plan Sponsor
Transaction, pursuant to sections 1129 and 363 of the Bankruptcy Code (any such transaction, a
“NewCo Transaction”), will maximize the value of NewCo and is in the best interests of the
Estate, such NewCo Transaction shall be consummated pursuant to the Plan subject to approval
by the Bankruptcy Court pursuant to the Confirmation Order or another order of the Bankruptcy
Court; provided that the Debtor may only enter into a NewCo Transaction that results in the
Debtor receiving proceeds from such NewCo Transaction with a value no less than the value
attributed by the Plan to the NewCo equity or assets that are subject to such NewCo Transaction.

                The Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC shall
continue to work together in good faith to evaluate opportunities to maximize the value of all or
some of the assets or equity of NewCo, including through a rights offering, marketing process,
private placement, or otherwise (any such transaction, a “NewCo Transaction”). The terms of
any such NewCo Transaction shall be acceptable to each of the Debtor, the Required Ad Hoc
Senior Noteholder Parties and the UCC. Following Confirmation, without further order or
approval of the Bankruptcy Court and subject to any applicable consent rights set forth in the
Restructuring Support Agreement, the Debtor may in good faith make modifications to the Plan
to maximize the value of all or some of the assets or equity of NewCo in connection with a
NewCo Transaction (if any); provided that such modifications do not materially and adversely
affect the treatment of Holders of Claims or Interests and are otherwise permitted under
section 1127(b) of the Bankruptcy Code.




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       7.4     Exemption from Registration

               The Debtor believes that, subject to certain exceptions described below, various
provisions of the Securities Act, the Bankruptcy Code and applicable state securities laws (“Blue
Sky Laws”) exempt from federal and state securities registration requirements (i) the offering,
issuance, exchange, distribution or sale of securities pursuant to the Definitive Documents and
(ii) subsequent transfers of such securities.

                The Liquidating Trust Interests to be distributed to the Liquidating Trust
Beneficiaries pursuant to this Plan shall be transferrable as set forth in the Liquidating Trust
Agreement. The Liquidating Trust Interests shall not be listed on any national exchange and
shall have the consent and voting rights provided in the Liquidating Trust Agreement. The
Liquidating Trust and the Liquidating Trust Board shall not take any steps to facilitate the
development of a trading market in the Liquidating Trust Interests.

               Section 1145

              Except with respect to any Person that is an underwriter as defined in
section 1145(b) of the Bankruptcy Code, the issuance of the Liquidating Trust Interests to
Liquidating Trust Beneficiaries under the Plan (to the extent the Liquidating Trust Interests are
considered “securities” under applicable law) and the issuance of NewCo Common Stock to
Holders of Allowed General Unsecured Claims under the Plan shall be exempt from registration
under Section 5 of the Securities Act (and any applicable Blue Sky Laws) under
section 1145(a)(1) of the Bankruptcy Code.

                 Section 1145(a)(1) of the Bankruptcy Code exempts the issuance, offer, sale, and
distribution of securities under a plan of reorganization from registration under section 5 of the
Securities Act and state or local securities laws if the following three principal requirements are
satisfied: (a) the securities must be offered and sold under a plan of reorganization and must be
securities of the debtor, of an affiliate participating in a joint plan with the debtor, or of a
successor to the debtor under the plan; (b) the recipients of the securities must hold prepetition or
administrative expense claims against the debtor or interests in the debtor; and (c) the securities
must be issued entirely in exchange for the recipient’s claim against or interest in the debtor, or
principally in exchange for such claim or interest and partly for cash or property.

                The issuance and distribution of the NewCo Common Stock (and, to the extent
deemed securities under applicable law, the Liquidating Trust Interests) satisfies the
requirements of section 1145 of the Bankruptcy Code and, therefore, such issuance and
distribution are exempt from registration under the Securities Act and any state or local law
requiring registration. To the extent any “offer or sale” of NewCo Common Stock may be
deemed to have occurred, such offer or sale is made under the Plan and in exchange for Claims
against the Debtor, or principally in exchange for such Claims and partly for cash or property,
within the meaning of section 1145(a)(1) of the Bankruptcy Code. The availability of the
exemptions under section 1145 of the Bankruptcy Code or any other applicable securities laws
shall not be a condition to occurrence of the Effective Date of the Plan. To the extent
section 1145 of the Bankruptcy Code is applicable, the securities to be issued under the Plan
(a) are not “restricted securities” as defined in Rule 144(a)(3) under the Securities Act, and (b) in


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general are freely tradable and transferable by any initial recipient thereof that (i) is not an
“affiliate” of the Debtor as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been
such an “affiliate” within 90 days of such transfer, and (iii) is not an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code relating to the definition of
an underwriter in section 2(a)(11) of the Securities Act. In addition, securities governed by
section 1145 of the Bankruptcy Code generally may be able to be resold without registration
under applicable Blue Sky Laws pursuant to various exemptions provided by the respective Blue
Sky Laws of the various states; however, the availability of such exemptions cannot be known
unless individual states’ Blue Sky Laws are examined, and recipients of securities are advised to
consult with their own legal advisors as to the availability of any such exemption from
registration in any given instance. Notwithstanding the foregoing, any securities or instruments
issued under the Plan in reliance on section 1145(a) of the Bankruptcy Code remain subject to:
(x) compliance with any rules and regulations of the SEC, if any, applicable at the time of any
future transfer of such securities or instruments; (y) the restrictions, if any, in the applicable
NewCo Organizational Documents and the Liquidating Trust Agreement, as applicable, on the
transferability of such securities and instruments and (z) any other applicable regulatory
approval.

               [Section 4(a)(2)

                To the extent securities are issued pursuant to the Plan or the other Definitive
Documents in reliance on section 4(a)(2) of the Securities Act (“Section 4(a)(2)”), the offering,
issuance, exchange, or distribution of such securities pursuant to the Plan or the other Definitive
Documents shall be conducted in a manner that is exempt from, among other things, the
registration requirements of section 5 of the Securities Act. Section 4(a)(2) exempts from
section 5’s registration requirements transactions not involving a public offering, and Regulation
D under the Securities Act (“Regulation D”) provides a safe harbor under Section 4(a)(2) for
transactions that meet certain requirements, including that the investors participating therein
qualify as “accredited investors” within the meaning of Rule 501 under Regulation D
(“Accredited Investors”). Such offering, issuance, exchange or distribution shall be structured to
be available only to Holders who certify that they are Accredited Investors and who submit
documentation allowing verification of their status as Accredited Investors. Any such securities
shall be “restricted securities” as defined in Rule 144(a)(3) under the Securities Act and shall
only be transferable if registered under the Securities Act or if transferred pursuant to an
exemption from the registration requirements of the Securities Act and other applicable
securities laws.]

               DTC

                Should [NewCo] elect on or after the Effective Date to reflect any ownership of
the NewCo Common Stock through the facilities of DTC, NewCo need not provide any further
evidence other than the Plan or the Confirmation Order with respect to the treatment of transfers,
exercise, removal of restrictions, or conversion of NewCo Common Stock under applicable U.S.
federal, state or local securities laws.

              DTC shall be required to accept and conclusively rely upon the Plan and
Confirmation Order in lieu of a legal opinion regarding whether the NewCo Common Stock is


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exempt from registration and/or eligible for DTC book-entry delivery, settlement and depository
services.

               Notwithstanding anything to the contrary in the Plan, no Entity (including, for the
avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the NewCo Common
Stock is exempt from registration and/or eligible for DTC book-entry delivery, settlement and
depository services.

        7.5 NewCo Debt

                 On the Effective Date, unless otherwise agreed by the Required Ad Hoc Senior
Noteholder Parties in connection with a NewCo Transaction, NewCo or a subsidiary thereof
shall issue debt (the “NewCo Debt”) to the Liquidating Trust in an aggregate principal amount
equal to $[•].8Without limiting the foregoing, the issuer of NewCo Debt shall pay, as and when
due, all fees, expenses, losses, damages, indemnities and other amounts provided under the
NewCo Debt Documents. The principal terms of the NewCo Debt shall be set forth in the Plan
Supplement.

                Confirmation of the Plan shall be deemed (a) approval of the NewCo Debt and all
transactions contemplated hereby and thereby, and all actions to be taken, undertakings to be
made, and obligations to be incurred by the issuer of NewCo Debt in connection therewith,
including the payment of all fees, expenses, losses, damages, indemnities and other amounts
provided for by the NewCo Debt Documents and the granting of liens or provision of guarantees
by the issuer of NewCo Debt or any of its subsidiaries to secure the NewCo Debt and
(b) authorization for the issuer of NewCo Debt and the Liquidating Trust to enter into and
perform under the NewCo Debt Documents. The NewCo Debt Documents shall constitute legal,
valid, binding and authorized obligations of the issuer of NewCo Debt, enforceable in
accordance with their terms. The financial accommodations to be extended pursuant to the
NewCo Debt Documents are being extended, and shall be deemed to have been extended, in
good faith, for legitimate business purposes, are reasonable, shall not be subject to avoidance,
recharacterization or subordination (including equitable subordination) for any purposes
whatsoever, and shall not constitute preferential transfers, fraudulent conveyances or other
voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law.

        7.5      7.6 NewCo Common Stock

                [On the Effective Date, NewCo shall issue 100% of the NewCo Common Stock
to Holders of Allowed General Unsecured Claims and the NewCo Disputed Claims Reserve,
subject to dilution by any NewCo Transaction.

               All of the NewCo Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable. Each distribution and issuance of

8
    [NTD: Aggregate principal amount to be agreed by the Debtor, the UCC, and the Required Ad Hoc Senior
    Noteholder Parties reflecting 70-80% of the total enterprise value of NewCo, or a lesser amount agreed by the
    Debtor, the UCC, and the Required Ad Hoc Senior Noteholder Parties.]


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NewCo Common Stock under the Plan shall be governed by the terms and conditions set forth in
the Plan applicable to such distribution or issuance and by the terms and conditions of the
NewCo Organizational Documents and other instruments evidencing or relating to such
distribution or issuance, as applicable, which terms and conditions shall bind each Entity
receiving such distribution or issuance. For the avoidance of doubt, the acceptance of NewCo
Common Stock by any Holder of any Claim or Interest shall be deemed as such Holder’s
agreement to the NewCo Organizational Documents, as may be amended or modified from time
to time following the Effective Date in accordance with their terms.

                To the extent practicable, as determined in good faith by the Debtor and the
Required Ad Hoc Senior Noteholder Parties, [NewCo] shall: (a) emerge from this Chapter 11
Case as a non-publicly reporting company on the Effective Date and not be subject to SEC
reporting requirements under Sections 12 or 15 of the Exchange Act, or otherwise; (b) not be
voluntarily subjected to any reporting requirements promulgated by the SEC; except, in each
case, as otherwise may be required pursuant to the applicable organizational documents or
applicable law; (c) not be required to list the NewCo Common Stock on a U.S. stock exchange;
(d) timely file or otherwise provide all required filings and documentation to allow for the
termination and/or suspension of registration with respect to SEC reporting requirements under
the Exchange Act prior to the Effective Date; and, (e) to the extent requested by the Required
Ad Hoc Senior Noteholder Parties, make good faith efforts to ensure DTC eligibility of securities
issued by NewCo in connection with the Plan (other than any securities required by the terms of
any agreement to be held on the books of an agent and not in DTC).]

               7.5.1   NewCo Common Stock Cash-Out

                 Certain Holders of Senior Note Claims and Other General Unsecured Claims that
are Non-Qualified Holders shall be entitled to receive, in lieu of NewCo Common Stock, Cash
Distributions in an amount equal to the value of the NewCo Common Stock such Holders would
be entitled to if such Holder were a Qualified Holder; provided that any such Non-Qualified
Holder must provide a certification of its status as a Non-Qualified Holder in order to receive any
such Distribution.

               7.5.2   NewCo Common Stock Cash-Out Certification

                Prior to the Distribution to any Holder of a Senior Note Claim or Other General
Unsecured Claim of, as applicable, (a) NewCo Common Stock or (b) Cash (not including any
Cash Distribution in connection with the GUC Cash-Out) in an amount equal to the value of the
NewCo Common Stock it would be entitled to if it were a Qualified Holder (such Distributions
described in the preceding clause (a) or (b), as applicable, a “NewCo Distribution”), such Holder
shall be required to deliver to the Distribution Agent, [within 60 days] following the Distribution
Agent’s request (or such longer period as the Distribution Agent may determine in its reasonable
discretion (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not
to be unreasonably withheld, conditioned or delayed)), a certification that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder (such request, the “Qualified Holder
Certification Request”). If a Holder entitled to receive a NewCo Distribution fails to provide
such certification [within 60 days] of receiving the Qualified Holder Certification Request, such
Holder’s NewCo Distribution shall be deemed to be an Unclaimed Distribution and such

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Holder’s Claim may be canceled, discharged and forever barred in accordance with Section 10.5
hereof, notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
property laws to the contrary.

               To the extent that, during the six (6) month period following the designation of
any NewCo Distribution as an Unclaimed Distribution, the Holder entitled to receive such
NewCo Distribution provides a certification to the Distribution Agent that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder, such Holder may thereafter receive its
distribution pursuant to the terms of the Plan.

           7.6      7.7 Deemed Holders of Subordinated Note Claims

               The BP Trust I Declaration of Trust provides that BP Trust I will automatically
terminate upon the bankruptcy of SVBFG, as successor by merger to BPFH.912 Upon such
termination of BP Trust I, the terms of the BP Trust I Preferred Securities require the
administrative trustee of the trust to distribute to holders of the BP Trust I Preferred Securities
the BP Trust I Junior Subordinated Debentures having a principal amount equal to the
liquidation amount per security plus accumulated and unpaid distributions thereon to the date of
payment, after satisfaction of liabilities to creditors of BP Trust I as provided by applicable
law.1013 For purposes of this Plan, holders of the BP Trust I Preferred Securities shall be deemed
to hold the BP Trust I Junior Subordinated Debentures and thus such holders shall be deemed to
hold the BP Trust I Claims.

                 The BP Trust II Declaration of Trust provides that BP Trust II will dissolve upon
the bankruptcy of SVBFG, as successor by merger to BPFH.1114 Upon such dissolution of BP
Trust II, the terms of the BP Trust II Capital Securities require the institutional trustee of the trust
to distribute to holders of the BP Trust II Capital Securities the BP Trust II Junior Subordinated
Debentures on a pro rata basis, after satisfaction of liabilities to creditors of BP Trust II as
provided by applicable law.1215 For purposes of this Plan, holders of the BP Trust II Capital
Securities shall be deemed to hold the BP Trust II Junior Subordinated Debentures and thus such
holders shall be deemed to hold the BP Trust II Claims.

           7.7      7.8 Organizational Existence

                 Except as otherwise provided in the Plan and the Restructuring Transactions
Memorandum, the Debtor shall, as a subsidiary of NewCo, or as NewCo, as applicable, continue
to exist after the Effective Date as a separate legal Entity, with all the powers of a corporation or
other form of organization, as applicable, under the laws of its jurisdiction of organization and
without prejudice to any right to alter or terminate such existence (whether by merger or
otherwise) under the law of the applicable state or other jurisdiction.


912
       See Section 8.1(a)(i) of the BP Trust I Declaration of Trust.
1013
       See Annex I, Section 3 of the BP Trust I Declaration of Trust.
1114
       See Section 7.1(a)(ii) of the BP Trust II Declaration of Trust.
1215
       See Annex I, Section 3 of the BP Trust II Declaration of Trust.


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       7.8     7.9 Cancellation of Existing Interests, Existing Indebtedness and Related
               Agreements

                On the Effective Date, except as otherwise specifically provided for in this Plan,
all rights of any Holder of Interests in the Debtor, including options or warrants to purchase
Interests, or obligating the Debtor to issue, transfer or sell Interests of the Debtor, shall be
canceled.

                Upon the indefeasible payment in full in Cash of all Allowed Other Secured
Claims, or promptly thereafter, Holders of such Allowed Claims shall deliver to the Debtor or,
after the Effective Date, the Liquidating Trust, any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Claim that may
reasonably be required in order to terminate any related financing statements, mortgages,
mechanic’s liens, or lis pendens, and take any and all other steps reasonably requested by the
Debtor or, after the Effective Date, the Liquidating Trust, that are necessary to cancel and/or
extinguish any Liens or security interests securing such Holder’s Claim; provided, however, that
the Debtor or the Liquidating Trust, as applicable, shall be solely responsible for all costs and
expenses associated with any of the foregoing actions or requests.

                 On the Effective Date, except as otherwise provided in the Plan, the obligations of
the Debtor under the respective Indentures, and any certificate, share, bond, purchase right,
option, warrant, or other instrument or document, directly or indirectly, evidencing or creating
any indebtedness or obligation of the Debtor giving rise to any Claim or Interest shall be
canceled, without any need for a Holder to take further action with respect thereto, and the
Debtor and the Liquidating Trust shall not have any continuing obligations thereunder; provided,
that notwithstanding Confirmation or the occurrence of the Effective Date, any such agreement
that governs the rights of the Holder of an Allowed Claim or Interest shall continue in effect
solely for (i) purposes of enabling such Holder to receive distributions under the Plan on account
of such Allowed Claim or Interest as provided herein; and (ii) permit the Indenture Trustees to
make or assist in making, as applicable, distributions pursuant to the Plan and deduct therefrom
such reasonable compensation, fees and expenses (a) due to the Indenture Trustees, or
(b) incurred by the Indenture Trustees in making such distributions. Except as provided in the
Plan, on the Effective Date, the Indenture Trustees and their respective agents, successors and
assigns shall be automatically and fully discharged of their duties and obligations associated with
the respective Indentures. The commitments and obligations of the Holders of the Senior Note
Claims and Subordinated Note Claims to extend any further or future credit or financial
accommodations to the Debtor, its subsidiaries or assigns under the Indentures, respectively,
shall fully terminate and be of no further force or effect on the Effective Date.

       7.9     7.10 Additional Implementing Transactions

                 On or prior to the Effective Date, the Debtor and the Liquidating Trust shall, in
accordance with the Restructuring Support Agreement and subject to any applicable consent
rights thereunder, enter into any transaction and shall take any actions as may be necessary or
appropriate to effect the transactions described herein, including, as applicable, the issuance of
all securities, notes, instruments, certificates and other documents required to be issued pursuant
to the Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements,


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continuances, restructurings, conversions, dispositions, dissolutions, entity formations, transfers,
liquidations, spinoffs, intercompany sales, purchases, or other corporate transactions, including
any restructuring transaction contemplated by the Restructuring Support Agreement, including
any NewCo Transaction (collectively, the “Restructuring Transactions”).

                 The Confirmation Order shall, and shall be deemed to, pursuant to sections 105,
363 and, 1123 and 1141 of the Bankruptcy Code, authorize, among other things, all actions as
may be necessary or appropriate to effect any transaction described in, contemplated by, or
necessary to effectuate this Plan, including any NewCo Transaction.

       7.10    7.11 Section 1146 Exemption from Certain Transfer Taxes and Recording Fees

                  Pursuant to, and to the fullest extent permitted by, section 1146(a) of the
Bankruptcy Code, any transfers from the Debtor to NewCo, the Liquidating Trust or to any other
Entity, pursuant to, in contemplation of, or in connection with the Plan (including any transfer
pursuant to: (i) the issuance, distribution, transfer, or exchange of any debt, equity security, or
other interest in the Debtor, the Liquidating Trust, NewCo or Affiliates of NewCo, including,
without limitation, the NewCo Common Stock, NewCo Debt and the Liquidating Trust
Interests; (ii) the creation, modification, consolidation, assumption, termination, refinancing
and/or recording of any mortgage, deed of trust or other security interest, or the securing of
additional indebtedness by such or other means; (iii) the making, assignment or recording of any
lease or sublease; or (iv) the grant of collateral as security for the NewCo Debt; or (v) the
making, delivery or recording of any deed or other instrument of transfer under, in furtherance
of, or in connection with, the Plan, including any deeds, bills of sale, assignments or other
instrument of transfer executed in connection with any transaction arising out of, contemplated
by, or in any way related to the Plan) shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal
property transfer tax, sales or use tax, mortgage recording tax, Uniform Commercial Code filing
or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and the appropriate state or local government officials or agents shall, and shall be
directed to, forgo the collection of any such tax, recordation fee or government assessment and to
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee or government assessment. The Bankruptcy Court shall
retain specific jurisdiction with respect to these matters.

       7.11    7.12 Effectuating Documents and Further Transactions

                The Debtor or, after the Effective Date, the Liquidating Trust and NewCo, as
applicable, may take all actions to execute, deliver, file or record such contracts, instruments,
releases and other agreements or documents, and take such actions as may be necessary or
appropriate to effectuate and implement the provisions of the Plan. The secretary and any
assistant secretary of each Debtor, NewCo or the Liquidating Trust shall be authorized to certify
or attest to any of the foregoing actions.

               Prior to, on or after the Effective Date (as appropriate), all matters provided for
pursuant to the Plan that would otherwise require approval of the shareholders, directors or
members of the Debtor shall be deemed to have been so approved and shall be in effect prior to,


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on or after the Effective Date (as appropriate), pursuant to applicable law, and without any
requirement of further action by the shareholders, directors, managers or partners of the Debtor,
or the need for any approvals, authorizations, actions or consents.

               On the Effective Date, the Liquidating Trust Agreement, any other organizational
document of the Liquidating Trust and the NewCo Organizational Documents shall become
effective and deemed binding without further action from any Person or Entity (other than the
relevant consents required by under the Restructuring Support Agreement) and shall be binding
and enforceable upon each of the parties thereto.

       7.12    7.13 Abandonment of SVB Stock

                 [AtUnless otherwise agreed in writing by the UCC and the Ad Hoc Group of
Senior Noteholders, at least one day prior to the Effective Date, the Debtor shall abandon all of
its equity interests in, including all of the common stock of, Silicon Valley Bank (and all entities
and arrangements that are treated as a single entity with successor(s) to Silicon Valley Bank for
U.S. federal income tax purposes) and take a corresponding worthless stock deduction.]

       7.13    7.14 Preservation of Retained Causes of Action

                Except as provided in the Plan, the Confirmation Order, or in any contract,
instrument, release or other agreement entered into or delivered in connection with the Plan, in
accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trust or NewCo, as
applicable, will retain and may enforce any Retained Causes of Action that the Estate may hold
against any Entity. The Liquidating Trust or NewCo, as applicable, may pursue any such
Retained Causes of Action in accordance with the Plan and the Liquidating Trust Agreement, as
applicable. The Debtor’s inclusion or failure to include or describe with sufficient specificity
any Retained Causes of Action herein or in the Plan Supplement shall not be deemed an
admission, denial or waiver of any Retained Causes of Action that the Debtor or the Estate may
hold. The Debtor intends to preserve all Retained Causes of Action. No preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
waiver, estoppel (judicial, equitable or otherwise) or laches will apply to the Retained Causes of
Action upon or after entry of the Confirmation Order on the Effective Date of the Plan based on
the Plan or the Confirmation Order, including any argument of waiver on account of the failure
to include or describe with sufficient specificity any Retained Causes of Action herein or in the
Plan Supplement.




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8.     PROVISIONS REGARDING GOVERNANCE OF NEWCO

       8.1     Organizational Action

                On and after the Effective Date, the adoption, filing, approval, and ratification, as
necessary, of all corporate, or related actions contemplated hereby for NewCo shall be deemed
authorized and approved in all respects. Without limiting the foregoing, such actions may
include: (i) the adoption of the NewCo Organizational Documents, (ii) the nomination, election,
or appointment, as the case may be, of officers, directors and managers for NewCo, (iii) the
issuance of the securities contemplated by the Plan or other Definitive Documents and (iv) the
Restructuring Transactions to be effectuated pursuant to the Plan and the Restructuring Support
Agreement.

               Upon the occurrence of the Effective Date, all matters provided for herein
involving the organizational structure of the Debtor or NewCo, or any corporate action required
by the Debtor or NewCo in connection with the Plan, shall be deemed to have occurred in
accordance with the Restructuring Transactions Memorandum and shall be in effect, without any
requirement of further action by the security holders or directors of the Debtor or NewCo or by
any other stakeholder or any other corporate action.

                On and after the Effective Date, the appropriate officers of NewCo and members
of the board of directors of NewCo are authorized and directed to issue, execute, deliver, file,
and record any and all agreements, documents, securities, deeds, bills of sale, conveyances,
releases, and instruments contemplated by the Plan in the name of and on behalf of NewCo and
to take such actions as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of the Plan.

       8.2     NewCo Organizational Documents

                On the Effective Date, the NewCo Organizational Documents shall be adopted
automatically by NewCo and its subsidiaries. On or promptly after the Effective Date, NewCo
and its subsidiaries may file their respective NewCo Organizational Documents and other
applicable agreements with the applicable Secretaries of State or other applicable authorities in
their respective states, provinces, or countries of incorporation or formation in accordance with
the corporate laws of the respective states, provinces, or countries of incorporation or formation.

                 After the Effective Date, NewCo and each of its subsidiaries may amend and
restate its limited liability company agreement, certificate of incorporation, limited partnership
agreement, and other formation and constituent documents as permitted by the laws of its
respective jurisdiction of formation and the terms of the NewCo Organizational Documents, as
applicable.

       8.3     Shared Services Agreement

               Upon the Effective Date, NewCo and the Liquidating Trust may enter into a
Shared Services Agreement. The terms of the Shared Services Agreement (if any) shall be
acceptable to each of the Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC.


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Confirmation of the Plan shall be deemed (a) approval of the Shared Services Agreement (if
any), and (b) authorization for NewCo and the Liquidating Trust to enter into and perform under
the Shared Services Agreement (if any).

       8.4     Directors and Officers of NewCo

               On the Effective Date, the management, control and operation of NewCo shall
become the general responsibility of the board of directors of NewCo or other governing body as
provided in the NewCo Organizational Documents.

                On the Effective Date, the term of the Current Directors and other governing
bodies of the Debtor shall be deemed to have resigned, such Current Directors shall cease to hold
office or have any authority from or after such time, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any Person or Entity, and such Current Directors
shall be replaced by the NewCo Board (or, if the reorganized Debtor is not governed by a board,
shall be governed and managed as set forth in its applicable NewCo Organizational Documents).

              The classification and composition of the NewCo Board shall be consistent with
applicable non-bankruptcy law and the terms of the NewCo Organizational Documents. In the
Plan Supplement, to the extent known, the Debtor will disclose, pursuant to section 1129(a)(5) of
the Bankruptcy Code, the identity and affiliations of the Persons proposed to serve on the
NewCo Board. The NewCo Board members shall serve from and after the Effective Date in
accordance with applicable non-bankruptcy law and the terms of the NewCo Organizational
Documents.

                [Notwithstanding anything to the contrary contained in the Plan, confirmation of
the Plan shall not discharge, impair or otherwise modify any advancement, indemnity or other
obligations arising under the D&O Insurance Policies. In addition, after the Effective Date, none
of the Debtor, the Liquidating Trust or NewCo shall terminate or otherwise reduceall or any
portion of the coverage under the D&O Insurance Policies with respect to conduct occurring
prior to the Effective Date, and, subject to and in accordance in all respects with the terms of the
D&O Liability Insurance Policies, all directors and officers of the Debtor who served in such
capacity at any time prior to the Effective Date shall be entitled from the insurers to the full
benefits of any such policyD&O Liability Insurance Policy, if any, including any prepaid
extended reporting period, regardless of whether such directors and officers remain in such
positions after the Effective Date.]

               As of the Effective Date, NewCo shall be authorized to procure and maintain
directors’ and officers’ liability insurance policies for the benefit of its directors, officers,
members, trustees and managers in the ordinary course of business.




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9.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       9.1     Assumption and Rejection of Executory Contracts and Unexpired Leases

                Except as otherwise provided herein, all Executory Contracts and Unexpired
Leases will be deemed automatically rejected as of the Effective Date in accordance with
sections 365 and 1123 of the Bankruptcy Code, other than (a) Executory Contracts or Unexpired
Leases that, as of the Effective Date, are the subject of a pending motion to assume, or for which
a notice of assumption has been filed pursuant to the assumption and assignment procedures
approved by the Bankruptcy Court, (b) any Executory Contract or Unexpired Leases listed in the
Schedule of Assumed Executory Contracts and Unexpired Leases, or (c) have been previously
assumed, assumed and assigned or rejected by the Debtor.

               Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumptions, assumption and assignment, or rejections, as applicable, of such
Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to sections
365(a) and 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

                  Executory Contracts and Unexpired Leases assumed pursuant to the Plan or by
Bankruptcy Court order shall revest in and be fully enforceable by NewCo or the Liquidating
Trust in accordance with their terms, except as such terms may have been modified by the
Debtor and the applicable counterparty, or by order of the Bankruptcy Court. To the maximum
extent permitted by Law, the transactions contemplated by this Plan shall not constitute a
“change of control” or “assignment” (or terms with similar effect) under any Executory Contract
or Unexpired Lease assumed or assumed and assigned pursuant to this Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such
Executory Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any
obligations, rights or liabilities of the Debtor, the Liquidating Trust or NewCo, as applicable,
under such Executory Contract or Unexpired Lease, or (c) result in the creation or imposition of
a Lien upon any property or asset of the Debtor, the Liquidating Trust or NewCo, as applicable,
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance
notice required under such Executory Contract or Unexpired Lease in connection with
assumption or assumption and assignment thereof shall be deemed satisfied by Confirmation.
Any provision of any Executory Contract or Unexpired Lease assumed or assumed and assigned
pursuant to this Plan that requires (i) the consent or approval of one or more lessors or other
parties, or (ii) the payment of any fees or obligations, in order for the Debtor to pledge, grant,
sell, assign, or otherwise transfer any such Executory Contract or Unexpired Lease, or the
proceeds thereof, or other collateral related thereto, shall be deemed to be inconsistent with the
applicable provisions of the Bankruptcy Code. Any such provisions of any such Executory
Contracts or Unexpired Leases shall have no force and effect with respect to the pledge, grant,
sale, assignment, or other transfer thereof, or the proceeds thereof, or other collateral related
thereto, in accordance with the terms of this Plan.

               In connection with the transfer and vesting of any Debtor’s investments assets in
the Liquidating Trust or NewCo, any related investment agreements, including shareholder and
lockup agreements, shall be deemed assumed and assigned to the applicable transferee and


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deemed listed as an Executory Contract on the Schedule of Assumed Executory Contracts and
Unexpired Leases.

               The Debtor or the Liquidating Trust, as applicable, reserves the right to alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases, including to add or remove any Executory Contracts and Unexpired Leases, at any time
up to and including forty-five (45) days after the Effective Date upon notice to the affected
counterparty.

       9.2     Objections to and Cure of Defaults for Assumed Executory Contracts and
               Unexpired Leases

                 To the extent a monetary default exists under an Executory Contract or Unexpired
Lease proposed to be assumed or assumed and assigned pursuant to the Plan, such monetary
default shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of
the applicable Cure Cost by the Debtor, NewCo or the Liquidating Trust, as applicable, on the
Effective Date or promptly thereafter, in the ordinary course of business, or on such other terms
as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

               Objections to the assumption of any Executory Contract or Unexpired Lease or
any applicable Cure Cost shall be made in accordance with the Solicitation Procedures Order.

                Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan
or otherwise shall result in the full release and satisfaction of any Claims held by the non-Debtor
Entity party thereto against, or defaults, including bankruptcy-related defaults, by, the Debtor
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of the assumption; provided, however, that the counterparty to such Executory
Contract or Unexpired Lease may seek additional amount(s) on account of any defaults occurring
between the filing of the notice of assumption and the occurrence of the Effective Date of the
Plan.

                Any Proofs of Claim filed with respect to an Executory Contract or Unexpired
Lease that has been assumed shall be deemed disallowed and expunged, without further notice to
or action, order, or approval of the Bankruptcy Court.

       9.3     Modifications, Amendments, Supplements, Restatements or Other Agreements

                Unless otherwise provided in the Plan, each Executory Contract or Unexpired
Lease that is assumed, assumed and assigned, or rejected shall include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, including easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal and any other interests, unless any of the
foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

              Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
Chapter 11 Case shall not be deemed to alter the prepetition nature of the Executory Contract or

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Unexpired Lease, or the validity, priority or amount of any Claims or Interests that may arise in
connection therewith.

       9.4     Reservation of Rights

                 Nothing contained in the Plan, nor the Debtor’s delivery of a notice of proposed
assumption of a contract or lease to the applicable contract and lease counterparties, shall
constitute an admission by the Debtor that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Debtor, NewCo or the Liquidating Trust would have
any liability thereunder.

               Notwithstanding any non-bankruptcy law to the contrary, the Debtor, NewCo or
the Liquidating Trust expressly reserves and does not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased, or services previously received, by the Debtor from
counterparties to rejected Executory Contracts or Unexpired Leases.




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10.    PROVISIONS GOVERNING DISTRIBUTIONS

       10.1    Distribution Agents

                 The Debtor, in its reasonable discretion (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or, after the Effective Date, the Liquidating Trust (and, with respect to the distribution
of NewCo Common Stock, NewCo), in their respective sole discretion, shall have the authority,
to enter into agreements with one or more Distribution Agents to facilitate the distributions
required hereunder. To the extent the Debtor or the Liquidating Trust, as applicable, determines
to utilize a Distribution Agent to facilitate any distributions, such Distribution Agent would first
be required to: (i) affirm its obligation to facilitate the prompt distribution of any documents,
(ii) affirm its obligation to facilitate the prompt distribution of any recoveries or distributions
required under the Plan and (iii) waive any right or ability to set off, deduct from or assert any
Lien or other encumbrance against the distributions required under the Plan to be distributed by
such Distribution Agent.

                Notwithstanding any provision in the Plan to the contrary, distributions to the
Holders of Senior Note Claims and Subordinated Note Claims shall be made to or at the
direction of the respective Indenture Trustees, which shall act as Distribution Agent (or direct the
Distribution Agent) for distributions to the Holders of Senior Note Claims and Subordinated
Note Claims, respectively, in accordance with the Plan and the applicable Indentures.

                The Debtor or the Liquidating Trust, as applicable, may pay to the Distribution
Agents all of their reasonable and documented fees and expenses without the need for any
approvals, authorizations, actions or consents of the Bankruptcy Court or otherwise. At the
request of counsel to the Debtor or the Liquidating Trust, as applicable, Distribution Agents shall
submit detailed invoices to counsel to the Debtor or the Liquidating Trust for all fees and
expenses for which the Distribution Agents seek reimbursement, and the Debtor or the
Liquidating Trust, as applicable, shall pay those amounts that it, in its sole discretion, deems
reasonable, and shall object in writing to those fees and expenses, if any, that the Debtor or the
Liquidating Trust, as applicable, deem to be unreasonable. In the event that the Debtor or the
Liquidating Trust, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Distribution Agent’s invoice, the Debtor or the Liquidating Trust, as applicable,
and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the
amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtor or the Liquidating Trust, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have
such dispute heard by the Bankruptcy Court.

               10.1.1 Powers of the Distribution Agent

                 The Distribution Agent shall be empowered to: (i) effect all actions and execute
all agreements, instruments and other documents necessary to perform its duties under the Plan,
(ii) make all distributions contemplated hereby, (iii) employ professionals to represent it with
respect to its responsibilities and (iv) exercise such other powers as may be vested in the



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Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Distribution Agent to be necessary and proper to implement the provisions hereof.

       10.2    Timing and Delivery of Distributions

               10.2.1 Timing

               Except as otherwise expressly provided herein, distributions to be made under the
Plan shall be made on (i) the later of (a) the Effective Date or (b) the date that a Claim or Interest
becomes an Allowed Claim or Interest, or (ii) such other date that is determined by the Debtor
(with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, in accordance with the Plan. The Liquidating Trust may commence distributions to
beneficiaries of the Estate at any time after the Effective Date, subject to the terms of the Plan,
the Liquidating Trust Agreement and the Confirmation Order.

               10.2.2 De Minimis Distributions

                Notwithstanding any other provision of the Plan, neithernone of the Debtor, the
Liquidating Trust noror any Distribution Agent shall have any obligation to make any
distributions under the Plan with a value of less than $50, unless a written request therefor is
received by the Distribution Agent from the relevant recipient within 120 days after the later of
(i) the Effective Date and (ii) the date such Claim or Interest becomes an Allowed Claim or
Interest. Such undistributed amounts shall revert to the Debtor or the Liquidating Trust, as
applicable. Upon such reversion, the relevant Allowed Claim or Interest of less than $50 (and
any Claim or Interest on account of such de minimis distributions) shall be automatically deemed
satisfied, discharged, and forever barred, notwithstanding any federal or state escheat laws to the
contrary. For the avoidance of doubt, this Section 10.2.2 shall not apply to Distributions to any
Holder of an Allowed General Unsecured Claim who timely exercises itselects to receive the
GUC Cash-Out option.

               10.2.3 Record Date and Delivery of Distributions

                 Distributions shall only be made to the record holders of Allowed Claims and
Interests as of the Confirmation Date (the “Distribution Record Date”). On the Confirmation
Date, the Claims Register and Stock Register shall be closed and the Distribution Agent shall be
authorized and entitled to recognize only those Holders of Claims and Interests listed on the
Claims Register and Stock Register as of the close of business on the Confirmation Date.
Notwithstanding the foregoing, if a Claim or Interest is transferred twenty (20) or fewer days
before the Confirmation Date, the Distribution Agent, at the direction of the Debtor or, after the
Effective Date, the Liquidating Trust, shall make distributions to the transferee (rather than the
transferor) only to the extent practical, and, in any event, only if the relevant transfer form
contains an unconditional and explicit certification and waiver of any objection to the transfer by
the transferor. The Distribution Record Date shall not apply to publicly held securities deposited
with DTC and, in connection with any Distribution under the Plan to be effected through the
facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise), the
Debtor, NewCo or the Liquidating Trust, as applicable, shall be entitled to recognize and deal for


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all purposes under the Plan with Holders of Claims and Interests in each Class to the extent
consistent with the customary practices of DTC used in connection with such distributions.

                 If any dispute arises as to the identity of a Holder of an Allowed Claim or Interest
that is entitled to receive a distribution pursuant to the Plan, the Distribution Agent may, in lieu
of making such distribution to such Entity, make the distribution into an escrow account until the
disposition thereof is determined by Final Order or by written agreement among the interested
parties to such dispute. Distributions made after the Confirmation Date to Holders of Disputed
Claims or Interests that are not Allowed Claims or Interests as of the Confirmation Date, but
which later become Allowed Claims or Interests, shall be deemed to have been made on the
Confirmation Date.

                 Except as otherwise provided herein, the Distribution Agent, at the direction of
the Debtor or the Liquidating Trust, as applicable, shall make all Distributions required under the
Plan to Holders of Allowed Claims or Interests. Except as otherwise provided herein, and
notwithstanding any authority to the contrary, Distributions to Holders of Allowed Claims or
Interests shall be made to Holders of record as of the Confirmation Date by the Distribution
Agent, as appropriate: (i) to the signatory set forth on any Proof of Claim filed by such Holder or
other representative identified therein (or at the last known address of such Holder if no Proof of
Claim is filed or if the Debtor, the Liquidating Trust or the Distribution Agent have been notified
in writing of a change of address) or (ii) at the address set forth in any written notice of change of
address delivered to the Notice and Claims Agent. The Distribution Agent and the Notice and
Claims Agent shall not incur any liability whatsoever on account of the delivery of any
Distributions under the Plan.

       10.3    Manner of Payment Under Plan

               10.3.1 Cash Payments

                At the Distribution Agent’s option, any Cash payment may be made by check,
wire transfer or any other customary payment method.

               10.3.2 Notes Distribution

                As applicable, the Indenture Trustees may transfer or direct the transfer of such
Distributions directly through the facilities of DTC (whether by means of book-entry exchange,
free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
Plan with the respective Holders of such Claims to the extent consistent with the customary
practices of DTC.

                For the avoidance of doubt, DTC shall be considered a single Holder with respect
to Distributions made on account of the Senior Note Claims and Subordinated Note Claims. The
Indenture Trustees shall have no duties, responsibilities, or liability relating to any form of
Distribution that is not DTC eligible, provided that the Indenture Trustees shall use
commercially reasonable efforts to cooperate with the Debtor, the Liquidating Trust, or NewCo,
as applicable, to the extent that a Distribution is not DTC eligible.



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                 Notwithstanding anything to the contrary herein, such Distributions shall be
subject in all respect to any rights of the Indenture Trustees to assert a charging lien against such
Distributions. All Distributions to be made to Holders of Senior Note Claims and Subordinated
Note Claims through DTC shall be made eligible for Distributions through the facilities of DTC
and, for the avoidance of doubt, under no circumstances will the Indenture Trustees be
responsible for making or required to make any Distribution under the Plan to Holders of Senior
Note Claims and Subordinated Note Claims if such Distribution is not eligible to be distributed
through the facilities of DTC.

               Upon the final distribution on account of the Senior Note Claims or Subordinated
Note Claims, (i) the Senior Notes or Subordinated Notes, as applicable, shall thereafter be
deemed to be worthless, and (ii) at the request of the respective Indenture Trustee, DTC shall
take down the relevant position relating to the Senior Notes or Subordinated Notes, as
applicable, without any requirement of indemnification or security on the part of the Debtor, the
Liquidating Trust, NewCo, or the Indenture Trustees.

               10.3.3 Allocation of Plan Distributions Between Principal and Interest

                 To the extent that any Claim entitled to a distribution under the Plan is based
upon any obligation or instrument that is treated for U.S. federal income tax purposes as
indebtedness of the Debtor and accrued but unpaid interest thereon, such distribution shall be
allocated first to the principal amount of the Claim (as determined for federal income tax
purposes) and then, to the extent the consideration exceeds the principal amount of the Claim, to
accrued but unpaid interest.

               10.3.4 Compliance Matters

                In connection with the Plan, to the extent applicable, the Debtor, NewCo, the
Liquidating Trust and the Distribution Agent shall comply with all Tax withholding and
reporting requirements imposed on them by any federal, state, local or foreign Tax law, and all
distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Debtor, NewCo, the Liquidating
Trust and the Distribution Agent shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including withholding in kind,
liquidating a portion of the distributions to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. For purposes of the Plan, any withheld amount (or property) paid to
the applicable Tax Authority shall be treated as if paid to the applicable claimant. The
Liquidating Trust reserves the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal
awards, liens and encumbrances. Distributions in full or partial satisfaction of Allowed Claims
shall be allocated first to trust fund-type taxes, then to other taxes, and then to the principal
amount of Allowed Claims, with any excess allocated to unpaid interest that has accrued on such
Claims. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity
that receives a Distribution pursuant to the Plan shall have responsibility for any Taxes imposed
by any Governmental Unit, including income, withholding, and other Taxes, on account of such


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Distribution. Any party issuing any instrument or making any Distribution pursuant to the Plan
has the right, but not the obligation, not to make a Distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any such Tax
obligations and, if any party issuing any instrument or making any distribution under the Plan
fails to withhold with respect to any such holder’s distribution, and is later held liable for the
amount of such withholding, the holder shall reimburse such party. The Distribution Agent may
require, as a condition to the receipt of a distribution, that the holder complete the appropriate
Form W-8 or Form W-9, as applicable to each holder. If the holder fails to comply with such a
request within one hundred and eighty (180) days after the request is made, the amount of such
Distribution shall irrevocably revert to the Debtor or the Liquidating Trust and any Claim in
respect of such Distribution shall be discharged and forever barred from assertion against the
Debtor, the Liquidating Trust or its respective property.

               10.3.5 Foreign Currency Exchange Rate

                Except as otherwise provided herein or in an order of the Bankruptcy Court, or as
agreed to by any Holder and either the Debtor (with the consent of the UCC and the Required Ad
Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or delayed) or, after
the Effective Date, the Liquidating Trust, any Claim or Interest asserted in a currency other than
U.S. dollars shall be automatically deemed converted, as of the Effective Date, to the equivalent
U.S. dollar value using the exchange rate on the first Business Day prior to the Petition Date, as
quoted at 4:00 p.m. (New York time), at the mid-range spot rate of exchange for the applicable
foreign currency as published in The Wall Street Journal, National Edition, on the first Business
Day after the Petition Date; provided that instead of such automatic conversion, the Debtor may
instead elect, subject to the consent of the UCC and the Required Ad Hoc Senior Noteholder
Parties (not to be unreasonably withheld, conditioned or delayed) to make payments on account
of any such Claim or Interest pursuant to the Plan in the applicable foreign currency.

               10.3.6 Fractional Payments and Distributions

               Whenever the Plan would otherwise call for, with respect to a particular Entity,
payment of a fraction of a dollar, the actual payment shall reflect a rounding of such fraction to
the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
Cash to be distributed under the Plan remain undistributed as a result of the aforementioned
rounding, such Cash shall be treated as an Unclaimed Distribution.

               10.3.7 Fractional Shares or Units

                No fractional shares of NewCo Common Stock or fractional units of Liquidating
Trust Interest shall be distributed under the Plan. When any distribution pursuant to the Plan on
account of an Allowed Claim or Interest would otherwise result in the issuance or delivery of a
number of shares of NewCo Common Stock or a number of units of Liquidating Trust Interest
that is not a whole number, the actual distribution of shares of NewCo Common Stock or units of
Liquidating Trust Interest shall be rounded to the next lower whole number with no further
payment or other distribution therefor (i.e., no consideration will be provided in lieu of fractional
shares of NewCo Common Stock or fractional units of Liquidating Trust Interests that are
rounded down). The total number of shares of NewCo Common Stock or units of Liquidating


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Trust Interest to be distributed to holders of Allowed Claims and Interests shall be adjusted
downward as necessary to account for the rounding provided in this Section 10.3.7. For
distribution purposes, including rounding, DTC will be treated as a single Holder.

       10.4    Undeliverable Distributions

                If any distribution is returned as undeliverable, (i) the Debtor or the Liquidating
Trust, as applicable, may, but shall not be required to, make reasonable efforts to determine the
address for such Holder and (ii) no further distribution to such Holder shall be made unless and
until the Liquidating Trust or the Distribution Agent is notified in writing of the then-current
address of such Holder, at which time such distribution shall be made to such Holder not less
than 30 days thereafter. Undeliverable distributions shall remain in the possession of the
Liquidating Trust or the Distribution Agent until such time as such distribution becomes
deliverable or such distribution reverts to the Liquidating Trust, or is canceled pursuant to
Section 10.5 herein, and shall not be supplemented with any interest, dividends or other accruals
of any kind.

       10.5    Reversion

                Any distribution under the Plan that is an Unclaimed Distribution for a period of
six months thereafter, shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code, and such Unclaimed Distribution shall revest in the Liquidating Trust;
provided, however, that any Unclaimed Distributions consisting of NewCo Common Stock shall,
after such six month period, promptly be transferred to NewCo, without any further notice to,
action, order, or approval of the Bankruptcy Court or by any other Entity. Upon such revesting
or such transfer, the Claim or Interest of any Holder or its successors and assigns with respect to
such property shall be canceled, discharged and forever barred, notwithstanding any applicable
federal or state escheat, abandoned, or unclaimed property laws to the contrary. The provisions
of the Plan regarding undeliverable distributions and Unclaimed Distributions shall apply with
equal force to distributions that are issued by the Liquidating Trust, NewCo or the Distribution
Agent made pursuant to any indenture or Certificate, notwithstanding any provision in such
indenture or Certificate to the contrary and notwithstanding any otherwise applicable federal or
state escheat, abandoned or unclaimed property law.

       10.6    Claims or Interests Paid by Third Parties

                No distributions under the Plan shall be made on account of an Allowed Claim
that is payable under one of the Debtor’s Insurance Policies until the Holder of such Allowed
Claim has exhausted all remedies with respect to such Insurance Policy.

               Except as otherwise provided in the Plan, payments to Holders of Claims covered
by an Insurance Policy and otherwise payable under the Plan shall be made from the proceeds of
such Insurance Policy in accordance with the provisions of any such applicable Insurance Policy.
Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtor or any Entity may hold against any other Entity, including Insurers, nor shall anything
contained herein constitute or be deemed a waiver by such insurers of any rights or defenses,
including coverage defenses, held by Insurers.


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                To the extent a Creditor receives a payment on account of a Claim from a party
that is not the Debtor, the Liquidating Trust, NewCo or a Distribution Agent on account of such
Claim, the Debtor or the Liquidating Trust, as applicable, shall be authorized to reduce, for the
purposes of Distribution, the Allowed amount of such Claim by the amount of the third-party
payment, and such Claim shall be disallowed or deemed satisfied, as applicable, to the extent of
such third-party payment without an objection having to be filed, but subject to the filing of a
notice with the Bankruptcy Court and service of such notice on any affected Creditor. Any
Creditor that receives full or partial payment on account of such Claim from an Entity that is not
the Debtor, the Liquidating Trust, NewCo or a Distribution Agent shall provide notice of the date
and amount of such payment to the Debtor or, after the Effective Date, the Liquidating Trust and
NewCo within five (5) Business Days of receipt of such payment. Such Creditor shall repay
and/or return to the Debtor or, after the Effective Date, the Liquidating Trust or NewCo any
Distribution received on account of the portion of its Claim that was satisfied by such third-party
payment within thirty (30) days.

       10.7    Setoffs

                Except as otherwise provided herein, a Final Order of the Bankruptcy Court, or as
agreed to by the Holder and the Liquidating Trust or NewCo, each as applicable, pursuant to the
Bankruptcy Code (including section 553 thereof), applicable non-bankruptcy law, or such terms
as may be agreed to by the Holder and the Liquidating Trust or NewCo, as applicable, the
Liquidating Trust or NewCo, as applicable, may, without any further notice to, or action, order or
approval of the Bankruptcy Court, set off against any Allowed Claim or Interest and the
distributions to be made on account of such Allowed Claim or Interest (before any distribution is
made on account of such Allowed Claim or Interest), any claim, right and Cause of Action of any
nature that the Liquidating Trust or NewCo, as applicable, may hold against the Holder of such
Allowed Claim or Interest, to the extent such claim, right or Cause of Action against such Holder
has not been otherwise compromised or settled on or prior to the Effective Date (whether
pursuant to the Plan or otherwise); provided that neither the failure to effect such a setoff nor the
allowance of any Claim or Interest pursuant to the Plan shall constitute a waiver or release by the
Debtor, the Liquidating Trust or NewCo, as applicable, of any such Claims or Interests, rights
and Causes of Action that the Debtor or the Liquidating Trust may possess against or in such
Holder. In no event will any Person or Entity be entitled to set off any Claim or Interest against
any Claim or Interest, right, or Cause of Action of the Debtor, the Liquidating Trust or NewCo,
as applicable, in any judicial or administrative proceeding, unless such Person or Entity has filed
a Proof of Claim in this Chapter 11 Case preserving such setoff and a Final Order of the
Bankruptcy Court has been entered, authorizing and approving such setoff.

       10.8    No Postpetition Interest on Claims

                Unless otherwise specifically provided for in the Plan or the Confirmation Order,
required by applicable law, or agreed to by the Debtor or, after the Effective Date, the
Liquidating Trust or NewCo, as applicable, no Holder of a Claim or Interest against the Debtor
shall be entitled to interest accruing on or after the Petition Date with respect to such Claim or
Interest, notwithstanding any dispute or other delay with respect to any distribution. For the




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avoidance of doubt, the foregoing does not apply to any interest accretion on the Liquidating
Trust Interests provided under the Plan.

       10.9    No Payment Over the Full Amount; Single Satisfaction

                In no event shall a Holder of a Claim or Interest receive more than the full
payment of such Claim or Interest. To the extent any Holder has received payment in full with
respect to a Claim or Interest, such Claim or Interest shall be expunged without an objection to
such Claim or Interest having been filed and without any further notice to or action, order or
approval of the Bankruptcy Court.




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11.    CLAIMS ADMINISTRATION PROCEDURES

       11.1    Allowance of Claims

                 After the Effective Date, the Liquidating Trust shall have any and all rights and
 defenses that the Debtor had with respect to any Claim immediately before the Effective Date,
 except with respect to any Claim deemed Allowed or satisfied, settled, released and discharged
 under this Plan. All settled Claims approved prior to the Effective Date pursuant to a Final
 Order of the Bankruptcy Court pursuant to Bankruptcy Rule 9019 or otherwise shall be binding
 on all parties.

               Any Claim that has been listed in the Schedules as disputed, contingent or
 unliquidated, and for which no Proof of Claim has been timely filed by the applicable Claims
 Bar Date, is not considered Allowed and shall be expunged without further action and without
 any further notice to or action, order or approval of the Bankruptcy Court.

       11.2    Administration Responsibilities

                  Except as otherwise specifically provided in the Plan, the Debtor in consultation
with the Required Ad Hoc Senior Noteholder Parties and the UCC, before the Effective Date,
and Liquidating Trust, after the Effective Date, subject to the Liquidating Trust Agreement, shall
have the sole authority to (i) file, withdraw or litigate to judgment objections to Claims or
Interests, (ii) settle or compromise any Disputed Claim or Interest without any further notice to
or action, order or approval of the Bankruptcy Court, and (iii) administer and adjust, or cause to
be administered and adjusted, the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order or approval of the Bankruptcy Court.
Nothing in this Section 11.2 shall limit the ability under the Bankruptcy Code of any
party-in-interest to object to any Claim or Interest unless otherwise ordered by the Bankruptcy
Court.

              [Objections to Claims and Interests must be filed and served by no later than the
Claims Objection Deadline. For the avoidance of doubt, the Claims Objection Deadline may be
extended on multiple occasions.]

       11.3    Estimation of Claims

                Before the Effective Date, the Debtor (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or after the Effective Date, the Liquidating Trust, may, within its reasonable discretion,
at any time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or
unliquidated pursuant to section 502(c) of the Bankruptcy Code, regardless of whether any party
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to
estimate any such Claim, including during the litigation of any objection to any Claim or during
the appeal relating to such objection.




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                Notwithstanding any provision otherwise in the Plan, a Claim that has been
expunged from the Claims Register, but that either is subject to appeal or has not been the
subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any Claim,
that estimated amount shall constitute a maximum limitation on such Claim for all purposes
under the Plan (including for purposes of distributions) and may be used as evidence in any
supplemental proceedings, and the Debtor, NewCo or the Liquidating Trust, as applicable, may
elect to pursue any supplemental proceedings to object to any ultimate distribution on such
Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of
a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise
be entitled to seek reconsideration of such estimation unless such Holder has filed a motion
requesting the right to seek such reconsideration on or before seven (7) days after the date on
which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and
resolution procedures are cumulative and not exclusive of one another. Claims may be estimated
and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by
the Bankruptcy Court or under the Plan.

       11.4 Expungement and Disallowance of Paid, Satisfied, Amended, Duplicated, or
Superseded Claims or Interests

               Any Claim or Interest that has been paid, satisfied, amended, duplicated or
superseded may be adjusted or expunged on the Claims Register by the Liquidating Trust on or
after 14 calendar days after the date on which notice of such adjustment or expungement has
been filed with the Bankruptcy Court, without an objection to such Claim or Interest having to be
filed, and without any further action, order or approval of the Bankruptcy Court.

       11.5    Amendments to Proofs of Claim

               On or after the Effective Date, a Proof of Claim may not be amended (other than
solely to update or correct the name or address of the Holder of such Claim) without the prior
authorization of the Bankruptcy Court or the Liquidating Trust, and any such amended Proof of
Claim filed without such prior authorization shall be deemed disallowed in full and expunged
without any further notice to or action, order or approval of the Bankruptcy Court. Nothing in
the paragraph shall remove any claimant’s ability to seek leave from the Bankruptcy Court to
amend a Claim or Proof of Claim.

       11.6    Pending Objections

                To the extent the Debtor has filed objections to Claims that remain pending as of
the Effective Date, the Liquidating Trust shall be substituted as the objecting party without
further action of the parties or order of the Bankruptcy Court.

       11.7    No Distributions Pending Allowance

               Subject to an objection to the amount, validity, priority, or classification of a
Claim or Interest or a portion thereof is filed or is intended to be filed as set forth herein or a
Claim or Interest otherwise remains a Disputed Claim or Interest, except as otherwise provided
in a Final Order of the Bankruptcy Court, no payment or distribution provided under the Plan

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shall be made on account of such Claim or Interest or portion thereof, as applicable, unless and
until such Disputed Claim or Interest becomes an Allowed Claim or Interest.

       11.8    Distributions After Allowance

                To the extent that a Disputed Claim or Interest ultimately becomes a finally
Allowed Claim or Interest, distributions (if any) shall be made to the Holder of such Allowed
Claim or Interest in accordance with the applicable provisions of the Plan, including Section 11.3
of the Planhereof. As soon as reasonably practicable after the date that the order or judgment of
the Bankruptcy Court Allowing any Disputed Claim or Disputed Interest becomes a Final Order,
the Liquidating Trust, Distribution Agent or NewCo, as applicable, shall provide to the Holder of
such Claim or Interest the Distribution (if any) to which such Holder is entitled under the Plan as
of the Effective Date, less any previous Distribution (if any) that was made on account of the
undisputed portion of such Claim or Interest, without any interest, dividends, or accruals to be
paid on account of such Claim or Interest unless required under applicable bankruptcy law or as
otherwise provided in this Plan.

       11.9    Disallowance of Claims and Interests

                Except as provided herein or otherwise agreed, any and all Proofs of Claim
filed after the applicable Claims Bar Date shall be deemed disallowed and expunged as of
the Effective Date without any further notice to or action, order, or approval of the
Bankruptcy Court, and Holders of such Claims may not receive any Distributions on
account of such Claims, unless such late filed Claim has been deemed timely filed by a
Final Order at or before the Confirmation Hearing.




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12.    EFFECT OF CONFIRMATION

       12.1    Vesting of Assets

                Except as otherwise provided in the Plan or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or in the Confirmation Order, upon the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all property of the
Debtor shall vest in NewCo or its subsidiaries or the Liquidating Trust (or entities to be formed
by the Liquidating Trust), as applicable, in accordance with this Plan and the Restructuring
Transactions Memorandum, free and clear of all Claims, Liens, encumbrances, charges and
Interests. All Liens, Claims, encumbrances, charges and Interests shall be deemed fully released
and discharged as of the Effective Date, except as otherwise provided in the Plan or the
Confirmation Order. Except as otherwise provided in the Plan or the Confirmation Order, as of
the Effective Date, each of NewCo and the Liquidating Trust may, as applicable, operate its
businesses and may use, acquire, and dispose of property and the Liquidating Trust may settle
and compromise Claims and Interests, in each case without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code, the Bankruptcy Rules, and
the Local Rules and in all respects as if there were no pending cases under any chapter or
provision of the Bankruptcy Code with respect to the Debtor.

                The transfer of information to the Liquidating Trust shall not result in the
destruction or waiver of any applicable work product, attorney-client, or other applicable
privilege (the “Privileges”). Further, with respect to any Privileges: (i) Privileges are transferred
to the Liquidating Trust to the extent necessary to enable the Liquidating Trust Board to perform
its duties to administer the Liquidating Trust and for no other reason, (ii) such Privileges shall be
preserved and not waived (except as the Liquidating Trust Board may affirmatively elect to
waive such Privileges), and (iii) no information subject to a Privilege shall be publicly disclosed
by the Liquidating Trust or communicated to any Person not entitled to receive such information
or in a manner that would diminish the protected status of any such information, except
following a waiver of such Privilege pursuant to (ii) above or pursuant to the specific terms of
the Plan and the Confirmation Order and the Liquidating Trust Agreement.

       12.2    Compromise and Settlement of Claims and Controversies

               Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, and in consideration for the distributions, releases and other benefits provided
pursuant to the Plan, upon the Effective Date, the provisions of the Plan shall constitute a
good-faith compromise of all Claims, Interests, Causes of Action and controversies relating to
the contractual, legal and subordination rights that a Holder of an Allowed Claim or Interest may
have against the Debtor, or any distribution to be made on account of such an Allowed Claim or
Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the compromise or settlement of all such Claims, Interests or controversies and the
Bankruptcy Court’s finding that such compromise or settlement is in the best interests of the
Debtor and its Estate and is fair, equitable and reasonable. In accordance with the provisions of
the Plan, pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice or action, order or approval of the Bankruptcy Court, after the


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Effective Date, the Liquidating Trust may compromise and settle Claims against it and Causes of
Action against other entities.

       12.3    Subordinated Claims

                 The allowance, classification and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account, conform to, and
satisfy the relative priority and rights of the Claims and Interests in each Class in connection with
any contractual, legal and equitable subordination rights relating thereto; provided, however, that
the Debtor and the Liquidating Trust reserve the right to reclassify or modify the treatment of any
Allowed Claim or Interest in accordance with any contractual, legal, or equitable subordination
relating thereto, unless otherwise provided in a settlement agreement concerning such Allowed
Claim or Interest. For the avoidance of doubt, the Distributions to the Holders of Subordinated
Note Claims under the Plan are in settlement and compromise of any contractual, legal and
equitable subordination rights relating to such Subordinated Note Claims, and all claims to
turnover, release or payment of such Distributions are expressly waived hereby.

       12.4    Release of Liens

                Except as otherwise provided in the Plan, or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or the Confirmation Order, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and,
in the case of a Secured Claim, indefeasible payment and satisfaction in full in cash of the
portion of the Secured Claim that is Allowed as of the Effective Date in accordance with the
Plan, all mortgages, deeds of trust, Liens, pledges or other security interests against any property
of the Estate shall be fully released, settled, discharged and compromised, and all rights, titles
and interests of any holder of such mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estate shall revert to the Debtor and its successors and
assigns, in each case, without any further approval of the Bankruptcy Court and without any
action or filing being required to be made by the Debtor. The Debtor, or after the Effective Date,
the Liquidating Trust shall be authorized to file any necessary or desirable documents to
evidence such release in the name of the party secured by such pre-Effective Date mortgages,
deeds of trust, Liens, pledges or other security interests. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency, records office, or
department shall constitute good and sufficient evidence of, but shall not be required to effect,
the termination of such Liens.

       12.5    Discharge

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in this Plan or the Restructuring Transactions Memorandum, the
Confirmation Order or in any contract, instrument, or other agreement or document created
pursuant to this Plan or the Confirmation Order, the distributions, rights, and treatments that are
provided in this Plan or the Confirmation Order shall be in complete satisfaction, discharge, and
release, effective as of the Effective Date, of Claims against, Interests in, and Causes of Action
against the Debtor, NewCo and the Liquidating Trust of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or


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unknown, against Liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtor or any of its assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to this Plan and the Confirmation Order on account of such
Claims or Interests, including demands, Liabilities and Causes of Action that arose before the
Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in
sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case, whether or not (1) a
Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of
the bankruptcy Code, (2) a Claim or Interest based upon such debt, right, or Interest is Allowed
pursuant to section 502 of the Bankruptcy Code, or (3) the Holder of such a Claim or Interest has
accepted this Plan. Any default or “event of default” by the Debtor or Affiliates with respect to
any Claim or Interest that existed immediately before or on account of the filing of the chapter 11
cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims against,
Causes of Action against, and Interests in the Debtor, NewCo or the Liquidating Trust, subject to
the occurrence of the Effective Date.

       12.6    Term of Injunction or Stays

               Unless otherwise provided herein, any injunction or stay arising under or entered
during the Chapter 11 Case under section 105 or 362 of the Bankruptcy Code or otherwise that is
in existence on the Confirmation Date (excluding any injunctions or stays contained in this Plan
or the Confirmation Order) shall remain in full force and effect until the later of the Effective
Date and the date indicated in the order providing for such injunction or stay. All injunctions or
stays contained in this Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.

       12.7    Release by the Debtor

               [For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case and the implementation of the transactions contemplated by the Plan,
on and after the Effective Date, each of the Released Parties including the Debtor Released
Parties but excluding each other Related Party of the Debtor shall be conclusively,
absolutely, unconditionally, irrevocably, fully, finally, forever, and permanently released
and discharged by the Debtor, NewCo, the Liquidating Trust and the Debtor’s Estate,
including any successor and assign to the Debtor, NewCo, the Liquidating Trust or any
estate representative, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other Entities who may purport to assert any
Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from all claims, obligations, rights, suits, damages, causes of action,
remedies and liabilities whatsoever, including any derivative claims, in each case asserted
or assertable on behalf of the Debtor, NewCo or the Liquidating Trust, and their respective
successors, assigns, and representatives, or that any Entity or party claiming under or
through the Debtor or its estateEstate, whether known or unknown, foreseen or
unforeseen, liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in
law, at equity or otherwise, whether for indemnification, tort, contract, violations of

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federal or state securities laws or otherwise, including those that any of the Debtor,
NewCo, the Liquidating Trust or the Debtor’s Estate would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the holder of
any Claim or Interest or any other PersonEntity, based on or relating to, or in any manner
arising from, in whole or in part, the Debtor, NewCo, the Liquidating Trust, the Estate, the
conduct of the businesses of the Debtor, the Chapter 11 Case, the purchase, sale or
rescission of the purchase or sale of any security of the Debtor, NewCo or the Liquidating
Trust, the release or discharge of any mortgage, lien or security interest, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the
Plan, the administration of Claims and Interests prior to or during the Chapter 11 Case,
the negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the Restructuring Support Agreement (and each prior
version thereof), the Plan, any plan supplement, any disclosure statement or, in each case,
related agreements, instruments or other documents, any action or omission with respect to
intercompany claims and intercompany settlements, any action or omission as an officer,
director, agent, representative, fiduciary, controlling Person, member, manager, affiliate or
responsible party, or upon any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date of the Plan, other than claims
or liabilities arising out of or relating to any act or omission of such Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act. Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any obligations arising on or after the Effective Date of any party or Entity
under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

               Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the Debtor Releases in ArticleSection 12.7,
which includes by reference each of the related provisions and definitions contained in this
Plan and, further, shall constitute the Bankruptcy Court’s finding that the Debtor Release
in ArticleSection 12.7 is: (a) given in exchange for good and valuable consideration
provided by the applicable Released Parties, including the applicable Released Parties’
contributions to facilitating the Restructuring Transactions and implementing the Plan; (b)
a good-faith settlement and compromise of the Claims released by the Debtor Release; (c)
in the best interests of the Debtor and all Holders of Claims and Interests; (d) fair,
equitable, and reasonable; (e) given and made after due notice and opportunity for
hearing; (f) a bar to the assertion by the Debtor, NewCo, the Liquidating Trust, or the
Debtor’s estate of any claim or Cause of Action of any kind whatsoever released pursuant
to the Debtor Release; (g) essential to the Confirmation of the Plan; and (h) a prudent
exercise of the Debtor’s business judgment.]

               Notwithstanding the foregoing, nothing contained in this Section 12.7 shall
be deemed to release any Retained Causes of Action, including any Claims and Causes of
Action against any Debtor Related Parties other than those Debtor Related Parties
identified on Exhibit [•] hereof.


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       12.8   Exculpation

               [Upon entry of the Confirmation Order, each of the Exculpated Parties will
be deemed to have acted in “good faith” within the meaning of section 1125(e) of the
Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy
Code and in a manner consistent with the Disclosure Statement, the Plan, the Bankruptcy
Code, the Bankruptcy Rules, and all other applicable rules, laws, and regulations in
connection with all of their respective activities relating to support and consummation of
the Plan, including the negotiation, execution, delivery, and performance of the
Restructuring Support Agreement and are entitled to the protections of section 1125(e) of
the Bankruptcy Code and all other applicable protections and rights provided in the Plan.
Without limiting the generality of the foregoing, upon entry of the Confirmation Order, the
Debtor and its directors, officers, employees, attorneys, investment bankers, financial
advisors, restructuring advisors and other professional advisors, representatives and
agents will be deemed to have solicited acceptances of this Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, including
section 1125(e) of the Bankruptcy Code and any applicable non-bankruptcy law, rule or
regulation governing the adequacy of disclosure in connection with the solicitation.

                As of the Effective Date, to the fullest extent permissible under any
applicable laws and without affecting, expanding or limiting the releases contained in this
Article 12, and except as otherwise provided herein, the Exculpated Parties shall neither
have nor incur any liability arising on or after the Petition Date to any Entity for any act or
omission in connection with, relating to or arising out of (i) this Chapter 11 Case; (ii) the
formulation, negotiation, preparation, dissemination, implementation, administration,
confirmation and/or consummation of the Restructuring Support Agreement (and each
prior version thereof), any disclosure statement, the Plan, any plan supplement, and any
related contract, instrument, release or other agreement or document created or entered
into in connection therewith (including the solicitation of votes for the Plan or other actions
taken in furtherance of confirmation or consummation of the Plan, including the issuance
of any securities under or in connection with the Plan) or in connection with any other
obligations arising under the Plan or the obligations assumed hereunder; or (iii) the
settlement of Claims or renegotiation of Executory Contracts or Unexpired Leases, other
than liability resulting from any act or omission that is determined by final order in a court
of competent jurisdiction to have constituted gross negligence, willful misconduct, fraud or
a criminal act. In all respects, such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan;
provided, however, that nothing in the Plan or Confirmation Order shall relieve the
Exculpated Parties from their obligations under postpetition transactions, agreements or
instruments that have not been expressly canceled by the Plan.]

               Notwithstanding the foregoing, nothing contained in this Section 12.8 shall
be deemed to exculpate any party from liability with respect to any Retained Causes of
Action or other Claims or Causes of Action related to actions or inactions occurring prior
to the Petition Date, including any Claims and Causes of Action against any Debtor
Related Parties other than those Debtor Related Parties identified on Exhibit [•] hereof.


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       12.9   Voluntary Release by Holders of Claims and Interests

                [For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case, the implementation of the reorganization contemplated by the Plan,
the release of mortgages, liens and security interests on property of the Estate, and
distributions made pursuant to the Plan, on and after the Effective Date, to the fullest
extent permitted by applicable law, the Releasing Parties (regardless of whether a
Releasing Party is a Released Party), in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may
purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for,
or because of the foregoing Entities, shall be deemed to conclusively, absolutely,
unconditionally, irrevocably and forever release, waive and discharge the Released Parties
of any and all claims, obligations, rights, suits, damages, causes of action, remedies and
liabilities whatsoever, including any derivative claims asserted or assertable on behalf of
the Debtor, NewCo or the Liquidating Trust and any of its or their successors, assigns, and
representatives, whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, contingent or fixed, existing or hereafter arising, in law, at equity or
otherwise, whether for indemnification, tort, contract, violations of federal or state
securities laws or otherwise, including, those that any of the Debtor, NewCo, the
Liquidating Trust or the Estate would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
any other Person, based on or relating to, or in any manner arising from, in whole or in
part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the businesses
of the Debtor, this Chapter 11 Case, the purchase, sale or rescission of the purchase or sale
of any security of the Debtor, NewCo or the Liquidating Trust, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during this Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the Restructuring Support Agreement (and each prior
version thereof), the Plan, any plan supplement, any disclosure statement or, in each case,
related agreements, instruments or other documents, any action or omission with respect to
intercompany claims or intercompany settlements, any action or omission as an officer,
director, agent, representative, fiduciary, controlling Person, member, manager, affiliate or
responsible party, or upon any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date of the Plan, other than claims
or liabilities arising out of or relating to any act or omission of a Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act.

               Notwithstanding anything to the contrary in the foregoing, the releases set
forth above do not constitute a release by the Debtor of any of its Related Parties other
than the Debtor Released Parties nor shall they release any obligations arising on or after
the Effective Date of any party or Entity under this Plan, any Restructuring Transaction,



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or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement this Plan as set forth in this Plan.

                Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the releases set forth in this ArticleSection
12.9, which includes by reference each of the related provisions and definitions contained
in this Plan, and, further, shall constitute the Bankruptcy Court’s finding that the releases
set forth in this ArticleSection 12.9 is: (a) consensual; (b) essential to the Confirmation of
this Plan; (c) given in exchange for the good and valuable consideration provided by the
Released Parties, including the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing this Plan; (d) a good faith settlement and
compromise of the Claims released pursuant to this ArticleSection 12.9; (e) in the best
interests of the Debtor and their estatesits Estate; (f) fair, equitable, and reasonable;
(g) given and made after due notice and opportunity for hearing; and (h) a bar to any of
the Releasing Parties asserting any Claim or Cause of Action of any kind whatsoever
released pursuant to this ArticleSection 12.9.]

               For the avoidance of doubt, notwithstanding anything to the contrary in this
Section 12.9, the releases set forth above shall not release the rights of Holders of Allowed
Claims to receive the treatment of their Claims as provided in the Plan and otherwise to
enforce the terms of the Plan, all of which rights are fully preserved.

       12.10 Injunction

               Except as otherwise specifically provided in the Plan or the Confirmation
Order, all Persons or Entities who have held, hold or may hold (i) Claims or Interests that
arose prior to the Effective Date, (ii) Causes of Action that have been released pursuant to
Sections 12.7 and 12.9 of the Planhereof or are subject to exculpation pursuant to
Section 12.8 of the Planhereof (but only to the extent of the exculpation provided in
Section 12.8 of the Plan), or (iii) Claims, Interests or Causes of Action that are otherwise
discharged, satisfied, stayed, or terminated pursuant to the terms of the Plan and all other
parties-in-interest seeking to enforce such Claims, Interests or Causes of Action are
permanently enjoined, from and after the Effective Date, from (a) commencing or
continuing in any manner any action or other proceeding of any kind with respect to any
such Claim (including a Section 510(b) Claim) against or such Interest in the Debtor,
NewCo or the Liquidating Trust, or property of the Debtor, NewCo or the Liquidating
Trust, other than to enforce any right to a distribution pursuant to the Plan, (b) the
enforcement, attachment, collection or recovery by any manner or means of any judgment,
award, decree or order against the Debtor, NewCo or the Liquidating Trust or property of
the Debtor, NewCo or the Liquidating Trust with respect to any such Claim or Interest,
other than to enforce any right to a distribution pursuant to the Plan, (c) creating,
perfecting or enforcing any Lien or encumbrance of any kind against the Debtor, NewCo
or the Liquidating Trust, or against the property or interests in property of the Debtor,
NewCo or the Liquidating Trust with respect to any such Claim or Interest, other than to
enforce any right to a distribution pursuant to the Plan, or (d) asserting any right of setoff
(except for setoffs validly exercised prepetition) or subrogation of any kind against any
obligation due from the Debtor, NewCo or the Liquidating Trust, or against the property

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or interests in property of the Debtor, NewCo or the Liquidating Trust, with respect to any
such Claim or Interest. Such injunction shall extend to any successors or assignees of the
Debtor, NewCo or the Liquidating Trust and their respective properties and interests in
properties.

        With respect to claims or Causes of Action that have not been released, discharged,
or are not subject to exculpation, no Person or Entity may commence or pursue a claim or
Cause of Action of any kind against the Debtor, NewCo, the Liquidating Trust, any
Exculpated Party, or any Released Party that relates to any act or omission occurring from
the Petition Date to the Effective Date in connection with, relating to, or arising out of, in
whole or in part, the Chapter 11 Case (including the filing and administration thereof), the
Debtor, the governance, management, transactions, ownership, or operation of the Debtor,
the purchase, sale, exchange, issuance, termination, repayment, extension, amendment, or
rescission of any debt instrument or security of the Debtor, NewCo, or the Liquidating
Trust, the subject matter of, or the transactions or events giving rise to any Claim or
Interest that is treated in this Plan, the business or contractual or other arrangements or
other interactions between any Releasing Party and any Released Party or Exculpated
Party, the restructuring of any Claim or Interest before or during the Chapter 11 Case,
any other in- or out-of-court restructuring efforts of the Debtor; any intercompany
transactions, any Restructuring Transaction, the Restructuring Support Agreement, the
formulation, preparation, dissemination, negotiation, or filing of the Restructuring
Support Agreement and the Definitive Documents, or any other contract, instrument,
release, or other agreement or document created or entered into in connection with the
Disclosure Statement, this Plan, or any of the other Definitive Documents, the pursuit of
Confirmation, the administration and implementation of this Plan, including the issuance
of securities pursuant to this Plan, or the distribution of property under this Plan or any
other related agreement (including, for the avoidance of doubt, providing any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or
other agreement contemplated by this Plan or the reliance by any Exculpated Party on this
Plan or the Confirmation Order in lieu of such legal opinion), without the Bankruptcy
Court (a) first determining, after notice and a hearing, that such Claim or Cause of Action
represents a colorable Claim and (b) specifically authorizing such Person or Entity to
bring such Claim or Cause of Action. To the extent the Bankruptcy Court would have
jurisdiction over such colorable Claim or Cause of Action, the Bankruptcy Court shall
have sole and exclusive jurisdiction to adjudicate such underlying Claim or Cause of
Action should it permit such Claim or Cause of Action to proceed.

       12.11 Scope of Releases

               Each Person providing releases under the Plan, including the Debtor,
NewCo, the Liquidating Trust, the Debtor’s Estate and the Releasing Parties, shall be
deemed to have granted the releases set forth in the Plan notwithstanding that such Person
may hereafter discover facts in addition to, or different from, those which it now knows or
believes to be true, and without regard to the subsequent discovery or existence of such
different or additional facts, and such Person expressly waives any and all rights that it
may have under any statute or common law principle which would limit the effect of such


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releases to those claims or causes of action actually known or suspected to exist at the time
of execution of such release.

               For the avoidance of doubt, nothing herein, including the releases, waivers,
and exculpations provided in Sections 12.7–12.9, shall constitute a release, waiver,
discharge, or limitation of any kind of (i) any Retained Causes of Action, including any
Claims or Causes of Action against Debtor Related Parties other than those Debtor Related
Parties identified on Exhibit [•] hereto or (ii) any rights, liabilities, or obligations arising
under the Plan or any other agreement, document or instrument executed in connection
with the Plan.

               Notwithstanding any language to the contrary contained in the Disclosure
Statement, Plan or Confirmation Order, no provision shall (i) preclude the SEC from
enforcing its police or regulatory powers or (ii) enjoin, limit, impair or delay the SEC from
commencing or continuing any claims, causes of action, proceeding or investigations
against any non-Debtor (other than NewCo or the Liquidating Trust) in any forum;
provided that the foregoing sentence shall not (x) limit the scope of discharge granted to the
Debtor, NewCo or the Liquidating Trust under sections 524 and 1141 of the Bankruptcy
Code or (y) diminish the scope of any exculpation to which any party is entitled under
section 1125(e) of the Bankruptcy Code.

               As to any Specified Governmental Unit, nothing in the Plan or the
Confirmation Order shall limit or expand the scope of discharge, release or injunction to
which the Debtor, NewCo or the Liquidating Trust are entitled to under the Bankruptcy
Code, if any. The discharge, release, and injunction provisions contained in the Plan and
the Confirmation Order are not intended and shall not be construed to bar any Specified
Governmental Unit from, subsequent to the entry of the Confirmation Order, pursuing
any police or regulatory action (except to the extent the applicable Bar Date bars the
Specified Governmental Unit from pursuing prepetition Claims).

                Notwithstanding anything contained in the Plan or the Confirmation Order
to the contrary, nothing in the Plan or the Confirmation Order shall discharge, release,
impair or otherwise preclude: (1) any liability to any Specified Governmental Unit that is
not a “claim” within the meaning of section 101(5) of the Bankruptcy Code; (2) any Claim
of any Specified Governmental Unit arising on or after the Effective Date; (3) any valid
right of setoff or recoupment of any Specified Governmental Unit against the Debtor; or
(4) any liability of the Debtor, NewCo or the Liquidating Trust under police or regulatory
statutes or regulations to any Specified Governmental Unit as the owner, lessor, lessee or
operator of property that such Person or Entity owns, operates or leases after the
Confirmation Date. Nor shall anything in the Confirmation Order or the Plan: (i) enjoin
or otherwise bar any Specified Governmental Unit from asserting or enforcing, outside the
Bankruptcy Court, any liability described in the preceding sentence; or (ii) divest any
court, commission, or tribunal of jurisdiction to determine whether any liabilities asserted
by any Specified Governmental Unit are discharged or otherwise barred by the
Confirmation Order, the Plan or the Bankruptcy Code.




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                Moreover, nothing in the Confirmation Order or the Plan shall release or
exculpate any non-Debtor, including any Released Parties and/or Exculpated Parties but
excluding the Debtor, NewCo or the Liquidating Trust, from any liability to any Specified
Governmental Unit, including but not limited to any liabilities arising under the IRC, the
environmental laws, or the criminal laws, nor shall anything in the Confirmation Order or
the Plan enjoin any Specified Governmental Unit from bringing any claim, suit, action or
other proceeding against any non-Debtor (other than NewCo or the Liquidating Trust) for
any liability whatsoever; provided that the foregoing sentence shall not (x) limit the scope of
discharge granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and
1141 of the Bankruptcy Code or (y) diminish the scope of any exculpation to which any
party is entitled under section 1125(e) of the Bankruptcy Code.

               Nothing contained in the Plan or the Confirmation Order shall be deemed to
determine the tax liability of any Person or Entity, including but not limited to the Debtor,
NewCo or the Liquidating Trust, nor shall the Plan or the Confirmation Order be deemed
to have determined the federal tax treatment of any item, distribution or entity, including
the federal tax consequences of this Plan, nor shall any language in the Plan or the
Confirmation Order be deemed to expressly expand or diminish the jurisdiction of the
Bankruptcy Court to make determinations as to federal tax liability and federal tax
treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

       12.12 Preservation of Causes of Action

                Except as expressly provided in this Article 12 of the Planhereof or the
Confirmation Order, nothing contained in the Plan or the Confirmation Order shall be deemed to
be a waiver or relinquishment of any rights or Causes of Action that the Debtor, NewCo or the
Liquidating Trust may have or that the Debtor, NewCo or the Liquidating Trust, as applicable,
may choose to assert on behalf of the Estate under any provision of the Bankruptcy Code or any
applicable non-bankruptcy law, including (i) any and all Causes of Action or Claims against any
Person or Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or
claim for setoff that seeks affirmative relief against the Debtor, NewCo or the Liquidating Trust,
and in each case, its officers, directors or representatives or (ii) the turnover of any property of
the Estate to the Debtor, NewCo or the Liquidating Trust.

                No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement or the Disclosure Statement to any Cause of Action against them as any indication
that the Debtor, NewCo or the Liquidating Trust, as applicable, will not pursue any and all
available Causes of Action against them. The Debtor, NewCo or the Liquidating Trust expressly
reserves all rights to prosecute any and all Causes of Action against any Entity, except as
otherwise expressly provided herein.

               Except as set forth in this Article 12 of the Planhereof or the Confirmation Order,
nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights or Causes of Action that the Debtor had immediately prior to the
Petition Date or the Effective Date against or regarding any Claim or Interest left Unimpaired by
the Plan. The Liquidating Trust shall have, retain, reserve, and be entitled to assert all such
rights and Causes of Action, including any actions specifically enumerated in the Schedule of


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Retained Causes of Action, as fully as if the Chapter 11 Case had not been commenced, and all
of the Liquidating Trust’s legal and equitable rights respecting any Claim or Interest left
Unimpaired by the Plan may be asserted after the Confirmation Date to the same extent as if the
Chapter 11 Case had not been commenced.

               Except as set forth in this Article 12 of the Planhereof or the Confirmation Order,
nothing contained in the Plan or the Confirmation Order shall be deemed to release any
post-Effective Date obligations of any party under the Plan, or any document, instrument or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

                Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan, including pursuant to Article 12 of the
Planhereof or a Final Order, the Liquidating Trust expressly reserves all Causes of Action for
later adjudication and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise),
or laches shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or occurrence of the Effective Date.




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13.    CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN

       13.1   Conditions to Effectiveness

               The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied on or prior to the Effective Date or waived in accordance with
Section 13.2 of the Planhereof:

                     i.      The Restructuring Support Agreement shall not have been
                             terminated, and shall remain in full force and effect, and no event
                             or occurrence shall have occurred that, with the passage of time or
                             the giving of notice, would give rise to the right of the Required Ad
                             Hoc Senior Noteholder Parties or the UCC to terminate the
                             Restructuring Support Agreement;

                    ii.      All Definitive Documents for the Restructuring Transactions
                             contemplated by the Restructuring Support Agreement to be
                             executed and delivered on or before the Effective Date shall have
                             been executed and delivered and remain in full force and effect;

                   iii.      The Bankruptcy Court shall have entered the Confirmation Order
                             which shall be a Final Order;

                   iv.       The Debtor shall have filed the final version of the Plan, including
                             all of the schedules, documents, and exhibits contained therein,
                             and the Plan Supplement in a manner consistent in all material
                             respects with the Restructuring Support Agreement and the Plan;

                    v.       The Debtor shall have obtained all applicable authorizations,
                             consents, regulatory approvals, rulings, or documents that are
                             necessary to implement and effectuate the Plan (and all applicable
                             waiting periods have expired);

                   vi.       The Debtor shall have implemented the Restructuring Transactions
                             and all other transactions contemplated in the Restructuring
                             Support Agreement (subject to, and in accordance with, the
                             consent rights set forth therein) and the Plan to be implemented on
                             or before the Effective Date;

                   vii.      No governmental entity or federal or state court of competent
                             jurisdiction has enacted, issued, promulgated, enforced or entered
                             any law or order (whether temporary, preliminary or permanent), in
                             any case which is in effect and which prevents or prohibits
                             consummation of the Plan, and no governmental entity has
                             instituted any action or proceeding (which remains pending at what
                             would otherwise be the Effective Date) seeking to enjoin, restrain



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                              or otherwise prohibit consummation of the transactions
                              contemplated by the Plan;

                   viii.      All Ad Hoc Noteholder Group Expenses, Senior Note Trustee
                              Expenses and Subordinated Note Trustee Expenses have been paid
                              in full in Cash as provided in the Restructuring Support
                              Agreement;

                    ix.       All professional fees and expenses of retained professionals
                              required to be approved by the Bankruptcy Court shall have been
                              paid in full or amounts sufficient to pay such fees and expenses in
                              full after the Effective Date shall have been placed in a
                              professional fee escrow account as set forth in, and in accordance
                              with, the Plan; and

                     x.       All Claims asserted by the IRS or any other TaxingTax Authority
                              shall have been resolved in a manner acceptable to the Required
                              Ad Hoc Senior Noteholder Parties and the UCC or estimated by
                              the Bankruptcy Court for the purpose of Plan distributions at an
                              amount acceptable to the Required Ad Hoc Senior Noteholder
                              Parties and the UCC.

       13.2    Waiver of Conditions to Confirmation or Effectiveness

                 Except as set forth below, the Debtor, with the prior written consent (e-mail being
sufficient) of the Required Ad Hoc Senior Noteholder Parties and the UCC, may waive any of
the conditions set forth in Section 13.1 of the Planhereof at any time, without any notice to any
other parties-in-interest or the Bankruptcy Court and without any formal action other than
proceeding to confirm and/or consummate the Plan. The failure of the Debtor to exercise any of
the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.




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14.    MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

       14.1    Plan Modifications

                Subject to certain restrictions and requirements set forth in section 1127(a) of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
the Plan, subject to any applicable consent rights set forth in the Restructuring Support
Agreement, the Debtor may alter, amend or modify the Plan, including the Plan Supplement,
without additional disclosure pursuant to section 1125 of the Bankruptcy Code prior to the
Confirmation Date. After the Confirmation Date and before substantial consummation of the
Plan, the Debtor may institute proceedings in the Bankruptcy Court pursuant to section 1127(b)
of the Bankruptcy Code to remedy any defect or omission or reconcile any inconsistencies in the
Plan, including the Plan Supplement, the Disclosure Statement, or the Confirmation Order,
relating to such matters as may be necessary to carry out the purposes and effects of the Plan.

                After the Confirmation Date, but before the Effective Date, subject to any
applicable consent rights set forth in the Restructuring Support Agreement and except as set
forth in Section 7.3, the Debtor may make appropriate technical adjustments and modifications
to the Plan, including the Plan Supplement, without further order or approval of the Bankruptcy
Court; provided, that such adjustments and modifications do not materially and adversely affect
the treatment of Holders of Claims or Interests and are otherwise permitted under section
1127(b) of the Bankruptcy Code.

       14.2    Effect of Confirmation on Modification

                Entry of a Confirmation Order shall mean that all modifications and amendments
to the Plan since the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code, and do not require additional disclosure or resolicitation under Bankruptcy
Rule 3019.

       14.3    Revocation or Withdrawal of the Plan and Effects of Non-Occurrence of
               Confirmation or Effective Date

                 Subject to the Restructuring Support Agreement, the Debtor reserves the right to
revoke, withdraw, or delay consideration of the Plan before the Confirmation Date. If the Debtor
revokes or withdraws the Plan or if the Confirmation Date or the Effective Date does not occur,
then, absent further order of the Bankruptcy Court, (i) the Plan shall be null and void in all
respects, (ii) any settlement or compromise not previously approved by Final Order of the
Bankruptcy Court embodied in the Plan (including the fixing or limiting to an amount certain any
Claim or Interest or Class of Claims or Interests), assumption, assumption and assignment, or
rejection of executory contracts or leases effected by the Plan, and any document or agreement
executed pursuant hereto shall be deemed null and void, and (iii) nothing contained in the Plan
shall (A) constitute a waiver or release of any Claims by or against, or any Interests in, the
Debtor or any other Person or Entity, (B) prejudice in any manner the rights of the Debtor or any
other Person or Entity or (C) constitute an admission of any sort by the Debtor or any other
Person or Entity.



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              If the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
over any request to extend the deadline for assuming or rejecting Executory Contracts or
Unexpired Leases.




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15.    RETENTION OF JURISDICTION BY THE BANKRUPTCY COURT

                 Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, the Bankruptcy Court shall retain its existing jurisdiction over all matters arising
in or out of, or related to, the Chapter 11 Case or the Plan pursuant to sections 105(a) and 1142
of the Bankruptcy Code, including jurisdiction to:

                      i.       Allow, disallow, determine, liquidate, classify, estimate, or
                               establish the priority, secured or unsecured status, or amount of
                               any Claim or Interest, including the resolution of any request for
                               payment of any Administrative Expense Claim and the resolution
                               of any and all objections to the secured or unsecured status,
                               priority, amount, or allowance of Claims or Interests;

                     ii.       Decide and resolve all matters related to the granting and denying,
                               in whole or in part, any applications for allowance of
                               compensation or reimbursement of expenses to Professionals
                               authorized pursuant to the Bankruptcy Code or the Plan;

                    iii.       Resolve any matters related to: (i) the assumption, assumption and
                               assignment, or rejection of any Executory Contract or Unexpired
                               Lease and, if necessary, liquidate, any Claims arising therefrom,
                               including any disputes regarding cure obligations in accordance
                               with the Plan, (ii) any potential contractual obligation under any
                               Executory Contract or Unexpired Lease that is assumed, (iii) any
                               dispute regarding whether a contract or lease is, or was, executory
                               or expired, or (iv) any dispute regarding the Plan or any
                               Restructuring Transactions trigger any cross-default or
                               change-of-control provision in any contract or agreement.

                    iv.        Ensure that distributions to Holders of Allowed Claims or Interests
                               are accomplished pursuant to the Plan and adjudicate any and all
                               disputes from, or relating to, distributions under the Plan or the
                               Confirmation;

                     v.        Adjudicate, decide or resolve any motions, adversary proceedings,
                               contested or litigated matters, and any other matters and Causes of
                               Action, and grant or deny any applications, involving the Debtor
                               that may be pending before the Bankruptcy Court on the Effective
                               Date;

                    vi.        Adjudicate, decide, or resolve any and all matters related to Causes
                               of Action that may arise from or in connection with the
                               Consummation, interpretation, or enforcement of the Plan or any
                               Entity’s obligations incurred in connection with the Plan;




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                vii.     Adjudicate, decide or resolve any and all matters related to
                         section 1141 of the Bankruptcy Code;

               viii.     Enter and implement such orders as may be necessary or
                         appropriate to execute, implement, or consummate the provisions
                         of the Plan and all contracts, instruments, releases, indentures, and
                         other agreements or documents created in connection with the
                         Plan, Plan Supplement, or Disclosure Statement;

                 ix.     Enter and enforce any order for the sale of property pursuant to
                         sections 363, 1123, or 1146(a) of the Bankruptcy Code;

                 x.      Adjudicate, decide, or resolve any and all disputes as to the
                         ownership of any Claim or Interest;

                 xi.     Issue injunctions, enter and implement other orders, or take such
                         other actions as may be necessary or appropriate to restrain
                         interference by any Person or Entity with enforcement of the Plan;

                xii.     Resolve any cases, controversies, suits, disputes, or Causes of
                         Action with respect to the existence, nature, and scope of the
                         releases, injunctions, and other provisions contained in the Plan,
                         and enter such orders as may be necessary or appropriate to
                         implement and enforce such releases, injunctions, and other
                         provisions;

               xiii.     Enter and implement such orders as are necessary or appropriate if
                         the Confirmation Order is for any reason modified, stayed,
                         reversed, revoked, or vacated;

               xiv.      Determine any other matters that may arise in connection with or
                         relate to the Plan, the Plan Supplement, the Disclosure Statement,
                         the Confirmation Order or any contract, instrument, release,
                         indenture, or other agreement or document created in connection
                         with the Plan, the Plan Supplement, or the Disclosure Statement;

                xv.      Enter an order or final decree concluding or closing the Chapter 11
                         Case;

               xvi.      Consider any modifications of the Plan, to cure any defect or
                         omission or to reconcile any inconsistency in any Bankruptcy
                         Court order, including the Confirmation Order;

               xvii.     Hear and determine disputes, cases, controversies, or Causes of
                         Action arising in connection with the interpretation,
                         implementation, or enforcement of the Plan, Confirmation Order,



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                              or any other agreement, document or instrument executed in
                              connection with the Plan;

                 xviii.       Hear and determine all disputes involving the existence, nature or
                              scope of the Debtor’s discharge;

                  xix.        Hear and determine matters concerning state, local or federal
                              Taxes in accordance with sections 346, 505, or 1146 of the
                              Bankruptcy Code;

                   xx.        Enforce all orders previously entered by the Bankruptcy Court; and

                  xxi.        Hear and determine matters concerning exemptions from state and
                              federal registration requirements in accordance with section 1145
                              of the Bankruptcy Code and section 4(a)(2) of, and Regulation D
                              under, the Securities Act;

                  xxii.       Adjudicate all other matters over which the Bankruptcy Court has
                              jurisdiction;

                 xxiii.       Adjudicate, decide or resolve any motions, adversary proceedings,
                              contested or litigated matters, and any other matters relating to the
                              Retained Causes of Action;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes
concerning documents contained in the Plan Supplement or any other Definitive Documents, in
each case, that have a jurisdictional, forum selection or dispute resolution clause that refers
disputes to a different court, or allows Entities to bring disputes to a different court, and any
disputes concerning documents contained in the Plan Supplement or any other Definitive
Document that contain such clauses shall be governed in accordance with the provisions of such
documents.

Nothing herein limits the jurisdiction of the Bankruptcy Court to interpret and enforce the Plan
and all contracts, instruments, releases, indentures, and other agreements or documents created in
connection with the Plan, the Plan Supplement, the Disclosure Statement, without regard to
whether the controversy with respect to which such interpretation or enforcement relates may be
pending in any state or other federal court of competent jurisdiction.




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16.    MISCELLANEOUS

       16.1    Expedited Tax Determination

                The Debtor or NewCo may request an expedited determination of Taxes under
section 505 of the Bankruptcy Code for all returns filed for or on behalf of the Debtor or NewCo,
as applicable, for all taxable periods ending on or before the Effective Date.

       16.2    Plan Supplement

                Draft forms of certain documents, agreements, instruments, schedules, and
exhibits specified in the Plan shall, where expressly so provided for in the Plan, be contained in
the Plan Supplement and filed from time to time.

       16.3    Additional Documents

                The Debtor, NewCo, the Liquidating Trust, all Holders of Claims or Interests
receiving distributions hereunder, and all other parties-in-interest may and shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as
may be necessary or advisable to effectuate the provisions and intent of the Plan.

       16.4    Exhibits; Schedules; Plan Supplement

               All exhibits and schedules to the Plan, including the Plan Supplement, are
incorporated into and are a part of the Plan as if set forth in full herein.

       16.5    Nonseverability

                  If, prior to Confirmation, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter such term or provision to make it valid or enforceable consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term shall
then be applicable as altered; provided that such alteration shall be consistent with Restructuring
Support Agreement. Notwithstanding any such holding or alteration, the remainder of the terms
and provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding or alteration. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of the Plan, as it may have
been altered in accordance with the foregoing, is: (i) valid and enforceable pursuant to its terms,
(ii) integral to the Plan and may be deleted or modified subject to the consent rights set forth in
the Restructuring Support Agreement, and (iii) nonseverable and mutually dependent.

       16.6    Governing Law

                Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated herein or therein,
the laws of the State of New York, without giving effect to the principles of conflicts of laws,
shall govern the construction and implementation of the Plan and any agreement, document or
instrument executed or entered into in connection with the Plan (except as otherwise set forth in

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those agreements, in which case the governing law of such agreement shall control); provided
that corporate or other governance matters relating to the Debtor, NewCo or the Liquidating
Trust, as applicable, not incorporated or formed (as applicable) in the State of New York shall be
governed by the laws of the jurisdiction of incorporation or formation (as applicable) of the
Debtor, NewCo or the Liquidating Trust.

       16.7    Dissolution of the UCC

               After the Effective Date, the UCC’s functions shall be restricted to and shall not
be heard on any issue except (i) applications filed pursuant to sections 330 and 331 of the
Bankruptcy Code and (ii) any appeal, motion for reconsideration or similar litigation related to
the Confirmation Order (the “Post Effective Date UCC Matters”). Upon the resolution of the
Post Effective Date UCC Matters, the UCC shall dissolve, and the members thereof shall be
released and discharged from all rights and duties arising from, or related to, the Chapter 11
Case. The Liquidating Trust shall be responsible for paying the reasonable fees and expenses
incurred by the members of or advisors to the UCC after the Effective Date in connection with
the Post Effective Date UCC Matters without any further notice or application to, action, order,
or approval of the Bankruptcy Court.

       16.8    Binding Effect

                 Notwithstanding Bankruptcy Rule 3020(e), 6004(h), or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall be
immediately effective and enforceable and deemed binding upon the Debtor, NewCo, the
Liquidating Trust, the Estate, any and all Holders of Claims and Interests (irrespective of
whether Holders of such Claims or Interests are deemed to have accepted the Plan), all Entities
that are parties to or are subject to the settlements, compromises, releases, discharges and
injunctions described in the Plan, each Entity acquiring property under the Plan and any and all
non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtor.

       16.9    Notices

               To be effective, any notice, request or demand to or upon, as applicable, the
Debtor, the Ad Hoc Noteholder Group, the UCC and the U.S. Trustee must be in writing (email
being sufficient) and, unless otherwise expressly provided herein, shall be deemed to have been
duly given or made when actually received and confirmed by the relevant party as follows:

               If to the Debtor:

               SVB Financial Group
               2770 Sand Hill Road
               Menlo Park, CA 94025
               Attention:    William C. Kosturos




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              with a copy to:

              Sullivan & Cromwell, LLP
              125 Broad Street
              New York, New York 10004
              Attention:    James L. Bromley (bromleyj@sullcrom.com)
                            Andrew G. Dietderich (dietdericha@sullcrom.com)
                            Christian P. Jensen (jensenc@sullcrom.com)
              Telephone: (212) 558-4000
              Facsimile:    (212) 558-3588

              If to the Ad Hoc Noteholder Group:

              Davis Polk & Wardwell LLP
              450 Lexington Avenue
              New York, New York 10017
              Attention:    Marshall S. Huebner
                            Elliot Moskowitz
                            Angela M. Libby
                            David Schiff
                            Aryeh Ethan Falk
              Telephone: (212) 450-4000
              Facsimile:    (212) 701-5800

              If to the UCC:

              Akin Gump Strauss Hauer & Feld LLP
              One Bryant Park
              New York, New York 10036
              Attention:   Ira S. Dizengoff (idizengoff@akingump.com)
                           Brad M. Kahn (bkahn@akingump.com)
              Telephone: (212) 872-1000
              Facsimile:   (212) 872-1002

              Akin Gump Strauss Hauer & Feld LLP
              2001 K Street NW
              Washington, DC 20006
              Attention:    James R. Savin (jsavin@akingump.com)
              Telephone:    (202) 887-4000
              Facsimile:    (202) 887-4288




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               If to the U.S. Trustee:

               Office of the United States Trustee
               Alexander Hamilton U.S. Custom House
               One Bowling Green, Room 534
               New York, New York 10004
               Attention:     Andrea B. Schwartz
                              Annie Wells
               Telephone:     (212) 510-0500
               Facsimile:     (212) 668-2361

       16.10 Reservation of Rights

                Except as expressly set forth herein, the Plan shall have no force or effect unless
the Bankruptcy Court shall enter the Confirmation Order. Before the Effective Date, none of the
filing of the Plan, any statement or provision contained herein or the taking of any action by the
Debtor related to the Plan shall be or shall be deemed to be an admission or waiver of any rights
of the Debtor of any kind, including as to the holders of Claims or Interests or as to any treatment
or classification of any contract or lease.

       16.11 No Stay of Confirmation Order

               The Confirmation Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(h) or 7062.

       16.12 Deemed Acts

                Subject to and conditioned on the occurrence of the Effective Date, whenever an
act or event is expressed under this Plan to have been deemed done or to have occurred, it shall
be deemed to have been done or to have occurred without any further act by any party by virtue
of this Plan and the Confirmation Order.

       16.13 Waiver or Estoppel

                Each Holder of a Claim or an Interest shall be deemed to have waived any right to
assert any argument, including the right to argue that its Claim or Interest should be Allowed in a
certain amount, be Allowed in a certain priority, be secured, or not be subordinated by virtue of
an agreement made with the Debtor or its counsel, or any other Entity, if such agreement was not
disclosed in the Plan, the Disclosure Statement or papers filed with the Bankruptcy Court prior to
the Confirmation Date.

       16.14 Successors and Assigns

                The rights, benefits, and obligations of any Entity named or referred to in the Plan
or the Confirmation Order shall be binding on, and shall inure to the benefit of any heir,
executor, administrator, successor or assign, affiliate, officer, director, manager, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.


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       16.15 Entire Agreement

                Except as otherwise provided in the Plan or the Confirmation Order, and without
limiting the effectiveness of the Restructuring Support Agreement, the Plan and Confirmation
Order supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

       16.16 Conflicts

               In the event of any inconsistency between the Plan and the Disclosure Statement,
the terms of the Plan shall control. In the event of any inconsistency between the Plan and the
Plan Supplement, the terms of the relevant document in the Plan Supplement shall control
(unless otherwise stated in the Plan Supplement document or the Confirmation Order). In the
event of any inconsistency between the Confirmation Order and the Plan or any other document,
the Confirmation Order shall control.

       16.17 Post-Effective Date Service

                After the Effective Date, the Debtor is authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have filed renewed
requests for service.




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Respectfully Submitted,


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